Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 1 of 215




                      EXHIBIT A
           Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 2 of 215



                                                                 The Honorable Tana Lin
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 5

 6
                         UNITED STATES DISTRICT COURT
 7                      WESTERN DISTRICT OF WASHINGTON
                               SEATTLE DIVISION
 8

 9 SECURITIES AND EXCHANGE
   COMMISSION,
10                                           Case No. 2:22-cv-01009-TL
                       Plaintiff,
11
        v.                                   BRIEF FOR AMICUS CURIAE
12                                           PARADIGM OPERATIONS LP
   ISHAN WAHI, NIKHIL WAHI, AND
13
   SAMEER RAMANI,
14 Defendants.

15

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19

20

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22

23                              Counsel for Amicus Curiae
                              PARADIGM OPERATIONS LP
24

25


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     PAGE 1                           Tel. 212.994.6845           Tel. 206.739.8383
                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 3 of 215




                                                           TABLE OF CONTENTS
 1

 2   TABLE OF AUTHORITIES .......................................................................................................... 3
     INTERESTS OF AMICUS CURIAE ............................................................................................. 4
 3
     SUMMARY OF ARGUMENT ...................................................................................................... 4
 4   ARGUMENT .................................................................................................................................. 7
 5   I. THE TOKENS ARE NOT “SECURITIES” UNDER ANY CURRENTLY
     RECOGNIZED APPLICATION OF THE SECURITIES ACTS................................................ 7
 6
        A. In the Absence of Extrinsic Factors, the Tokens Are Not Inherently or Intrinsically
 7      Securities ..................................................................................................................................... 7

 8      B. The Tokens Themselves Are Not Securities Because They May Have Initially Been Sold
        in Investment Contract Transactions. .......................................................................................... 9
 9          1. The Allegations in the Amended Complaint Are Only Relevant to the Question of
10          Whether the Tokens Were Initially Sold in Investment Contract Transactions. ..................... 9
            2. Even If the Court Finds that the Allegations in the Amended Complaint Are Sufficient
11          to Support a Claim that the Tokens Were Initially Sold by Promoters Pursuant to Investment
12          Contract Transactions, the SEC Fails to Correctly Apply the Howey Test to the Defendants’
            Specific Transactions. ............................................................................................................ 11
13          3. Instead of Establishing that the Defendants’ Specific Transactions in the Tokens Meet
14          the Howey Test, the Amended Complaint Inappropriately Alleges that these Assets Are
            Securities Because the Promoters’ Schemes Are “Continuing”. ........................................... 13
15          4. In light of the Fundamental Deficiencies with the Amended Complaint’s Traditional
16          Howey Analysis, We Are Left with an Argument that, in Effect, the Tokens “Embody” the
            Original Promoters’ Alleged Investment Schemes and Thus “Become” Securities While
17          these Schemes are Ongoing. .................................................................................................. 17

18   II. THE SEC’S ATTEMPTED EXPANSION OF HOWEY JURISPRUDENCE WHICH
     WOULD EFFECTIVELY TREAT CRYPTO ASSETS AS SECURITIES BASED ON
19   EXTERNAL FACTORS ON A TEMPORARY BASIS, IS UNFOUNDED,
     UNWORKABLE AND CONTRARY TO THE FUNDAMENTAL STRUCTURE OF THE
20   FEDERAL SECURITIES LAWS, WHICH ASSUMES A LEGAL RELATIONSHIP
21   BETWEEN AN ISSUER OF A SECURITY AND THE OWNER............................................. 18
     CONCLUSION ........................................................................................................................................ 21
22

23

24

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                                                                   New York, NY 10010                           Seattle, WA 98121
     PAGE 2                                                         Tel. 212.994.6845                            Tel. 206.739.8383
                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 4 of 215




                                                     TABLE OF AUTHORITIES
 1

 2                                                                                                                                      Page(s)

 3   CASES

 4   Hocking v. Dubois, 839 F.2d 560 (9th Cir. 1988), modified on reh'g en banc, 885 F.2d 1449 (9th

 5   Cir. 1989) (en banc) ..................................................................................................................... 12
 6   Hocking v. Dubois, 885 F.2d 1449 (9th Cir.1989)(en banc) ............................................ 11,12,13
 7
     Landreth Timber Co. v. Landreth, 471 U.S. 681 (1985) ............................................................. 10
 8
     Salameh, et al. v. Tarsadia Hotel et al., 726 F.3d 1124 (9th Cir. 2013)..................................... 20
 9
     S.E.C. v. United Benefit Life, 387 U.S. 202 (1967) .................................................................... 10
10
     S.E.C. v. W.J. Howey Co., 328 U.S. 293 (1946) ................................................................... passim
11

12   Tcherepnin v. Knight, 389 U.S. 332 (1967) ................................................................................. 10

13   STATUTES

14   15 U.S.C. § 77a et seq .................................................................................................................... 5

15   15 U.S.C § 78a et seq ..................................................................................................................... 5
16
     15 U.S.C. §78c(a)(10) .................................................................................................................... 4
17
     OTHER AUTHORITIES
18
     Ankush Khardori, “Can Gary Gensler Survive Crypto Winter? D.C.’s top financial cop on
19         Bankman-Fried blowback”, New York Mag. (Feb. 23. 2023) .......................................... 7
20   Gary Gensler, A ‘New’ New Era, Prepared Remarks Before the International Swaps and
           Derivatives Association Annual Meeting (May 11, 2022) ................................................ 7
21

22   Gary Gensler, Kennedy and Crypto, Speech (Sept. 8, 2022).................................................... 7,18

23   Lewis Cohen et al., The Ineluctable Modality of Securities Law: Why Fungible Crypto Assets
           Are Not Securities, SSRN (Nov. 10, 2022). ............................................................... passim
24
     David J. Kappos, Lee A. Schneider, Daniel M. Barabander, & Callum A.F. Sproule, “Fuzzy
25          Tokens: Thinking Carefully about Technical Classification Versus Legal Classification
            of Cryptoassets,” (2021) .................................................................................................... 8
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     NO.: 2:22-cv-01009-TL
                                                               New York, NY 10010                          Seattle, WA 98121
     PAGE 3                                                     Tel. 212.994.6845                           Tel. 206.739.8383
             Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 5 of 215




                                  INTERESTS OF AMICUS CURIAE
 1

 2          Paradigm Operations LP (“Paradigm”) is an investment firm that backs innovative crypto

 3   companies and protocols. Issues placed before this Court have the potential to dramatically

 4   impact the design and operation of crypto companies and protocols. Paradigm seeks leave to

 5   participate in this case because it is concerned that a decision adopting the Securities and
 6   Exchange Commission’s (“SEC”) expansive and unsupported application of the Howey test,
 7
     without appreciating its impact, could have sweeping and unintended effects on Paradigm and
 8
     many others who seek to utilize new technology in a way that could benefit millions of users in
 9
     the United States and around the world.
10
                                       SUMMARY OF ARGUMENT
11

12          The SEC’s attempt to assert jurisdiction over the Defendants’ secondary trading of nine

13   crypto assets identified in the Amended Complaint (the “Tokens”) by claiming that “these crypto

14   assets were investment contracts,” (Amended Complaint dated December 22, 2022, ECF No. 27

15   (the “Amended Complaint”) at ¶100) is not supported by the facts or the law.              The SEC
16
     incorrectly asserts that, because the Tokens were initially offered and sold in transactions that
17
     purportedly fell within the definition of “investment contract” as set forth by the Supreme Court
18
     in S.E.C. v. W.J. Howey Co., 328 U.S. 293 (1946) (“Howey”), the Tokens themselves became
19
     “investment contracts”, a type of security included in the definition of that term in the Securities
20
     Exchange Act of 1934, as amended (the “Exchange Act”).               See 15 U.S.C. §78c(a)(10).
21

22   However, this is not how Howey has been applied over its 75-year history – and, as discussed

23   below, that is for good reason.

24          As an initial matter, the Tokens themselves do not intrinsically have the characteristics of
25   any type of “security” as defined in the Securities Act of 1933 (the “Securities Act”) or the

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                                                New York, NY 10010           Seattle, WA 98121
     PAGE 4                                      Tel. 212.994.6845            Tel. 206.739.8383
              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 6 of 215




     Exchange Act (the Exchange Act, together with the Securities Act, the “Securities Acts”). See
 1

 2   15 U.S.C. § 77a et seq.; 15 U.S.C § 78a et seq. That is, these nine Tokens, examined on their

 3   own without considering extrinsic factors, such as the manner in which the assets were initially

 4   sold, distributed, or promoted, do not purport to convey an interest in any person or entity or to

 5   create or represent any cognizable legal agreement and thus would not otherwise be considered
 6   securities. This can be seen from an examination of the computer code used to create these
 7
     assets (known as “smart contract code”).1
 8
              Recognizing this, the SEC focuses on factors extrinsic to the nature of the Tokens,
 9
     devoting much of the Amended Complaint to alleging that these assets were used by promoters
10
     in fundraising schemes that they consider investment contract transactions. Based on the thinly
11

12   supported allegations that the original investment schemes are “ongoing” (in ways not clearly

13   specified in the Amended Complaint), the SEC asks the Court to accept the novel idea that these

14   Tokens are securities for only so long as they are deemed to “embody” an ongoing investment

15   scheme (which we refer to as the SEC’s “embodiment theory”), making them effectively
16
     temporary securities.2 The Court should not endorse this unjustified expansion of securities law.
17
              Moreover, because there are no allegations in the Amended Complaint that ownership of
18
     any of the Tokens creates any legal relationship between the owner of one or more of these
19
     assets and any other person or entity, adopting the SEC’s embodiment theory would require the
20
       1
21       See Exhibit 1 for the annotated smart contract code for one of the Tokens that uses the ERC-20 token standard.
     As is evident, the code alone does not create an interest in any entity or legal right against, or undertaking of, any
22   entity.
     2
       This position is explicitly stated by the SEC in a filing in another case, S.E.C. v. Ripple Labs, Inc., No. 20-cv-
23   10832 (AT) (SN) (S.D.N.Y.) (“Ripple Labs”), which is currently pending outside this Circuit. See Ripple Labs, Pl.
     Mem. of Law in Opp’n to Mot. to Intervene, ECF No. 153 at p. 24 (where the SEC acknowledged that the purported
24   security in the case is not “simply” the crypto asset at issue, known as XRP, and instead asserted that the crypto
     asset is the “embodiment” of the facts, circumstances, promises, and expectations that constitute the purported
25   investment contract and therefore that XRP represents the purported investment contract). No judicial authority was
     cited for this proposition.

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                                                     New York, NY 10010                   Seattle, WA 98121
     PAGE 5                                           Tel. 212.994.6845                    Tel. 206.739.8383
               Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 7 of 215




     Court to endorse the concept of “issuer-independent” securities – securities whose existence is
 1

 2   not linked to a single identifiable issuer.3

 3            An identifiable issuer-owner relationship is critical to the analysis underlying the

 4   Amended Complaint; however, because third-party market participants, like the Defendants,

 5   must be able to practicably ascertain whether the asset they are selling or purchasing is a
 6   security. Yet under the SEC’s embodiment theory, transactions with tokens could be considered
 7
     securities transactions without (i) a defined set of rights or obligations set out in a legal
 8
     instrument (not alleged in the Amended Complaint) or (ii) the presence of an identifiable legal
 9
     relationship between an “issuer” (within the meaning of the Exchange Act) and the owner of the
10
     asset (not alleged in the Amended Complaint with respect to the Defendants).4
11

12            As a result, without a legal agreement to review or a business relationship to evaluate, the

13   Defendants, and all other market participants transacting in the Tokens are left to guess at

14   whether a court would conclude that one or more of the Tokens does, or does not, “embody” an

15   ongoing investment scheme at any given time they transact. This inevitable uncertainty would
16
     leave the Defendants and all parties transacting in one of the Tokens potentially responsible for
17
     compliance with the federal securities laws as a broker, a dealer, a national securities exchange,
18

19
      3
20       For example, the legal entity that deployed the original smart contract code that created the Token and/or the
     legal entity (or entities) that initially sold a Token to raise funds could subsequently dissolve in a legally appropriate
21   manner and the Token (i.e., the ledger entry recorded in the relevant blockchain network) would continue to exist.
     This is not possible with any other type of security known to federal securities law where, if the specific entity that
22   is the “issuer” of the security dissolved, the security would continue to exist in a legally cognizable sense.
      4
        In all of the appellate cases in this Circuit where an investment contract transaction was found to be present, there
23   has always been an identifiable business relationship (and, in almost all federal appellate cases, an actual legal
     agreement) between the party alleged to have created or promoted the relevant investment scheme and the person or
24   entity that provided the “investment of money” required by Howey. This business or contractual relationship with
     the promoter of the scheme or investment allows the person or entity making the investment of money to have
25   access to the information needed to determine whether they are engaging in a securities transaction, including
     private information.

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                                                       New York, NY 10010                    Seattle, WA 98121
     PAGE 6                                             Tel. 212.994.6845                     Tel. 206.739.8383
               Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 8 of 215




     an investment advisor or investment company, or otherwise without an ability to definitively
 1

 2   determine whether they are transacting in a token that “embodies” an investment contract.

 3             Even taking into account the broad remedial purposes of federal securities laws,

 4   embracing the embodiment theory would be neither an appropriate nor an effective extension or

 5   modernization of the Howey jurisprudence as a matter of public policy. And, certainly, such a
 6   deviation from current law should not be imposed retrospectively on the Defendants.
 7
     Essentially, the SEC seems to suggest that market participants should simply assume that the
 8
     Tokens and, based on public statements made by the SEC’s Chair and other senior officials of
 9
     the SEC,5 virtually all crypto assets, are securities until the SEC tells them otherwise, a power
10
     not granted to the SEC by the Congress.6
11

12
                                                     ARGUMENT
13
          I.   THE TOKENS ARE NOT “SECURITIES” UNDER ANY CURRENTLY
14             RECOGNIZED APPLICATION OF THE SECURITIES ACTS.

15             A.      In the Absence of Extrinsic Factors, the Tokens Are Not Inherently or
               Intrinsically Securities
16

17             Examined independently from any extrinsic factors, such as the manner in which they

18   were sold, distributed or promoted, the Tokens are simply ledger entries (numbers) maintained

19    5
         See, e.g., Ankush Khardori, “Can Gary Gensler Survive Crypto Winter? D.C.’s top financial cop on Bankman-
     Fried blowback”, New York Mag. (Feb. 23. 2023), available at: https://nymag.com/intelligencer/2023/02/gary-
20   gensler-on-meeting-with-sbf-and-his-crypto-crackdown.html (in which Chair Gensler is quoted as stating that
     “everything other than bitcoin” is a security because “there’s a group in the middle and the public is anticipating
21   profits based on that group.”); see also Gary Gensler, “Kennedy and Crypto”, Speech (Sept. 8, 2022), available at:
     https://www.sec.gov/news/speech/gensler-sec-speaks-090822 (“Of the nearly 10,000 tokens in the crypto market, I
22   believe the vast majority are securities”); see also Gary Gensler, “A ‘New’ New Era,” Prepared Remarks Before the
     International Swaps and Derivatives Association Annual Meeting (May 11, 2022), available at:
     https://www.sec.gov/news/speech/gensler-remarks-swaps-and-derivatives-association-annual-meeting-051122
23   (expressing the view that “[w]ithout prejudging any one [crypto] token, most crypto tokens are investment contracts
     under the Supreme Court’s Howey Test.”).
24
       6
         It should be noted that amicus expresses no view as to whether the individuals or entities that offered or sold
25   these assets violated the federal securities laws at any point; we address only the question of whether the facts
     alleged in the Amended Complaint support a finding that the Defendants engaged in securities transactions.

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     PAGE 7                                          Tel. 212.994.6845                   Tel. 206.739.8383
              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 9 of 215




     by a network of computers operating a common protocol. This is shown through an examination
 1

 2   of a representative sample of the smart contract code that created the Tokens. See Exhibit 1.7

 3           It is possible that a token created and sold by a company could be paired with a legally

 4   recognized interest in, or an enforceable agreement of, that company. In such a case, it would be

 5   this interest or agreement that would constitute the “security”. For example, a company could
 6   expressly designate a given token as the means by which an owner of the token could evidence
 7
     its ownership interest in the company or enforce a traditional legal agreement against the
 8
     company.8 In this way, the token would theoretically function similarly to a stock or bond
 9
     certificate.
10
             However, none of the Tokens are alleged to be associated with a legally recognized
11

12   interest in any company nor do they create any enforceable legal right for the benefit of the

13   owner against any third party. Rather, the Amended Complaint relies on a range of vague

14   statements made by persons presumed to be associated with the companies or unincorporated

15   businesses that initially sold the tokens. For example, XY Labs, Inc., a company associated with
16
     the development of the XY token, is alleged to have posted a “roadmap” with target dates for the
17
     development of the XYO Network. Amended Complaint, at ¶149. However, it is not alleged
18
     that this “post” was intended to create a binding obligation of XY Labs to meet this roadmap,
19

20       For a more in-depth look at how crypto assets in general are created (“minted”), transferred, and destroyed
         7

     (“burned”), see David J. Kappos, Lee A. Schneider, Daniel M. Barabander, & Callum A.F. Sproule, “Fuzzy
21   Tokens: Thinking Carefully about Technical Classification Versus Legal Classification of Cryptoassets,” available
     at https://btlj.org/wp-content/uploads/2023/03/Kappos_WebFile_02-28-23.pdf
22   8
       For an example of a company intentionally associating a crypto asset with a specific legal promise, see
     Amendment 11 to INX Limited Registration Statement on Form F-1 (“each INX Token held by parties other than
23   the Company, shall entitle its holder to receive a Pro Rata Portion … of an aggregate amount which equals 40% of
     our cumulative Adjusted Operating Cash Flow, net of Adjusted Operating Cash Flows that have already formed a
24   basis            for              a              prior             distribution”)         available           at
     https://www.sec.gov/Archives/edgar/data/0001725882/000121390020023078/ea125736-
25   f1a11_inxlimited.htm#a_014.


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                                                   New York, NY 10010                 Seattle, WA 98121
     PAGE 8                                         Tel. 212.994.6845                  Tel. 206.739.8383
              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 10 of 215




     enforceable by holders of the XY token. Rather, the post can at most be alleged to create general
 1

 2   expectations on the part of future purchasers of the XY tokens, a concept which is discussed

 3   below.

 4            These and other statements set out in the Amended Complaint may be sufficient to allow

 5   a court to conclude that the various fundraisings utilizing the Tokens were “investment contract
 6   transactions” (discussed below), but they do not establish that these assets are themselves
 7
     intrinsically “securities” by reference to an identified interest or agreement. As a result, other
 8
     than potentially being offered and sold as part of an “investment contract”, the Tokens do not fall
 9
     within any of the other enumerated types of “security” in the Securities Acts.
10

11            B.    The Tokens Themselves Are Not Securities Because They May Have Initially
              Been Sold in Investment Contract Transactions.
12

13                   1.    The Allegations in the Amended Complaint Are Only Relevant to the
                     Question of Whether the Tokens Were Initially Sold in Investment Contract
14
                     Transactions.
15
              The Amended Complaint focuses on the actions of the persons or entities that acted as
16
     “promoters” of the Tokens, noting that each of the Tokens “were offered and sold by an issuer to
17
     raise money that would be used for the issuer’s business”. Amended Complaint, at ¶101. Under
18
     current law, a “scheme” to fundraise by offering an asset that is not otherwise a security (a “non-
19

20   security asset”, whether it be animals being grown for their pelts, whiskey aging in barrels, or a

21   crypto asset), together with some accompanying undertakings on the part of the fundraising

22   entity to increase that asset’s value over time or to produce income from the asset when made to
23   a person with no “consumptive interest” in that asset will be an investment contract transaction.
24

25


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                                              New York, NY 10010             Seattle, WA 98121
     PAGE 9                                    Tel. 212.994.6845              Tel. 206.739.8383
              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 11 of 215




     See Howey, 328 U.S. at 299-300.9                In Howey, the Supreme Court evaluated whether the
 1

 2   circumstances of a given contract, transaction or scheme involves: (1) an investment of money

 3   (2) in a common enterprise (3) with an expectation of profits to come (4) solely10 from the efforts

 4   of the promoter or a third party. See id. at 298.

 5            The Supreme Court and Ninth Circuit appellate courts have consistently noted that
 6   whether an investment contract scheme is present will be based on all of the facts and
 7
     circumstances involved.11          However, the Amended Complaint provides relatively brief and
 8
     selective descriptions of the activities purportedly giving rise to the underlying investment
 9
     contract transactions that are supposedly “embodied” by the Tokens.12 For example, in an
10
     attempt to show that purchasers of Amp tokens from Flexa invested in a “common enterprise”,
11

12   the SEC alleges that the Amp token can be staked in collateral pools to secure the network and

13   that “[i]f the collateral pools are profitable, investors who stake Amp can share in the profits”.

14   Amended Complaint, at ¶114. Yet the Amended Complaint does not present any details as to

15   how many holders staked Amp, the amount of profit they earned, those purchasers’ reasons for
16

17     9
         In a much smaller number of cases under Howey, there is an unusual legal instrument that sets out certain rights
     or interests conveyed to an owner but which does not fall clearly within any of the other enumerated categories in
18   the definitions of “security” in the Securities Acts. Examples include a flexible fund annuity offered by an insurance
     company to its customers (S.E.C. v. United Benefit Life, 387 U.S. 202 (1967)), and nonnegotiable capital shares in a
19   state-chartered savings and loan association (Tcherepnin v. Knight, 389 U.S. 332 (1967)). However, none of the
     Tokens belong to this type of investment contract arrangement.
20
      10
         This standard has been modified in subsequent decisions to no longer require that the efforts made are “solely”
21   from the others involved in the scheme, however this distinction is not material to the arguments made in this brief.

22
      11
         See, e.g., Landreth Timber Co. v. Landreth, 471 U.S. 681, 689 (1985) (“an unusual instrument could be
     considered a "security" if the circumstances of the transaction so dictated.”)
23    12
         The facts alleged with respect to each of the nine Tokens in the Amended Complaint run between approximately
     three pages to approximately six pages in length. In contrast, the SEC’s complaint against LBRY, Inc. alleging sales
24   of crypto assets in violation of Section 5 of the Securities Act ran 16 pages and the SEC’s first amended complaint
     on a similar theory against Ripple Labs, Inc. and two of its senior executives ran 79 pages. See S.E.C. v. LBRY, Inc.,
25   D.N.H. Case No. 1:21-CV-00260 D.E. 1 (March 29, 2021), and S.E.C. v. Ripple Labs, Inc. et al., No. 20-10832
     (S.D.N.Y. Dec. 22, 2020), ECF No. 4.

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                                                      New York, NY 10010                  Seattle, WA 98121
     PAGE 10                                           Tel. 212.994.6845                   Tel. 206.739.8383
             Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 12 of 215




     acquiring Amp, or whether they had other strategic reasons for participating in the network.
 1

 2   Likewise, we are told that 20% of Amp’s predecessor token was allocated to the founding team

 3   and an employee pool. See Amended Complaint, at ¶116. Yet the Amended Complaint fails to

 4   specify how many of the recipients stayed with Flexa or the extent to which their contributions

 5   were material to the success of the project (as opposed to, say, factors outside the control of these
 6   individuals) in order to support the allegation of a common enterprise.
 7
             In the absence of robust pleading, amicus believes that it is not possible to conclude that
 8
     the allegations in the Amended Complaint are sufficient to support even the basic claim that the
 9
     Tokens were initially sold pursuant to investment contract transactions.
10

11                    2.     Even If the Court Finds that the Allegations in the Amended
                      Complaint Are Sufficient to Support a Claim that the Tokens Were Initially
12                    Sold by Promoters Pursuant to Investment Contract Transactions, the SEC
13                    Fails to Correctly Apply the Howey Test to the Defendants’ Specific
                      Transactions.
14

15           To the extent that the SEC wishes to allege that the Defendants’ purchases and sales of

16   the Tokens were also investment contract transactions, under current law in the Ninth Circuit, all
17   four Howey factors must be established at the time each transaction took place. This principle is
18
     illustrated in Hocking v. Dubois, 885 F.2d 1449 (9th Cir. 1989) (en banc) (“Hocking II”), where
19
     the full Ninth Circuit analyzed a transaction under Howey that did not directly involve as a party
20
     the entity that would purportedly be the “issuer” of the alleged investment scheme (a real estate
21
     developer).13
22

23           In Hocking II, an individual investor looking for an income-producing property

24   purchased a rentable condominium unit from the unit’s original purchasers in a secondary

25    13
         For a more detailed discussion of Hocking II, see Lewis Cohen et al., The Ineluctable Modality of Securities
     Law: Why Fungible Crypto Assets Are Not Securities (Nov. 10, 2022) at pp. 58 – 61.

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     NO.: 2:22-cv-01009-TL
                                                   New York, NY 10010                 Seattle, WA 98121
     PAGE 11                                        Tel. 212.994.6845                  Tel. 206.739.8383
            Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 13 of 215




     transaction based on information about the unit developer’s rental scheme provided to Hocking
 1

 2   by his broker, Dubois. When the deal went sour, Hocking sued his broker, alleging that the

 3   secondary sale was an investment contract transaction subject to the antifraud provisions of the

 4   Exchange Act in which the broker made misrepresentations. The District Court found that

 5   Hocking’s transaction did not constitute an investment contract. See Hocking v. Dubois, 839
 6   F.2d 560, 562 (9th Cir. 1988) (“Hocking”) (describing trial court opinion), modified on reh'g en
 7
     banc, 885 F.2d 1449 (9th Cir. 1989) (en banc). However, a tribunal of the Ninth Circuit
 8
     reversed, finding that an “offering of a condominium with [a rental pool agreement]
 9
     automatically makes the [transaction an investment contract].”’ Id. at 565. The SEC also took
10
     the highly unusual step of submitting an amicus brief to the court arguing that the facts in
11

12   Hocking did not warrant the finding of an investment contract transaction. After a rehearing by

13   the full Ninth Circuit, the outcome was reversed again, to find that the arrangement did not

14   automatically constitute an investment contract transaction.       Accordingly, the case was

15   remanded back to the lower court for further fact finding. On rehearing, the Hocking II majority
16
     reasoned:
17
            We agree with defendants and amici that the three-judge panel may have written too
18          broadly its conclusion that so long as a rental pool ‘option’ exists, all secondary market
            sales necessarily involve a security. Such a per se rule would be ill-suited to the
19          examination of the economic reality of each transaction required by Howey.
20   Hocking II, 885 F.2d at 1462 (emphasis added). Critically, the majority in Hocking II did not
21
     assume that because the purchase of the condominium and the rental pool agreement directly
22
     from the developer would have constituted an investment contract transaction, that the purchase
23
     of those same items in a transaction with a secondary seller through the broker should
24
     automatically be treated as an investment contract transaction as well. See id. at 1456. Rather,
25
     the majority’s analysis relied on an application of the Howey test to the specific facts and
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     NO.: 2:22-cv-01009-TL
                                             New York, NY 10010            Seattle, WA 98121
     PAGE 12                                  Tel. 212.994.6845             Tel. 206.739.8383
            Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 14 of 215




     circumstances surrounding Hocking’s (secondary market) purchase of the condominium and the
 1

 2   rental purchase agreement before them. Following Hocking II, this Court should dismiss the

 3   SEC’s Amended Complaint for its failure to plead allegations that the Defendant’s specific

 4   transactions in the Tokens met the definition of “investment contracts” at the time and in the

 5   context they took place.
 6
                    3.     Instead of Establishing that the Defendants’ Specific Transactions in
 7                  the Tokens Meet the Howey Test, the Amended Complaint Inappropriately
                    Alleges that these Assets Are Securities Because the Promoters’ Schemes Are
 8
                    “Continuing”.
 9
            To correctly apply the Howey test to the Defendants’ transactions, the Amended
10
     Complaint would need to show how each of such transactions met all four prongs of the Howey
11
     test at the time they occurred – something that the Amended Complaint fails to do. Instead, the
12

13   Amended Complaint alleges that facts which attempt to establish that the Tokens were sold by

14   promoters in investment schemes that are “ongoing,” somehow resulting in the Defendants’

15   purchases and sales separately constituting investment contract transactions.          This is a

16   misapplication of Howey that departs from all precedent.
17          Neither the Ninth Circuit nor any other federal appellate court has ever suggested that the
18
     object of the investment contract (i.e., an asset, like the Tokens, that is not intrinsically a
19
     security), if transferred between unaffiliated third parties, in any way represents or “embodies”
20
     the underlying investment scheme.      See Lewis Cohen et al., The Ineluctable Modality of
21
     Securities Law: Why Fungible Crypto Assets Are Not Securities (“Why Fungible Crypto Assets
22

23   Are Not Securities”) (Nov. 10, 2022), at pp. 55-58, attached as Exhibit 2. Rather than following

24   75 years of accepted Howey jurisprudence by focusing its enforcement efforts on the actions of

25   the persons it has identified as the promoters of investment schemes involving the Tokens, the


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     NO.: 2:22-cv-01009-TL
                                             New York, NY 10010             Seattle, WA 98121
     PAGE 13                                  Tel. 212.994.6845              Tel. 206.739.8383
            Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 15 of 215




     SEC’s Amended Complaint instead seeks to apply the Exchange Act to the Defendants, who are
 1

 2   third-party purchasers of the Tokens. This unsupported expansion of the Securities Acts shifts

 3   the burden of compliance from the persons who may have sold non-security assets to raise funds

 4   for a business without SEC registration to the third-party owners of these assets – the very

 5   persons the Securities Acts are intended to protect. See Amended Complaint, at ¶100.
 6          The locus of the SEC’s misreading of Howey in the context of secondary transactions in
 7
     non-security assets, such as the Tokens, is the “common enterprise” element of the test. In
 8
     fundraisings that are considered investment contract transactions, persons provide capital to the
 9
     “enterprise” in exchange for some non-security asset that, generally, the purchaser has no
10
     consumptive interest in. The common enterprise exists due to the shared “investment of money”
11

12   between the asset purchaser and the promoter. However, absent unusual facts not alleged in the

13   Amended Complaint, secondary market purchasers of non-security assets initially sold in an

14   investment contract transaction do not provide any funding to the relevant promoters and

15   therefore cannot be said to be in a “common enterprise” with the promoter or other owners of the
16
     asset within the meaning of Howey.
17
            In their analysis of each of the Tokens, the SEC attempts to establish the existence of a
18
     “common enterprise” primarily on the basis that the Token owners share a “common interest”
19
     with the alleged promoters. For example, “Amp investors share a common interest with Flexa’s
20
     management team”. See Amended Complaint, at ¶116. “DerivaDEX and its management team
21

22   retain the vast majority of the ‘emitted’ DDX token, creating a common interest between

23   management and other investors”. Amended Complaint, at ¶138. However, this conclusion is

24   mistaken. There are many examples where non-security assets are purchased partially or entirely
25   for their profit potential and derive their value significantly from the purchaser’s reasonable

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     NO.: 2:22-cv-01009-TL
                                             New York, NY 10010            Seattle, WA 98121
     PAGE 14                                  Tel. 212.994.6845             Tel. 206.739.8383
            Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 16 of 215




     expectations of the actions of “others”. Absent some other relationship between the parties, this
 1

 2   relatively familiar arrangement does not create a “common enterprise” between the asset

 3   purchaser and the “others” within the meaning of Howey. These include:

 4              •   A speculative buyer that made a secondary purchase of a parcel of real estate that
 5                  was part of a larger development may reasonably expect the developer that owns
 6
                    many of the other nearby parcels to add features to the development that would
 7
                    increase the value of all of these parcels based on statements made in advertising
 8
                    brochures concerning the development published by the developer;
 9
                •   A fund acquiring certain cartel-supported commodities (like diamonds or crude
10
                    oil) for investment purposes may reasonably expect the relevant cartel (e.g., De
11

12                  Beers or OPEC) to maintain production levels that support publicly announced

13                  unit price targets that would benefit both the buyer and the cartel members;

14              •   A hobbyist collector/investor in children’s limited-edition plush dolls may see a
15
                    social media post by the dolls’ manufacturer and reasonably expect a particular
16
                    line of dolls to be discontinued by the manufacturer after a run of a certain
17
                    volume, increasing scarcity and therefore price of the dolls, providing profit to the
18
                    buyer and enhancing demand for future toys to be sold by the manufacturer;
19
                •   A purchaser of bitcoin might reasonably expect the declining market price of the
20

21                  asset to stabilize following the public statements of the CEO of a publicly traded

22                  technology company that the company would maintain their extensive holdings of

23                  bitcoin for the foreseeable future, providing an economic benefit to the purchaser
24                  and the public company.
25


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                                               New York, NY 10010            Seattle, WA 98121
     PAGE 15                                    Tel. 212.994.6845             Tel. 206.739.8383
            Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 17 of 215




     In none of these cases would a court in the Ninth Circuit have judicial precedent to find that the
 1

 2   third-party asset buyer is in a “common enterprise” within the meaning of Howey. The fact that

 3   the buyer had a shared economic interest with the real estate developer, the commodities cartel,

 4   the doll manufacturer, or the public company, which had made public statements that could

 5   reasonably be interpreted as having a positive impact on the price of the asset is not sufficient to
 6   find a common enterprise.
 7
            To bolster the “common interest” argument, the Amended Complaint references a highly
 8
     selective set of statements made by the parties that deployed the smart contract code creating the
 9
     Tokens or otherwise sold these assets to others. However, not only is it not alleged that the
10
     Defendants were aware of these facts, in many cases the SEC’s alleged facts are not ones it
11

12   would even be possible for the Defendants (or any other third party) to be aware of. For

13   example, the statements “Rally … applied to Coinbase to have RLY listed” (Amended

14   Complaint, at ¶127); “DerivaDEX and its management team retain the vast majority of ‘emitted’

15   DDX tokens” (Amended Complaint, at ¶138); “XY’s day-to-day operations and Board of
16
     Directors are run by a centralized leadership group that include [sic] two of XY’s three co-
17
     founders” (Amended Complaint, at ¶ 154) each contain non-public information.
18
            Yet the Amended Complaint suggests that, as a matter of law in the Ninth Circuit, the
19
     Court should accept that the very brief periods of common ownership of the Tokens between the
20
     Defendants and the promoters of the various schemes associated with these assets, without any
21

22   alleged contractual or other relationship between the parties or even allegations that the

23   Defendants were aware of the facts alleged about these schemes, is sufficient to establish a

24   “common enterprise” for purposes of Howey. Having cited limited evidence to support their
25   assertion that the initial fundraising sales of the Tokens constituted investment contract

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     NO.: 2:22-cv-01009-TL
                                              New York, NY 10010             Seattle, WA 98121
     PAGE 16                                   Tel. 212.994.6845              Tel. 206.739.8383
            Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 18 of 215




     transactions, the SEC then completely fails to present any meaningful factual allegations to
 1

 2   support the proposition that the Defendants’ secondary transactions in those assets are also

 3   investment contract transactions, instead making a cursory observation that “the hallmarks of the

 4   definition of a security” continue to exist “at all times relevant to the conduct alleged in [the

 5   Amended Complaint]”. Amended Complaint, at ¶105.
 6
                    4.     In light of the Fundamental Deficiencies with the Amended
 7                  Complaint’s Traditional Howey Analysis, We Are Left with an Argument
                    that, in Effect, the Tokens “Embody” the Original Promoters’ Alleged
 8
                    Investment Schemes and Thus “Become” Securities While these Schemes are
 9                  Ongoing.

10          The last way the SEC may seek to persuade the Court that the Tokens “are” securities

11   (without having to establish how the Defendants entered into separate investment contract
12   transactions) is by asserting that these assets “embody” the underlying investment schemes and
13
     thus are temporary securities for so long as the original scheme is “ongoing.” In Ripple Labs,
14
     despite citing no legal authority, the SEC took the position that the token, known as XRP,
15
     although not itself a security, function as the “embodiment” of the facts, circumstances,
16
     promises, and expectations that constitute the purported investment contract and therefore that
17

18   the crypto asset represents the purported investment contract. See Supra fn. 2.

19          However, the SEC has not cited any case law for the proposition that an asset that itself is

20   not a security can “evidence” an investment contract and thus become a temporary security,

21   either in the Amended Complaint or, to the knowledge of amicus, anywhere else. In fact, a
22   review of the case law in Why Fungible Crypto Assets Are Not Securities demonstrates that this
23
     is not something found elsewhere in the entirety of Howey appellate jurisprudence. Holding
24
     aside the merits of adopting the embodiment theory (discussed below), it would be wholly
25


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                                             New York, NY 10010             Seattle, WA 98121
     PAGE 17                                  Tel. 212.994.6845              Tel. 206.739.8383
              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 19 of 215




     inappropriate to allow charges to be brought against the Defendants based on a novel theory of
 1

 2   the law of which the Defendants could not have had any knowledge.

 3

 4    II.     THE SEC’S ATTEMPTED EXPANSION OF HOWEY JURISPRUDENCE
              WHICH WOULD EFFECTIVELY TREAT CRYPTO ASSETS AS SECURITIES
 5            BASED ON EXTERNAL FACTORS ON A TEMPORARY BASIS, IS
              UNFOUNDED, UNWORKABLE AND CONTRARY TO THE FUNDAMENTAL
 6            STRUCTURE OF THE FEDERAL SECURITIES LAWS, WHICH ASSUMES A
              LEGAL RELATIONSHIP BETWEEN AN ISSUER OF A SECURITY AND THE
 7            OWNER.
 8
              The SEC has suggested that the “flexibility” of the Howey test should allow them to
 9
     extend its scope to any circumstance in which it concludes that investor protection is required.14
10
     In order to capture secondary activity in most crypto assets within the jurisdiction of the SEC,
11
     the Amended Complaint stretches the Supreme Court’s reasoning in Howey and its progeny past
12
     its breaking point. The catch-all concept in the definitions of “security” in the Securities Acts,
13

14   “investment contract”, has been used to bring fundraising transactions that elevate form over

15   substance within the ambit of the federal securities laws. However, until now, the concept of

16   “investment contract” has not been extended to activities of companies or individuals not directly
17   or indirectly part of those fundraising transactions, and that is for good reason.
18
              Market participants purchasing or selling an asset must be able to evaluate on their own
19
     whether the asset they transact in would be considered a security under the Securities Acts.
20
     Where the asset consists of an instrument that sets forth the rights and benefits that ownership of
21
     the asset conveys, market participants can conduct that analysis and reach a reliable conclusion.
22
     However, it is not reasonable to expect the Defendants or other purchasers of the Tokens to
23

24
       14
            See, e.g., Gary Gensler, “Kennedy and Crypto”, Speech (Sept. 8, 2022), available at:
25   https://www.sec.gov/news/speech/gensler-sec-speaks-090822 (stating, “[n]othing about the crypto markets is
     incompatible with the securities laws. Investor protection is just as relevant, regardless of underlying technologies.”)

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     NO.: 2:22-cv-01009-TL
                                                      New York, NY 10010                   Seattle, WA 98121
     PAGE 18                                           Tel. 212.994.6845                    Tel. 206.739.8383
              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 20 of 215




     attempt to locate the original sellers of the crypto assets (and, potentially, loosely affiliated
 1

 2   entities or individuals), monitor their ongoing statements across all media and communication

 3   channels and their other potentially relevant activities (e.g., public appearances) and make a

 4   determination on their own as to whether the original investment scheme is still “ongoing” and

 5   as such determine its status as a security.
 6           It is also unclear how the Defendants or other purchasers of the Tokens should weigh
 7
     different statements by different parties,15 and how these statements may (or may not) persuade a
 8
     court that a “common enterprise” and the other elements of the Howey test are present. In the
 9
     SEC’s view, it appears that as long as there are one or more entities that both own some
10
     (indeterminate) amount of the Token and are in any way promoting the benefits of the associated
11

12   protocol on an “ongoing” basis, then these circumstances should be sufficient to create a

13   “common enterprise” resulting in the crypto asset embodying the purportedly ongoing

14   investment scheme. But, as discussed above, such an approach would not apply in similar

15   circumstances in the case of real estate, crude oil, diamonds, plush dolls, or bitcoin – why should
16
     it apply to the Tokens? This approach would be wholly inconsistent with how statements with
17
     respect to other non-security assets made by third parties are viewed – even where there is a
18
     shared economic interest among owners of the asset in question.
19
             The embodiment theory inherently conflicts with a basic assumption of the federal
20
     securities laws: that all securities will have an “issuer”—an identifiable person or entity that
21

22   creates the security and against whom a securityholder’s rights can be exercised. Each type of

23   security enumerated by Congress in the Securities Acts, other than “investment contracts” which

24
       15
          For example, if a statement is made in a blog post is that more relevant than a statement made in a tweet? What
25   if there are contradictory or apparently superseding statements made by different persons working on a project?
     How should statements made by person no longer actively involved in a project be weighed?

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     NO.: 2:22-cv-01009-TL
                                                     New York, NY 10010                 Seattle, WA 98121
     PAGE 19                                          Tel. 212.994.6845                  Tel. 206.739.8383
              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 21 of 215




     are defined by case law, of necessity involves a legal relationship volitionally established by an
 1

 2   identifiable legal entity that acts as the issuer of the security and the various other parties who,

 3   from time to time, are owners of that. This legal relationship can be determined by third parties

 4   through an examination of a legal instrument – the “security” – with obligations on the part of

 5   the issuer that are readily discernible from an examination of the written documentation.
 6            If the Court were to adopt the embodiment theory, it would present insurmountable
 7
     difficulties for market participants in the U.S. seeking to buy, hold or sell crypto assets. Neither
 8
     the Defendants nor any other purchaser of a Token in a secondary market transaction has any
 9
     way of knowing or determining all of the “facts, circumstances, promises, and expectations” that
10
     might be deemed by a court reviewing the circumstances in hindsight to be “embodied” in any
11

12   given crypto asset. Moreover, many of these circumstances relevant to a Howey analysis may

13   not be matters of the public record or capable of discovery by third parties who lack the SEC’s

14   subpoena power.

15            To make matters even more complicated, in such circumstances, courts do not rely solely
16
     on the contractual agreements between the parties to evaluate whether the arrangement
17
     constituted an investment contract transaction or scheme, a point driven home in this Circuit by
18
     the SEC themselves.16 As a result, even if the Defendants or other persons transacting in the
19
     Tokens had access to all relevant documents and public statements about the assets and the
20
     related protocol, other non-public actions or statements could be deemed to supersede the public
21

22   information concerning the assets and the promoters available to the Defendants.

23
      16
         In the SEC’s amicus curiae brief filed in Salameh, et al. v. Tarsadia Hotel et al., 726 F.3d 1124 (9th Cir. 2013),
24   a case involving purchases of condominiums in the Hard Rock Hotel San Diego alleged to be a disguised securities
     transaction by the plaintiffs, they write that the district court “placed dispositive weight on these representations [in
25   the Purchase Contract] and, in doing so, failed to fully consider the broader realities of the overall transaction.” Br.
     of Amicus Curiae SEC at 16-17.

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     NO.: 2:22-cv-01009-TL
                                                       New York, NY 10010                   Seattle, WA 98121
     PAGE 20                                            Tel. 212.994.6845                    Tel. 206.739.8383
             Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 22 of 215




             In addition, to correctly apply the Howey test, a party would have to make its evaluation
 1

 2   each and every time a specific transaction takes place when the facts and circumstances could be

 3   constantly changing and third parties seeking to own, use and transfer crypto assets do not have

 4   the economic resources or incentive to constantly monitor this information. As demonstrated by

 5   the research undertaken in Why Fungible Crypto Assets Are Not Securities, it is hardly a “fact”
 6   that each and every time a specific transaction takes place, the transaction is a securities
 7
     transaction. Indeed, in totality, of the 253 relevant federal appellate decisions reviewed, a
 8
     majority (56%) of those relevant disputes end either in a conclusion by the court that no
 9
     investment contract was present and thus that the Securities Acts should not apply to the
10
     transaction (42%), or remand for further fact-finding (12%).         More specifically, the Ninth
11

12   Circuit, which has thus far been responsible for 27% of all federal appellate investment contract

13   cases, has found that an investment contract was not present, or remanded for further

14   proceedings, in 53% of all of its decisions, thus highlighting that a Howey analysis is particularly

15   challenging to get right. Implementing the embodiment theory would present insurmountable
16
     difficulties for market participants to evaluate all the applicable facts and circumstances on their
17
     own, or risk strict liability violations of the Securities Acts.
18
                                                CONCLUSION
19
             There is no basis in current law to classify the Tokens as “investment contracts” when
20
     purchased and sold by the Defendants because these crypto assets are not themselves securities
21

22   and the Defendants’ purchases and sales of the Tokens would not be properly characterized as

23   investment contract transactions under current interpretations of the Howey Test in the Ninth

24   Circuit. In addition, there is no current jurisprudential authority for asserting that the Tokens
25   somehow “embody” an ongoing investment scheme being undertaken by parties unrelated to the

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     NO.: 2:22-cv-01009-TL
                                                New York, NY 10010           Seattle, WA 98121
     PAGE 21                                     Tel. 212.994.6845            Tel. 206.739.8383
            Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 23 of 215




     Defendants. The SEC ignores the correct application of Howey to each transaction and instead,
 1

 2   attempts to create a de facto presumption that most, if not all, crypto assets are themselves

 3   investment contracts despite the fact that there is no legal or logical basis for such a presumption.

 4   This approach is untethered from the powers conferred on the SEC by Congress.

 5          For the aforementioned reasons, the SEC has not met its burden of alleging facts
 6   sufficient to establish that the Defendants entered into securities transactions, requiring the Court
 7
     to grant the Defendants’ Motion to Dismiss.
 8
            Dated: March 9, 2023                   ADMON LAW FIRM PLLC
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 24 of 215




                       EXHIBIT 1
         Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 25 of 215




                          Annotated XY Token Smart Contract Code

Note: Below is the XY Token Smart Contract code deployed to Ethereum Mainnet on December
6th, 2021. Descriptive annotations are provided in red italics directly preceding the code in bold.

                            +++++++++++++++++++++

pragma solidity 0.8.2;

abstract contract Context {
  function _msgSender() internal view virtual returns (address) {
    return msg.sender;
  }

    function _msgData() internal view virtual returns (bytes calldata) {
      return msg.data;
    }
}

// Part: OpenZeppelin/openzeppelin-contracts@4.3.2/IERC20

 * Interface of the ERC20 standard as defined in the EIP.
interface IERC20 {

     * Returns the amount of tokens in existence.
    function totalSupply() external view returns (uint256);

     * Returns the amount of tokens owned by `account`.
    function balanceOf(address account) external view returns (uint256);

     * Moves `amount` tokens from the caller's account to `recipient`.
    function transfer(address recipient, uint256 amount) external returns (bool);

    * Returns the remaining number of tokens that `spender` will be allowed to spend on behalf
of `owner` through {transferFrom}.
    * This is zero by default.
    * This value changes when {approve} or {transferFrom} are called.
   function allowance(address owner, address spender) external view returns (uint256);

     * Sets `amount` as the allowance of `spender` over the caller's tokens.
    function approve(address spender, uint256 amount) external returns (bool);

     * Moves `amount` tokens from `sender` to `recipient` using the allowance mechanism.
        Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 26 of 215



     * `amount` is then deducted from the caller's allowance.
    function transferFrom(
       address sender,
       address recipient,
       uint256 amount
    ) external returns (bool);

    * Emitted when `value` tokens are moved from one account (`from`) to another (`to`).
    * Note that `value` may be zero.
    event Transfer(address indexed from, address indexed to, uint256 value);

    * Emitted when the allowance of a `spender` for an `owner` is set by a call to {approve}.
    * `value` is the new allowance.
    event Approval(address indexed owner, address indexed spender, uint256 value);
}

// Part: OpenZeppelin/openzeppelin-contracts@4.3.2/IERC20Metadata

 * Interface for the optional metadata functions from the ERC20 standard.
interface IERC20Metadata is IERC20 {

     * Returns the name of the token.
    function name() external view returns (string memory);

     * Returns the symbol of the token.
    function symbol() external view returns (string memory);

     * Returns the decimals places of the token.
    function decimals() external view returns (uint8);
}

// Part: OpenZeppelin/openzeppelin-contracts@4.3.2/Ownable

 * Contract module which provides a basic access control mechanism, where there is an
account (an owner) that can be granted exclusive access to specific functions.
 * By default, the owner account will be the one that deploys the contract.
 * This can later be changed with {transferOwnership}.
abstract contract Ownable is Context {
   address private _owner;

  event OwnershipTransferred(address indexed previousOwner, address indexed
newOwner);

    * Initializes the contract setting the deployer as the initial owner.
         Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 27 of 215



    constructor() {
      _setOwner(_msgSender());
    }

    * Returns the address of the current owner.
    * Current owner’s address is 0x0000000000000000000000000000000000000000 address,
a burn address
  function owner() public view virtual returns (address) {
      return _owner;
   }

     * Throws if called by any account other than the owner.
    modifier onlyOwner() {
       require(owner() == _msgSender(), "Ownable: caller is not the owner");
       _;
    }

     * Leaves the contract without owner.
     * It will not be possible to call`onlyOwner` functions anymore.
     * Can only be called by the current owner.
    function renounceOwnership() public virtual onlyOwner {
        _setOwner(address(0));
    }

     * Transfers ownership of the contract to a new account (`newOwner`).
     * Can only be called by the current owner.
    function transferOwnership(address newOwner) public virtual onlyOwner {
       require(newOwner != address(0), "Ownable: new owner is the zero address");
       _setOwner(newOwner);
    }

    function _setOwner(address newOwner) private {
      address oldOwner = _owner;
      _owner = newOwner;
      emit OwnershipTransferred(oldOwner, newOwner);
    }
}

// Part: OpenZeppelin/openzeppelin-contracts@4.3.2/ERC20

 * Implementation of the {IERC20} interface.
contract ERC20 is Context, IERC20, IERC20Metadata {
   mapping(address => uint256) private _balances;
    Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 28 of 215



mapping(address => mapping(address => uint256)) private _allowances;

uint256 private _totalSupply;

string private _name;
string private _symbol;

 * Sets the values for {name} and {symbol}.
 * All two of these values are immutable: they can only be set once during construction.
constructor(string memory name_, string memory symbol_) {
   _name = name_;
   _symbol = symbol_;
}

 * Returns the name of the token.
function name() public view virtual override returns (string memory) {
   return _name;
}

 * Returns the symbol of the token, usually a shorter version of the name.
function symbol() public view virtual override returns (string memory) {
   return _symbol;
}

 * Returns the number of decimals used to get its user representation.
  function decimals() public view virtual override returns (uint8) {
   return 18;
}

  * See {IERC20-totalSupply}.
function totalSupply() public view virtual override returns (uint256) {
  return _totalSupply;
}

 * See {IERC20-balanceOf}.
function balanceOf(address account) public view virtual override returns (uint256) {
   return _balances[account];
}

* See {IERC20-transfer}.
* Requirements:
* - `recipient` cannot be the zero address.
* - the caller must have a balance of at least `amount`.
        Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 29 of 215



  function transfer(address recipient, uint256 amount) public virtual override returns
(bool) {
    _transfer(_msgSender(), recipient, amount);
    return true;
  }

    * See {IERC20-allowance}.
  function allowance(address owner, address spender) public view virtual override
returns (uint256) {
      return _allowances[owner][spender];
   }

   * See {IERC20-approve}.
   * Requirements:
   * - `spender` cannot be the zero address.
  function approve(address spender, uint256 amount) public virtual override returns
(bool) {
      _approve(_msgSender(), spender, amount);
     return true;
  }

   * See {IERC20-transferFrom}.
   * Emits an {Approval} event indicating the updated allowance.
   * Requirements:
   * - `sender` and `recipient` cannot be the zero address.
   * - `sender` must have a balance of at least `amount`.
   * - the caller must have allowance for ``sender``'s tokens of at least `amount`.
  function transferFrom(
      address sender,
      address recipient,
      uint256 amount
  ) public virtual override returns (bool) {
      _transfer(sender, recipient, amount);

     uint256 currentAllowance = _allowances[sender][_msgSender()];
     require(currentAllowance >= amount, "ERC20: transfer amount exceeds
allowance");
     unchecked {
       _approve(sender, _msgSender(), currentAllowance - amount);
     }

      return true;
  }
        Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 30 of 215



    * Atomically increases the allowance granted to `spender` by the caller.
    * Emits an {Approval} event indicating the updated allowance.
    * Requirements:
    * - `spender` cannot be the zero address.
  function increaseAllowance(address spender, uint256 addedValue) public virtual
returns (bool) {
       _approve(_msgSender(), spender, _allowances[_msgSender()][spender] +
addedValue);
      return true;
   }

   * Atomically decreases the allowance granted to `spender` by the caller.
   * Emits an {Approval} event indicating the updated allowance.
   * Requirements:
   * - `spender` cannot be the zero address.
   * - `spender` must have allowance for the caller of at least `subtractedValue`.
  function decreaseAllowance(address spender, uint256 subtractedValue) public virtual
returns (bool) {
      uint256 currentAllowance = _allowances[_msgSender()][spender];
     require(currentAllowance >= subtractedValue, "ERC20: decreased allowance below
zero");
      unchecked {
         _approve(_msgSender(), spender, currentAllowance - subtractedValue);
     }

      return true;
  }

   * Moves `amount` of tokens from `sender` to `recipient`.
   * This internal function is equivalent to {transfer}
   * Emits a {Transfer} event.
   * Requirements:
   * - `sender` cannot be the zero address.
   * - `recipient` cannot be the zero address.
   * - `sender` must have a balance of at least `amount`.
  function _transfer(
      address sender,
      address recipient,
      uint256 amount
  ) internal virtual {
     require(sender != address(0), "ERC20: transfer from the zero address");
     require(recipient != address(0), "ERC20: transfer to the zero address");

      _beforeTokenTransfer(sender, recipient, amount);
      Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 31 of 215




    uint256 senderBalance = _balances[sender];
    require(senderBalance >= amount, "ERC20: transfer amount exceeds balance");
    unchecked {
      _balances[sender] = senderBalance - amount;
    }
    _balances[recipient] += amount;

    emit Transfer(sender, recipient, amount);

    _afterTokenTransfer(sender, recipient, amount);
}

/** Creates `amount` tokens and assigns them to `account`, increasing the total supply.
 * Emits a {Transfer} event with `from` set to the zero address.
 * Requirements:
 * - `account` cannot be the zero address.
function _mint(address account, uint256 amount) internal virtual {
   require(account != address(0), "ERC20: mint to the zero address");

    _beforeTokenTransfer(address(0), account, amount);

    _totalSupply += amount;
    _balances[account] += amount;
    emit Transfer(address(0), account, amount);

    _afterTokenTransfer(address(0), account, amount);
}

 * Destroys `amount` tokens from `account`, reducing the total supply.
 * Emits a {Transfer} event with `to` set to the zero address.
 * Requirements:
 * - `account` cannot be the zero address.
 * - `account` must have at least `amount` tokens.
function _burn(address account, uint256 amount) internal virtual {
   require(account != address(0), "ERC20: burn from the zero address");

    _beforeTokenTransfer(account, address(0), amount);

    uint256 accountBalance = _balances[account];
    require(accountBalance >= amount, "ERC20: burn amount exceeds balance");
    unchecked {
      _balances[account] = accountBalance - amount;
    }
        Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 32 of 215



      _totalSupply -= amount;

      emit Transfer(account, address(0), amount);

      _afterTokenTransfer(account, address(0), amount);
  }

   * Sets `amount` as the allowance of `spender` over the `owner` s tokens.
   * This internal function is equivalent to `approve`
   * Emits an {Approval} event.
   * Requirements:
   * - `owner` cannot be the zero address.
   * - `spender` cannot be the zero address.
  function _approve(
      address owner,
      address spender,
      uint256 amount
  ) internal virtual {
     require(owner != address(0), "ERC20: approve from the zero address");
     require(spender != address(0), "ERC20: approve to the zero address");

      _allowances[owner][spender] = amount;
      emit Approval(owner, spender, amount);
  }

    * Hook that is called before any transfer of tokens. This includes minting and burning.
    * Calling conditions:
    * - when `from` and `to` are both non-zero, `amount` of ``from``'s tokens will be transferred to
`to`.
    * - when `from` is zero, `amount` tokens will be minted for `to`.
    * - when `to` is zero, `amount` of ``from``'s tokens will be burned.
    * - `from` and `to` are never both zero.
     function _beforeTokenTransfer(
       address from,
       address to,
       uint256 amount
   ) internal virtual {}

   * Hook that is called after any transfer of tokens. This includes minting and burning.
   * Calling conditions:
   * - when `from` and `to` are both non-zero, `amount` of ``from``'s tokens has been
transferred to `to`.
   * - when `from` is zero, `amount` tokens have been minted for `to`.
   * - when `to` is zero, `amount` of ``from``'s tokens have been burned.
          Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 33 of 215



     * - `from` and `to` are never both zero.
      function _afterTokenTransfer(
        address from,
        address to,
        uint256 amount
    ) internal virtual {}
}

// File: XYToken.sol

/// @title XYToken is the XY Finance governance token
contract XYToken is ERC20, Ownable {

   /// This contract should be deployed on all periphery chains.
   /// - On Ethereum, `amount` is set to `100,000,000 * 1e18` and `renounceOwnership` should
be called right after the contract is deployed, to make sure the cap is `100,000,000 * 1e18`.
   /// - On other chains, `amount` is set to `0`. The contract is served as a XY Token bridge
through mint-and-burn.
   /// @param name XY Token name
   /// @param symbol XY Token symbol
   /// @param vault Address where initial `amount` XY Token is sent
   /// @param amount Amount of XY Token is minted when the contract is deployed
   constructor(string memory name, string memory symbol, address vault, uint256
amount) ERC20(name, symbol) {
       _mint(vault, amount);
   }

    mapping (address => bool) public isMinter;

    modifier onlyMinter {
      require(isMinter[msg.sender], "ERR_NOT_MINTER");
      _;
    }

Gives “address minter” minting privileges
  function setMinter(address minter, bool _isMinter) external onlyOwner {
    isMinter[minter] = _isMinter;

        emit SetMinter(minter, _isMinter);
    }

Function mints amount to associated account
  function mint(address account, uint256 amount) external onlyMinter {
    _mint(account, amount);
        Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 34 of 215



    }

Function will burn amount from account balance
  function burn(uint256 amount) external {
    _burn(msg.sender, amount);
  }

    event SetMinter(address minter, bool isMinter);
}
Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 35 of 215




                       EXHIBIT 2
  Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 36 of 215




 THE INELUCTABLE
  MODALITY OF
 SECURITIES LAW:
  WHY FUNGIBLE
CRYPTO ASSETS ARE
 NOT SECURITIES
                           DISCUSSION DRAFT




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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 37 of 215
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       THE INELUCTABLE MODALITY OF SECURITIES LAW:
           WHY FUNGIBLE CRYPTO ASSETS ARE NOT
                       SECURITIES

                                 LEWIS RINAUDO COHEN
                                   GREGORY STRONG
                                    FREEMAN LEWIN
                                     SARAH CHEN

                                        ABSTRACT
     Securities regulators in the United States have repeatedly asserted that most
     fungible blockchain-based crypto assets are clearly securities under current law.
     This perspective may at first seem understandable. Much of the interest in crypto
     assets to date has been driven by their investment potential, and the judicial
     adoption of this position would give U.S. securities regulators jurisdiction over
     nearly all activity taking place with these assets. But this assertion is incorrect.
     An exhaustive review of the relevant appellate case law and the related legal
     scholarship demonstrates that this position is inconsistent with the Supreme
     Court’s definition of the term “investment contract” as developed by federal
     appellate courts for nearly a century.

     This Article addresses the federal securities law status of fungible crypto assets
     not intended to be a type of traditional security, with a focus on secondary
     transactions in these assets, such as those effected on a centralized crypto asset
     marketplace, like Coinbase, or through the use of a smart contract-based
     protocol, like Uniswap. Such crypto assets lack the ineluctable hallmarks of a
     security – (i) they neither create nor represent the necessary legal relationship
     between an identifiable person or entity and the owner of the asset and (ii)
     marketplace-based secondary transfers of these assets do not create investment
     contract transactions. Moreover, treating these fungible crypto assets as
     securities implies a need for the development of an entirely new concept in federal
     securities law: “issuer-independent securities”.

     Capital raising from investors, whether involving sales of crypto assets or
     anything else of value, is incontrovertibly subject to the protections provided by
     U.S. securities laws, as has been demonstrated through numerous successful
     enforcement actions by securities regulators. Expanding the reach of federal
     securities law to characterize fungible crypto assets as securities is both
     unnecessary and misguided. Instead, the legitimate policy concerns raised by
     non-capital raising activity involving crypto assets should be addressed by
     Congress. We examine these concerns and discuss the approaches adopted in
     several Congressional bills introduced during 2022, which the authors believe
     could form the basis of a reasonable and balanced solution to the unique issues
     raised by the trading of fungible crypto assets in non-fundraising transactions.




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         THE INELUCTABLE MODALITY OF SECURITIES LAW:
        WHY FUNGIBLE CRYPTO ASSETS ARE NOT SECURITIES


                                   LEWIS RINAUDO COHEN*
                                    GREGORY STRONG**
                                     FREEMAN LEWIN***
                                      SARAH CHEN****


               We waited the whole morning and made the best of it, watching the
               seals come up in hundreds to bask upon the seashore, till at noon the
               old man of the sea came up too, and when he had found his fat seals
               he went over them and counted them. We were among the first he
               counted, and he never suspected any guile, but laid himself down to
               sleep as soon as he had done counting. Then we rushed upon him with
               a shout and seized him; on which he began at once with his old tricks,
               and changed himself first into a lion with a great mane; then all of a
               sudden he became a dragon, a leopard, a wild boar; the next moment
               he was running water, and then again directly he was a tree, but we
               stuck to him and never lost hold, till at last the cunning old creature
               became distressed, and said, ‘Which of the gods was it, Son of Atreus,
               that hatched this plot with you for snaring me and seizing me against
               my will? What do you want?’

               Homer, The Odyssey, Book IV.



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     use of crypto assets and blockchain technology.
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                                                  2
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              The subject of the applicability of federal securities law to crypto
            1
     assets has received extensive coverage from regulators,2 academics,3
     practitioners4 and others.5 Historically, much of this attention focused on
     transactions referred to as initial coin offerings (also known as ICOs).6
     ICOs, which reached their zenith in 2018 and then, within the U.S. at least,
     largely disappeared from sight, are a type of fundraising transaction in
     which blockchain-based crypto assets are sold to investors, usually to raise
     funds intended to develop or promote a new technology platform,
     constructed around a finite or provably scarce number of fungible crypto
     assets.7

     1 Throughout this Article, we use the term “crypto asset” to refer to an asset that is uniquely
     identifiable through the use of cryptography and blockchain technology. In various places,
     the term “token” is also used to refer to a crypto asset that conforms to a certain industry
     standard, such as ERC-20. See Section I.B. infra.
     2 See, e.g., William Hinman, Director, Division of Corporation Finance, U.S. Securities

     and Exchange Commission (the “SEC” or the “Commission”), Remarks at the Yahoo
     Finance All Markets Summit: Crypto (entitled “Digital Asset Transactions: When Howey
     Met Gary (Plastic)” (June 14, 2018) (the “Hinman Speech”), available at
     https://www.sec.gov/news/speech/speech-hinman-061418; see also, Framework for
     “Investment Contract” Analysis of Digital Assets, SEC Division of Corporation Finance
     (Apr. 3, 2019), available at https://www.sec.gov/corpfin/framework-investment-contract-
     analysis-digital-assets (the “SEC Token Framework”).
     3 See, e.g., Primavera De Filippi & Aaron Wright, Blockchain and the Law: The Rule of

     Code (2018).
     4 See, e.g., Joseph Hall and Jai Massari, Regulating Crypto Shouldn’t Hinge on Securities

     Status,         Law360           March          17,         2022,         available          at,
     https://www.law360.com/articles/1474636/regulating-crypto-shouldn-t-hinge-on-
     securities-status; see also, Gabriel Shapiro, S.E.C. v. Telegram—Three Deeper Takeaways,
     Medium (May 21, 2020), available at https://lex-node.medium.com/sec-v-telegram-three-
     deeper-takeaways-423b197f76d6.
     5 See, e.g., Anna Baydakova, Digital Chamber Asks Court to Draw Line Between

     Investment Contracts and Assets in Telegram Case, CoinDesk (Jan. 22, 2020),
     https://www.coindesk.com/policy/2020/01/22/digital-chamber-asks-court-to-draw-line-
     between-investment-contracts-and-assets-in-telegram-case/.
     6 For these purposes, we also include within the term “ICO” arrangements in which a

     centralized crypto asset marketplace is used to facilitate a distribution of crypto assets
     (sometimes referred to as an “initial exchange offering” or “IEO”) or where a
     “decentralized exchange is used for the same purpose (sometimes referred to as an “initial
     decentralized exchange offering” or “IDO”). More recently, some similar arrangements
     have been referred to as “initial farm offerings” or “IFOs”, which may also have
     characteristics of ICOs, IEOs or IDOs. Although most of these transactions are no longer
     made in the style and format of 2018-era ICOs, few of the platforms used effectively block
     U.S. persons able to master the minimal technology skills required to utilize the services
     of a virtual private network (known as VPN).
     7 This Article focuses primarily on fungible crypto assets created substantially all at one

     time using blockchain technology (usually referred to as a “pre-mine”) and intended to be
     a functional part of a “decentralized” protocol of automated code that responds
     deterministically to validly formatted instructions (such protocols are referred to herein as
     a “project”). These are the crypto assets, like ether (“ether”) that are most widely traded
     and discussed and are the assets that can be found listed among the “Top 100” crypto assets
     on sites like coinmarketcap.com and coingecko.com. Separately, there is also increasing
     interest in crypto assets commonly known as “stablecoins” (see infra note [89] and
     accompanying text)—digital assets whose value is generally directly or indirectly pegged
     to a major fiat currency, some of which have indicia of money markets instruments or other
     types of securities—and non-fungible crypto assets (often referred to as “non-fungible
     tokens” or “NFTs”) which can be very fluid in form and exhibit a range of characteristics.


                                                    3
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              The nature of ICOs and their brief, wild run of popularity for
     fundraising in the U.S. has obscured a critical distinction between the
     status of a crypto asset sold in the transaction under federal securities law8,
     on one hand, and the status of the fundraising transaction of which that
     crypto asset was a part, on the other. Thus, we see regulators,9
     commentators10 and private litigants11 alike asserting that the subject
     crypto assets are themselves securities, at least temporarily.
              Commentators considering crypto assets and federal securities
     law12 have generally recognized13 that most crypto assets do not fall
     directly within one of the enumerated categories in the definition of the
     term “security” in either the Securities Act of 1933, as amended (the
     “Securities Act”)14 or the Securities Exchange Act of 1934, as amended

     Although there are cases where the issues discussed herein can also apply to stablecoins or
     NFTs, unless specifically identified, references to “crypto assets” or “tokens” herein should
     be read to apply to fungible, provably scarce blockchain-based crypto assets not purporting
     to have an intrinsic fiat money value. Finally, the original and most popular crypto asset,
     bitcoin, along with a small number of largely derivative crypto assets like litecoin, are
     generally not discussed as “securities” and outside the scope of this Article.
     8 This Article is generally limited to the application of the U.S. federal securities laws
                                                                                                to
     crypto assets and transactions in these assets. Although state securities laws (generally
     known as “Blue Sky laws”) are also relevant to transactions in crypto assets, a thorough
     consideration of the similarities and differences between these laws and the federal
     securities laws is beyond the scope of this Article.
     9 See, e.g., SEC Chair Gary Gensler, Speech: “Kennedy and Crypto”, September 8, 2022,

     available at https://www.sec.gov/news/speech/gensler-sec-speaks-090822 (“Of the nearly
     10,000 tokens in the crypto market, I believe the vast majority are securities” (footnote
     omitted)) (“Kennedy and Crypto”).
     10 See, e.g., Thomas L. Hazen, Tulips, Oranges, Worms, and Coins – Virtual, Digital, or

     Crypto Currency and the Securities Laws, 20 N.C. J.L. & Tech. 493 (2019) (“This article
     concludes that under most, if not all, circumstances, crypto currencies are likely to be
     securities.”)
     11 See, e.g., Complaint, Risley v. Universal Navigation Inc. et al., 1:22-cv-02780-KPF

     (S.D.N.Y.) (“Risley”) (“From April 5, 2021 through the present…Uniswap has offered and
     sold unregistered securities, including EthereumMax, Bezoge Earth, Matrix Samurai,
     Alphawolf Finance, Rocket Bunny, and BoomBaby.io…throughout the United States on
     its Exchange, without registering as a national securities exchange or as a broker-dealer,
     and without there being any registration statements in effect for the Tokens it was selling,
     all in violation of applicable law.”)
     12 There has already been extensive legal scholarship on securities laws and crypto assets,

     including: Shaanan Cohney et al., Coin-Operated Capitalism, 119 Colum. L. Rev. 591
     (2019); Carol R. Goforth, Cinderella's Slipper: A Better Approach to Regulating
     Cryptoassets as Securities, 17 Hastings Bus. L.J. 271 (2021); Yuliya Guseva, A Conceptual
     Framework for Digital-Asset Securities: Tokens and Coins as Debt and Equity, 80 Md. L.
     Rev. 166 (2021); Thomas L. Hazen, Tulips, Oranges, Worms, and Coins -- Virtual, Digital,
     or Crypto Currency and the Securities Laws, 20 N.C. J.L. & Tech. 493 (2019); Michael
     Mendelson, From Initial Coin Offerings to Security Tokens: A U.S. Federal Securities Law
     Analysis, 22 Stan. Tech. L. Rev. 52 (2019) (“ICOs to Security Tokens”); James J. Park and
     Howard H. Park, Regulation by Selective Enforcement: The SEC and Initial Coin
     Offerings, 61 Wash. U. J. L. & Pol’y 99 (2020); and Usha Rodrigues, Semi-Public
     Offerings? Pushing the Boundaries of Securities Law (2018) (“Semi-Public Offerings”);
     however, throughout all of this and other scholarship on securities law and crypto assets,
     much less focus has been placed on the particular characteristics of, and unique issues
     arising from, secondary transactions in these assets, as discussed in this Article.
     13 See, e.g., ICOs to Security Tokens and Semi-Public Offerings, supra note [12] (both

     applying the concept of “investment contract” to their analysis of ICOs and crypto assets).
     14 15 U.S. Code § 77a et seq.


                                                  4
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 41 of 215
                         DISCUSSON DRAFT: NOVEMBER 10, 2022
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     (the “Exchange Act”15 and, collectively with the Securities Act, the
     “Securities Acts”).16 Instead, they have trained their focus on the

     15   15 U.S. Code § 78a et seq.
     16   The Securities Act defines “security” as follows:

              (a) When used in this title, unless the context otherwise requires-
                 (1) The term ‘‘security’’ means any note, stock, treasury stock,
                     security future, security-based swap, bond, debenture, evidence
                     of indebtedness, certificate of interest or participation in any
                     profit-sharing      agreement,       collateral-trust     certificate,
                     preorganization certificate or subscription, transferable share,
                     investment contract, voting-trust certificate, certificate of deposit
                     for a security, fractional undivided interest in oil, gas, or other
                     mineral rights, any put, call, straddle, option, or privilege on any
                     security, certificate of deposit, or group or index of securities
                     (including any interest therein or based on the value thereof), or
                     any put, call, straddle, option, or privilege entered into on a
                     national securities exchange relating to foreign currency, or, in
                     general, any interest or instrument commonly known as a
                     ‘‘security’’, or any certificate of interest or participation in,
                     temporary or interim certificate for, receipt for, guarantee of, or
                     warrant or right to subscribe to or purchase any of the foregoing.

     Securities Act § 2(1), 15 U.S.C. § 77b(a)(1).

     Alternatively, the Exchange Act defines “security” as follows:

                 (a) When used in this title, unless the context otherwise requires-
                     (10) the term “security” means any note, stock, treasury stock,
                     security future, security-based swap, bond debenture, certificate
                     of interest or participation in any profit-sharing agreement or in
                     any oil, gas, or other mineral royalty or lease, any collateral-trust
                     certificate, preorganization certificate or subscription,
                     transferable share, investment contract, voting trust certificate,
                     certificate of deposit for a security, any put, call, straddle, option,
                     or privilege on any security, certificate of deposit, or group or
                     index of securities (including any interest therein or based on the
                     value thereof), or any put, call, straddle, option, or privilege
                     entered into on a national securities exchange relating to foreign
                     currency, or in general, any instrument commonly known as a
                     ‘‘security’’; or any certificate of interest or participation in,
                     temporary or interim certificate for, receipt for, or warrant or right
                     to subscribe to or purchase, any of the foregoing; but shall not
                     include currency or any note, draft, bill of exchange, or banker’s
                     acceptance which has a maturity at the time of issuance of not
                     exceeding nine months, exclusive of days of grace, or any renewal
                     thereof the maturity of which is likewise limited.

     Securities Exchange Act of 1934 §3(a)(10), 15 U.S.C. §78(c)(a)(10).

     Although the statutory definition of a security differs slightly between the Securities Act
     and the Exchange Act, courts generally recognize them as being functionally equivalent.
     See, e.g., United Housing Found., Inc. v. Forman, 421 U.S. 837, 847 (1974) (“Forman”)
     (noting that the definitions of “security” in the Securities Act and Exchange Act are
     “virtually identical and, for present purposes, coverage of two Acts may be considered the
     same”). The most notable difference in the definition of the term “security” for purposes
     of the federal securities laws can be found in the Investment Company Act of 1940 (15
     U.S.C. § 80a et seq.) which scopes in a much broader range of instruments within its ambit,
     including accounts receivable and commercial loans. However, because all of these exhibit


                                                     5
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 42 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     applicability of one of the statutory catch-all categories found in both Acts:
     “investment contract”.17 This has led many to ask: “Is this crypto asset an
     investment contract?”. As we demonstrate below, this flawed question has
     resulted in significant confusion as to how federal securities law applies to
     crypto assets, resulting in inevitably flawed outcomes.18
             This Article provides a robust examination of crypto assets under
     the Securities Acts, focusing on the regulatory framework applicable to
     the exchange of these assets in true secondary19 transactions. The correct
     analytical approach asks whether a given contract, transaction, or scheme
     involving the purchase or sale of a crypto asset would be considered an
     investment contract transaction—taking into account the full judicially-
     mandated definition of an “investment contract” as set forth by the
     Supreme Court in S.E.C. v. W.J. Howey Co.20 This definition, in a case
     famously dealing with a sale of land parcels used as orange groves, known



     the same characteristics (i.e., the necessity of a clear legal relationship between an “issuer”
     and an owner of the “security”) as the somewhat narrower set found in the definition in the
     Securities Acts, we do not need to address that definition here.
     17 Where a crypto asset is intended by the seller to constitute a “security” of another type

     enumerated in the Securities Act or the Exchange Act (such as shares of stock or other
     identified equity interests, a bond, a voting-trust certificate, or a fractional undivided
     interest in oil, gas, or other mineral rights), that crypto asset is generally referred to as a
     “security token” and is outside the scope of this Article as the securities law status of the
     crypto asset is not in dispute. In addition, depending on their design and features,
     stablecoins may raise additional issues that are also beyond the scope of this Article.
     Likewise, if a crypto asset were to be “commonly known as a security” by users of the
     asset in the marketplace, other considerations would apply; however, to our knowledge,
     this is not currently the case with most crypto assets. Finally, there are a limited number
     of cases that involve an instrument that is not one of the enumerated types of “securities”
     in the Securities Acts, but which would, but for the name given to the instrument or
     inconsequential features, be considered a “security”. We refer to these instruments as
     “securities equivalents” (see infra text at note [131]) Nevertheless, we recognize that
     because the definition of the term “security” is principles based, some case-by-case
     examination will always be required; the goal of this Article is to set out a framework for
     considering the federal securities law status of most fungible crypto assets, with a particular
     focus on when these assets are sold in secondary transactions.
     18 The conclusion that most crypto assets are not properly characterized as securities under

     current law should not be read to suggest that the authors believe that those who fundraise
     through sales of crypto assets and companies that are operators of marketplaces for
     secondary transactions in crypto assets should be free from disclosure obligations and
     regulatory oversight. To the contrary, the authors support the implementation of a strong
     but appropriate regulatory framework – see Section [V.B], infra.
     19 We consider most sales of crypto assets by affiliates and persons acting, or deemed to be

     acting, as an agent of the person or entity that created the crypto asset as equivalent to a
     sale by the asset creator themselves. References herein to “secondary” transactions in
     crypto assets refer to transactions in these assets by persons other than the person or entity
     that created the crypto asset, by affiliates of that person or entity, or by persons acting, or
     deemed to be acting, as an agent of that person or entity. See discussion of the Telegram
     case, Section [III.C.1] infra.
     20 S.E.C. v. W.J. Howey Co., 328 U.S. 293 (1946) (“Howey”). Because Congress chose

     not to define the term “investment contract” in either the Securities Act or the Exchange
     Act, it was left to the courts to define the parameters of this term. In Howey, the Supreme
     Court first articulated the test used to determine whether an investment contact is present.
     Although this standard has been subject to considerable interpretation since 1946, its basic
     elements continue to be applied to this day.
                                                   6
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 43 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     as the “Howey test”, looks to whether the “circumstances”21 of a given
     contract, transaction or scheme involves: (1) an investment of money (2)
     in a common enterprise (3) with an expectation of profits to come (4)
     solely from the efforts of the promoter or a third party.22 Treating most
     crypto assets as securities without examining whether the circumstances
     in which these assets are offered or sold create investment contract
     transactions is not supported by current law.23
              To better understand the correct application of federal securities
     law to crypto assets we will focus on first principles. Under federal
     securities law, the proper status of crypto assets themselves, as well as
     transactions in crypto assets, can only be ascertained, first, through an
     understanding of what, exactly, a crypto asset is and then, by applying this
     understanding to the extensive case law and legal scholarship on
     investment contract transactions.
              Accordingly, we begin by examining crypto assets in some detail,
     both in terms of the technology used to create them and the legal rights, if
     any, that flow from them. This description takes into account the authors’
     direct experience advising a wide range of market participants about
     activities involving the use of crypto assets. We then examine relevant
     case law and legal scholarship in detail, concluding that that most crypto
     assets are not securities under the Securities Acts. Our conclusions are
     based on an analysis of 266 relevant federal appellate and Supreme Court

     21 Id. at p. 297. Justice Frankfurter’s dissent adds further gloss on the majority’s use of the
     term “circumstances”: “‘Investment contract’ is not a term of art; it is conception dependent
     upon the circumstances of a particular situation.” Id. at p. 301 (Frankfurter, J., dissenting).
     Later cases interpreting the term “investment contract” have repeatedly emphasized that
     the evaluation must be made based on all of the “facts and circumstances” of the
     transaction. See, e.g., Lino v. City Investing Co., 487 F.2d 689 (3d Cir. 1973) (considering
     the written agreement that governed the relationship at issue as well as the “facts and
     circumstances surrounding the agreement”); Vincent et al. v. Moench, et al., 473 F.2d 430,
     435 (10th Cir. 1973) (noting that “[w]hether a particular investment is a security depends
     upon the facts and circumstances of the case.”); Goodman v. Epstein, 582 F.2d 388, 406
     (7th Cir. 1978) (“…the existence or non-existence of an “investment contract” must be
     determined from the actual facts and circumstances of the investment arrangement and not
     from the existence or non-existence of a ‘stock certificate’ alone.”).
     22 The last prong of the
                                 Howey test is generally regarded as having been modified by
     subsequent case law to require an expectation of profits derived from the essential
     entrepreneurial or managerial efforts of others. See S.E.C. v. Glenn W. Turner Enter., Inc.,
     474 F.2d 476, 482 (9th Cir. 1973), cert. denied, 414 U.S. 821 (1973), although it should be
     noted that while the Supreme Court acknowledged this position in footnote 16 of Forman,
     421 U.S. 852 n. 16, (1975), it expressed no view in that respect, nor has it ever
     unequivocally adopted the position. The application of the law on investment contracts to
     crypto assets is made all the more challenging because it is based on constantly evolving
     judge-made rules around the definition and the inclusiveness of the term “investment
     contract”, making it one of the most complex subjects in the field of securities law and
     itself the subject of extensive legal scholarship long before the advent of crypto assets. See,
     e.g., Rodney L. Moore, Defining an Investment Contract: The Commonality Requirement
     of the Howey Test, 43 WASH. & LEE L. REV. 1057 (1986).
     23 As will be seen in Section I.A., infra, whether dealing with crypto assets within scope of

     this Article (see, supra, note [17]), Howey’s orange groves, or seeds for an entirely new
     type of fruit with characteristics more similar to those exhibited by crypto assets, none of
     these items are themselves securities.
                                                   7
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                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     decisions24 which considered whether a particular contract, transaction, or
     scheme should be deemed to constitute an investment contract transaction.
     A discussion and statistical analysis of these cases can be found in Annex
     A. Schedules 1 through 3 break out the relevant decisions based on
     whether the court found an investment contract to be present (Schedule 1),
     whether no investment contract was found to be present (or the decision
     was superseded by statute) (Schedule 2), or, generally, whether the court
     reversed, remanded, found a security, or determined that the question at
     issue related to the status of a “note” (Schedule 3). As an additional
     resource, Schedule 4 lists notable early “investment contract” decisions,
     state court decisions, and decisions discussing the applicability of
     securities laws to crypto assets and not otherwise discussed in this Article.
     For the convenience of readers, Schedule 5 sets out the complete list of
     cases reviewed in alphabetical order. We also reviewed substantially all
     of what we considered the most relevant legal scholarship on the topic of
     investment contracts and the definition of the term “security”, a
     bibliography of which is contained in Annex B. The authors are not aware
     of any other equivalent comprehensive analysis in the published academic
     scholarship on this topic.
              This is not to say that federal securities law has no role in
     providing investor protection in transactions involving crypto assets.
     Indeed, for the reasons frequently articulated by the staff and
     Commissioners of the SEC, we concur that many, if not most, ICOs and
     similar fundraising sales of crypto assets comfortably fit the mold of
     “contracts, transactions or schemes” that constitute investment contract
     transactions (and thus securities transactions).25 There have been a variety
     of proposals to address concerns with fundraising sales of crypto assets as
     a practical means for sponsors of crypto asset-based projects intended not
     to be bound to a group of traditional equity investors to raise funds from
     the general public.26 The most notable and well-developed of these is the
     Safe Harbor 2.0 proposal made by SEC Commissioner Hester Peirce.27


     24 Both Circuit Court and Supreme Court decisions were considered. To the best of the
     authors’ knowledge, this constitutes a complete set of all relevant appellate decisions to
     date examining whether an investment contract was present in the matter before the
     relevant court. Those cases in which the concept of “investment contracts” arose
     tangentially, but was not relevant to the court’s conclusions, are not cited (but nonetheless
     were reviewed).
     25 This will be the case regardless of whether the offers and sales are made by the legal

     entity seeking to raise funds or by other entities found effectively to be acting as agents of,
     or in concert with, the fundraising entity. See, e.g., S.E.C. v. Telegram Group, Inc., 448 F.
     Supp. 3d 352 (S.D.N.Y. 2020) (“Telegram”).
     26 In the authors’ experience, presently, substantially all fundraising sales of crypto assets

     conducted within the United States occur in transactions with accredited investors that
     qualify for the exemption from registration contained in Section 4(a)(2) of the Securities
     Act.
     27 See Hester Peirce, “Token Safe Harbor Proposal 2.0” (April 13, 2021), available at

     https://www.sec.gov/news/public-statement/peirce-statement-token-safe-harbor-proposal-
     2.0. See also, LeXpunK Army, “Reg-X-Proposal-An-Exempt-Offering-Framework-for-


                                                   8
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 45 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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               The question we are interested in here, however, is not the
     regulatory treatment of these fundraising transactions, which is reasonably
     clear. Rather, what concerns us is the applicability of federal securities
     law to the crypto assets themselves.28 Despite frequent incantations to the
     contrary by regulators29 (and periodic obfuscations by defendants in these
     suits), the Securities Acts apply to transactions involving crypto assets
     only if: (i) the offer or sale of the crypto asset constituted or was part of an
     identifiable investment contract transaction meeting the four prongs of the
     Howey test at the time that the transaction occurred or (ii) the crypto asset
     itself constituted some type of security independent of the circumstances
     of the transaction in which it is sold.
             The appropriate application of the Securities Acts thus
     encompasses the types of fundraising activities those laws were intended
     to address as well as those crypto assets that have the character of a
     security. At the same time, this application inherently avoids much of the
     unnecessary confusion regarding the status of crypto assets themselves in
     secondary transactions and custodial situations that has arisen from the
     varied approaches taken by regulators in enforcement actions thus far.30
              Unfortunately, the relatively clear two-part analytic path we set
     out in the penultimate paragraph above has so far not been pursued by
     regulators or the private plaintiff’s bar. Instead, three different approaches
     have been taken in securities law-based enforcement actions and private
     litigation involving crypto assets. First, some statements made by the SEC
     suggest that the Commission may in fact take position set out in our prong

     Token-Issuances” available at https://github.com/LeXpunK-Army/Reg-X-Proposal-An-
     Exempt-Offering-Framework-for-Token-Issuances.
     28 This distinction generally arises (i) in non-fundraising transactions involving crypto

     assets, such as those taking place on crypto asset marketplaces or facilitated by dealers or
     other intermediaries between parties other than the person or entity raising funds to develop
     the project to which the asset relates (or those acting on their behalf) and (ii) custodial
     relationships involving third parties holding crypto assets on behalf of others. We consider
     most sales of crypto assets by affiliates and persons acting, or deemed to be acting, as an
     agent of the person or entity that created the crypto asset as equivalent to a sale by the asset
     creator themselves. References in this Article to “secondary” transactions in crypto assets
     refer to transactions in these assets by persons other than the person or entity that created
     the crypto asset, by affiliates of that person or entity, or by persons acting, or deemed to be
     acting, as an agent of that person or entity. See discussion of the Telegram case Section
     [III.C.1] infra.
     29 See, e.g., Gary Gensler, SEC Chair, Kennedy and Crypto, supra note [9]; Prepared

     Remarks at the Penn Law Capital Markets Association Annual Conference (April 4, 2022)
     (“My predecessor Jay Clayton said it, and I will reiterate it: Without prejudging any one
     token, most crypto tokens are investment contracts under the Howey Test.”); and Gurbir
     Grewal, Director of the Division of Enforcement, SEC, “2021 Regulation Outside the
     United States, Scott Friestad Memorial Keynote Address” (Nov. 8, 2021), available at:
     https://www.sec.gov/news/speech/grewal-regulation-outside-united-states-110821
     (stating that “[t]he threshold issue in each of [the enforcement] cases is whether the crypto
     asset or token is a security, and therefore subject to the registration and disclosure
     requirements of the federal securities laws.”).
     30 The failure by regulators to articulate a clear and consistent doctrine that underlies these

     approaches has also resulted in significant “coattail” private litigation in which putative
     class action lawsuits have been brought against companies developing blockchain
     technology by plaintiffs mimicking SEC statements. See, e.g., Risley, supra note [11]).
                                                    9
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                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     “(i)” above and agree that a separate examination of the circumstances of
     each transaction is required whenever crypto assets are exchanged
     between a buyer and a seller to see if all four elements of the Howey test
     have been met in that transaction.31 However, because of the particular
     enforcement circumstances in which this position has been taken, we have
     not yet seen the SEC’s complete analysis of how this approach should be
     applied to other real-world situations that market participants may
     encounter. For example, while relatively straightforward when applied to
     fundraising sales of crypto assets (at least as far as Howey analyses go), in
     the context of secondary transactions, this approach necessitates a
     dispositive determination that all four Howey prongs were met at the
     particular time the relevant secondary transaction takes place.32
              Second, on other occasions, we see fungible crypto assets referred
     to simply as “securities” without any further modification or
     clarification.33 In these cases, the Commission’s position appears to be
     that, once sold in an unregistered investment contract transaction in
     violation of Section 5 of the Securities Act, the crypto asset itself becomes
     a security such that any subsequent transfer of the crypto asset will also be
     a securities transaction, irrespective of the circumstances of that
     transaction or future circumstances.34
              Apparently cognizant of analytic challenges both alternatives
     present, in at least one court filing the SEC combined these two ideas into
     a novel hypothesis: if a crypto asset is initially sold in an ICO or other
     investment contract transaction then, so long as the original investment
     scheme is ongoing, the crypto asset represents or “embodies” that
     investment scheme.35 This third approach, which we refer to as the

     31 See, e.g., Complaint, S.E.C. v. Ishan Wahi, Nikhil Wahi, and Sameer Ramani (the “Wahi
     Complaint”) at para. 94 (“These hallmarks of the definition of a security continue to be
     true for the nine crypto asset securities that are the subject of the trading in this complaint,
     including continuing representations by issuers and their management teams regarding the
     investment value of the tokens, the managerial efforts that contribute to the tokens’ value,
     and the availability of secondary markets for trading the tokens. Thus, at all times relevant
     to the conduct alleged in this complaint, a reasonable investor in the nine crypto asset
     securities would continue to look to the efforts of the issuer and its promoters, including
     their future efforts, to increase the value of their investment.”). (Emphasis added.)
     32 See, infra, Section IV for a discussion of this idea.
     33 See, e.g., In the Matter of Poloniex, LLC, Exchange Act Release No. 92607, August 9,

     2021, at p. 1 (“Poloniex operated a digital asset trading platform (the ‘Poloniex Trading
     Platform’) that meets the definition of an ‘exchange’ under the federal securities laws. The
     Poloniex Trading Platform displayed a limit order book that matched the orders of multiple
     buyers and sellers in digital assets, including digital assets that were investment contracts
     under S.E.C. v. W.J. Howey Co. … and therefore securities …” (citation omitted).
     34 We refer to this as the “original sin” theory inasmuch as it posits that a flaw in the manner

     in which the asset is initially distributed will continue to impact the characterization of the
     asset for all time. The main benefit of this approach is that it at least provides a type of
     unwelcomed certainty.
     35 Pl. Mem. of Law in Opp’n to Mot. to Intervene at 24, S.E.C. v. Ripple Labs, Inc. (20

     CIV. 10832 (AT)(SN)) (May 3, 2021), where the Commission acknowledged that the
     purported security in the case is not “simply” the crypto asset at issue, known as XRP, and
     instead asserting that the crypto asset is the “embodiment” of the facts, circumstances,


                                                   10
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 47 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     “Embodiment Theory”, would effectively treat crypto assets as securities
     on a temporary basis. That is, the crypto asset is a security, but only for
     so long as it is deemed to “embody” the original investment scheme.
     However, this position requires one to accept that, like the mythical
     Proteus, Homer’s “old man of the sea” in The Odyssey, a crypto asset can
     transform, or “morph”, out of being a security (and maybe back again)
     based solely on events extrinsic to the asset itself. This has led to well-
     intentioned but mistaken efforts on the part of numerous market
     participants to divine the moment when a crypto asset has “morphed” from
     a security to a “non-security”.36
             Based upon our review of the relevant case law and legal
     scholarship, neither treating crypto assets as permanently or, under the
     Embodiment Theory, temporarily, securities is supported by current
     Howey jurisprudence. Due to the absence of a legal relationship between

     promises, and expectations that constitute the purported investment contract and therefore
     that the crypto asset represents the purported investment contract). Specifically, the
     Commission explained:

               Movants claim they must intervene to convince the Court that XRP is not “per
               se” a security. (Movant Br. at 8–9.) But this case presents no such question.
               “While helpful as a shorthand reference, the security in this case is not simply
               the [XRP], which is little more than alphanumeric cryptographic sequence,”
               Telegram Grp., 448 F. Supp. 3d at 379 (emphasis added), it is all the facts and
               circumstances surrounding the crypto asset and the manner in which it is offered
               and sold (including the entirety of the representations Ripple made and
               purchasers’ resulting expectations) that made the offers and sales of XRP the
               offers and sales of an investment contract. Id. The XRP traded, even in the
               secondary market, is the embodiment of those facts, circumstances, promises,
               and expectations, and today represents that investment contract. And,
               incorrectly reframing the inquiry from the legally correct view of what the
               investment contract is (the XRP’s offer and sale in the particular context) to
               Movants’ narrower view (the XRP itself) makes no difference to what Movants
               really care about—crypto asset trading platforms’ listing of XRP. (Latter
               emphasis added by the authors.)
     36 See, e.g., The National Law Review, “SEC Hints at Path for Digital Assets to Morph
     Into         Non-Securities”,        August          18,        2022,         available       at
     https://www.natlawreview.com/article/sec-hints-path-digital-assets-to-morph-non-
     securities (noting that a statement in an enforcement action brought by the SEC against the
     sponsors of a digital asset project “… appears to be an admission by the SEC of a belief
     held by many practitioners in the digital asset industry – that a token that was once a
     security could, under the right circumstances, cease to be a security at some point in the
     future”); Robert M. Crea, et al., “Metamorphosis: Digital Assets and the U.S. Securities
     Laws”,              June             27,              2018,              available            at
     https://www.lexology.com/library/detail.aspx?g=0358e48d-aa15-44d8-9c67-
     cb6c73b9c85d (quoting Franz Kafka’s The Metamorphosis to explain the idea that digital
     assets can “morph” from being a security); Jacqueline Hennelly, “The Cryptic Nature of
     Crypto Digital Assets Regulations: The Ripple Lawsuit and Why the Industry Needs
     Regulatory Clarity”, 27 Fordham J. Corp. & Fin. L. 259 (2022), available at
     https://ir.lawnet.fordham.edu/cgi/viewcontent.cgi?article=1508&context=jcfl            (“Digital
     assets may be issued as a security but after time, as the crypto assets are transferred between
     users and the network decentralizes, they begin to function more like a consumer token.”);
     and Web3 Foundation, “Less Trust, More Truth: Polkadot’s Native Token (DOT) Has
     Morphed and Is Not a Security. It Is Software,” November 4, 2022, available at
     https://medium.com/web3foundation/less-trust-more-truth-polkadots-native-token-dot-
     has-morphed-and-is-not-a-security-b2a8847a70cc (“Less Trust, More Truth”).
                                                   11
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 48 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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     most crypto assets and an identifiable legal entity or individual, adoption
     of either approach would require the creation of a completely new concept
     under federal securities law: what we refer to as “issuer-independent”
     securities. In addition, without more, marketplace-based secondary
     transfers of these assets do not create investment contract transactions.
              Rather, under current jurisprudence, the majority of crypto assets
     are neither inherently and ineluctably securities themselves nor the
     transferrable “embodiment” of an investment scheme in any cognizable
     sense.37 Moreover, we argue that, even taking into account the broad
     remedial purposes of the Securities Acts, the Embodiment Theory would
     be neither an appropriate nor an effective extension or modernization of
     that jurisprudence as a matter of public policy. Because the Embodiment
     Theory of necessity considers that the embodied scheme can both cease
     (at which point there is no longer a scheme for the crypto asset to embody)
     and re-commence (which would presumably “flip” the crypto asset back
     into being the embodiment of the scheme again), all “circumstances”
     relevant to determining the presence or absence of an investment scheme
     would need to be available for all market participants to evaluate at all
     times. Yet, at any given time, all of the “circumstances” relevant to a full
     determination of the matter under the Howey case law will likely be not
     generally known (and, more importantly, likely will be unknowable) to the
     general public – neither crypto asset users nor market participants
     currently38 have a way to require sponsors of projects to disclose to them
     the type of private information essential to determining whether an
     investment contract transaction occurred. This is not an issue in primary
     transactions where the parties are dealing directly with each other.


     37 An alternative position is that fungible crypto assets should be characterized as
     commodities (that are not securities) under the Commodity Exchange Act, 7 U.S.C. §1 et
     seq. (the “CEA”). Section 1(a)(9) of the CEA defines the term “commodity” as follows:

              (a) As used in this chapter:
                (9) The term The term “commodity” means wheat, cotton, rice,
                    corn, oats, barley, rye, flaxseed, grain sorghums, mill feeds,
                    butter, eggs, Solanum tuberosum (Irish potatoes), wool, wool
                    tops, fats and oils (including lard, tallow, cottonseed oil, peanut
                    oil, soybean oil, and all other fats and oils), cottonseed meal,
                    cottonseed, peanuts, soybeans, soybean meal, livestock,
                    livestock products, and frozen concentrated orange juice, and
                    all other goods and articles, except onions (as provided by
                    section 13–1 of this title) and motion picture box office receipts
                    (or any index, measure, value, or data related to such receipts),
                    and all services, rights, and interests (except motion picture box
                    office receipts, or any index, measure, value or data related to
                    such receipts) in which contracts for future delivery are
                    presently or in the future dealt in.

     However, whether fungible crypto assets should properly be considered
     “commodities” under the CEA is a separate and complex question and one that
     is beyond the scope of this Article.
     38 See, infra, Section V.B. for a discussion of how legislation pending in Congress would

     address this gap.
                                                12
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 49 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     However, in secondary transactions, without access to this private
     information, market participants would be left to guess whether under the
     Embodiment Theory a given token does, or does not, “embody” an
     investment scheme at a particular time. Given that the Securities Acts
     provide for strict liability for violations of various provisions, this is
     simply an unacceptable result.
              Nevertheless, regulators,39 policymakers,40 and commentators41
     have articulated legitimate and unaddressed policy concerns regarding the
     use and ownership of crypto assets. A particular concern has been the
     potential for information asymmetries in transactions involving crypto
     assets.42 These can arise between the entities sponsoring and developing
     crypto asset-based projects (or their personnel),43 who may have privileged
     access to non-public information about the project,44 and everyday holders

     39 See, e.g., SEC Division of Examinations, “Risk Alert: The Division of Examinations’

     Continued Focus on Digital Asset Securities”, February 26, 2021, available at
     https://www.sec.gov/files/digital-assets-risk-alert.pdf (“a number of activities related to the
     offer, sale, and trading of crypto assets1 that are securities … present unique risks to
     investors”).
     40 Most notably, in March 2022 the Biden Administration issued an Executive Order

     entitled “Ensuring Responsible Development of Digital Assets” establishing a “whole-of-
     government” approach to addressing the risks and harnessing the potential benefits of
     crypto assets and their underlying technology. See, Exec. Order No. 14067, 87, Fed. Reg.
     14143, 14143 (Mar. 9, 2022). The Fact Sheet announcing the results of various fact
     findings from the Executive Order on September 16, 2022, stated that “[d]igital assets pose
     meaningful risks for consumers, investors, and businesses. Prices of these assets can be
     highly volatile … [;] sellers commonly mislead consumers about crypto assets’ features
     and expected returns, and non-compliance with applicable laws and regulations remains
     widespread.” See “Fact Sheet: White House Releases First-Ever Comprehensive
     Framework for Responsible Development of Digital Assets” available at
     https://www.whitehouse.gov/briefing-room/statements-releases/2022/09/16/fact-sheet-
     white-house-releases-first-ever-comprehensive-framework-for-responsible-development-
     of-digital-assets.
     41 See, e.g., KPMG, “Assessing Crypto and Digital Asset Risks – Actions Amidst Evolving

     Regulation”,            updated           May            2022,          available            at
     https://advisory.kpmg.us/content/dam/advisory/en/pdfs/2022/assessing-crypto-and-
     digital-asset-risks.pdf (noting risks including cybersecurity and systems failure;
     compliance with regulatory obligations, including risk management and AML/CFT
     programs; customer due diligence (KYC); tax implications; macroprudential economic risk
     and financial stability; and resource and energy consumption).
     42 See, e.g., Moran Ofir and Ido Sadeh, “ICO vs. IPO: Empirical Findings, Information

     Asymmetry, and the Appropriate Regulatory Framework”, 53 Vanderbilt Law Review 525
     (2021), available at: https://scholarship.law.vanderbilt.edu/vjtl/vol53/iss2/3 (finding that a
     high degree of information asymmetry exists in ICOs, identifying sources of these
     asymmetries, and discussing the role of signaling theory and rating websites in mitigating
     these asymmetries); and Joyce Shen, “Information Asymmetry in Crypto”, Medium,
     August 2, 2022, available at https://medium.com/@joycejshen/information-asymmetry-in-
     crypto-58c6a0b5fb9f (noting that one of the biggest problems of the crypto/crypto asset
     industry is information asymmetry).
     43 These persons are referred to as “Active Participants” by the SEC. See SEC Token

     Framework, supra note [2].
     44 Although the underlying code base of crypto asset-based projects is almost always made

     publicly available for scrutiny by interested persons on websites like GitHub
     (www.github.com) and all activity on the platform created by the project is likewise
     available through a separate “block explorer” program like Etherscan (https://etherscan.io/)
     that provides user-friendly access to transaction data stored on a blockchain network, many


                                                  13
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 50 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     or users of the relevant crypto asset,45 including persons who acquired the
     asset, especially those who acquired the asset with investment intent.46
     These information asymmetries can lead to manipulative or exploitive
     trading of the relevant assets by those who benefit from this information,
     at the expense of those who do not. These information gaps are also
     breeding grounds for “rug pull” scams.47
              In addition, legitimate concerns have also been raised about
     “spoofing”, “wash trading”, “pump and dump” schemes48 and a wide
     variety of other potentially manipulative practices by parties conducting
     secondary trading in crypto asset marketplaces that are not generally
     subject to comprehensive federal regulation. Outright Ponzi schemes and
     other more garden-variety fraud are also frequently seen.49 Hacking
     intrusions, “exploits” of smart contract code (i.e., permitted use of the code
     in ways that were, ostensibly at least, not intended by the code’s
     developers),50 and protocol design failures51 are also matters of concern.

     project companies employ large teams of software developers, community managers and
     partnership coordinators whose non-public managerial efforts can play an important role
     in the success of the project (and thus the value of the related crypto asset).
     45 Even in the absence of traditional information asymmetries, project teams may have a

     much higher level of technological sophistication relative to day-to-day users of, or
     investors in, these assets and their related smart contracts, which may limit these users’
     practical ability to effectively understand the software code or nuances that may exist
     therein and leave these users potentially vulnerable to exploitation.
     46 It is important to recall that any asset, whether real estate, a commodity, a collectable, or

     some other form of property, can be acquired expressly for investment purposes without
     triggering a requirement of securities law compliance so long as the entity acting as the
     seller of the asset to the buyer has not been deemed to have created an “investment
     contract” between that seller and the buyer under Howey. See discussion of Hocking v.
     Dubois in Section II.C infra.
     47 This scam, which gets its name from the expression “pulling the rug out,” is when a

     fraudster attracts victims to purchase digital assets in a new cryptocurrency project and
     then disappears before the project or digital asset is completed or even started, leaving
     investors with a worthless token.
     48 See, e.g., Josh Kamps and Bennett Kleinberg, “To the Moon: Defining and Detecting

     Cryptocurrency Pump-and-Dumps”, Crime Science, Volume 7, Article number: 18 (2018),
     available at https://crimesciencejournal.biomedcentral.com/articles/10.1186/s40163-018-
     0093-5 (examining information on pump-and-dump schemes from classical economic
     literature, synthesizing this with data concerning cryptocurrencies, and proposing criteria
     that can be used to define and detect a cryptocurrency pump-and-dump scheme).
     49 See, e.g., Securities and Exchange Commission v. BitConnect, et al., No. 1:21-cv-07349

     (S.D.N.Y., filed September 1, 2021) and Investor Alert, “Ponzi Schemes Using Virtual
     Currencies”, SEC.gov, available at https://www.sec.gov/files/ia_virtualcurrencies.pdf
     This fraud is not limited to securities transactions, and other regulatory bodies have
     engaged as well. Particularly relevant is the Federal Trade Commission (the “FTC”),
     whose mission includes protecting the public from deceptive or unfair business practices.
     See FTC, “What to Know About Cryptocurrency and Scams”, available at
     https://consumer.ftc.gov/articles/what-know-about-cryptocurrency-and-scams.
     50 See, e.g., Tomio Geron, “Crypto Bridges Are Coming Under Attack”, Protocol, July 18,

     2022, available at https://www.protocol.com/fintech/crypto-bridge-wormhole-hack
     (noting that, in one smart-contract-related incident, a security problem in the code of a
     bridge protocol known as “Wormhole” was exploited resulting in a loss of crypto assets
     valued at $325 million).
     51 See, e.g., Rob Mannix, “Designed to Fail: Terra and the Limits of Arbitrage”, Risk.net,

     May 22, 2022, available at https://www.risk.net/investing/7949321/designed-to-fail-terra-
     and-the-limits-of-arbitrage.
                                                   14
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 51 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     Even in the absence of primary or secondary market abuses and technical
     issues, crypto assets, when purchased for investment purposes, have
     historically demonstrated a level of volatility associated with new or
     emerging technologies,52 such that coherent investor protection is
     desirable as a policy matter.53
              Because existing federal regulatory law does not adequately
     address the issues applicable to the creation, dissemination, and trading of
     crypto assets that are not securities, rather than attempting to
     mischaracterize these assets as “issuer-independent” securities through
     regulation or unlitigated enforcement actions, this gap should be
     definitively addressed through an act of Congress, complemented by
     increased engagement by other relevant regulatory bodies, including the
     FTC, the Commodity Futures Trading Commission (the “CFTC”), the
     Department of Justice and state attorneys general.54
              The last section of this Article examines the gaps in the current
     regulatory framework and discusses the approaches adopted in (i) the
     Digital Commodities Consumer Protection Act of 2022 (the “DCCPA”),55
     introduced in August 2022 in the Senate Committee on Agriculture,
     Nutrition, and Forestry by Senators Debbie Stabenow and John Boozman,
     along with Senators Cory Booker and John Thune, (ii) the Digital
     Commodity Exchange Act of 2022 (the “DCEA”),56 introduced in the
     House Committee on Agriculture by Rep. GT Thompson (for himself and
     Rep. Ro Khanna, Rep. Darren Soto, and Rep. Thomas Emmer) and (iii)
     Title III of the Lummis-Gillibrand Responsible Financial Innovation Act
     (the “RFIA”),57 introduced by Senators Cynthia Lummis and Kirsten
     Gillibrand, which the authors believe together provide the basis for a
     reasonable and balanced solution to the unique issues raised by the trading
     of crypto assets in secondary transactions.58

     52 See, e.g., “Healthy Volatility and Its Implications for Crypto Markets”, Cryptopedia,
     June 28, 2022, available at https://www.gemini.com/cryptopedia/volatility-index-crypto-
     market-price.
     53 The SEC’s conservative stance with respect to the holding and trading of crypto assets,

     frequently a source of friction with proponents of their use, can be better understood when
     viewed through the lens of the Commission’s historic investor protection mandate. See,
     e.g., Martin Lipton et al., “Wachtell Lipton Discusses Cryptoassets and the SEC’s
     Mandate”, available at https://clsbluesky.law.columbia.edu/2022/10/19/wachtell-lipton-
     discusses-cryptoassets-and-the-secs-mandate/.
     54 We note that the U.S. Department of Justice has effectively used the federal wire fraud

     statute (18 U.S.C. § 1343), among other enforcement tools, to address a variety of criminal
     wrongdoing that has occurred in the crypto asset space.
     55    Available at https://www.congress.gov/bill/117th-congress/senate-bill/4760/all-
     actions?s=1&r=3&overview=closed.
     56 Available at https://www.congress.gov/bill/117th-congress/house-bill/7614/committees.
     57 Available at https://www.congress.gov/bill/117th-congress/senate-bill/4356?s=1&r=8.
     58 Also outside the scope of this Article is the regulatory treatment of the uses of crypto

     assets. One of the most intriguing and popular of these uses is known as decentralized
     finance (or DeFi). DeFi is a fascinating field that has already attracted significant academic
     study (see, e.g., Campbell R. Harvey, Ashwin Ramachandran, and Joseph Santoro, “DeFi
     and      the     Future     of    Finance”       (April      5,     2021),     available    at
     https://ssrn.com/abstract=3711777).
                                                  15
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 52 of 215
                   DISCUSSON DRAFT: NOVEMBER 10, 2022
                Do not cite in academic work without authors’ consent



                              TABLE OF CONTENTS
                I.   WHAT ARE CRYPTO ASSETS?
                       A. The Parable of the Strowrange Seeds
                       B. Crypto Assets under the Hood
                       C. The Uses of Crypto Assets
                       D. The Exchange and Trading of Crypto Assets
                       E. Crypto Assets as Speculative Investments
                       F. Some Conclusions on Crypto Assets
                II. WHAT ARE INVESTMENT CONTRACTS? A REVIEW OF
                     THE HOWEY CASE LAW
                       A. Identifying Investment Contract Transactions
                            Using the Howey Test
                              1.    The Basics of Howey and the Critical
                                    Importance of a Transaction’s Facts and
                                    Circumstances
                              2.    Some Examples of Potential Investment
                                    Contract Transactions
                              3.    The Common Element in “Common
                                    Enterprise”
                              4.    Concluding Thoughts
                       B.     Investment Schemes and Their “Objects” in
                              the Howey Case Law
                       C.     Secondary Sales under Howey and the
                              Hocking Case
                       D.     The Ineluctable Element of a Security: A
                              Legal Relationship between an Issuer and an
                              Owner
                              1.    The Essential Element of a Security – A
                                    Bundle of Rights Created by an Issuer
                              2.    Securities as Instruments
                              3.    Application to Crypto Assets
                              4.    Conclusion
                III. THE SEC’S POSITION ON FUNDRAISING THROUGH THE
                     SALE OF CRYPTO ASSETS
                       A.     The Early Cases
                       B.     The ICO Boom (and Bust)
                       C.     Telegram, Kik Interactive, Ripple Labs and
                              LBRY
                              1.    Telegram Group, Inc.
                              2.    Kik Interactive, Inc.
                              3.    Ripple Labs, Inc.
                              4.    LBRY, Inc.
                              5.    Conclusion



                                            16
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 53 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

                    IV. APPLYING HOWEY CASE LAW TO SECONDARY
                        TRANSACTIONS IN CRYPTO ASSETS AND THE SEC’S
                        “EMBODIMENT” THEORY
                          A.    “Morphing”
                                1.    The “When Howey Met Gary (Plastic)”
                                      Speech
                                2.    The Response to XRP Holders’ Motion
                                      to Intervene in SEC v. Ripple Labs, Inc.,
                                      et al.
                                3.    The Embodiment of Rights under Law
                                4.    Conclusion
                          B.    The Wahi Complaint and the Common
                                Enterprise Problem
                          C.    Why the Idea of a Security “Morphing” and
                                the Embodiment Theory Should Not Be
                                Adopted
                    V. THE PROBLEM AND A SOLUTION
                          A.    The Inadequacy of the Current Regulatory
                                Framework for Secondary Markets in Crypto
                                Assets
                          B.    Legislative Responses
                    VI. CONCLUSION

     I.        WHAT ARE CRYPTO ASSETS?

              Although blockchain, the technology on which the creation of
     crypto assets is based, is relatively new, significant legal scholarship on
     the topic has emerged, including foundational descriptions of how
     blockchain technologies function.59 However, less abundant in the legal
     literature are a succinct discussions of what a blockchain-based crypto
     asset is, how these assets are created, and how they are exchanged.
     Because the creation and use of crypto assets can be misunderstood, we
     begin instead with a more relatable idea – a story about the development
     of a new type of fruit.

               A.         The Parable of the Strowrange Seeds60

              A horticulturalist had an idea for a new type of fruit, which she
     called the “strowrange” because it combined elements of the strawberry

     59 See, e.g., Reuben Grinberg, Bitcoin: An Innovative Alternative Digital Currency, 4
     HASTINGS SCI. & TECH. L. J. 159 (2012).
     60 Like any parable, the story that follows does not map perfectly to the underlying concept

     which we seek to illustrate – the nature of crypto assets. Our starting point is the frequently
     heard observation that “oranges are not securities”. While this statement is unquestionably
     true in itself, the implied analogy of oranges to crypto assets does not address the most
     important differences between most “natural” commodities (including oranges) and crypto
     assets. Unlike most commodities, crypto assets are almost universally created “artificially”


                                                  17
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           Electronic copy available at: https://ssrn.com/abstract=4282385
Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 54 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                   Do not cite in academic work without authors’ consent

     and the orange. She developed a technology to produce seeds that would
     grow into strowrange trees, which would bear the wonderful new
     fruit. After some effort, the horticulturalist was ready to commercialize
     her idea, imaging a future world in which the strowrange would be as well-
     known and well-loved as the banana, the pineapple, or the watermelon –
     popular in its own right without the need for her support to maintain its
     place in the pantheon of great fruits.
              The horticulturalist founded a new company (“Strowrange Labs
     LLC”, which she usually referred to as just “Labs”) and raised $15 million
     of … seed capital. In exchange for the funding, the horticulturalist offered
     each of her early funders equity in Labs along with a warrant agreement
     for 1 million strowrange seeds, once the seeds were produced. She told
     her funders that each seed could produce only one strowrange tree and the
     stowrange fruit themselves were seedless. Projections of the possible price
     of the seeds, once available, were created and discussed.
              Since Labs was creating a fixed supply of 1 billion seeds, there
     would be a fixed supply of stowrange trees. Labs would informally agree
     to retain 400 million of these seeds to, as the horticulturalist told the
     funders in a pre-closing negotiation, “align their interests”. Labs also
     expected to create value for its equity holders by developing revenue-
     producing products and services relating to the stowrange fruit. A further
     portion of seeds would be reserved for early partners that Labs planned to
     bring into the effort. Some additional seeds were earmarked for a separate
     not-for-profit foundation (to be known as the Strowrange Foundation or
     just the “Foundation”) that would have the sole purposes of supporting the
     anticipated community of strowrange tree growers, strowrange fruit
     product producers, and other strowrange aficionados, and promoting the
     many anticipated benefits of the strowrange fruit.
              From a legal perspective, the seed capital fund raise involved a
     straightforward sale of equity securities by Labs to investors, along with a

     by an identifiable person or legal entity in a finite or deterministically limited number,
     resulting in very different economic characteristics when compared to natural commodities
     (these characteristics of crypto assets are discussed in detail further below). In addition,
     unlike natural commodities, new crypto assets can be created with very little cost or
     expertise, resulting in a vast multiplicity of marginally distinguishable crypto assets
     available in the marketplace. Accordingly, even after crypto assets have been created,
     significant marketing efforts generally need to be expended to allow potential users to
     become aware of the crypto asset and its potential uses and the only persons likely to
     undertake these efforts are those who created the asset and often continue to own
     significant amounts of the asset. Unlike oranges though, the strowrange seeds in our
     parable exhibit both of these key characteristics, which the authors hope will help readers
     better understand the nature of crypto assets. However, because strowrange seeds, if real,
     would exist in the physical world, there are still some important differences between them
     and crypto assets. Among the notable differences are that many crypto assets can be
     “staked” – transferred or delegated to a different address on a blockchain network and
     locked there in exchange for the later return of more of the same (or another) crypto asset
     to the original sender. In addition, unlike strowrange seeds, which once produced do not
     change their nature, the code governing a smart contract-based protocol may be altered or
     “upgraded” by a vote of community members in certain circumstances. While these are
     fascinating characteristics, they do not fundamentally alter the primary points we seek to
     illustrate and so, regretfully, we must leave exploration of these and other unique elements
     of crypto assets to a future article.
                                                 18
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 55 of 215
                     DISCUSSON DRAFT: NOVEMBER 10, 2022
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     warrant that constituted an investment contract. That is, the warrants
     issued by Labs to its investors comprised an investment of money (the
     funding the investor provided) in a common enterprise (Labs was pooling
     the funds raised from all investors and using it to build the business they
     had all invested in) with an expectation of profit on the part of the investors
     from the entrepreneurial and managerial efforts of Labs. The investors
     acquired the warrants from Labs, not because they were in the agriculture
     business and planned to grow strowrange trees with their seeds but rather
     because they believed that the horticulturalist and Labs would be
     successful in making the seeds more valuable. Thus, the horticulturalist
     and Labs conducted the funding round as a private placement securities
     transaction.
              The project went well and, in due course, the 1 billion strowrange
     seeds had been created by Labs. As promised in the warrants, Labs
     delivered 1 million seeds to each of the early investors. Labs also
     rewarded its early employees with an allocation of seeds. Each seed,
     when properly planted and cared for in the right climate, could produce a
     strowrange tree that would bear fruit within 12 to 18 months of planting,
     but Labs did not inquire whether the employees were able to grow
     strowrange trees or had any interest in doing so. Ownership of the seeds
     was based on general principles of property law; broadly speaking, the
     person in rightful possession of any of the seeds would be considered the
     owner. In this sense, the seeds could be thought of as bearer-like assets in
     that the real-life identity of owners was not recorded or tracked anywhere.
              Labs also worked hard to promote the strowrange “ecosystem”,
     using funds from the financing to tell the world about the strowrange and
     create demand for the new fruit. This was no small task. In the early days,
     before word-of-mouth interest in strowranges spread and the Foundation
     was able to develop a community interested in the strowrange and its uses,
     promotion of the strowrange and its uses fell almost entirely on the
     horticulturalist and her employees at Labs. Any value that the seeds might
     acquire would clearly have to come from the horticulturalist and Labs’
     entrepreneurial and managerial efforts.
              After some time, it became clear that Labs would need more
     money to fulfill the promise of the stowrange. Instead of another
     traditional financing, Labs wanted to sell the product they had
     developed—the stowrange seeds—directly to the public on a
     website. This approach, they reasoned, would have the benefit of building
     demand for the fruit from the ground up, one retail customer at a time, by
     giving individuals an economic incentive to promote the new fruit and act
     as “brand ambassadors”.
              Labs’ lawyer advised the horticulturalist that there was real
     securities law risk in selling stowrange seeds to the public in the United
     States. The lawyer explained that, if Labs were to sell small numbers of
     seeds to what Labs liked to call backyard horticulturalists who had the
     knowledge and practical ability to actually grow strowrange trees and
     consume the strowranges themselves, then this would likely not be a
     problem. But if Labs instead sold large numbers of strowrange seeds to

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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 56 of 215
                     DISCUSSON DRAFT: NOVEMBER 10, 2022
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     anyone who came to the website, they would create speculative interest in
     the seeds, raising money from buyers who shared with Labs an economic
     interest in price increases in the seeds (which the buyers would inevitably
     expect were to come from Labs’ entrepreneurial and managerial efforts).
     The risk was especially serious at this early stage because almost no one
     else knew much about strowranges yet.
              Our horticulturalist and the Labs team took this advice seriously
     and decided not to sell stowrange seeds through their website—at least not
     to buyers in the United States. According to the lawyer, many other
     countries did not take the same view of the sale of seeds. Labs thus made
     stowrange seeds available through their website to customers outside the
     United States at a price of $0.10 each. Labs did give away small numbers
     of the seeds to early consumers of strowrange-based products produced by
     Labs (like strowrange tea). This sparked early demand for these products,
     even if those first attempts were not particularly enticing in their own right.
     After a while, seeds also became available for sale through third parties
     inside the United States as a result of sales of the seeds by the initial
     investors, who had not been restricted in selling the seeds they had
     received through their warrants.
              All this activity caused interest in the strowrange to grow, even in
     the highly crowded global fruit market. Soon, both individuals and
     businesses in the United States wanted to get their hands on strowrange
     seeds and become part of the phenomenon. Every town seemed to have at
     least a few strowrange trees growing, taxi drivers were chatting about the
     strowrange with their passengers, and social media influencers were taking
     up an interest – there was even a popular Tik-Tok “strowrange dance”.
     The strowrange started to become hip – people wanted to own some
     strowrange seeds, not to grow strowrange trees (who has time for that!?)
     but to speculate in the anticipated increase in demand for strowrange
     products that people had convinced themselves was sure to come.
              Meanwhile, Labs continued to be the engine behind the growth in
     interest in the strowrange, using funds from the sales of their stockpile of
     strowrange seeds to run ads on broadcasts of major sporting events,
     signing partnerships with fast food companies, and developing new
     products, like strowrange-flavored shakes (which everyone seemed to
     love). The price of a single strowrange seed had skyrocketed up to nearly
     $5.00.
             Labs had become profitable and continued to develop products
     and services like new stowrange-based foods and special containers to
     store both stowrange seeds and harvested fruit. Labs was well on its way
     toward fulfilling its goal of creating an independent strowrange ecosystem
     – one where there were enough unaffiliated persons interested in the
     strowrange fruit that Labs itself could became just one of many
     participants, rather than the sole driving force behind the value of
     strowrange seeds.
             The horticulturalist believed that she was on the cusp of achieving
     her dream (and along the way becoming fabulously wealthy). But she still
     harbored a desire to sell some of the many seeds Labs retained directly to
                                              20
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 57 of 215
                     DISCUSSON DRAFT: NOVEMBER 10, 2022
                  Do not cite in academic work without authors’ consent

     the public in the United States. However, Labs’ lawyer noted that despite
     the good work of the Foundation, the increasing bona fide word of mouth
     engagement about strowranges on social media sites, and overall growing
     interest in all things strowrange, in the lawyer’s judgment the value of
     strowrange seeds was still highly dependent on the efforts of Labs to
     continue building interest. Although the seeds would likely retain some
     value if Labs abandoned the project, it seemed likely that the expectations
     which had developed around the strowrange might take much longer to
     manifest (or perhaps interest in the strowrange would just wither away).
              As a result, the lawyer continued to explain, fundraising sales of
     strowrange seeds to the general public in bulk amounts would likely be
     considered investment contract transactions, a type of securities offering.
     The lawyer laid out the process of conducting a public offering in the U.S.
     The horticulturalist was mortified – she had no interest in filing a
     registration statement with the SEC and going through perhaps a year-long
     process and $1 million or more in expenses to get the registration
     statement to be effective, as required by Section 5 of the Securities Act
     (not to mention subjecting herself and Labs to all the stories she heard
     about the risks of private securities litigation). More confusingly, the
     lawyer explained, it was possible that the stowrange seeds could
     themselves be considered securities of Labs, at least according to some
     statements by the regulator, and Labs could wind up being required to
     become a public reporting company if there were 2,000 or more U.S.
     owners of the seeds, or 500 or more non-accredited U.S. owners.
              This result struck the horticulturalist as very odd. Weren’t seeds
     of all types sold in markets, stores, in bulk, and to retail all the time in the
     United States? What had changed? Her lawyer simply shrugged and said,
     “the law is in a state of flux, and maybe this will be resolved someday.
     But for now, better that you don’t sell your seeds in the United States.”
             Thus, it is with the imperfect but hopefully enlightening parable
     of the strowrange in mind that we turn back to our main concern – the
     nature of digital assets and their use in capital-raising transactions and
     decentralized protocols.

             B.        Crypto Assets under the Hood
              Not all crypto assets are created, stored, or managed in the same
     way. The Bitcoin blockchain network is designed to perform a single
     function – it maintains an immutable distributed ledger of unspent
     transaction outputs (known as “UTXOs”). Other blockchain networks
     based on Bitcoin technology, including Litecoin, Bitcoin Cash, and Dash,
     use similar systems.
              In these networks, the native crypto assets (e.g., bitcoin in the case
     of the Bitcoin network) are the UTXOs – simply numbers representing
     amounts of the relevant crypto asset associated with a public address on
     the common ledger maintained by all nodes running the agreed-upon core
     client software. UTXOs are said to be owned by the person who rightfully
     has the ability to control the UTXO through knowledge of another number,
                                              21
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 58 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                   Do not cite in academic work without authors’ consent

     known as a private key, that is associated with a public address on the
     ledger with a positive balance of UTXOs. Like dollar bills, although
     UTXOs are generally considered fungible, each UTXO has its own distinct
     provenance that can be traced deterministically back to what is referred to
     as the coinbase transaction61 in which its predecessor UTXO was
     originally created.
             Like the distributed ledger model used by Bitcoin and other
     single-purpose blockchain networks, the Ethereum network has its own
     native crypto asset, ether, that follows very similar rules. However, the
     Ethereum network also enables the Ethereum Virtual Machine (the
     “EVM”), which can be thought of as a distributed state machine (rather
     than as a distributed ledger).62 At any given point in time, the Ethereum
     network maintains a large data structure which holds not only all accounts
     and balances, but also the machine state of the EVM, which changes from
     block to block according to a pre-defined set of rules.
             The EVM can execute software code, referred to as smart
     contracts,63 which has been deployed to a public address on the network.64
     Unlike with privately owned commercial cloud computing services, like
     Amazon Web Services, no permissions are needed to deploy smart
     contract code to the Ethereum network other than the need to pay a “gas”
     charge denominated in sub-units of ether, known as gwei. In addition,
     anyone with access to the Internet can examine all code deployed to the
     Ethereum network as well as the outcome of each state transition occurring
     in each validated block.
             Among other things, smart contract code deployed to the
     Ethereum network can be used to create an unlimited number of distinct
     crypto assets, each relating to particular code deployed to the network.
     Most Ethereum-based fungible crypto assets are created using some form

     61 See Bitcoin Wiki, “Coinbase”, available at https://en.bitcoin.it/wiki/Coinbase. It is
     indeed from this technical term that the well-known digital asset marketplace takes its
     name.
     62 For a description of a “state machine”, see Wikipedia, “Finite-state machine”, available

     at https://en.wikipedia.org/wiki/Finite-state_machine.
     63 “Smart contracts”, as used in the context of their applicability to blockchain protocols,

     can essentially be thought of as small, inert computer programs maintained within
     blockchain-based protocols. Using information inputs provided by network nodes, smart
     contracts can be “called” by users of the network to efficiently automate processes and
     increase outcome certainty. See De Filippi, P. & Wray, C. & Sileno, G., “Smart Contracts”,
     Internet Policy Review, 10(2), available at https://doi.org/10.14763/2021.2.1549.
     64 As has been observed many times, the choice of the word “contract” in the term “smart

     contract” is unfortunate because the code comprising a “smart contract” does not comprise
     a “contract” in the legal sense any more than such code would if it were maintained on a
     series of “punch cards” used by mainframe computers in the 1960s and 1970s. See
     generally James Grimmelmann, All Smart Contracts are Ambiguous, 2 J.L. & Innovations
     1 (2019); Quinn DuPont, Ledgers and Law in the Blockchain, King’s Review, June 23,
     2015, https://www.kingsreview.co.uk/essays/ledgers-and-law-in-the-blockchain; Stuart D.
     Levi & Alex B. Lipton, An Introduction to Smart Contracts and Their Potential and
     Inherent           Limitations,          Skadden           (May            7,        2018),
     https://www.skadden.com/insights/publications/2018/05/an-introduction-to-smart-
     contracts.
                                                 22
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 59 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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     of the ERC-20 Token Standard.65 This standard is used to create smart
     contract code that will maintain a list of public addresses and
     corresponding balances of the relevant token associated with those
     addresses.
              When code that creates a new token is deployed to the Ethereum
     network, that code will provide functionalities allowing users to transfer
     the tokens (i.e., change numbers of units) from one public address to
     another in the record maintained by that code, among other actions. Thus,
     although the relevant smart contract contains a ledger of amounts of crypto
     asset units, because these amounts are associated only with a public
     address, crypto assets are said to be pseudonymous. While usually
     possible with significant effort to associate a public address with a real-
     world identity, the ability to do this is far from certain and often depends
     on some level of carelessness on the part of the person who controls the
     address.
             Thus, in a legal sense, ownership of a token on the Ethereum
     network means only that the owner has the rightful knowledge of the
     related private key associated with a public address that has a positive
     balance of the token associated with it in the relevant smart contract. That
     private key is used to give an instruction to the network of computers
     maintaining the relevant smart contract to reduce the number of units of
     the token associated with the owner’s public address and increase the
     number of units associated with another public address in the smart
     contract (which second address may also be controlled by that same
     owner).66
              As a result, these crypto assets are quite distinct from the native
     tokens of the Bitcoin, Ethereum and other blockchain networks: it is the
     specific smart contract code that maintains the record of balances and
     related public addresses, not the overall network protocol code. This
     means that the crypto asset created by a given smart contract is subject to
     all of the features, and vulnerabilities, of that code and may behave very
     differently from other crypto assets maintained on the same network.67 In

     65                See               “ERC-20                 Token                 Standard”,
     https://ethereum.org/en/developers/docs/standards/tokens/erc-20/ (last visited May 15,
     2022).
     66 Similar to the strowrange seeds, this makes tokens effectively “bearer” assets. Although

     the law may differentiate between persons who have rightful (versus improper) knowledge
     of a private key that controls one or more tokens, the network nodes that effect a transfer
     instruction are unaware of the person or entity giving the instruction and whether that
     instruction is being made either improperly (i.e., by an unauthorized person) or by mistake
     by the rightful owner. For a detailed discussion of the bearer nature of crypto assets and
     the implications of their bearer status, see Lyn Alden, “Why Gold and Bitcoin are Popular
     (An Overview of Bearer Assets)”, available at https://www.lynalden.com/gold-and-
     bitcoin/.
     67 Of particular note is that a given smart contract can have an “administration key”, a

     private key that allows a person with knowledge of the key to give instructions to the
     Ethereum network that would alter parameters of the smart contract. See infra text at note
     [74].
                                                 23
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 60 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

     addition, the amounts of token balances in a given smart contract are truly
     fungible in that there is no provenance to the balances; they are simply
     numbers recorded by the relevant smart contract code that move up or
     down when a valid instruction concerning a balance is provided to the
     Ethereum network by a user.
              Users of the Ethereum network, however, do not control the
     process of actually changing the state of the EVM (including transferring
     tokens through instructions to change the balance of an address maintained
     by the relevant contract). Only full nodes68 of the Ethereum network can
     do this. To incentivize the operators of network nodes to include a given
     user’s instructions in a block that will change the state of the EVM in a
     manner desired by the user, the user must pay a transaction fee in ether,
     thus resulting in the real-world economic value of the token – without it,
     use of the EVM cannot be paid for.69 This effectively results in an open
     bidding process for network resources in each block, with those willing to
     pay the highest transaction fee most likely to have their instructions
     executed in priority to others, something that may have significant value
     to the user.
              Since most crypto assets that have been deemed to be securities
     are maintained on Ethereum or similar networks,70 we focus our discussion
     in this Article on crypto assets or tokens not intended to represent stock,
     debt or another type of security identified in the Securities Acts’
     definitions. As an example of the smart contract code used to create crypto
     assets on the Ethereum network, Figure 1 shows an implementation of the
     ERC-20 token standard, as developed by crypto asset company,
     ConsenSys:


     68 In the Ethereum network, a “node” is any instance of Ethereum client software running

     on a privately owned or operated computer that is connected to other privately owned or
     operated computers also running Ethereum software. A “client” is an implementation of
     one of any number of distinct open-source software packages (written in distinct computing
     languages for purposes of resilience) implementing a version of the Ethereum protocol and
     running on a node that verifies data received by the relevant computer against the protocol
     rules to keep the network secure. Currently, Ethereum consists of two parts: an execution
     layer and a consensus layer. Both layers are run by different client software. The execution
     client listens to new transactions broadcasted in the network, executes them in the EVM,
     and holds the latest state and database of all current Ethereum data. (The consensus client
     implements Ethereum’s new proof-of-stake consensus algorithm, which enables the
     network to achieve agreement based on validated data from the execution client). See
     Ethereum.org,        “What       Are      Nodes        and      Clients?”,     available     at
     https://ethereum.org/en/developers/docs/nodes-and-clients/.
     69 Despite suggestions to the contrary, many other tokens also have some similar tie to the

     real world, permitting in one way or another direct engagement with a blockchain-based
     protocol or dApp. Nevertheless, given the ease with which new tokens can be created, the
     only “utility” of other tokens is the ability to transfer then control of them from one wallet
     to another, causing these tokens to resemble digital poker chips. The absence of real world
     value of some crypto assets and its impact on the matters covered in this Article is discussed
     below. See infra text at note [72].
     70 See, e.g., Georgios Dimitropoulos, The Law of Blockchain, 95 Wash. L. Rev. 1117

     (2020); Lianos, Ioannis et al., Regulating Blockchain: Techno-Social and Legal
     Challenges, Oxford University Press (2019).
                                                  24
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 61 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent




                       Figure 1. ConsenSys ERC-20 Implementation71
             This basic implementation, a mere six lines of code, forms the
     underpinning of many of the world’s most prominent crypto asset
     projects.72 For those seeking further customization, Figure 2 highlights
     some simple customizations (described in English in the annotations):




                       Figure 2. ConsenSys ERC-20 Implementation.73
             Absent a legally enforceable off-chain agreement (which could
     include terms and conditions on a website, if properly structured),
     ownership of such a token simply allows the person with knowledge of a
     private key that controls one or more tokens to be able to control the
     blockchain-based ledger maintained in the relevant smart contract by
     giving an instruction that will be recognized as valid to the network of


     71                                            ConsenSys/Tokens/contracts/eip20/EIP20.sol,
     https://github.com/ConsenSys/Tokens/blob/fdf687c69d998266a95f15216b1955a4965a0a
     6d/contracts/eip20/EIP20.sol.
     72 Most tokens are either “native” to a particular blockchain protocol itself (such as the

     ether token is to the Ethereum network, the SOL token is to the Solana network, and the
     ADA token is to the Cardano network) or form part of a “decentralized application” (often
     referred to as a “dApp”) that is a “project” built on top of a given blockchain protocol that
     allows communities of users to interact with each other without the need for an
     intermediary entity. Both types of tokens generally require the use of a suite of much more
     complex and involved smart contract code in addition to the specific code that manages the
     token itself. The value of most tokens generally comes from the requirement that a user
     hold some number of tokens in order to access and utilize the relevant protocol or dApp.
     73 See supra note [71].


                                                 25
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 62 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

     computers which maintains that smart contract – that’s it.74 Crucially, the
     smart contract ledger maintaining the balance of token units associated
     with public addresses will remain available regardless of whether the
     company or person that raised funds through the sale of that token
     continues to exist or has been voluntarily or involuntarily dissolved.75 A
     discussion of specific illustrative tokens is included as Annex C.
              When seeking to understand crypto assets, it is important also to
     understand the nature of the larger protocol of which the smart contract
     that creates a given crypto asset may only be part. For these purposes, a
     “protocol” can be generalized as a set of rules (implemented as an
     integrated set of smart contracts) that govern the operation of a blockchain-
     based computer network (or, in the case of a smart contract-based token,
     a dApp deployed on that network). That set of smart contracts – the
     software code which implements the protocol – can be replicated and
     altered (in blockchain parlance, forked), but to the extent the original smart
     contracts remain deployed, for example, on the Ethereum network, the
     EVM will behave deterministically (i.e., in exactly the same way, reaching
     the exact same outcome, in response to the same set of instructions).
             The vast majority of smart contract code used to implement
     blockchain protocols is made available under one or another type of open-
     source license76 and, as a result, is generally available to be copied and

     74 For example, such an “instruction” might be to transfer the token to another address at a
     predetermined time or upon the occurrence of an event. That address may be “owned” by
     a separate smart contract which, triggered by the transfer, executes further transactions.
     Because of the deterministic nature of blockchain networks, once an instruction is given,
     the instructing party can have a very high degree of confidence that the network will
     execute the instruction as submitted. In addition, these instructions can be combined in
     myriad ways involving multiple dApps to create complex logic that would be difficult or
     impossible to replicate without the use of blockchain technology and token-based
     instructions. However, it is crucial to understand that there is no intrinsic “legal layer” to
     smart contracts – the relevant network will respond in an identical way regardless of
     whether an instruction came from the “lawful” owner of the token or a person who illicitly
     gained access to a relevant private key and wrongfully provided the instruction, although
     depending on the facts and circumstances, traditional legal remedies could apply to
     identifiable individuals or entities that utilized smart contract code. See, e.g., Andrew M.
     Hinkes, Throw Away the Key, or the Key Holder? Coercive Contempt for Lost or
     Forgotten Cryptocurrency Private Keys, or Obstinate Holders, 16 Nw. J. Tech. & Intell.
     Prop. 225 (2019).
     75 Or at least so long as the smart contract code remains deployed to an address on a

     blockchain network, and that network continues to be maintained by a sufficient number
     of nodes (we refer to this as “unlimited existence”).
     76 Opensource generally refers to software that uses a license which complies with what is

     known as the open-source definition and is approved by the Open Source Initiative. See
     https://opensource.org/. The terms of open-source licenses vary dramatically and are
     outside the scope of this Article but generally fall into three categories: “permissive”,
     “copyleft”, and “other”. See, generally, Greg R. Vetter, “Infectious” Open Source
     Software: Spreading Incentives or Promoting Resistance?, 36 Rutgers L. J. 53 (2004).
     Although provided under an open-source license, smart contract code is still subject to
     copyright, which rights are often held by a non-profit entity, such as a foundation, that
     manages those rights. The owner of a token who uses this smart contract code may not
     implicate rights under copyright, but if the interaction does implicate such rights, the token


                                                  26
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 63 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     altered by anyone,77 and will continue to exist so long as a minimum
     number of nodes are running the relevant code and participating in the
     network. By way of an example of a non-computer-based protocol, one
     can think of card games. The 18th Century card game, whist78 is rarely
     played today but, so long as the rules are known, groups can get together,
     follow those rules, and play the game. The same holds true for computer
     protocols – so long as the codebase for the protocol is available, computers
     can be programmed to run that protocol, even if the protocol had not been
     run for some period of time.

               C.        The Uses of Crypto Assets
              Tokens are best understood as technological tools that, once
     created, continue to exist and function with unlimited existence. Although
     they generally provide the token owner an ability to take certain actions
     with respect to a blockchain network – for example, sending one type of
     token to a contract address that will return another type of token to the
     original address or calling a pre-coded “vote” function send instructions
     to a network of computers, most tokens do not in and of themselves confer,
     or purport to confer,79 to the owner any rights against an identifiable third
     party cognizable under current law.80 Delivery of a token that is not itself
     a type of legal instrument is not currently recognized as a means of
     conveying legal rights that will be recognized in a court of law.81
     Accordingly, to the extent that any judicially recognizable rights are


     owner may benefit from an explicit or implicit grant of a license to engage with the relevant
     smart contract code by the copyright holder. However, these are rights that benefit the
     copyright holder and may impose duties or obligations on a token holder – the opposite of
     the legal relationship between a securities issuer and a securities holder, where the security
     grants rights to the holder and imposes duties or obligations on the issuer. See infra text
     and notes at [103 and 104] and Section II.D for a further discussion of this concept.
     77 Use of open source-licensed software may still be subject to certain conditions, such as

     “copy-left” requirements. See, e.g., “What is Copyleft?”, GNU Operating System
     (available at https://www.gnu.org/licenses/copyleft.en.html).
     78 See Wikipedia, “Whist” available at https://en.wikipedia.org/wiki/Whist.
     79 Some “governance tokens” provide the owner with the ability to “vote” as to various

     matters by sending messages to the address of a smart contract which ensures that a given
     token-holding address only votes once for all tokens held. The smart contract may then
     aggregate all votes and, potentially, give instructions to another smart contract based on
     the value created by the number of these “votes” recorded. However, when such tokens
     are sold, it may be suggested by the seller that the token conveys not just an ability to vote
     but the right to vote – a right that may purport to be able to be enforceable against an
     identified entity, such as a foundation company (whether the transfer of a token is sufficient
     to create such a right under applicable law is another matter). Tokens sold on this basis
     present more challenging analytic questions that are out of the scope of this Article and
     could potentially be considered as an equity interest in the related entity. See discussion
     of The DAO Report, supra, Section III.A, infra.
     80 The function of a token can be analogized to a physical key that may give the holder the

     ability to open the associated lock, but not any right to do so. That is, if the physical key
     fails to open the associated lock, in the absence of some legally cognizable promise by an
     identifiable person or entity (which, of necessity, would be extrinsic to the physical key),
     the owner of the physical key would be “out of luck”, with no legal or economic recourse
     against anyone for the key’s failure to open the lock.
     81 See discussion of “instruments” in Section [II.D.2] infra.


                                                  27
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 64 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     purported to be associated with a token, they would need to be created
     under a separate enforceable agreement or instrument, under an existing
     statute, or by operation of law, and be transferable by valid assignment of
     the agreement, physical delivery of the instrument, or by other valid
     recognition of the transfer by the related obligor or issuer.82
              It may be tempting to view tokens as similar to paper-based
     certificates that evidence securities or other tradable financial instruments
     because they are often purchased for speculative purposes, can be easily
     transferred, and may be purchased on an exchange, among other reasons.
     However, current commercial law in the United States contemplates that
     securities and other financial instruments either be in physical (paper)
     form or, in the case of certain securities, be uncertificated -- i.e., have no
     embodiment of the relevant legal rights between the parties.83 Crypto
     assets however are not in paper form, and, as discussed below, there is no
     support in current securities law jurisprudence that crypto assets in and of
     themselves may be used to “embody” legal rights between
     counterparties.84 This does not mean that there isn’t some interesting


     82 The obverse is the case as well – any legally enforceable duties applicable to the person

     or entity that deployed the relevant smart contract code would need to be imposed by a
     separate enforceable agreement or instrument, under a statute, or by operation of law.
     83 U.C.C. § 8-102(15) defines a “security” in part as: “an obligation of an issuer or a share,

     participation, or other interest in an issuer or in property or an enterprise of an issuer: (i)
     which is represented by a security certificate in bearer or registered form, or the transfer of
     which may be registered upon books maintained for that purpose by or on behalf of the
     issuer; (ii) which is one of a class or series or by its terms is divisible into a class or series
     of shares, participations, interests, or obligations; and (iii) which: (A) is, or is of a type,
     dealt in or traded on securities exchanges or securities markets; or (B) is a medium for
     investment and by its terms expressly provides that it is a security governed by [Article
     8].”; U.C.C. § 8-102(16) defines a “security certificate” to mean a “certificate representing
     a security.”; an “uncertificated security” is defined in U.C.C. § 8-102(18) as a “security
     that is not represented by a certificate.” U.C.C § 8-301 provides delivery of a security
     certificate occurs upon physical delivery of said certificate, and thus a security certificate
     must exist in physical form. The U.C.C. defines “instruments” as negotiable instruments
     or any other writing that evidences a right to the payment of a monetary obligation, is not
     itself a security agreement or lease, and is of a type that in ordinary course of business is
     transferred by delivery with any necessary indorsement or assignment. See U.C.C. § 9-
     102(a)(47) (emphasis added).
     84 See discussions in Section [IV.C] infra. U.C.C. § 8-102(15) defines a “security” in part

     as “an obligation of an issuer or a share, participation, or other interest in an issuer or in
     property or an enterprise of an issuer: (i) which is represented by a security certificate in
     bearer or registered form, or the transfer of which may be registered upon books maintained
     for that purpose by or on behalf of the issuer; (ii) which is one of a class or series or by its
     terms is divisible into a class or series of shares, participations, interests, or obligations;
     and (iii) which: (A) is, or is of a type, dealt in or traded on securities exchanges or securities
     markets; or (B) is a medium for investment and by its terms expressly provides that it is a
     security governed by [Article 8].” (Emphasis added); U.C.C. § 8-102(16) defines a
     “security certificate” to mean a “certificate representing a security.”; an “uncertificated
     security” is defined in U.C.C. § 8-102(18) as a “security that is not represented by a
     certificate.” U.C.C. § 8-301 provides delivery of a security certificate occurs upon physical
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     U.C.C. defines “instruments” as negotiable instruments or any other writing that evidences
     a right to the payment of a monetary obligation, is not itself a security agreement or lease,
     and is of a type that in ordinary course of business is transferred by delivery with any
     necessary indorsement or assignment. See U.C.C. § 9-102(a)(47) (emphasis added).
                                                    28
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 65 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     experimentation currently being undertaken where crypto assets are being
     contractually associated with off-chain rights or interests, but those use
     cases would have some identifiable off-chain agreement.
              Nevertheless, crypto assets are still a type of property85. At a
     minimum they are a type of resource capable of being owned or controlled
     by a business or person and have a financial value based on what a seller
     of that crypto asset would expect to receive in return for validly
     transferring control of that crypto asset to another person.86
              Why would one want to own a crypto asset? Many crypto assets
     are referred to colloquially as cryptocurrencies (or crypto for short),
     implying a use as a real-world payment or settlement asset. Although
     bitcoin and a few other crypto assets were created with the specific
     expectation that they would be used as a general tool for all payments, that
     use case, while possible87 has a number of drawbacks88 and has not yet
     become significant. Instead, crypto assets whose value is directly or
     indirectly pegged to a major fiat currency, such as the U.S. dollar (known
     as stablecoins), have taken over this role.89 Another use of crypto assets
     is to allow users of a particular blockchain-based service to pay for that
     service. A good example of this use is the Ethereum blockchain network,
     which requires the native crypto asset of that network, ether, to be used to
     pay for the number of computing cycles a particular smart contract will
     consume to effect a transaction (although there is no correlation between
     these transaction costs and the price of ether).
             Most commonly, though, like the horticulturalist’s desire to sell
     strowrange seeds in bulk in order to create early interest in the success of

     85 The exact parameters of property law when applied to crypto assets are still under
     development. See James Grimmelmann and Cristina Mulligan, “Data Property” (October
     18, 2022), AMERICAN UNIVERSITY LAW REVIEW, Forthcoming, available at
     https://ssrn.com/abstract=4251825 (“Bitcoin are possessed by the person who knows the
     private key needed to sign a transaction transferring them”). See also the UK Law
     Commission           Consultation       on      Digital       Assets,       available      at
     https://www.lawcom.gov.uk/project/digital-assets/ (considering principles of private
     English law, and particularly private property law, in relation to crypto assets).
     86 Note that the Uniform Law Commission recently approved amendments to the U.C.C.

     that add a new Article 12 on “controllable electronic records” (such as virtual currencies,
     electronic money, and nonfungible tokens). These amendments also update the U.C.C. to
     account for digital records, electronic signatures, and distributed ledger technology,
     provide rules for electronic negotiable instruments, and clarify the rules for U.C.C.
     applicability to hybrid transactions involving both goods and services. These amendments
     will not be effective, however, until adopted by the various states. See “ULC Wraps Up
     131st      Annual     Meeting:      Five    New     Acts      Approved”,      available    at
     https://www.uniformlaws.org/discussion/ulc-wraps.
     87 See, e.g., New York Digital Investment Group’s program for paying salaries in bitcoin,

     available at https://nydig.com/lp/savings-plan.
     88 See Izabella Kaminska, “Busting the myth that bitcoin is actually an efficient payment

     mechanism”,        Financial     Times,     December       13,     2017,      available    at
     https://www.ft.com/content/c7cb0d08-a5e4-397c-b027-91fda883737a.
     89 See Alyssa Hertig, “What Is a Stablecoin?”, CoinDesk, updated September 16, 2022,

     available at https://www.coindesk.com/learn/what-is-a-stablecoin/. Some stablecoins may
     have characteristics of a security and are beyond the scope of this Article. See, supra, note
     [7].
                                                 29
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 66 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

     the strowrange ecosystem, crypto assets are often sold at an early stage to
     bootstrap interest in a new blockchain-based protocol by rewarding early
     adopters or supporters of the protocol with native tokens. While early-
     stage buyers of tokens understand that most new blockchain protocols will
     probably not gain much traction (and the associated tokens will likely lose
     most, if not all, of their value), some protocols, like the Ethereum network,
     will become tremendously popular, producing vastly outsized returns for
     those smart (or lucky) enough to “get in early” on owning the associated
     tokens.90

               D.        The Exchange and Trading of Crypto Assets
              Crypto assets, once created, are generally transferred either
     through a centralized crypto asset marketplace (i.e., one like Coinbase91
     that is operated by a company or other identifiable legal entity) or on a
     peer-to-peer basis, either directly between buyer and seller, or indirectly,
     through the use of decentralized exchange applications, such as Uniswap
     v3.92 Centralized crypto asset markets initially grew up around the trading
     of bitcoin93 and have since expanded into the trading of a wide variety of
     other crypto assets, as well as providing custody, analytics, and other
     services to customers.94 In the United States, so long as the assets traded
     in a centralized crypto asset market are not considered securities, these
     markets are not subject to federal securities oversight or regulation, a state
     of affairs that has raised concerns for many.95

     90 See, e.g., Alex Gailey, “How to Evaluate Any Cryptocurrency: A Guide for Investors”,

     Time,               July             19,            2022,            available            at
     https://time.com/nextadvisor/investing/cryptocurrency/how-to-evaluate-any-crypto-coins-
     potential/. Cf. Lori Schock, “Thinking About Buying the Latest New Cryptocurrency or
     Token?”,        Investor.gov,      available     at    https://www.investor.gov/additional-
     resources/spotlight/directors-take/thinking-about-buying-latest-new-cryptocurrency-or.
     91 See https://www.coinbase.com/.
     92 The smart contract code for Uniswap v3 is available at https://github.com/Uniswap/v3-

     core.
     93 See, e.g., “Coinbase Strategy Teardown: How Coinbase Grew into The King Midas of

     Crypto”,        CB        INSIGHTS       (October     19,      2021),      available     at:
     https://www.cbinsights.com/research/report/coinbase-strategy-teardown/.
     94 The most prominent U.S.-based centralized crypto asset exchange, Coinbase, went

     public in 2021 and is now a reporting company under the Exchange Act. See Michelle
     Chapman, Alex Veiga, “Coinbase soars in market debut, valued near $86 billion”, AP
     NEWS (April 14, 2021), available at: https://apnews.com/article/coinbase-stock-ipo-price-
     c3b802074ce4349b5bccf9ba43022800.             Because centralized crypto asset markets
     frequently provide multiple services to customers, including custodial and staking services,
     and have benefit from the leverage of rehypothecated customer assets, they have proven to
     be vulnerable to customer “runs”. In 2022 a number of crypto asset marketplaces have
     suffered setbacks, either filing for bankruptcy protection or, in the case of FTX, a
     prominent non-U.S. market, entering into a distress sale to a competing market, Binance.
     See Hannah Lang and Tom Wilson, “Binance Plans to Buy Rival FTX in Bailout as Crypto
     Market        Crumbles”,       REUTERS,      November       8,    2022,      available    at
     https://www.reuters.com/markets/currencies/cryptocurrencies-slide-concerns-over-ftx-
     exchange-rattle-markets-2022-11-08/.
     95 See, e.g., Letter of Sen. E. Warren to Gary Gensler, Chair, U.S. Securities and Exchange

     Commission, July 7, 2021, at p. 2 (“Although they describe themselves as cryptocurrency


                                                 30
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 67 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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              In addition, to the extent that such markets do not allow trading in
     commodity interests (generally, derivatives contracts), they will also not
     be subject to supervision by the CFTC.96 Generally centralized crypto
     asset marketplaces are considered money transmitters, a type of money
     service business that is subject to registration with the U.S. Treasury
     Department’s Financial Crimes Enforcement Network (“FinCEN”), which
     entails developing and maintaining a comprehensive anti-money
     laundering program, as well as implementing a variety of reporting and
     record-keeping requirements. These entities are also required to obtain
     licenses in most states under local money transmission statutes. However,
     these entities are not currently subject to any form of comprehensive
     federal supervision or oversight.97
              The process of locating other parties with whom to trade crypto
     assets on a purely peer-to-peer basis can be time-consuming, impractical,
     and risky. At the same time, the desire of many crypto asset owners not
     to use (and be obliged to trust) centralized markets led to the development
     of so-called decentralized exchanges. These platforms, commonly
     referred to as DEXes, are smart contract-based protocols deployed on
     blockchain networks that are designed to carry out functions similar to
     those performed by centralized crypto asset marketplaces, but
     programmatically and without the need for an entity to act as intermediary
     or operator.
              Although there are different models for decentralized exchanges,
     as of this writing, most DEXes use automated market maker (of “AMM”)
     technology. In these systems, one or more persons act as liquidity
     providers by sending at least two crypto assets (a “pair”) to the address of
     a smart contract. The smart contract locks the crypto assets and, in
     exchange, returns to the sender a new crypto asset, representing the ability
     to retrieve a certain amount of the original assets from the smart contract
     at a later date.98 Other persons interested in trading for one of the assets


     ‘exchanges,’ these platforms lack the same types of basic regulatory protections as
     traditional national securities exchanges like the New York Stock Exchange or Nasdaq”
     (footnote omitted).), available at: https://www.warren.senate.gov/oversight/letters/warren-
     asks-sec-chair-gensler-about-risks-posed-by-cryptocurrency-exchanges.
     96 Although, to the extent that the assets traded on these exchanges are considered

     “commodities”, the CFTC would have antifraud enforcement authority in accordance with
     7 U.S.C. § 6b(a)(2), 7 U.S.C. § 9(1), and 17 CFR § 180.1(a)(1)-(3).
     97 Some crypto asset marketplace providers are structured as limited purpose trust

     companies, generally formed under state law. See, e.g., “Paxos – About Us”, available at
     https://paxos.com/company/.
     98 AMM-based DEXes allow for peer-to-peer exchange of crypto assets through the use of

     smart contracts known as liquidity pools and AMM algorithms. Users known as liquidity
     providers send two or more crypto assets they control in in a variable ratio to smart
     contracts that create “liquidity pools”. Then, other users can exchange the assets within a
     given pool and the AMM algorithm adjusts the relative amount (and, hence, the price) of
     the assets in the pool depending on the size of the trade and the number of assets in the
     pool prior to the trade. The addresses to which liquidity providers have sent assets are
     subsequently sent a small amount of the crypto assets from each trade in the pool. If a lack


                                                 31
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 68 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     in that pair will send a quantity of one of the crypto assets they control to
     that same contract and simultaneously receive back a certain amount of
     the other asset in the pair.99 The ratio of the two assets to each other is
     determined algorithmically based on the supply and demand of the two
     assets in the pair.

               E.        Crypto Assets as Speculative Investments

              While any tokens that have been deployed to a blockchain
     network and are active have at least some inherent and present utility,100 it
     must be recognized that, like the strowrange seeds, many tokens are
     purchased by a buyer, not for anticipated consumptive use of the relevant
     utility by that buyer but rather as an investment – an asset anticipated to
     be in greater demand in the future than it is currently (or at least to hold its
     value relative to the anticipated depreciation of alternative investment
     assets). Again, like the strowrange seeds, because most tokens have a
     predetermined finite supply, an increase in the demand for the relevant
     functionality of the token or related dApp or network at some point in the
     future with a (relatively) constant supply of the tokens would be expected
     to lead to an increase in the price of the token.101 This characteristic allows
     users of the relevant technology to bypass purchasing an equity interest in
     a corporate owner of a given platform or technology and instead
     participate directly in the success or failure of the technology through
     direct ownership of the means by which the technology is used – the
     tokens. This blending of consumptive use and potential for price
     appreciation has proven to be of great interest to market participants
     around the world.

             Many crypto assets currently in the market relate to a technology
     platform that has not yet matured and may still depend on an identifiable
     entity or group of related entities (which we refer to generally as the
     “founders”, irrespective of the exact time they enter the project). These


     of liquidity in a specific pool causes a large amount of slippage and a resulting price
     difference relative to external markets, the price should be restored by traders due to the
     arbitrage opportunity. See Jiahua Xu et al., Decentralized Exchanges (DEX) with
     Automated Market Maker (AMM) Protocols, arXiv (Jan. 14, 2022), available at
     https://arxiv.org/pdf/2103.12732.pdf.
     99 That is, the blockchain network executes both sides of a transaction instruction or neither

     are executed. This is generally known as an “atomic swap” when the transaction involves
     an exchange of crypto assets between two or more addresses.
     100 That is, an instruction can be given to the relevant network, moving a balance of the

     token from one address to the other.
     101 However, as noted above, unlike the strowrange seeds, crypto assets can be “staked” –

     sent to an address on a blockchain network not directly controlled by the sender, where the
     sender receives more of the same asset or a different as a result of “locking” (or “staking”)
     her original tokens. For a discussion of the securities law aspects of staking ether tokens,
     see Rodrigo Seira, Amy Aixi Zhang and Jake Chervinsky, “Ethereum’s New ‘Staking’
     Model Does Not Make ether a Security”, October 5, 2022, available at
     https://www.paradigm.xyz/2022/10/ethereums-new-staking-model-does-not-make-eth-a-
     security.
                                                  32
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 69 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     founders often promote the use of the platform, address bugs or exploits
     that may arise in the codebase of the platform, develop new elements that
     enhance the desirability of the platform for users, and undertake other
     activities that are intended to foster platform growth. In theory at least,
     over time, a sufficiently large community of individuals or legal entities
     with a personal or economic stake in the success of the platform will
     form—a network effect—supporting the platform without a high level of
     reliance on those founders.102

              Critically, though, except in the uncommon case of tokens
     associated with a promise of profit interests in an off-chain business or
     with other off-chain undertakings associated with traditional securities,
     tokens and the on-chain abilities they may facilitate do not in and of
     themselves provide their owners with any actual or implied rights against,
     or interests in, these founder individuals or entities.103 Instead, the
     activities of the platform founder(s) are better understood in economic
     terms as a positive externality: the possibility of the founder(s)
     undertaking one or more activities may create an expectation of a benefit
     but not an entitlement to that benefit.104

             However, crypto assets are not the only speculative asset not
     representing an interest in a business or a contractual right to a return.
     Land in undeveloped (if not barren) areas has frequently been seen as
     providing the potential for outsized returns.105 Many other examples

     102 This rather amorphous, inchoate, and potentially impermanent state is now commonly
     referred to in the blockchain world as “sufficiently decentralized”. For a further discussion
     of this concept and its relationship to the federal securities laws, see infra text at note [301].
     103 Another way to understand this is that the absence of a legal relationship between the

     owners of the tokens and the founders means that the founders cannot be compelled to
     undertake any particular activities and any legal entities that they may have formed may
     be dissolved without reference to the interests of the owners of the tokens. This highly
     unusual dynamic is one factor that has allowed token-based projects to scale very rapidly
     and evolve in ways that would be difficult or impossible for traditional companies to
     mimic. It has also flung open a door to unscrupulous founders who exploit the good faith
     of early backers that buy tokens and find themselves without the type of statutory or
     contractual recourse they would have had if they had supported the founders with
     traditional equity or debt securities. We note that, in certain circumstances, token
     purchasers may impose contractual (i.e., legally binding) obligations on project founders
     (such as those often found in so-called “Simple Agreements for Future Tokens” (see infra
     note [246] and accompanying text)). However, arrangements of this type are extrinsic to
     the tokens themselves and evidenced by traditional legal agreements.
     104 An “externality” is a positive or negative outcome of a given economic activity that

     affects a third party that is not directly related to that activity. See International Institute
     for Sustainable Development, “What Is an Externality?”, available at
     https://www.iisd.org/savi/faq/what-is-an-externality/ (“Erosion and chemical runoff
     caused by building roads, which causes water pollution further downstream, is an example
     of a negative externality. By comparison, an increase in high-earning taxpayers, resulting
     from a university being built in a low-income area with limited higher education
     opportunities, is an example of a positive externality.”).
     105 Unsurprisingly, undeveloped land has also frequently been the subject of investment

     contract litigation, accounting for approximately 10% of all appellate cases we reviewed.
     Moreover, despite occasional statements from courts and regulators about land having


                                                    33
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 70 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     abound, including art created by as-yet-unknown artists,106 the offspring
     of thoroughbred horses,107 limited edition vinyl records,108 and even sports
     contracts provided to young athletes yet to prove themselves at the
     professional level.109 All of these assets have significant potential for a
     large or even total loss and only a small chance of an outsized return.
     Speculative interest in assets can of course also be found be found in the
     traditional equity markets.110

              Nevertheless, this speculative economic characteristic does not
     change the nature of the asset itself. In particular, some assets may be
     viewed as having primarily speculative value (i.e., little or no value to the
     real economy). A frequently offered modern example of this are the
     “Beanie Baby” series of plush toys from the 1990s created by Ty, Inc.
     which were sold in retail outlets and then “whimsically” withdrawn from
     circulation to create artificial scarcity. This resulted in highly speculative
     secondary markets developing with rapid price increases, leading to an
     inevitable crash.111 As we will see, depending on how Beanie Babies were
     offered and sold, investment contract transactions may have been formed,
     but by no measure were the plush toys themselves securities.




     “inherent value”, to the contrary, land sold in investment schemes can have zero or even
     negative value. For a good example, see “Visiting Our New Mexico Land Scam -
     Airstream RV Travel” available at https://www.youtube.com/watch?v=KzHzOqOBaoI.
     Interestingly, this video relates to a well-known investment contract case in the Southern
     District of New York, Davis v. Rio Rancho Estates, Inc., 401 F. Supp. 1045 (S.D.N.Y.
     1975).
     106 See, e.g., Milica Jovic, “How Art Collectors Can Increase the Value of their Collection”,

     Artacacia, January 17, 2019, available at https://www.artacacia.com/blogs/posts/how-art-
     collectors-can-increase-the-value-of-their-collection (“It’s not a secret that collectors like
     to invest in promising young artists that are expected to shoot to stardom in the years to
     come.”).
     107 See, e.g., John J. Kropp, J. Jeffrey Landen, and Daniel C. Heyd, Horse Sense and the

     UCC: The Purchase of Racehorses, 1 Marq. Sports L. J. 171 (1991) (“Less than two
     percent of all horses ultimately become stakes winners. Forty percent of the thoroughbreds
     ultimately win at least one race, and sixty-five percent of the thoroughbreds at least make
     it to the starting gate. But approximately thirty-five percent of each year’s crop of
     thoroughbred foals never make it to the track. Therefore, the purchase of a horse for racing
     purposes is a transaction that involves significant financial risk.” (footnotes omitted)).
     108 See, e.g., Stefan Von Imhof, “Investing in Vinyl Records”, November 16, 2021,

     available at https://alts.co/investing-in-vinyl-records/.
     109 See, e.g., Joseph Stromberg, “How NFL Teams Ignore Basic Economics and Draft

     Players         Irrationally”      Vox,       May        7,      2014,       available      at
     https://www.vox.com/2014/5/7/5683448/how-nfl-teams-ignore-basic-economics-and-
     draft-players-irrationally (“[Drafting college players is] basically a coin flip, … but teams
     are paying a great deal for the right to call which side of the coin.”).
     110 See, e.g., Shaun Davies, “Speculation Sentiment” (December 19, 2020), available at

     https://ssrn.com/abstract=3063551 (exploring demand from uninformed equity market
     traders and characterizing this as “speculation sentiment” – an uninformed belief about the
     future direction of the market similar to the beliefs of the gambler looking at the roulette
     wheel).
     111 See Zac Bissonnette, The Great Beanie Baby Bubble, Portfolio/Penguin (2015) at p. 165

     (noting that increasing demand in Beanie Babies led to ever-rising secondary market prices,
     with certain Babies trading hands at prices as high as $625 each in May of 1997).
                                                  34
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 71 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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              Adding to the speculative interest in crypto assets is their effective
     bearer status and ease of transferability. Although this status can support
     legitimate privacy concerns, particularly among persons subject to hostile
     or exploitive governmental actors, it can also facilitate the use of these
     assets for illicit purposes, including money laundering or sanctions
     evasion. For some, the possibility of outsized returns, coupled with an
     ability to obfuscate the identity of the person or entity benefitting from
     those gains, can be a powerful incentive for ownership.                     The
     pseudonymous nature of assets also allows unscrupulous parties to engage
     in wash trading or other activity that can artificially inflate the market price
     of the asset, leading to pump-and-dump schemes that can cause serious
     financial harm to others. Under current law, however, none of this activity
     brings either the Beanie Babies or crypto assets within the ambit of federal
     securities law.

               F.        Some Conclusions on Crypto Assets

              Because fungible crypto assets created using the ERC-20 standard
     (or an equivalent) of the type we are discussing are simply ledger entries
     in a smart contract recording numerical units, these assets by themselves
     neither create nor provide their owner with any right against, or interest in,
     any other person. As a granular unit of a technology platform, these assets
     will have as much or as little value as another party is willing pay for them
     at any time. In this way, they allow for a new form of technology
     ownership where profit potential and functional utility are inextricably
     linked. Because crypto assets are pseudonymous, or bearer-like, in
     nature,112 they can also be used for a range of illicit or unscrupulous
     purposes.113 While these uses of crypto assets are appropriately
     concerning, they do not alter the nature of the crypto assets themselves,
     which is the subject of our inquiry here.




     112 A “bearer” financial instrument is similar to cash in that it is transferred (or
     “negotiated”) exclusively through the physical delivery of the instrument by the holder (or
     “bearer” of the instrument); there is no ledger or record of ownership maintained by the
     issuer of the instrument. See U.C.C. Section 1-201(5) (“‘Bearer’” means a person in
     possession of a negotiable instrument, document of title, or certificated security that is
     payable to bearer or indorsed in blank.”) Like cash, if a bearer instrument is lost or stolen,
     it may be difficult or impossible to recover. The pseudonymity of blockchain address and
     the complete responsibility of the owner of a crypto asset to main the seed phrase that
     allows the owner to control their wallet, gives crypto assets much of the same character as
     bearer instruments.
     113 The same is true for a variety of other bearer or quasi-bearer assets, like art and

     antiquities, as well. See, e.g., U.S. Department of the Treasury, “Study of the Facilitation
     of Money Laundering and Terror Finance Through the Trade in Works of Art” (February
     4,                         2022),                        available                          at
     https://home.treasury.gov/system/files/136/Treasury_Study_WoA.pdf.
                                                  35
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 72 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                   Do not cite in academic work without authors’ consent

     II.   WHAT ARE “INVESTMENT CONTRACTS”? A REVIEW OF THE
     HOWEY CASE LAW114

              Long before Congress enacted the Securities Act in 1933, the law
     recognized that the common good would benefit from the application of
     regulatory protections to certain commercial arrangements in which one
     party entrusted another with capital for the purpose of entering into, or
     funding, some sort of profit-seeking venture. As has been well-covered
     elsewhere,115 the Securities Acts were developed following the Stock
     Market Crash of 1929 and the ensuing Great Depression, taking elements
     of existing state securities laws to develop a federal regulatory regime.
     The definition of the term “security” in the Securities Act was intended to
     be “in sufficiently broad and general terms so as to include within that
     definition the many types of instruments that in our commercial world fall
     within the concept of a security.”116 Thus, it should come as no surprise
     that the foundational question of exactly which commercial arrangements
     should be regulated as transactions in securities, and which should not, has
     been one of the most important, and also most controversial, questions in
     U.S. securities law.117

             In this section, we briefly explore the history and purpose of the
     inclusion of the concept of “investment contract” in the definition of the
     term security in the Securities Acts. Importantly, that term has been used
     by courts to refer both to instruments with substantially all of the economic
     characteristics of a security, but which do not fall within an enumerated
     category in the statutory definition, and, more commonly, to ostensibly
     commercial transactions or schemes that are not based on a single legal
     instrument but which nevertheless are deemed to fall within the policy
     ambit of the Securities Acts.118 We then examine the well-known Howey
     test, observing the importance placed by courts on the “facts and
     circumstances” of each potential investment contract transaction.

              Following this, we delve into the specific fact patterns that may
     create an investment contract transaction, illustrating these with examples
     from the Strowrange Labs hypothetical and drawing parallels with
     transactions involving crypto assets in both primary and secondary
     transactions. Finally, we focus more closely on the “common enterprise”
     prong of the Howey test and how it has been applied in various contexts.

     114 A complete list of the federal appellate investment contract cases reviewed for this
     Article is included in Annex A.
     115 See, e.g., Louis Loss, Joel Seligman & Troy Paredes, “Securities Regulation” (Internet

     Ed.) (hereinafter, the “Loss Treatise”), Chapter 3. See also, James M. Landis, Legislative
     History of the Securities Act of 1933, 28 Geo. Wash. L. Rev. 29 (1959).
     116 H.R. Rep. No. 85, 73d Cong., 1st Sess. 11 (1933).
     117 A bibliography of academic scholarship and other leading work on this topic over the

     years is included in Part I of Annex B.
     118 See S.E.C. v. SG Ltd., 265 F.3d 42 (1st Cir. 2001) (“We do not gainsay the obvious

     correctness of the … observation that investment contracts lie within the commercial
     world.”).
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 73 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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               A.     Identifying Investment Contract Transactions Using
               the Howey Test

             The Securities Acts define the term “security” to include an
     enumerated list of interests and instruments.119 These enumerated
     instruments are prima facie securities and, unless the context otherwise
     requires, if an interest or instrument falls within one of the enumerated
     categories, that interest or instrument will be considered a security.120 To
     effectuate the broad Congressional intent noted above, the term
     “investment contract” was borrowed from state Blue Sky laws without
     further definition and included in the definition of the term “security” in
     both the Securities Act and the Exchange Act.121 It is a catch-all category,
     intended to cover “novel, uncommon, or irregular devices, whatever they
     appear to be.”122

              Congress recognized that, to effect fully the remedial purposes of
     the Securities Acts, a rigid statutory definition involving only then-
     existing types of instruments or interests would not suffice. Inclusion of
     the term “investment contract” and its open-ended definition in Howey
     facilitates these remedial purposes by providing flexible framework
     capable of encompassing a multitude of schemes, arrangements, or
     instruments which courts conclude fall within the principles of the
     Securities Acts and the ambit of the Howey test, even though the
     instrument or scheme created by the parties is not otherwise identified
     within one of the enumerated categories in the statutory definitions or
     otherwise commonly known as a security.123

     119 The Securities Act provides an enumerated list of 21 types of interests and instruments,
     whereas the Exchange Act enumerates 17 types of interests and instruments which while
     closely reflective of the Securities Act definition, does not include several interests and
     instruments, including, notably, “evidence of indebtedness”. See also FitzGibbon, What is
     a Security? – A Redefinition Based on Eligibility to Participate in the Financial Markets,
     64 Minn. L. Rev. 893 at 914 (1980) (“[t]he instruments listed in the statutory definition of
     “security” are the primary vehicles of [the public and major financial markets]—that is,
     they are, or represent, bundles of financial claims and liabilities.”).
     120 Landreth Timber Co. v. Landreth, 471 U.S. 681, 685 (1985).
     121 For an excellent and thorough discussion of the state law underpinnings of the federal

     definition of the term “investment contract”, see Joseph C. Long, An Attempt to Return
     ‘Investment Contracts’ to the Mainstream of Securities Regulation, 24 Okla. L. Rev. 135
     (1971).
     122 S.E.C. v. Glenn W. Turner Enters., Inc., 474 F.2d 476 (9th Cir. 1973), citing S.E.C. v.

     C.M. Joiner Leasing Corp., 320 U.S. 344 (1943). See also A.T. Brod Co. v. Perlow, 375
     F.2d 393, 397 (2d Cir. 1967) (“Novel or atypical methods should not provide immunity
     from the securities laws.”).
     123 The Supreme Court has clarified that this latter clause should not be read as a limitation

     on the definition of “security”, stating in Tcherepnin v. Knight that:

               We view the … conclusion [of the appellate court below] that the petitioners’
               withdrawable capital shares are not securities as a product of misplaced
               emphasis. After reviewing the definition of security in § 3(a)(10), the Court of
               Appeals stated that “[t]he type of interest now before us, if it is covered by this
               definition, must be an instrument commonly known as a ‘security.’”. Thus, the
               Court of Appeals read the words an “instrument commonly known as a


                                                  37
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 74 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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              Because “investment contract” is generally not a term parties
     utilize in the context of commercial arrangements,124 it is left to courts in
     hindsight following a dispute between the parties or upon an enforcement
     action brought by the SEC to discern whether a given contract, transaction
     or scheme entered into by parties should be treated as an investment
     contract. Investment contracts are thus best understood as a tool utilized
     by courts to impose situation-specific constructive securities transactions
     on commercial parties in the context of the facts and circumstances of that
     specific transaction.125 This means that an investment contract analysis is
     inherently and necessarily a retrospective concept – a remedial provision
     intended to address a wide variety of fraudulent, abusive or evasive
     schemes.126 In short, the inquiry is whether there a securities transaction
     should be deemed to have occurred despite the fact that the parties did not
     label their arrangements this way.

              A review of the federal appellate jurisprudence reveals that there
     are two basic types of arrangements which have been found to constitute
     investment contracts by courts – (i) those in which a legal instrument
     creating a financial relationship between the parties exists, but the
     relationship created is not one that contains all of the features of a type of
     enumerated security and (ii) those that involve one or more contractual
     agreements, often along with marketing materials, oral statements and
     other indicia of the parties’ intent, but nothing that resembles a legal
     instrument of a type typically associated with a security.127

             In the first group of cases, the entirety of the relationship is
     contained within the relevant instrument and the question presented is
     whether the instrument itself constitutes an investment contract. Examples

               ‘security’” in § 3(a)(10) as a limitation on the other descriptive terms used in the
               statutory definition. This, of course, is contrary to our decision in Joiner where
               we rejected the respondents’ invitation to “constrict the more general terms
               substantially to the specific terms which they follow.”

     Tcherepnin v. Knight, 389 U.S. 332, 343 (1967) (internal citations omitted).
     124 If a contract was identified by the parties as an “investment contract” then it would be
     clear to all concerned that a securities transaction was intended, and the entirety of the
     transaction would presumably be documented as such (failure to do so would be a clearly
     illegal transaction).
     125 See generally, Loss Treatise, Section 3.A.1.
     126 One of the most challenging jobs for a securities regulator is to determine when to bring

     an enforcement action in the absence of demonstrable fraudulent or abusive actions. And
     yet, if left unchecked through an absence of vigorous enforcement, there is a risk of a “race
     to the bottom” as possibly well-intentioned but likely increasingly reckless fundraisers find
     innovative ways of evading what is often perceived as the costly, time-consuming and
     “pointless” requirements of the federal registration process for public offerings of
     securities. At the same time, excessive enforcement actions against good faith actors can
     diminish the perception of securities regulators in the mind of the public. A further
     examination of this tension is outside the scope of this Article.
     127 The Loss Treatise subdivides “investment contracts” into six general categories: (i)

     dispositions of property with management agreements; (ii) partnerships; (iii) real estate
     with a collateral arrangement; (iv) franchises and distributorships; (v) membership plans;
     and (vi) installment and when-issued securities contracts.
                                                  38
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 75 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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     of this type of arrangement include S.E.C. v. United Benefit Life,128 in
     which an insurance company offered customers a product it called a
     Flexible Fund Annuity, and Tcherepnin v. Knight,129 which concerned
     nonnegotiable capital shares in a state-chartered savings and loan
     association. As courts have frequently observed, parties cannot avoid the
     reach of the Securities Acts through the nomenclature given to an
     instrument or by including (or removing) terms in the instrument that do
     not change the substance of the relationship between the parties.

              In cases like these, where a court finds the instrument in question
     to constitute an investment contract, it would be wholly appropriate to
     characterize the instrument as itself a security such that the Securities Acts
     would apply equally to any transferee of that instrument, regardless of the
     “circumstances” of the transaction. We refer to these as “securities
     equivalents”. As will be seen, this type of arrangement is not of interest
     to our inquiry because, in these cases, a legal, still often paper-based
     instrument exists and the terms of that instrument provide all the
     information needed by a court to determine the instrument’s status –
     something that is not the case with crypto assets. For example, in United
     Benefit Life, the Supreme Court focused on the fact that the contract
     entered into by customers of United Life contained “[t]wo entirely distinct
     promises” and evaluated each of the elements of the instrument,
     concluding that “the provisions to be examined are less difficult of
     classification than ones presented in VALIC” (an earlier case involving
     annuity contracts).130 Likewise, in Tcherepnin, the Court focused its
     inquiry on “the legal character imparted to [the capital] shares by the
     [state] statute” concluding that it had “little difficulty fitting the … shares
     … into that expansive concept of a security”.131

              The other, and significantly more common, category of
     investment contract transaction is that exemplified by the Howey case
     itself (discussed in detail below). In these cases, rather than a legal
     instrument the character of which may be examined on its own terms, there
     is a more general transaction or scheme, typically involving one or more
     contractual agreements, along with written marketing or sales materials,
     oral statements or assurances, and assertions of unstated expectations (we
     refer to these generally as “investment schemes”).



     128 387 U.S. 202 (1967).
     129 389 U.S. 332 (1967).
     130 United Benefit Life, 387 U.S. at pp. 387-88. See also Warfield v. Alaniz, 569 F.3d 1015

     (9th Cir. 2009) (charitable gift annuity agreements create investment contracts where the
     annuity agreements, financial instruments that are not of a type specifically enumerated as
     securities in the Securities Acts, are marketed as investments and not merely as vehicles
     for philanthropy).
     131 Tcherepnin, 389 U.S. 336-338. See also S.E.C. v. The Infinity Group, 212 F.3d 180 (3d

     Cir. 2000) (offer of “property transfer agreements” and related guarantees which were each
     legal instruments).
                                                39
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 76 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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              In these cases, the capital providers, funders, or investors are often
     couched as ostensible “purchasers” of some commercial good, service or
     asset from the person or entity seeking to deploy that capital (referred to
     generally here as a “sponsor” of the scheme) in an arrangement intended
     to create profit for the funders based on the efforts of the sponsor (or,
     occasionally, some third party), along with some economic benefit for the
     sponsor. In the case of investment schemes involving crypto assets, the
     typical fact pattern is fairly consistent. Like the horticulturalist in our
     parable considering raising funds through bulk sales of strowrange seeds
     her company created, developers of crypto asset-based platforms will
     often seek to raise funds through sales of the crypto asset they create,
     falling into this second category. It is this type of “investment contract
     transaction” on which we focus our attention.132
           1. The Basics of Howey and the Critical Importance of a
              Transaction’s Facts and Circumstances
              The four-part test to determine whether a particular contract,
     transaction or scheme should properly be considered an “investment
     contract” within the meaning of the Securities Acts was established by the
     Supreme Court in S.E.C. v. W.J. Howey Co.133 and has come to be known
     as the “Howey test”.134 The Howey case not only established the namesake
     test for assessing whether a particular contract, transaction or scheme
     constituted an investment contract,135 it also featured a paradigmatic fact
     pattern.
             In Howey, a Florida company operating a local hotel encouraged
     guests to tour nearby orange groves, also owned by the company. Guests

     132 There is a third case in which a legal instrument is part of the scheme, but other promises
     are required in addition to the terms of the instrument in order to trigger all four Howey
     prongs (i.e., the instrument without the additional promises would not constitute a
     “security”). Examples of this pattern include Glen-Arden Commodities, Inc. v. Costantino,
     493 F.2d 1027 (2d Cir.1974) (where the instruments, warehouse receipts for whiskey, were
     coupled with additional services, including storing the whisky in casks during maturation;
     procuring insurance policies on the whiskey while being stored; and, without charge,
     assisting purchasers in selling the whiskey when it matured) and Gary Plastic Packaging
     v. Merrill Lynch Pierce Fenner & Smith, 756 F.2d 230 (2d Cir. 1985) (where the
     instruments, bank certificates of deposit, were coupled with, among other things,
     professional selection and negotiation of terms by a financial advisor and a buy-back
     guarantee if liquidity was desired by the investor prior to maturity). In neither of these
     cases would the relevant instrument, the warehouse receipts or the bank certificates of
     deposit, be “securities” unless the instruments were transferred along with a legal
     entitlement to the other benefits of the scheme in question.
     133 328 U.S. 293 (1946)
     134 As set out above, the “Howey test”, looks to whether the circumstances of a given

     contract, transaction or scheme involves: (1) an investment of money (2) in a common
     enterprise (3) with an expectation of profits to come (4) solely from the efforts of the
     promoter or a third party. Howey, 328 U.S. at 299. We will be most concerned with the
     second prong of the test here – whether and how a “common enterprise” is formed in
     secondary transactions of crypto assets.
     135 The transaction-by-transaction nature of a Howey analysis of a scheme (not involving

     a “securities equivalent”) flows directly from a court’s need to evaluate all the facts and


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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 77 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     were given a sales pitch and offered the opportunity to acquire a modest
     patch of land containing orange trees. In a separately documented
     transaction, purchasing guests were also given the opportunity to have a
     Howey company affiliate manage the groves, harvest the oranges, and
     send the purchaser the net profits, if any. The purchasers, mostly out-of-
     state residents, as a practical matter could not have utilized the purchased
     land themselves due to the small size of the plots. It was only if the plots
     were combined into commercially feasible citrus groves and centrally
     managed that the purchasers could reasonably expect any return on their
     investment. Given these facts, the Supreme Court agreed with the SEC
     that the economic realities of the arrangements were that the guests were
     functionally investing in a business enterprise managed by the two Howey
     companies and therefore deserved the protections of the Securities Acts
     for these transaction to the same extent they would have received had they
     been offered shares of stock in the enterprise.
              So long as each element of the Howey test is present, a commercial
     transaction will be deemed to involve an investment contract (and
     therefore be treated as a securities transaction). This will be true even
     though the transaction does not involve a type of security enumerated in
     one of the definitional sections of the Securities Acts (other than an
     “investment contract”) or an instrument or interest commonly known as a
     security. Since 1946, federal courts have found all manner of
     arrangements involving ostensibly commercial transactions that do not, in
     and of themselves, purport to be offers of an otherwise enumerated type
     of security to nevertheless be investment contracts.136 This has included
     schemes involving the sale of crypto assets.137


     circumstances applicable to a given transaction or scheme at the time the transaction took
     place or value was otherwise provided in order to determine whether the federal securities
     laws should apply.
     136 See, e.g., Gary Plastic Packaging Corp. v. Merrill Lynch, Pierce, Fenner & Smith, 756

     F.2d 230 (2d Cir. 1985)(finding a scheme to offer bank certificates of deposit for sale to be
     an investment contract scheme due to the nature of the arrangement, despite the fact that
     the Supreme Court had determined that conventional certificates of deposit issued by a
     bank, in and of themselves, are not securities); S.E.C. v. Koscot Interplanetary, Inc., 497
     F.2d 473 (5th Cir. 1974)(finding that a pyramid selling scheme constituted an investment
     contract scheme); S.E.C. v. Glen-Arden Commodities, Inc., 368 F. Supp. 1386 (E.D.N.Y.
     1974)(finding that the offer and sale of an investment package involving the sale of whisky
     warehouse receipts to be an investment contract scheme within the ambit of the Securities
     Act).
     137 See, e.g., S.E.C. v. Telegram Grp. Inc., 448 F. Supp. 3d 352 (S.D.N.Y. 2020) (granting

     the SEC’s request for a preliminary injunction against Telegram Group Inc. and TON
     Issuer Inc. and finding that the SEC had “shown a substantial likelihood of success in
     proving that the Gram Purchase Agreements, Telegram’s implied undertakings, and its
     understandings with the [i]nitial [p]urchasers, including the intended and expected resale
     of [the crypto asset known as] Grams into a public market, amount to the distribution of
     securities, thereby requiring compliance with section 5.”); see also, S.E.C. v. Kik
     Interactive Inc., 492 F. Supp. 3d 169 (S.D.N.Y. 2020) (granting the SEC’s request for
     summary judgment on its claims that Kik Interactive Inc. had violated Section 5(a) and
     5(c) of the Securities Act by offering and selling its own “Kin” tokens without a registration
     statement or an exemption from registration and finding that Kik’s public sale of Kin was


                                                  41
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 78 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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              The Supreme Court and the federal appellate courts have
     frequently admonished us that a determination that an investment contract
     scheme is present will be based on all of the facts and circumstances
     involved. Because this determination is of necessity made in hindsight
     and in the context of a specific transaction or scheme with parties that have
     already entered into some sort of commercial arrangement, courts almost
     always take into account private matters that would be known only to those
     parties. This frequently includes testimony about oral statements,
     informal writings or other communications, marketing brochures,
     websites and other materials that may change from time to time.138 These
     circumstances mean that, except in cases involving “securities
     equivalents”, courts do not – and cannot – rely solely on the contractual
     agreements between the parties to evaluate whether the arrangement
     constituted an investment contract transaction or scheme.139 In fact, the
     transaction-by-transaction nature of the Howey analysis of a scheme (not
     involving a “securities equivalent”) flows directly from a court’s need to
     evaluate all the applicable facts and circumstances at the time the
     transaction took place or value was otherwise provided in order to
     determine whether the federal securities laws apply.


     a security offering, and its pre-public sale was part of an integrated offering with the public
     sale, and thus both constituted an unregistered offering of securities under Section 5 of the
     Securities Act.)
     138 See, e.g., Baroi, et al. v. Platinum Condominium Development, LLC, 914 F. Supp. 2d

     1179 (D. Nev. 2012) (in determining whether an investment scheme was present in a
     condominium sale program, “the Court considers the applicable agreements, any other
     documents which structure the investment, any promotional materials, the promoter’s oral
     representations, the investor’s experience and knowledge, the promoter’s managerial skill,
     and the investor’s practical ability to exercise powers possessed by virtue of the
     agreements” (emphasis added)).
     139 This is well illustrated in an amicus curiae brief filed by the SEC in Salameh, et al. v.

     Tarsadia Hotel et al., 726 F.3d 1124 (9th Cir. 2013), a case involving purchases of
     condominiums in the Hard Rock Hotel San Diego alleged to be a disguised securities
     transaction by the plaintiffs (the Ninth Circuit did not find these claims to be supported).
     In its amicus brief, the SEC stated:

               The district court, in concluding that the purchasers lacked an expectation of
               profits at the time they entered into the Purchase Contract, erroneously relied on
               disclaimers in the Purchase Contract that stated the purchasers were not acquiring
               the rooms “as an investment” and that Tarsadia had not “represented or offered
               the property as an investment opportunity.” The district court placed dispositive
               weight on these representations and, in doing so, failed to fully consider the
               broader realities of the overall transaction. This was error because, as the
               Supreme Court has admonished, the economic reality of a transaction or scheme
               controls the investment contract analysis, irrespective of legal terminology or
               formalisms that may attempt to disguise it. See, e.g., Howey, 328 U.S. at 298-
               301. See also, e.g., Davis v. Metro Productions, Inc., 885 F.2d 515, 524-25 (9th
               Cir. 1989) (“It is well established that courts look beyond contractual language
               to economic realities in determining whether a transaction is an investment
               contract.”). This is particularly so where, as here, the representations and
               disclaimers are false.

     SEC Brief at pp. 16-17 (emphasis added). However, persons not involved in the original
     transaction would be unable to ascertain whether statements made by one or more parties
     are in fact true or false.
                                                  42
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 79 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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           2. Some Examples of Potential Investment Contract Transactions
            The process of retrospectively identifying whether a purportedly
     commercial sale would be deemed an investment contract transaction
     based on its specific facts and circumstances can best be illustrated by a
     few examples using the facts from our strowrange parable.
                   a. Private Sale of Seeds to a Commercial Party
              First, let’s say that, during its first year of operation, Strowrange
     Labs needs to raise additional funds to run its business. Labs may choose
     to undertake a one-off bulk commercial sale of strowrange seeds it
     reserved for itself to an agricultural company (“BigAg”) with land
     available and appropriate for planting the seeds, documenting the
     transaction on a standard form of Supply Agreement which BigAg also
     uses for purchases of seeds and agricultural products from other suppliers.
     BigAg evaluates the value of the seeds on its own in the context of its
     business, taking into account its cost of planting the strowrange seeds,
     growing strowrange trees from them, and bringing the harvested
     strowranges to market. BigAg provides funding to Labs through the
     purchase price it pays and has a “consumptive” interest in the seeds.
     BigAg makes clear to Labs that they have no intention of holding the seeds
     any longer than the time needed to plant them in the next planting cycle.
               This commercial sale would raise funds for Labs but is unlikely to
     be considered an investment contract transaction if challenged in court.
     This is because BigAg has a consumptive interest in using the seeds it
     acquired in its agriculture business and has a practical use for the quantity
     of seeds it is acquiring. In addition, there is no suggestion that BigAg is
     relying on the managerial efforts of Labs to make money from the seeds.
     As a result, if BigAg later believed that misrepresentations had been made
     to it by Labs or that Labs had failed to provide it with information that may
     have impacted the price BigAg was willing to pay for the seeds, their
     primary avenue for recourse would be to enforce the contractual
     provisions in the Supply Agreement or to make state law fraud claims140 –
     federal securities law protections would (appropriately) not be available to
     them.
                   b. Private Sale of Seeds to a Financial Party
             Alternatively, Labs could offer the same number of strowrange
     seeds to a venture capital fund (“Fund”) that made it clear to Labs that
     Fund believed in the work the horticulturalist and her team were doing and
     saw huge opportunities for its investors in the anticipated price
     appreciation of the strowrange seeds. In this scenario, Fund plans to
     warehouse a portion of the seeds for at least four years for long-term gains
     and provide the remainder of the seeds back to Labs for planting to create

     140It is possible that BigAg could also pursue a claim that they were subject to unfair or
     deceptive acts and practices and endeavor to get the FTC interested in investigating.
                                                43
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 80 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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     more current income. To effect this, Fund and Labs also document their
     relationship as a purely commercial one and enter into two legally binding
     agreements: a Strowrange Seed Sale Agreement and a Strowrange Seed
     Management Agreement. Pursuant to the second of these, Labs agrees
     with Fund to plant a portion of the strowrange seeds sold in the Strowrange
     Seed Sale Agreement, cultivate the trees, and harvest and sell the fruit,
     remitting 80% of the net proceeds of all strowrange fruit sales to Fund and
     retaining 20% of the proceeds as a commission.
              Unlike the first example however, the sale of seeds to Fund,
     coupled with the Strowrange Seed Management Agreement, would likely
     result in a court finding that the sale and management arrangement (but
     not the seeds themselves) constituted an investment contract transaction
     as the result of arrangement meeting all four prongs of the Howey test.
     This is the case notwithstanding that the agreements which parties entered
     into on their face appeared to be purely commercial in nature – there was
     no suggestion of a securities offering anywhere to be found in the relevant
     documentation.
               This conclusion is reached because Fund is not only providing
     economic value to Labs – an “investment of money” but is also expecting
     a profit to come, not from its “consumptive” use of the seeds, but from the
     entrepreneurial and managerial efforts of Labs, on which it is relying.141
     The presence of the Strowrange Management Agreement creates a legal
     relationship between the parties and, at least in certain Circuits,142 also
     confirms that Fund and Labs are collaborating in a “common enterprise”.
     Fund is anticipating a dramatic increase in the price of the seeds they
     purchased as demand for strowranges increases over time. The gains made
     from later sales of the seeds will benefit Fund’s investors (who are simply
     looking for a high cash-on-cash return on capital deployed, not to get into
     the fruit business).
              Although this arrangement would very likely be considered a
     securities transaction, assuming that Labs did not make a public offering
     of the opportunity to buy seeds from it on similar terms and took care in
     determining that Fund qualified as an accredited investor, the transaction
     would likely be exempt from registration under Section 4(a)(2) of the
     Securities Act as a transaction “by an issuer not involving any public
     offering”. The question of whether the strowrange seeds were themselves
     “securities” for purposes of the Securities Acts would not be relevant to
     the outcome of this analysis. However, the transaction would still be


     141 Here we see an example of where strowrange seeds differ from crypto assets in
     important ways. Unlike the seeds, for which a financial party like Fund would be unlikely
     to have a consumptive use, had we instead been considering a crypto asset that functioned
     as the native asset of a proof-of-stake “layer 1” blockchain network, Fund might well have
     elected to hold that asset for its intended consumptive use—staking to help secure the
     network.
     142 See, also, text at notes [149] to [160].


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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 81 of 215
                     DISCUSSON DRAFT: NOVEMBER 10, 2022
                  Do not cite in academic work without authors’ consent

     subject to the antifraud rules in the Securities Acts.143 As a result, no
     addition to state law remedies for fraud or a possible state of federal
     investigation by the attorney general’s office or the FTC, Fund may be
     able to pursue claims of material misrepresentations made by Labs in
     federal court and may be able to take advantage of other provisions of
     federal securities law.
                  c. Direct Public Sale by Labs
             In a third alternative, the horticulturalist does not heed the advice
     of her counsel and announces on Twitter that what she calls a “once in a
     lifetime” opportunity will soon be presented in which anyone can join the
     “strowrange craze” and buy some strowrange seeds for themselves. The
     Twitter post goes on to talk about “democratizing the fruit market” and
     putting power back into the hands of fruit eaters by widely distributing
     strowrange seeds. A link to Strowrange Labs’ website is provided that has
     a clock counting down to the time when the sale will start. The website
     also hosts a “mauve paper” (in honor of the color of the strowrange fruit)
     that explains what it heralds as the many benefits of growing and
     consuming strowranges. The paper extolls the many academic degrees
     and real-world experience of the horticulturalist and her team and provides
     a “roadmap” of steps Labs plans to take to develop the strowrange market
     over the next several years using the proceeds of the seed sale. The sale
     of seeds is open to anyone who has gone through a know-your-customer
     check, but no effort is made to limit the number of seeds that any given
     purchaser can buy, to determine what purchasers intend to do with their
     seeds, or to ascertain whether purchasers are accredited investors. Labs
     even offers to hold (or custody) purchased seeds for those customers who
     do not have the right equipment for this. Social media posts are made by
     Labs implying that they are hard at work getting established seed
     marketplace providers to make strowrange seeds available for purchase
     and sale so that purchasers seeking to dispose of their seeds would have
     what Labs refers to as “liquidity”.
              This fact pattern differs from the prior one in two important ways.
     First, although Labs published the mauve paper, which contains a great
     deal of puffery but makes no concrete promises, and posted Terms of
     Service on its website, which addresses the terms of the seed sale and
     contain numerous disclaimers but does not provide any ongoing
     undertakings, there is no equivalent to the Strowrange Management
     Agreement present in the prior example. The disclaimers provided by
     Labs make clear that seed purchasers are expressly not to rely on Labs to
     undertake any particular “efforts” at all and that any plans mentioned in
     the mauve paper may be discontinued at any time.



     143 See Exchange Act Section 10(b) (15 U.S.C. § 78j(b) and Commission Rule 10b-5 (17

     C.F.R. § 240.10b-5).
                                              45
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 82 of 215
                     DISCUSSON DRAFT: NOVEMBER 10, 2022
                  Do not cite in academic work without authors’ consent

              Second, unlike in the prior example, care was not taken by Labs
     to avoid offering the seed purchase opportunity to the general public in the
     United States. In fact, casting caution to the wind, U.S. residents were
     welcomed by Labs as seed purchasers with open arms. Many of these U.S.
     persons were retail individuals who had heard chatter about strowranges
     and other so-called “new fruits” that were emerging in the wake of the
     strowrange on social media but who had little understanding of the risks
     involved in buying and holding these new types of seeds. The mauve
     paper had only the lightest of risk factors and did not come close to
     providing the level of detailed information that would have been required
     in a public offering of securities. Unlike Fund however, which was highly
     sophisticated with access to specialists in the science of horticulture as
     well as unlimited direct contact with the Labs leadership team to help
     guide them in their decision-making, it was reasonable to conclude that
     these retail purchasers were mostly unsophisticated in matters of
     horticulture and whose purchases were likely mostly driven by market
     hype.
              While this arrangement unquestionably raises important consumer
     protection issues, is it an investment contract transaction? Purchasers are
     paying for the seeds and the proceeds of those sales are being used by Labs
     to help them develop the strowrange “ecosystem”, so the investment of
     money prong of the Howey test should be easily met. Likewise, seed
     purchasers almost certainly had a reasonable expectation of profit arising
     from the efforts of Labs. Strowrange seeds were being sold by Labs in
     large quantities and required a fair amount of expertise to plant and grow
     – factors that make it unlikely that many purchasers had a “consumptive
     interest” in the seeds (i.e., a desire to plant the seeds themselves and use
     them for their intended purpose). Moreover, the prospect of liquidity
     through an ability to resell the seeds on secondary markets provided
     purchasers an easy path to realize profit. As to the final prong needed to
     establish an investment contract transaction – “common enterprise” – the
     position is less clear. We will look much more closely at this prong of the
     Howey test in the next section.
              Regardless of the ultimate conclusion, the question of whether this
     third arrangement constitutes an investment contract transaction takes on
     much greater import in comparison with the two prior examples. In the
     privately negotiated sale of strowrange seeds to Fund the consequences of
     the arrangement being considered an investment contract transaction were
     relatively limited – no registration of the transaction with the SEC would
     be required either way. In the third example, however, an exemption from
     the registration requirements of the Securities Act is likely not available.
     If a court were to conclude that the offer and sale of the strowrange seeds
     constituted an investment contract transaction, then Labs’ failure to
     register the transaction would be a violation of Section 5 of the Securities
     Act. The SEC would be entitled to seek an injunction stopping the sale,


                                              46
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 83 of 215
                         DISCUSSON DRAFT: NOVEMBER 10, 2022
                      Do not cite in academic work without authors’ consent

     disgorgement of amounts unable to be returned, and civil penalties.144
     Those purchasers who did acquire seeds would benefit from a right of
     rescission as well as the antifraud protections of the Exchange Act.145
                      d. Some Observations about Facts and Circumstances in a
                         Howey Analysis
              All three of the above transactions were ostensibly commercial
     sales of strowrange seeds – the documentation used by the parties did not
     in any way refer to the Securities Acts or suggest that the expectation of
     the parties was that the transaction was subject to the protections of those
     laws. In the absence of a subsequent dispute or concern coming to light,
     the question of whether any of these arrangements should properly be
     recharacterized as investment contract transactions – i.e., “constructive”
     securities offerings – simply does not arise.
             It is only when things go wrong commercially between the parties
     or a regulator identifies and determines to investigate and, ultimately,
     pursue a violation that courts are charged with looking backwards and
     examining all of the facts and circumstances of the particular transaction
     in question to determine whether the federal securities laws should
     properly be applied to that transaction under the Howey jurisprudence. For
     example, we noted in looking at Labs’ sale of seeds to BigAg that there
     did not appear to be any reason to conclude that BigAg was relying on
     Labs for their expectation of profit or that the other factors of the Howey
     test were present.
              But what if there were additional facts? For example, what if after
     completing the sale, BigAg became disenchanted with their purchase.
     Let’s say that the chief of procurement for BigAg was ready to testify that,
     at a meeting he had with Labs shortly before agreeing to the seed purchase,
     the horticulturalist stated that Labs was “weeks away” from inking a joint
     promotional deal with a major fast-food chain to roll out strowrange-
     flavored milkshakes nationwide and that Labs needed the proceeds of the
     seed sale to BigAg to fund the completion of the development of a secret
     formula crucial for making these shakes. Let’s say that this statement was
     a gross exaggeration and that no deal for strowrange shakes emerged with
     any fast-food chains. In fact, shortly after BigAg’s purchase, the
     strowrange seed bubble burst and prices, as well as interest, in the
     strowrange evaporated. Perhaps the procurement chief was also ready to
     testify that BigAg had based their purchase entirely in reliance on the
     horticulturalist’s statements at that meeting? Would this be enough to
     allow BigAg to get past a motion to dismiss in federal court that their
     transaction with Labs was actually an investment contract transaction?
     Would it make a difference if BigAg negotiated an additional provision in



     144   See, e.g., S.E.C. v. Telegram Group, Inc., 448 F. Supp. 3d 352 (S.D.N.Y. 2020).
     145   See, supra, note [143].
                                                  47
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 84 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

     their standard Supply Agreement containing a covenant on the part of Labs
     to use the proceeds of the sale to develop the secret formula?
              Similarly, in the third scenario, what if Labs had been more
     circumspect, eliminating all promotional activity referencing anything
     other than the nutritional and taste benefits of the strowrange and making
     no references to “roadmaps” or other ongoing activities on the part of
     Labs? Perhaps Labs also limited sales to 10 seeds per customer unless the
     customer submitted information to Labs demonstrating a legitimate
     consumptive need for more than that number of seeds. Would these facts
     and circumstances tip the scales away from investment contract
     transaction status? Alternatively, let’s say that the terms of the sale on
     Labs’ website contained a promise that the first 1,000 seed purchasers
     would be entitled to a “kicker” equal to 3% of all of Labs’ revenue divided
     ratably based on the number of seeds purchased. If a potential seed
     purchaser became concerned and complained to the SEC, would the
     Commission be entitled to an injunction to stop the sale?
              As we can see from our examples, the Howey process is inherently
     backwards looking and fact dependent. Small changes in the facts can
     significantly change the outcome. Before we move from the facts in our
     parable to the facts in the various investment contract cases, we take a
     closer look at the “common enterprise” prong as this will prove to be
     essential when we examine secondary transactions in crypto assets.
           3. The Common Element in “Common Enterprise”
             Our review of the appellate jurisprudence on investment contracts
     focused in particular on those decisions addressing the “common
     enterprise” prong of the test.146 Of the total of 266 relevant federal
     appellate and Supreme Court decisions reviewed, approximately 62 had
     more than a cursory reference to the concept of “common enterprise”. Of
     those, 37 decisions either found that an investment contract transaction or
     scheme was present or remanded for further fact finding. In each of these
     decisions, the one constant, even in the decisions taking the most plaintiff-
     friendly position that any significant reliance on the part of the participant
     on the sponsor — irrespective of the nature of the sponsor’s benefit from
     participating — would be sufficient to give rise to commonality (known
     as “broad vertical commonality”), was that the common enterprise was

     146This prong has probably been the most controversial in the area of investment contract
     analysis, with many disputes and scholarly articles turning on how to correctly interpret
     the Howey Court’s meaning. There is a significant unresolved split in the Circuits on this
     issue between Circuits that require “horizontal” commonality to be shown in order for an
     investment contract to be present and those that will also accept either broad or narrow
     “vertical” commonality as well, which is easier for individual plaintiffs to establish. See
     generally Loss Treatise, Chapter 3 at pp. 21-23 (discussing the difficulties of each of these
     approaches to common enterprise); James D. Gordon III, Common Enterprise and Multiple
     Investors: A Contractual Theory for Defining Investment Contracts and Notes, Colum.
     Bus. L. Rev. 635 (1988) (“Defining Investment Contracts”) (evaluating the different
     approaches to common enterprise and proposing a novel “multiple investors test” which is
     “an enterprise that is in common among the promoter and multiple parallel investors.”).
                                                 48
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 85 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     based on a direct business relationship between the sponsor and the
     participant.147
              As we have seen, the Howey test is applied retrospectively to
     obtain the policy objective of providing a federal remedy to participants in
     “uncommon, irregular and unusual” investment schemes148 who a court
     concludes merit the protections of federal securities law. Accordingly, it
     should come as no surprise that some of the widest readings of the
     common enterprise element of Howey have been applied in the context of
     obviously fraudulent endeavors where courts have sought result-oriented
     interpretations. Thus, we see the Fifth Circuit developing the “broad
     vertical commonality” test in the context of a Ponzi-like multi-level
     marketing scheme of independent distributorships, purportedly for the sale
     of cosmetics, operated by the infamous Glenn W. Turner.149
              Nevertheless, broad vertical commonality has also been applied
     by courts in more traditional business settings. A good example of this is
     Villeneuve v. Advanced Business Concepts Corp.150 In Villeneuve, the
     defendant, Advanced Business Concepts Corp. (“ABC”), sold area
     distributorships of self-watering planters, providing the planters, display
     merchandise, and a display rack as well as selecting the retail locations at
     which the planters would be sold. The purchaser of the distributorship was
     expected periodically to check and restock the displays and received one-
     half of the proceeds planter sales (the remaining profits going to the
     retailer). The rights and obligations of ABC and the distributor were set
     out in an “area purchaser agreement”. After approving the broad vertical
     commonality position taken in Koscot, the Villeneuve court concluded that
     “commonality” for purposes of the Howey test did exist between ABC and
     the plaintiff and was “evidenced by the obligation [in the area purchase
     agreement] of ABC to provide advertisements, training, products, and to
     select the areas where products are sold. The failure to provide any of
     these services would definitely determine the success or failure of the
     scheme.”151


     147 A good example of this is Shaw v. Hiawatha Inc., an unpublished Fifth Circuit decision,
     in which the court noted that the plaintiffs alleged that the defendants’ agents told them
     that they “would be in business together” coupled with a letter from an officer of the
     defendant stating that he was looking forward to a “long and profitable relationship” with
     the defendants. Shaw v. Hiawatha Inc., 884 F.2d 582 (9th Cir. 1989).
     148 See Defining Investment Contracts, supra note [146] at p. 658 (footnotes omitted).
     149 S.E.C. v. Koscot Interplanetary, Inc., 497 F.2d 473, 479 (5th Cir. 1974) (finding that

     “the requisite commonality is evidenced by the fact that the fortunes of all investors are
     inextricably tied to the efficacy of the Koscot meetings.”). For more on Glenn Turner, see
     Molly Ivins, “Dare to Be Great”, The New York Times, Feb. 20, 1977, available at
     https://www.nytimes.com/1977/02/20/archives/dare-to-be-great-a-sincere-con-
     man.html#:~:text=Glenn%20W.,called%20Dare%20to%20Be%20Great; see also Raji Isa
     Mas, “That’s What Friends Are For”, 56 Duke L. J. 111 (2007).
     150 698 F.2d 1121 (11th Cir. 1983), aff’d en banc, 730 F.2d 1403 (11th Cir.1984) (rejecting

     a finding of an “investment contract” due to a lack of a sufficient reliance of the plaintiffs
     on the efforts of ABC).
     151 Id. at 9.


                                                  49
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 86 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                   Do not cite in academic work without authors’ consent

              Another relevant example is Long v. Shultz Cattle Co.,152 a case
     involving the sale of cattle embryos. In Schultz Cattle, the Fifth Circuit
     focused on the relationship between the plaintiffs and the Shultz Cattle
     Company, Inc. (“SCCI”), emphasizing the “vertical commonality”
     between each of the plaintiffs and SCCI and noting that “the critical
     inquiry is confined to whether the fortuity of the investments collectively
     is essentially dependent upon the promoter expertise.”153 Nonetheless, the
     Schultz Cattle decision cites to the SCCI’s cattle feeding consulting
     agreements. Pursuant to these agreements SCCI “received substantial
     ‘consulting fees’ from its clients in exchange for its services in
     constructing and administering effective tax shelters through the cattle
     feeding business,”154 thus demonstrating that there was an inextricable
     contractual and business link between the plaintiffs and SCCI.
             The Fifth, Ninth, and Eleventh Circuits’ adoption of a “vertical
     commonality” standard,155 differs from that of the majority of the Circuits,
     which have rejected – or at least not (yet) recognized – that a showing of
     vertical commonality alone is sufficient to establish the common
     enterprise element of an investment contract transaction. The horizontal
     commonality approach instead looks for a pooling of assets from multiple
     investors so that all investors share in the profits and risks of the
     enterprise.156 The cases focusing on the need for horizontal commonality
     also turn on a direct business relationship between the person or entity
     deemed to be the “investor” and the sponsor.
             This is illustrated in S.E.C. v. SG Ltd.157 a case in which the First
     Circuit was tasked with determining whether virtual shares of eleven
     different “virtual companies” fell within the purview of federal securities
     laws. In affirming that the SEC had alleged sufficient facts to state a
     triable claim, the court applied the horizontal commonality test. In
     addition to the “unambiguous” representation on the defendants’ website
     that pooling of investors’ money was occurring, the court observed that
     the “requisite” profit-and-risk sharing necessary to support a finding of
     horizontal commonality was also present.158 Critically, the SG court
     highlights the specific promises made by the defendants on their website
     to the new participants as being indicative of a finding of horizontal

     152 881 F.2d 129 (5th Cir. 1989).
     153 Id. at 140, quoting S.E.C. v. Continental Commodities Corp., 497 F.2d 516 (5th Cir.
     1974).
     154 Id. at 142.
     155 The Ninth Circuit follows narrower version of vertical commonality, instead focusing

     on whether the fortunes of investors are linked with those of the promoters, as opposed to
     the vertical commonality of the Fifth and Eleventh Circuit, which focuses on the
     dependency of the investor on the promoter’s expertise.
     156 See Hart v. Pulte Homes of Mich. Corp., 735 F.2d 1001 (6th Cir. 1984) (“Horizontal

     commonality ties the fortunes of each investor in a pool of investors to the success of the
     overall venture. In fact, a finding of horizontal commonality requires a sharing or pooling
     of funds.” (internal citation omitted)).
     157 265 F.3d 42 (1st Cir. 2001).
     158 Id. at 52.


                                                50
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 87 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

     commonality.159 Indeed, even if those elements were not present, that
     court goes on to say that the defendants’ “promise to pay referral fees to
     existing participants who induced others to patronize the virtual exchange
     provides an alternative basis for finding horizontal commonality.”160
              There has been an ongoing question as to whether a written
     contract is required to establish the presence of an investment contract
     transaction. This issue recently came to a head in an exchange of
     memoranda in support of the plaintiff’s and defendants’ motions for
     summary judgment in S.E.C. v. Ripple Labs, Inc. et al. where the
     defendants took the position that the presence of a legal agreement was a
     necessary element of the Howey test – a position the SEC strongly
     disagreed with.161 Interestingly, our survey of the appellate jurisprudence
     found in Annex A demonstrates the contrary conclusion: a traditional
     written contract is indeed present in almost every instance where an
     investment contract transaction or scheme has been found by an appellate
     court.
              In fact, appellate courts have frequently focused specifically on
     this issue and declined to find an investment contract scheme in cases
     where the plaintiff was not able to allege the presence of a written
     agreement that went beyond the sale of a non-financial asset, such as land.
     For example, in Woodward v. Terracor,162 a land development case from


     159 The Defendant’s “promise to divert a portion of its profits from website operations to
     support the privileged company's shares [is] a bond that ties together the collective fortunes
     of those who have purchased the shares”. Id. at 51.
     160 Id.
     161 In support of its position that courts applying Howey do not require the existence of a

     written contract, the SEC stated that “many such cases exist, stretching back decades”,
     citing quoted dicta in Canadian Imperial Bank of Comm. Tr. Co. v. Fingland, 615 F.2d 465
     (7th Cir. 1980). Notably, however, in Fingland, the court found that the plaintiff, a bank
     acting as trustee and seeking to demonstrate the presence of an investment contract with a
     bankrupt sub-trustee, failed to present a physical document or clear evidence of an oral
     agreement that evidenced the existence of an instrument that should be considered a
     “security”, but nonetheless stated in dicta in a footnote that “oral agreements have been
     held to be securities”. Also cited were Marini v. Adamo, 995 F. Supp. 2d 155 (E.D.N.Y.
     2014), a decision in which there was no determination that investment contracts existed
     based on unwritten agreements in a fraud case because the defendants had previously
     stipulated that certain transactions involving rare coins they had entered into with the
     plaintiff had constituted “investment contracts” and thus “securities transactions” in
     exchange for plaintiffs dropping related RICO claims; S.E.C. v. SG Ltd., 265 F.3d 42 (1st
     Cir. 2001), a case involving virtual shares purchased from defendant’s website which
     expressly promised a guaranteed return (albeit without a formal written agreement); and
     S.E.C. v. Scoville, 913 F.3d 1204 (10th Cir. 2019), in which the court found that sales of
     certain “adpacks” by the defendants met the Howey test, after noting that there was no
     document explaining how revenue is shared between the platform users and the defendant.
     However, in both of these latter two cases, the court was readily able to determine and
     identify the specific promises made by the defendants to platform users and there existed
     a direct business relationship between the parties. See Pl. Mem. of Law in Opp’n to Def.
     Mot. for Summ. J at 19-21, S.E.C. v. Ripple Labs, Inc. (20 CIV. 10832 (AT)(SN)) (Oct 21,
     2022).
     162 Woodward v. Terracor, 574 F.2d 1023 (10th Cir. 1978).


                                                  51
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 88 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

     the Fifth Circuit, the plaintiffs alleged fraudulent misrepresentations by
     the defendants as to the defendants’ financial ability to carry the real estate
     project to final completion, causing the plaintiffs to sustain a loss. The
     court stated that “We particularly fail to see any common venture or
     common enterprise between the plaintiffs and Terracor.”163 Elaborating
     on the issue, the court pointedly addressed the issue of whether a written
     contract was needed:
               Terracor itself was involved in a business venture. Terracor was
               developing a new residential community. As part of its venture
               Terracor sold lots to persons who either intended to build houses
               thereon, or intended to resell to others who would so build. But
               the mere fact that the plaintiffs bought lots from Terracor does not
               mean that by such acquisition they were thereafter engaged in a
               common venture or enterprise with Terracor.                 The only
               contractual agreement between plaintiffs and Terracor was the
               Uniform Real Estate Contract. Terracor was under no contractual
               obligation to the plaintiffs other than to deliver title once purchase
               terms were met. Unlike Howey, Terracor was not under any
               collateral management contract with the purchasers of its land.
               In short, the record in the instant case simply shows the purchase
               by the plaintiffs of lots in a real estate development. Though it is
               possible that the plaintiffs may have a common-law remedy
               against the defendants arising out of the purchase of the lots, such
               does not mean that the transaction itself is an “investment
               contract,” thereby invoking the provisions of the federal securities
               laws.164
             Nevertheless, there are a small number of notable exceptions165
     and it is the authors’ view that the broad remedial objectives of the
     Securities Acts do not support a formalistic requirement that a written
     agreement always be present in every investment contract scheme if the
     “facts and circumstances” of the particular transaction merit otherwise.166

     163 Id. at 1025.
     164 Id., at p. 1026.
     165 The most significant of these, ironically, is S.E.C. v. C.M. Joiner Leasing Corp., 320

     U.S. 344 (1943), the very first Supreme Court case looking at the concept of an investment
     contract. In Joiner, the Court found an implied contract to drill test wells for oil to be
     present in a scheme in which leasehold interests in small parcels of land were sold along
     with a marketing brochure that promised the potential for high returns if oil was discovered,
     even though a traditional contractual promise was not part of the parties’ bargain.
     166 An example of the unusual facts that need to be present such that the absence of a formal

     agreement is not considered an impediment to a potential investment contract finding is
     McKinney v. Panico, 2022 U.S. Dist. LEXIS 178068; 2022 WL 4551695 (N.D. Ill 2022).
     McKinney involved an alleged multi-year conspiracy in which the victim (since deceased)
     was alleged to have been defrauded out of over $20 million in a series of eight separate
     fraudulent business ventures over 10 years. The defendants stipulated as to the presence
     of securities law violations to induce the plaintiff to drop RICO claims relating to the same
     activity. However, the plaintiff (the son of the deceased victim) later had second thoughts
     and sought to argue that there was no securities transaction in fact because the arrangements


                                                 52
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 89 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     However, in those very limited appellate cases in which an investment
     contract was found without there being a written contract between the
     parties that related to the investment contract transaction, the elements of
     an implied-in-fact contract are always present.167
              As discussed above, whether there is a written agreement or facts
     which would support the finding of an implied-in-fact contract, the one
     constant across all appellate cases finding an investment contract scheme
     is the presence of some form of business relationship between the parties.
     This point is further driven home by the Supreme Court’s very use of the
     term “common enterprise”. Although, as discussed above, courts have
     debated the type of common enterprise that is required to be shown (i.e.,
     “horizontal”, or broad or narrow “vertical”), some sort of enterprise or
     business relationship between the parties is a constant in the Howey case
     law finding an investment contract. To this end, the definition of the word
     “enterprise” in Black’s Law Dictionary is instructive: “1. An organization
     or venture, esp. for business purposes. … 3. One or more persons or
     organizations that have related activities, unified operation or common
     control, and a common business purpose.”168 Although parties connected
     by a written contract or other arrangement that would support an implied-
     in-fact contract may have a “common business purpose”, no appellate
     decision has found or suggested that the ownership of a non-financial
     asset, without some business relationship, would be in a “common
     enterprise”.

          4. Concluding Thoughts



     between the parties constituted a general partnership. In these convoluted facts, the court
     declining to grant a motion to dismiss request by the defendants, nevertheless did not allow
     the absence of written agreements for the ventures to prevent the finding of sufficient
     support for the stipulated securities law violations, thus barring the plaintiff’s RICO claims,
     citing dicta in Canadian Imperial Bank of Commerce v. Fingland, 615 F.2d 465 (7th Cir.
     1980).
     167 A contract implied in fact requires the same elements as an express contract and differs

     only in the method of expressing mutual assent. The Supreme Court has defined an implied
     in fact contract as one “founded upon a meeting of the minds, which, although not
     embodied in an express contract, is inferred, as a fact, from conduct of the parties showing,
     in the light of the surrounding circumstances, their tacit understanding”. Baltimore & Ohio
     R.R. v. United States, 261 U.S. 592, 597 (1923). For examples of federal appellate courts
     finding the presence of an investment contract transaction based on an implied-in-fact
     contract (rather than a traditional written contract), see, e.g., SEC v. C. M. Joiner Leasing
     Corp., 320 U.S. 344 (1943) (finding that sales and assignments of oil leases were not
     merely the sale of naked leasehold rights but an investment contract, as the terms of the
     offering suggests “an implied agreement to complete the wells” without which the
     instruments had no value) and S.E.C. v. MacElvain, 417 F.2d 1134 (5th Cir. 1969) (finding
     that the second offer of interests in underwater mining claims created an investment
     contract because the defendants “impliedly, but clearly and definitely, promised” to contest
     the U.S. Department of Interior's interest in the land with the money received from the
     purchasers, inuring to the benefit of all purchasers, despite the disclaimer of any “collateral
     offer, promise, or assurance of any nature whatsoever”).
     168 Black’s Law Dictionary, 11th Ed. (omitting definitions relation to government and RICO

     enterprises).
                                                  53
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 90 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                   Do not cite in academic work without authors’ consent

             We have seen that the term investment contract as used in the
     Securities Acts was borrowed from state Blue Sky laws to effectuate
     Congress’ broad remedial intent of providing remedies for investment
     fraud. Although the term has been used by courts to refer to certain
     instruments with terms outside of those of any other enumerated category
     in the statutory definition, it has been more commonly applied to
     ostensibly commercial transactions or schemes that are deemed to fall
     within the policy ambit of the Securities Acts.
              A post facto application by a court of investment contract status
     on a commercial arrangement is of necessity dependent on the specific
     facts and circumstances present at a particular point in time. Moreover,
     regardless of the type of common enterprise involved in the investment
     scheme, courts consistently look for a direct business relationship between
     the parties in the “enterprise”. In addition, in those rare cases where an
     investment contract is found without there being a written contract, the
     elements of an implied-in-fact contract between the party providing the
     “investment of money” and the party either undertaking the
     “entrepreneurial or managerial efforts” driving the funder’s expectation of
     profits or otherwise soliciting the investment from the funder are present.
             Critically, contrary to the frequent suggestion that the Howey test
     is somehow “outdated”,169 the development of crypto assets did not
     fundamentally change the test’s application or render it unfit for purpose
     for transactions involving crypto assets. Long before the advent of
     blockchain technology, significant uncertainty existed as to when a court
     would retrospectively apply federal securities law to an ostensibly
     commercial arrangement.
              What becomes clear upon an examination of the Howey appellate
     jurisprudence is the blurring of a clear investor protection sentiment,
     particularly in those cases brought by the SEC (which historically has
     focused its enforcement efforts on circumstances where sponsor behavior
     has resulted in broad investor harm), with other cases in which one party
     to a commercial dispute seeks to impose post facto the application of the
     federal securities laws to gain an advantage in litigation. Zealous counsel
     are well aware that there are the myriad substantive and procedural
     advantages available to a disgruntled party to a business arrangement if
     they are able successfully to assert the retrospective application of federal
     securities law.



     169See, e.g., Curt Levey, “For Clarity on Cryptocurrency, Look to Congress or the Supreme
     Court”,       The     Federalist     Society,      Aug.       1,      2022, available    at
     https://fedsoc.org/commentary/fedsoc-blog/for-clarity-on-cryptocurrency-look-to-
     congress-or-the-supreme-court (“90-year-old statutes [do] not include anything like
     crypto—that is, crypto assets existing only on a decentralized ledger … that’s distributed
     across disparate computers—in their definition of a security. … Like the definition of a
     security in the statutes, the Howey test is a poor fit for crypto.”).
                                                54
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 91 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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              Where the parties to a given transaction do not at the outset
     document that transaction as an offer and sale of securities of some type
     (thus clearly invoking federal jurisdiction), it is inevitable that disputes
     will arise – this the direct result of the policy choice made by Congress to
     utilize a broad, principles-based definition of the term “security” in the
     Securities Acts. Our survey shows that a significant majority (56%) of
     these relevant disputes taken to the appellate level end either in a
     conclusion by courts that no investment contract was present and thus that
     the Securities Acts should not apply to the transaction (42%) or remand
     the dispute for further fact finding (12%). These failed attempts to bring
     a commercial transaction within the ambit of the Securities Acts
     demonstrate the challenges of a principles-based definition of the term
     “security” and, regardless of whether crypto assets are involved, makes it
     difficult to argue that the applicability of the Howey test is clear as to any
     given fact pattern, even where all of the “facts and circumstances” and
     “economic realities” of commercial arrangement are known to both
     parties.

               B.     Investment Schemes and Their Objects in the Howey
               Case Law
              We have seen that a wide range of circumstances can, in hindsight,
     be deemed to constitute an investment contract transaction or scheme that
     triggers the application of the Securities Acts. A large number of these
     cases involve the purported sale of an underlying non-financial asset170
     which functions as the object of the scheme.171 These cases uniformly
     highlight a critical distinction between the documents, marketing materials
     or oral statements that create the required “common enterprise” at the



     170 See, e.g., Kemmerer v. Weaver, 445 F.2d 76 (7th Cir. 1971) (sales of beavers coupled
     with service agreements to house, feed, and otherwise care for the beavers were investment
     contracts); Albanese v. Florida Nat. Bank of Orlando, 823 F.2d 408 (11th Cir. 1987) (in a
     scheme to sell nonexistent ice machines, the court found that the right of the investors to
     enforce a preference as to the location of the ice machines leased back to the lessee was
     insufficient to disqualify the agreements as “securities”); Bailey v. J.W.K. Props., Inc., 904
     F.2d 918 (4th Cir. 1990) (a cattle breeding program comprised of a purchase agreement
     and management contract was found to be an investment contract where the investor had
     limited control over the program and relied on the efforts of the defendants for essential
     functions such as the expert selection of embryos and crossbreeding).
     171 Other investment contract cases involve some other type of purportedly commercial

     contract between the scheme’s sponsor and the participants in the scheme. Examples
     include a purportedly commercial distributorship arrangement that is found, in retrospect,
     to be little more than a disguised means of attracting investment capital from the
     participants (see, e.g., S.E.C. v. Aqua-Sonic Prods. Corp., 687 F.2d 577 (2d Cir. 1982)) or
     an advisory agreement, usually involving purchases by the participant of commodities or
     commodity interests, where a court finds a “common enterprise” to exist between the
     participant and the advisor, usually due to the participant’s reliance on the advisor and a
     shared economic interest in the success of the participant’s trading activity (see, e.g., S.E.C.
     v. Continental Com. Corp., 497 F.2d 516 (5th Cir. 1974)). However, these types of
     investment contract arrangements have not, to date at least, applied to crypto assets and so
     are not discussed here.
                                                   55
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 92 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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     center of a Howey analysis and the “object” being sold pursuant to the
     purported investment scheme.
             In these cases, our highest courts have thus far focused solely on
     the character of the underlying commercial arrangements and the
     expectations of the parties, and not the nature of the object purportedly
     being sold (which is generally considered irrelevant to the legal
     analysis).172 The inconsequential nature of the object of an alleged
     investment scheme was recently reacknowledged in a motion for summary
     judgement by the SEC in S.E.C. v. LBRY, Inc.,173 a case involving sales of
     crypto assets to fund LBRY, Inc., the developer of a blockchain-based
     media platform known as “LBRY”. In its memorandum of law in support
     of its motion, the SEC correctly concludes that, “If crypto assets, or
     anything else, are offered in a way that meets the three prongs of Howey,
     an investment contract exists, and the securities laws apply”.174
              We can see this distinction play out in key investment contract
     cases, starting with Howey itself. The investment scheme at issue in
     Howey involved two separate agreements: a land sale contract for the
     purchase of orange groves paired with a separate service contract for the
     harvesting and sale of the oranges.175 The orange groves were the object
     of the Howey investment scheme, with the overall contractual arrangement
     involving the land sale, the management agreement, and the right to
     proceeds together constituting the transaction that resulted in the finding
     of an investment contract scheme. There is no suggestion in the Supreme
     Court’s decision that the outcome of the Howey case would have been
     different if the Howey company had instead been selling lemon groves,
     other fruit tracts, or indeed just about anything else. What was relevant to
     the Supreme Court was not the object sold but the terms of the sales and
     associated contractual undertakings made.
             Similarly, in Blackwell v. Bentsen,176 another orange grove case
     decided a few years after Howey, investors were invited to purchase land

     172  Compare S.E.C. v. Edwards, 540 U.S. 389 (2004) (considering the “investment
     contracts” which promised a fixed return in finding that a scheme to sell and leaseback
     payphones was an investment contract), and S.E.C. v. Int’l Loan Network, Inc., 968 F.2d
     1304 (D.C. Cir. 1992) (examining the promoter’s marketing scheme along with
     promotional literature to find that there was a reasonable expectation of profits to be had
     by investors in certain chain letter schemes), with United Hous. Found., Inc. v. Forman,
     421 U.S. 837 (1975) (despite the plaintiffs’ characterization of the purchase of shares in a
     cooperative housing development as involving “stock” creating a federal subject matter
     dispute, the Supreme Court found that this was not a securities transaction since there was
     a clear “consumptive use for the apartment and there was no reasonable expectation of
     profit in the form of either capital appreciation or participation in earnings”).
     173 Memorandum of Law in Support of Motion for Summary Judgment, S.E.C. v. LBRY,

     Inc., No. 21-cv-00260 (D.N.H.) (May 4, 2022) (the “SEC LBRY Summary Judgment
     Memorandum”).
     174 SEC LBRY Summary Judgment Memorandum at p. 19 (emphasis added). Note that

     the SEC will sometimes condense the Howey test in to three prongs, combining “reasonable
     expectation of profits” with “efforts of others”.
     175 Howey, 328 U.S. 293, 295 (1946).
     176 203 F.2d 690 (5th Cir. 1953).


                                                 56
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 93 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     from, and enter into management contracts with, a development company
     for the purpose of cultivating citrus groves. The Fifth Circuit found that
     the scheme involved an investment contract transaction. Significantly, the
     court very clearly separated the investment scheme from its object, the
     land being sold, stating explicitly that “[i]f [the plaintiffs] merely
     purchased land, without more, such a purchase would not constitute an
     investment contract within the meaning of the Securities Act.”177 Clearly,
     the object of the purportedly commercial transaction that gave rise to an
     investment contract was not, in and of itself, considered a security.
              There are, of course, many additional cases in which it is clear that
     the object of the transaction or scheme which was alleged to give rise to
     an investment contract was not, in and of itself, a security. For example,
     it was the agreements for the sale and leaseback of payphones in S.E.C. v.
     ETS Payphones, Inc.178 which were found to be investment contracts, not
     the payphones being leased; it was the sale and management agreements
     with respect to chinchillas in Miller v. Cent. Chinchilla Grp., Inc.179 and
     earthworms in Smith v. Gross,180, which were found to be investment
     contracts, not the chinchillas or earthworms, respectively; it was the lease
     and security agreements of printing plates for foreign postage stamps in
     Newmyer v. Philatelic Leasing, Ltd.,181 that were the investment contracts,
     not the stamp plates themselves.
              We are able to draw similar conclusions from the 70-plus year
     history of Howey jurisprudence which reveals a long line of cases in which
     courts distinguish transactions involving the sale of real estate, oil drilling
     rights, animals and sundry other objects of a purported commercial
     arrangement182 from the business arrangements and other facts and
     circumstances that gave rise to a finding that there exists an investment
     contract. Indeed, in those transactions a sales agreement was almost
     always accompanied by an expectation of profit on the part of the
     purchaser, based on the seller or an affiliated entity performing post-
     purchase functions (such as picking, bundling and selling oranges,


     177 Id. at 693.
     178 408 F.3d 727 (11th Cir. 2005).
     179 494 F.2d 414 (8th Cir. 1974).
     180 604 F.2d 639 (9th Cir. 1979).
     181 888 F.2d 385 (6th Cir. 1989).
     182 See, e.g., Woodward v. Terracor, 574 F.2d 1023, 1026 (10th Cir. 1978) (“The mere fact

     that the plaintiffs bought lots from Terracor does not mean that by such acquisition they
     were thereafter engaged in a common venture or enterprise with Terracor.”); De Luz
     Ranchos Inv., Ltd. v. Coldwell Banker & Co., 608 F.2d 1297 (9th Cir. 1979) (holding that
     when seller’s only obligation is to transfer title to land, no security is involved); Rice v.
     Branigar Org., Inc., 922 F.2d 788 (11th Cir. 1991) (holding that the purchase of lots in a
     beach-club development were not investment contracts for purposes of the Act, noting that
     appellants purchases purchased the lots primarily to use them, rather than to derive profits
     from the entrepreneurial efforts of the developer); and Lynn v. Caraway, 379 F.2d 943 (5th
     Cir. 1967) (finding no investment contract where there was no additional promise or
     agreement made in addition to the sale of the naked leasehold right).
                                                 57
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 94 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     husbanding cattle and their embryos, or maturing whiskey in casks).183
     And, in each of these cases, the investment package (i.e., the set of formal
     or informal agreements or understandings between the seller and the
     purchaser) is clearly distinguishable from the object of the scheme itself.
     Moreover, there is no suggestion in any of the appellate cases that the
     transfer of the relevant object to another “investor” without an assignment
     or transfer of the benefit of the underlying promises, would result in
     another securities transaction.

               C.        Secondary Sales under Howey and the Hocking case.
              For purposes of this Article, “secondary sales” of crypto assets are
     those that do not involve the original seller of the crypto assets184 in a
     fundraising transaction (that itself constitute an investment contract
     transaction). These secondary transactions acutely raise the question of
     whether the object of the investment contract transaction—the crypto
     asset—are themselves securities or not. This is because if the crypto asset
     is a security, the secondary transaction will of necessity be subject to
     federal securities law. Alternatively, if the crypto asset is not a security,
     then the secondary transaction will not be subject to federal securities law
     unless a separate investment contract transaction has been formed by that
     sale. However, many secondary transactions involving crypto assets,
     particularly transactions conducted on centralized marketplaces or on
     DEXes or other DeFi platforms, lack the characteristics of investment
     contract transactions and, therefore, would not be considered a securities
     transaction if, in fact, crypto assets are not considered securities under
     Howey.
              Of the many federal appellate and Supreme Court decisions in
     which the Howey analysis is applied, none directly dealt with secondary
     transactions in the objects of investment contracts by the original buyer.
     In fact, we are aware of only one case analyzing a transaction under Howey
     that did not directly involve as a party the entity that would normally be

     183 See, e.g., Rodriguez v. Banco Cent., 990 F.2d 7 (1st Cir. 1993) (finding that “a security
     might exist if the defendants had promised, along with the land sales, to develop [a thriving
     residential] community themselves,” but that “[a] simple sale of land, whether for
     investment or use, is not a “security.”); Roe v. United States, 287 F.2d 435 (5th Cir. 1961)
     (oil leases sold with sales pitches which promised extraordinary returns were more than
     offerings of naked leasehold rights and were investment contracts because the returns were
     garnered through the activities of persons other than the purchasers and as such, “if
     credited” would constitute the sale or delivery of an investment contract); and Bamert v.
     Pulte Home Corp., 445 F. App’x 256 (11th Cir. 2011) (rejecting the plaintiffs contention
     that purchase agreements for at least one Orlando condominium unit were investment
     contracts because the plaintiffs were under no contractual obligation to join an offered
     rental pool or otherwise contract with the defendant’s proposed rental agent, but that the
     plaintiff had sufficiently alleged the possible existence of an investment contract as to the
     exclusive rental agreements, if the rental agents were to be found to be affiliates of the
     condominium seller.
     184 Where the seller of the crypto assets is a legal entity established exclusively for this

     purpose, we also include the entity directing the establishment of the seller and receiving
     all or most of the proceeds of the sale here.
                                                 58
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 95 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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     considered the “sponsor” of the alleged investment contract scheme. In
     that case, Hocking v. Dubois,185 Hocking, an individual investor looking
     for an income-producing property, through the encouragement of his real
     estate broker, Dubois, purchased a rentable condominium unit in a Hawaii
     resort from the condominium’s original purchasers, the Libermans, in a
     secondary transaction (rather than buying another condominium unit
     directly from the developer of the resort). Following a review of written
     information provided to Hocking by the broker, Dubois, including
     information about the anticipated range of daily average rental income,
     shortly after the closing of the condo sale, Hocking entered into a rental
     pool agreement with HCP, a company acting as the rental pool operator
     for the resort.
              When a balloon payment on Hocking’s condominium mortgage
     came due, he defaulted, losing his condo unit. Aggrieved about this turn
     of events, Hocking then sought to recover his loss by bringing a lawsuit
     against Dubois (the real estate broker), claiming that the combination of
     the condominium purchase and his entry into the rental pool agreement
     constituted an unregistered securities transaction because he entered into
     both the sale agreement and the rental pool agreement so he could generate
     yield from the condominium as a rental property and was dependent on
     the “efforts” of the rental pool operator.186 The District Court, holding that
     the condominium resale and rental pool agreement did not constitute an
     investment contract transaction because the condominium purchase was
     not conditioned on Hocking’s participation in the pooling agreement,
     rejected Hocking’s claims.187
             On appeal, a tribunal of the Ninth Circuit reversed, finding that an
     “offering of a condominium with [a rental pool agreement] automatically
     makes the [transaction an investment contract].”’188 However, in light of
     the broad holding of the tribunal, the full Ninth Circuit agreed to rehear
     the case en banc. The SEC took the highly unusual step of submitting an
     amicus brief to the court arguing that the facts did not warrant the finding
     of an investment contract transaction. A 5-4 majority of the Ninth Circuit
     disregarded the SEC however and held that, although the combination of
     the condominium purchase and the rental pool agreement did not
     automatically constitute an investment contract transaction, such a
     conclusion was still a possibility and thus, there was evidence of triable
     issues of material fact to deny summary judgment, remanding the case to
     the lower court for further fact finding.189 In doing so, the Hocking
     majority on rehearing reasoned:


     185 Hocking v. Dubois, 885 F.2d 1449 (9th Cir. 1989) (en banc) (“Hocking II”), cert. denied
     494 U.S. 1078 (1990).
     186 Id.
     187 See Hocking v. Dubois, No. 83-823, slip op. at 3 (D. Nev. Mar. 20, 1985).
     188 Hocking v. Dubois, 839 F.2d 560, 565 (9th Cir.) (emphasis in original), withdrawn, 863

     F.2d 654 (1988).
     189 Id. at 1462.


                                                59
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 96 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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                   We agree with defendants and amici that the three-judge panel
           may have written too broadly its conclusion that so long as a rental
           pool ‘option’ exists, all secondary market sales necessarily involve a
           security. Such a per se rule would be ill-suited to the examination of
           the economic reality of each transaction required by Howey. In the
           context of isolated resales, each case requires an analysis of how the
           condominium was promoted to the investor, including any
           representations made to the investor, and the nature of the investment
           and the collateral agreements. The investor's intentions and
           expectations as communicated to the broker would be relevant in
           determining what investment package was actually offered.190
             The majority went on to explain how this case can be
     distinguished from Howey:
                        There is no doubt that, had Hocking purchased
               the condominium and the rental pool directly from the
               developer and an affiliated rental pool operator, and had
               the rental pool been for a long term without any provision
               for early termination, Hocking would have purchased a
               security.
                        Hocking, however, did not purchase the
               condominium in the initial offering from the developer.
               He purchased in the secondary market from the
               Libermans. Further, Hocking entered into the rental pool
               agreement with HCP [an entity not affiliated with the real
               estate broker, Dubois], and has, defendants argue, failed
               to demonstrate any link between HCP and the developer.
               Finally, unlike the investors in Howey, Hocking could
               legally terminate the [rental pool agreement] according to
               its terms and regain control over the condominium. We
               must determine therefore whether these differences
               from Howey make Hocking’s alleged transaction into an
               ordinary real estate purchase or whether it nevertheless
               could prove to be the purchase of a security.191
              Critically, the majority in Hocking did not assume that because the
     purchase of the condominium and the rental pool agreement directly from
     the developer would have constituted an investment contract transaction,
     that the purchase of those same items from a secondary seller through the
     broker should automatically be treated as an investment contract
     transaction as well.192 Rather, the majority’s analysis relied on an
     application of the Howey test to the specific facts and circumstances



     190 Hocking II, supra note [185] at p. 1462 (emphasis added).
     191 Id.
     192 Id. at 1456.


                                                60
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 97 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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     surrounding Hocking’s (secondary market) purchase of the condominium
     and the rental purchase agreement before them.
               Moreover, the Hocking court’s inquiry as to whether an
     investment contract transaction had been created by Dubois was “not
     limited to the contract or other written instrument.”193 All of the facts and
     circumstances at issue, including those facts that would be known only to
     the parties, were important to the analysis. That is because the Ninth
     Circuit reached what should be a self-evident conclusion: since the Howey
     test by its terms applies to “contracts, transactions or schemes”, rather than
     assets, each time a court seeks to determine retrospectively whether an
     investment contract was present, they must analyze the facts and
     circumstances of a specific transaction.

               D.     The Ineluctable Element of a Security: A Legal
               Relationship between an Issuer and an Owner

              To better understand the application of the Securities Acts to
     secondary transactions in crypto assets we have examined the unique
     characteristics of investment contract transactions, established that clearly
     non-financial objects of an investment contract transaction are not
     themselves securities as a result of being sold as part of such a transaction,
     and concluded that the Howey test is correctly applied on a transaction-by-
     transaction basis.
             However, it could be argued that crypto assets are best understood
     as a new type of instrument or interest that itself constitutes a security
     independent of character the transactions in which it is transferred. To
     address this proposition, we take a closer look at the most foundational
     question of all: what makes an instrument or interest a security in the first
     place?194


     193 Id. at 1457 (“Characterization of the inducement cannot be accomplished without a
     thorough examination of the representations made by the defendants as the basis of the
     sale. Promotional materials, merchandising approaches, oral assurances and contractual
     agreements were considered in testing the nature of the product in virtually every relevant
     investment contract case” (quoting Aldrich v. McCulloch Properties, Inc., 627 F.2d 1036,
     1039-40 (10th Cir. 1980) (citations omitted)).
     194 This topic has been much discussed by scholars over the last several years. See, e.g.,

     Ronald J. Coffey, The Economic Realities of a “Security” – Is There a More Meaningful
     Formula?, 18 W. Res. L. Rev. 367 (1967); FitzGibbon, What is a Security? – A
     Redefinition Based on Eligibility to Participate in the Financial Markets, supra note [119];
     Michael P. Malloy, The Definition of Security: Marine Bank v. Weaver, 24 B.C. L. Rev.
     1053 (1983); Williamson B.C. Chang, Meaning, Reference, and Reification in the
     Definition of a Security, U.C. Davis. Vol. 19:403 (1986); and Philip F. Franklin, Note,
     Definition of a Security: Landreth Timber Co. v. Landreth, 40 Sw L.J. 879 (1986). A
     selected bibliography of scholarly articles on the definition of the term “security” under the
     federal securities laws and the subject of investment contracts more generally is provided
     in Annex B, grouped between pre- and post-crypto asset scholarship. In addition, the
     leading treatise on federal securities law, the Loss Treatise, devotes over 230 pages and
     over 500 footnotes exclusively to assisting practitioners and others answer the question
     “What is a security?”.
                                                  61
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 98 of 215
                         DISCUSSON DRAFT: NOVEMBER 10, 2022
                      Do not cite in academic work without authors’ consent

                  1. The Essential Element of a Security – A Bundle of Rights
                     Created by an Issuer
             As noted earlier, the Securities Acts enumerate a wide variety of
     instruments and interests that are considered prima facie securities (unless
     the context requires otherwise, of course), plus the catch-all categories of
     investment contract and “any interest commonly known as a security”.195
     The one critical quality that can be found across each of the enumerated
     categories is the presence of a legal relationship volitionally established
     by an identifiable legal entity that acts as the issuer of the security and the
     various other parties who, from time to time, are owners of that security.
             A review of the enumerated categories of security in the Securities
     Act provides detail on the nature of the types of legal relationship that can
     characterize a “security”. Taken generally in the order listed in the
     Securities Act:

                      A “note” is created through a legal relationship established by
                       a writing containing a promise to pay a sum certain on a
                       specified date allowing the holder to collect that debt at
                       maturity or earlier, if acceleration is contemplated;
                      “Stock”, “treasury stock” and “transferable shares” are
                       created by the board of directors of a corporation adopting a
                       resolution that complies with applicable state law for the
                       issuance of stock with any shares of stock issued creating a
                       legal relationship between the issuer and the stockholder
                       providing the stockholder with the rights prescribed by
                       statute, as may be permissibly modified by the terms of the
                       particular type of stock authorized;
                      “Securities futures” and “securities-based swaps” are
                       contractual arrangements that creates a legal relationship by
                       providing the counterparties with rights to payment and other
                       rights against the issuer negotiated for in the relevant
                       documentation;
                      “Bonds” and “indentures”, like notes, are written documents
                       that provide specifically enumerated rights to their holders,
                       creating a legal relationship with the issuer;
                      Although it is less clear what form an “evidence of
                       indebtedness” could take, since of necessity some form of
                       indebtedness is required, it is plain that the owner of the
                       evidence of indebtedness would have a contractual claim for,
                       and a legal relationship with, the person or entity that was
                       subject to the indebtedness;
                      A “certificate of interest or participation in any profit-sharing
                       agreement” will provide the holder with the enumerated rights



     195   See Section II.D.3 infra.
                                                  62
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 99 of 215
                         DISCUSSON DRAFT: NOVEMBER 10, 2022
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                      set out in the relevant governing document, creating a legal
                      relationship with the issuer;
                     “Collateral-trust certificates” are a type of secured debt
                      obligation and thus provide negotiated rights and create legal
                      relationships;
                     A “preorganization certificate or subscription” is described in
                      the Loss Treatise as “stock in a corporation as yet unborn”,
                      which further notes that “preorganization certificates or
                      subscriptions are securities distinct from the ultimate stock,
                      and their issuers are the promoters”, confirming that these
                      instruments as well provide the owner with distinct rights
                      against, and create a legal relationship with, an identified
                      issuer;196
                     A “voting-trust certificate” is an interest in a voting trust – a
                      contractual arrangement created expressly to allocate voting
                      rights among shareholders of a corporation thus also creating
                      a legal relationship among these shareholders;
                     A “certificate of deposit for a security” allows a security
                      owner to create fractional interests in the security or to create
                      a new security that references the underlying security and, in
                      either event provides negotiated rights to the owner by the
                      depositor entity thus creating a legal relationship between the
                      owner and the depositor;
                     A “fractional undivided interest in oil, gas, or other mineral
                      rights” likewise is created to provide contractual rights to
                      investors by the issuer of the interests – the individual or entity
                      that owns the underlying rights and who thereby forces a legal
                      relationship with the issuer;
                     A final group of derivative rights, including a “put, call,
                      straddle, option” or other similar interests, each of which are
                      created in advance by a contract that sets out the investors’
                      specific rights and that create a legal relationship with that
                      issuer; and
                     Any “certificate of interest or participation in, temporary or
                      interim certificate for, receipt for, guarantee of, or warrant or
                      right to subscribe to or purchase” any of the enumerated types
                      of security, all of which will clearly prescribe a set of rights
                      that the holder will benefit from and create a legal relationship
                      between the holder and the issuer.
             On its face, necessary presence of a legal relationship between the
     issuer of a security and its owners should not be surprising. Throughout
     the Securities Acts it is assumed that all securities will have an “issuer”—
     an identifiable person or entity that creates the security and against whom



     196   See Loss Treatise Chapter 1 at pp. 40-41.
                                                   63
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 100 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
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      a securityholder’s rights can be exercised.197 By way of example, in the
      case of a debt security, the issuer enters into an indenture or similar
      agreement and executes a note or other instrument that carries with it the
      various rights and benefits set out therein or in the associated agreement,
      such as the ability to receive a return of principal on a date certain as well
      as periodic interest on the principal balance. Rights of the noteholder in a
      default will also be specified.198 These obligations on the part of the issuer
      (and rights of the noteholder) are readily discernible from an examination
      of the written documentation. Likewise, in the case of equity, as a
      shareholder in a company, certain rights, such as the ability to vote in
      elections of board members and the ability to receive dividends, when
      declared, and a ratable share of the company’s assets, if any, in a winding
      up of the company will be created by statute (which may be modified in
      some cases through the organizational documents of the issuer, such as a
      charter, by-laws or operating agreement in the case of a limited liability
      company).
              The Exchange Act defines the term “issuer” as the “person who
      issues or proposes to issue any security”199 – with the meaning of “issue

      197 In some circumstances, identifying the correct entity to be treated as the “issuer” can be
      complex. For example, the definition of “asset-backed issuer” for purposes of Regulation
      AB under the Securities Act is “an issuer whose reporting obligation results from either the
      registration of an offering of asset-backed securities under the Securities Act, or the
      registration of a class of asset-backed securities under Section 12 of the Exchange Act”.
      Regulation AB, 17 C.F.R. § 229.1101(b). Nevertheless, there is still a clearly determinable
      legal relationship between the issuer and the relevant security, even if that relationship is
      imposed by rule or regulation.
      198 The definition of “note” in the most current version of Black’s Law Dictionary reflects

      the written nature of notes, providing that a note is “[a] written promise by one party (the
      maker) to pay money to another party (the payee) or to bearer.” In the same edition,
      “promissory notes” are defined as “[a]n unconditional written promise, signed by the
      maker, to pay absolutely and in any event a certain sum of money either to, or to the order
      of, the bearer or a designated person.” Black’s Law Dictionary (11th ed. 2019) “Note” and
      “Promissory Note”. Only a small number of cases have undertaken to define a note at
      common law, perhaps on account of its well understood definition. See, e.g., Latino Enters.
      v. Taco Maker, Inc., No. 1:17-cv-649-TCB, 2018 U.S. Dist. LEXIS 231757 (N.D. Ga. Feb.
      9, 2018)(quoting Kirkland v. Bailey, 115 Ga. App. 726, 728, 155 S.E.2d 701, 703 (1967)
      (citing to Webster’s Unabridged Dictionary as a note being defined as “a written paper
      acknowledging a debt and promising payment.”)); Almond v. Gilmer, 188 Va. 1, 20, 49
      S.E.2d 431, 442 (1948) (citing to the definition in Webster’s New International Dictionary,
      Second Edition, “[t]he common and accepted definition of a note is a written
      acknowledgment of a debt and a promise to pay.”).
      199 Exchange Act Section 3(a)(8). In contrast, in the context of Section 5 of the Securities

      Act, the term “issuer” has been more flexibly construed by courts “as issuers devise new
      ways to issue their securities and the definition of a security itself expands.” Doran v.
      Petroleum Mgmt. Corp., 545 F.2d 893, 909 (5th Cir. 1977). An illustrative example of the
      challenge of defining the term “issuer” in even the Section 5 context can be found in S.E.C.
      v. Murphy, 626 F.2d 633, 644 (9th Cir. 1980). In Murphy, the court in considering whether
      the private offering exemption applied to offers and sales of securities in the form of limited
      partnership interests first had to determine the appropriate entity acting as the “issuer” and
      looked to the entity that “organizes or sponsors the organization of limited partnerships and
      is primarily responsible for the success or failure of the venture for which the partnership
      is formed”. Id. at 644. However, the court also notes the importance of identifying a
      particular entity as an “issuer”, stating:


                                                   64
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 101 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
                     Do not cite in academic work without authors’ consent

      any security” left undefined, as presumably self-evident. When a security
      has been issued, many different obligations and potential liabilities are
      imposed by the Securities Acts on the issuer of that security, including the
      responsibility for filing periodic reports where the security or issuer has
      registered with the SEC,200 a wide range of corporate governance
      obligations on the part of the issuer under the Sarbanes-Oxley Act of
      2002201 (generally arising where the issuer has securities registered under
      the Exchange Act or is required to file reports under Section 15(d) of the
      Exchange Act) and other obligations in the event that a tender offer for the
      relevant securities is commenced. It is essential that all parties concerned
      with a given security, including not only the owner but also intermediaries,
      like clearing agencies, broker-dealers, national exchanges that have listed
      the security, and self-regulatory organizations, are able to determine with
      certainty who the issuer of that security is and what rights or duties that
      issuer may have in respect of those securities.
               This point is particularly well illustrated in What is a Security? --
      A Redefinition Based on Eligibility to Participate in the Financial
      Markets.202 Focusing on the long-running challenge courts have had in
      setting forth a definitive rule to assist market participants in determining
      whether a particular transaction is one “whose characteristics distinguish
      it from the generality of transactions so as to create a need for the special
      fraud procedures, protections and remedies provided by the securities
      laws” (citing an earlier article by Professor John Coffee), Professor
      FitzGibbon proposes a broad new test to determine whether an interest or
      instrument should fall within the definition of “security” for purposes of
      the Securities Acts. This proposed new definition turns on whether the
      interest in question is a “financial instrument” eligible to participate in a
      public market. In this context, Prof. FitzGibbon defines “instrument” as
      “a set of rights and duties conferred (or purported to be conferred) by one



                It is important to understand the limits of this conclusion. We recognize that
                securities regulation “is often a matter of the hound chasing the hare as issuers
                devise new ways to issue their securities and the definition of a security itself
                expands.” [Doran at 909] … We insert a cautionary note because, like the Fifth
                Circuit in Doran, “(w)e are conscious of the difficulty in formulating black letter
                law in this area in light of the multiplicity of security transactions and their
                multifarious natures.” Id. Accordingly, we note that our holding today does not
                mean that anyone who has information material to an investment decision is
                transformed into an issuer. We hold only that when a person organizes or
                sponsors the organization of limited partnerships and is primarily responsible for
                the success or failure of the venture for which the partnership is formed, he will
                be considered an issuer for purposes of determining the availability of the private
                offering exemption.

      Id. at 644.
      200 15 U.S.C. 78m.
      201 15 U.S.C. § 7241
      202 FitzGibbon, “What is a Security? – A Redefinition Based on Eligibility to Participate in

      the Financial Markets”, 64 Minn. L. Rev. 893 (1980).
                                                  65
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 102 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

      party upon another, under circumstances such that the rights and duties
      would normally be treated as a unit and would normally be transferred, if
      at all, as a unit”.203
               In all cases, these rights or duties that constitute the “security”
      cease to exist when the issuer of the security ceases to exist, whether as
      the result of a dissolution following a bankruptcy proceeding or a
      voluntary winding up. During this wind-down process, attempts are
      required to be made to satisfy the issuer’s obligations to its creditors (in
      appropriate priority order) and, where that can occur in full, any remaining
      assets of the issuer are distributed to its owners and other equity holders,
      as provided for in the company’s organizational documents. Once a
      company no longer exists, it no longer does any business, all of its
      contractual obligations will have been satisfied or discharged and any
      remaining assets distributed to its shareholder or other owners. Any
      securities issued by the company will no longer exist. From that point
      onwards, although a physical certificate (or set of written agreements)
      created by that issuer to represent those rights may continue to exist, these
      pieces of paper are merely mementos of solely historical interest -- they
      no longer convey any rights or represent any duties.
               Thus, under current law, there is simply no such thing as an
      “issuer-independent security” – a security that exists independently of an
      identifiable entity that, under law, is dispositively considered its “issuer”.
      Occasionally a security may be deemed to have more than one issuer,204
      but whether one or several, those entities must be clearly identifiable. This
      is not a concern with investment contract fundraising transactions, as we
      have seen, as investment contract status is a remedial measure
      retrospectively imposed by a court where the prospective wrong-doer(s)
      have been identified by the plaintiff at the start of the proceeding – it is
      then left to the court to decide whether they agree. However, the
      individuals or companies upon whose entrepreneurial efforts purchasers
      may rely with respect to non-financial assets like tokens have no such
      necessary relationship with the asset and thus these assets lose the quality
      of “securityness” when re-sold in secondary transactions by persons who
      are not promoters.
                2. Securities as Instruments
              The principle that to have a security there must be a counterparty
      against which rights can be enforced is further supported by the use of the
      term “instrument” in the definition of the term “security” in the Securities




      203Id., at 919.
      204See, e.g., General Instructions to SEC Form D (“If more than one issuer has sold its
      securities in the same transaction, all issuers should be identified in one filing with the
      SEC”).
                                                 66
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 103 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
                     Do not cite in academic work without authors’ consent

      Acts.205 For example, the definition of “security” in the Securities Act
      includes the phrase “. . . or, in general, any interest or instrument
      commonly known as a ‘security’”.206 The Exchange Act definition
      likewise includes the phrase “. . . or, in general, any instrument commonly
      known as a ‘security’”.207 When describing these definitions, the Supreme
      Court and many other courts refer to the specifically enumerated types of
      securities collectively as “instruments”, highlighting the inherent legal
      relationships present in a writing deemed to constitute a security. For
      example, in Marine Bank, the Supreme Court wrote, “Congress intended
      the securities laws to cover those instruments ordinarily and commonly
      considered to be securities in the commercial world.”208 Similarly, the
      SEC has described the enumerated types of securities as “instruments” as
      well.209 The Exchange Act also makes frequent reference to the term
      “instrument” as a catch-all description for securities.210
              Although frequently used in the Securities Acts, the term
      “instrument” is undefined there and presumably considered a term with a
      commonly understood meaning. Black’s Law Dictionary defines an
      instrument as “[a] written legal document that defines rights, duties,
      entitlements, or liabilities, such as a statute, contract, will, promissory
      note, or share certificate.”211 Other commentators have noted that “[a]n
      ‘instrument’ seems to embrace contracts, deeds, statutes, wills, Orders in
      Council, orders, warrants, schemes, letters patent, rules, regulations, by-
      laws, whether in writing or in print, or partly in both; in fact, any written
      or printed document that may have to be interpreted by the Courts.”212
      Thus, an essential element of an instrument is the existence of some
      writing that evidences a legal arrangement, the parameters of which are
      capable of being interpreted by one who is not a party to the original


      205 Indeed, of all the federal appellate and Supreme Court cases considering whether or not
      a particular scheme or arrangement an investment contract transaction, only two, both of
      which resulted in the court finding that there lacked evidence for a finding of an investment
      contract, were brought without a physical instrument. See Canadian Imperial Bank of
      Commerce v. Fingland, 615 F.2d 465 (7th Cir. 1980) (holding that the trial court's subject
      matter jurisdiction depended on the existence of securities and that appellant failed to
      present a physical document or an oral agreement skrimshaw that evidenced the existence
      of a security); see also, Mason v. Unkeless, 618 F.2d 597 (9th Cir. 1980) (rejecting
      plaintiff’s allegations that he entered into an oral limited partnership agreement which
      formed the basis of a security as inadequate to form the basis of a federal securities fraud
      claim).
      206 See Securities Act of 1933 § 2(a)(1), 15 U.S.C. § 77b(a)(1) (2018).
      207 See Securities and Exchange Act of 1934 § 3(a)(10), 15 U.S.C. §78(c)(a)(10) (2012).
      208 Marine Bank v. Weaver, 455 U.S. at 559 (1982) (emphasis added). See also S.E.C. v.

      Edwards, 540 U.S. 389, 393-94 (2004) (explaining that a security includes “virtually any
      instrument that might be sold as an investment.” (emphasis added))
      209 See, e.g., “Framework for “Investment Contract” Analysis of Digital Assets” (“The term

      ‘security’ includes an ‘investment contract,’ as well as other instruments such as stocks,
      bonds, and transferable shares.” and “The focus of the Howey analysis is not only on the
      form and terms of the instrument itself.”) (emphasis added).
      210 See generally Exchange Act of 1934, 15 U.S.C. § 78a (1934) (referring to the term

      “instrument” frequently throughout the Act to describe investment contracts).
      211 Black's Law Dictionary (11th ed. 2019).
      212 Edward Beal, Cardinal Rules of Legal Interpretation 55 (A.E. Randall ed., 3d ed. 1924).


                                                  67
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 104 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      arrangement, including a court, an arbitrator or a prospective transferee,
      such that these third parties can understand and reach an objective
      understanding of the details and character of the arrangement.213
              Accordingly, the legal arrangement that provides a security holder
      with a “bundle of rights” is inevitably evidenced by one or more writings
      including, for example, stock certificates, notes, and certificates of
      deposits, all of which are written instruments. These instruments allow
      courts to understand the associated legal arrangement intended and
      negotiated for by the parties in the event of a dispute. The instrument also
      allows a prospective transferee to understand what rights she may receive
      and puts her on notice of the nature of the legal arrangement between the
      issuer of the security and the initial purchaser or holder. Even where a
      security is uncertificated, it will reference identifiable and definitive rights
      and duties created either by statute or by contract that can be examined by
      courts and prospective purchasers alike.214
                3. Application to Crypto Assets
               As we see from the above, under current law, for a secondary
      transaction in a crypto asset to be a securities transaction, either (i) the
      asset itself would need to convey a bundle of rights and obligations
      sufficient to be considered a security or (ii) a new investment contract



      213Black’s Law Dictionary, Second Edition, published in 1910 prior to the enactment of
      the Securities Acts, defined “instrument” as:

                A written document; a formal or legal document in writing, such as a contract,
                deed, will, bond, or lease. State v. Phillips, 157 Ind. 4S1, 62 N. E. 12; Cardenas
                v. Miller, 108 Cal. 250, 39 Pac. 783, 49 Am. St Rep. 84; Benson v. McMahon,
                127 U. S. 457, 8 Sup. Ct. 1240, 32 L. Ed. 234; Abbott v. Campbell, 60 Neb. 371,
                95 N.W. 592.

      Cf. Black’s Law Dictionary, Third Edition, published in 1933, which defined “instrument”
      as:

                A document or writing which gives formal expression to a legal act or agreement,
                for the purpose of creating, securing, modifying, or terminating a right; a writing
                executed and delivered as the evidence of an act or agreement.

      Cf. Bouvier’s Law Dictionary’s (1853), which defines “instrument” as:

                The writing which contains some agreement, and is so called because
                it has been prepared as a memorial of what has taken place or been
                agreed upon. The agreement and the instrument in which it is contained
                are very different things, the latter being only evidence of the existence
                of the former. The instrument or form of the contract may be valid, but
                the contract itself may be void on account of fraud.
      214 While state commercial law contemplates the ability of an issuer to create
      “uncertificated securities” (see U.C.C. Section 8-102(18)) where the relevant rights are not
      evidenced by an “instrument”, in these cases there is still an underlying agreement (e.g.,
      an Indenture) or other writing (e.g., a corporate charter), such as a certificate of
      incorporation or operating agreement, that spells out the inchoate rights being created.
                                                   68
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 105 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      transaction would need to be formed based on the specific circumstances
      of that transaction.
               In the context of our hypothetical, if Fund concluded that it was
      overexposed to the giant stockpile of strowrange seeds in their warehouse
      and decided to sell some of those seeds, along with an assignment of its
      rights under the Strowrange Seed Management Agreement with Labs, to
      other investment funds, there is little doubt that those subsequent
      transactions would also be securities transactions. Although Fund was
      selling strowrange seeds (a non-security), they were also conveying
      specific rights against a third party (Labs) and fulfilling all four Howey
      prongs. If Fund made a public offer of its willingness to undertake this
      transaction with prior registration with the SEC, Fund may well violate
      Section 5 of the Securities Act (even if Fund ultimately only transacts with
      a single fund that was an accredited investor). Likewise, if Fund gave its
      limited partners a chance to receive strowrange seeds in exchange for a
      discharge of some of their investment in Fund, telling the LPs that the
      seeds were a “sure thing” and “a more tax efficient way of realizing gains
      in the strowrange space”, this too would likely be considered a new
      investment contract transaction requiring registration with the SEC or the
      satisfaction of an exemption from registration.
               However, in an alternative scenario, if some of the seeds Labs
      originally sold to BigAg were resold through various offshore seed dealers
      and others, and a portion thereof eventually wound up packaged for retail
      purchase by Tractor Supply Company (known as “TSC”),215 we would not
      expect TSC to have to assess whether their customers were buying
      strowrange seeds to plant in their backyard (“consumptive use”) or to hold
      onto in hopes of a later retail profit (“speculative use”).216 Nor, in order to
      avoid the threat of having to register as a national securities exchange,
      would we expect TSC to be required to review Strowrange Labs’ Twitter
      feed, the activity in Labs’ Discord server and conduct diligence on Labs
      to determine the presence and significance of non-public statements that
      could bear on whether the strowrange seeds they were reselling were
      originally sold in investment contract transactions (such as the statements
      made by the horticulturist to BigAg concerning the supposed deal she had
      with the fast-food chain to develop strowrange-flavored milkshakes).
               In the same way, a crypto asset that neither creates, nor is intended
      to represent, a legal relationship between an identifiable issuer and the
      persons who, from time to time, own that asset cannot be an “instrument”
      (or any other type of security, for that matter) regardless of whether the
      transaction in which the asset is sold is an investment contract transaction.
      That is, there is usually nothing in the smart contract code that creates a


      215See https://www.tractorsupply.com/.
      216See Allison v. Ticor Title Ins. Co., 907 F.2d 645, 648 (7th Cir. 1990) (“A [securities]
      violation does not stick to the instruments like tar.”)
                                                 69
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 106 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
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      token or in any associated metadata that enables any set of legal rights or
      duties on the part of any person or entity.217
               As a result, many separate individuals or legal entities typically
      can have, and often do have, varying degrees of responsibility for
      determining that value. For example, Strowrange Labs might want to run
      a “lean ship” and limit their business just to the science of the strowrange.
      A college friend of the horticulturalist, intrigued by the opportunity, might
      set up a separate company to develop and promote strowrange recipes,
      making money by charging fees for the recipes. One of the friend’s former
      employees may have developed a particularly tasty recipe for strowrange
      health bars and decided to go out on her own with that business. Some
      others who got to know the horticulturalist when she was in discussions
      with Fund realize that seed storage can be greatly enhanced with a new
      “nano-fiber” technology and set off to take this on, directly competing
      with Labs’ own proprietary strowrange seed solution.                     The
      horticulturalist’s elderly Aunt Hildy, always good with her hands, decides
      to start an online crafts site selling products made exclusively from dried
      strowranges and material from strowrange trees. All of these new
      contributors to the strowrange ecosystem, as big believers in the future
      demand for strowranges, personally own significant amounts of
      strowrange seeds which they all announce one way or the other to the
      general public through press releases, blog posts and, in the case of Aunt
      Hildy, her Facebook page. All of them are contributing to demand in the
      market for the seeds and have a vested economic interest in the financial
      success of the seeds. Who matters more? This is not always going to be
      obvious. If Aunt Hildy winds up featured on the cover of Time Magazine
      with guest turns on Oprah and Late Night with Seth Meyers, she could
      well have a bigger impact on the market demand for strowrange seeds than
      the others.
               Moreover, those individuals or entities frequently change over
      time, coming and going, or varying in importance, as their economic
      interests, their competing personal and commercial objectives, or simply
      their whims, change. For example, after a bitter dispute with her co-
      founder, the horticulturalist might decide to dissolve Labs, split the assets
      and liabilities with her (former) friend and move on in a new direction.
      The seed storage technology company might get bought by TSC and
      become a division of a much larger entity much less reliant on the
      strowrange for its success, diversifying its bets by developing tech for

      217 We note that a party deploying the relevant smart contracts could create legal rights
      related to ownership of a token. For example, a traditional company that deployed a smart
      contract that created a token intended to act as a so-called “stablecoin” could provide in the
      company’s terms of service that an owner of the token that met certain designated criteria
      would be entitled send the token back to the company and receive an equal amount of fiat
      currency. While in this case, there would be a legally cognizable right associated with the
      token, this right would stem from the promises made by the company in its terms of service
      and could be identified and evaluated as potentially the type of promises that could be the
      basis of a “security”.
                                                   70
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 107 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
                     Do not cite in academic work without authors’ consent

      storing seeds for other types of “new fruits”. Aunt Hildy, flush with her
      success and notoriety, could form a new company, raise capital, and even
      conduct an IPO. None of this activity would in any way subject to the
      consent or approval of the community of seed owners, nor would it directly
      impact the “functionality” of the seeds.
               This distributed responsibility, not driven by the presence of a
      legal relationship with any of these actors, coupled with the inherent
      fluidity of their engagement, makes it almost impossible at any given time
      to attribute the type of relationship between a particular entity, individual
      or group of individuals involved with a crypto asset project, on the one
      hand, and one or more owners or users of a crypto asset, on the other, that,
      as of necessity, exists between the issuer of a security and the holders of
      the relevant securities, who are legally bound together.218 Even basing a
      conclusion on the size of the stake in the underlying assets owned (be they
      strowrange seeds or crypto assets) can be misleading. The size of the stake
      held by a given actor does not need to corollate in any way with the
      relevance that actor has in driving the financial expectations of “retail”
      holders of related non-financial assets. Aunt Hildy could well have had
      the smallest stake of the various actors noted above but the biggest impact
      on the success of the demand for strowranges (and thus the price of the
      seeds). Moreover, the size of an actor’s stake can change over time, both
      on its own (i.e., the absolute amount held by the actor may increase or
      decrease) or relative to others who may have accumulated an increased
      stake or sold down over time. Without knowing all of the facts and
      circumstances applicable at the time a given transaction in an asset
      occurs, it is simply not possible to apply Howey.
               Further, rather than taking their value from the bundle of rights
      and duties manifested in the legal relationship between an owner and an
      identified issuer, most crypto assets take their value from a combination
      of the economic value of the asset’s present utility or functionality
      (whatever that may–or may not–be)219 and the asset’s provable scarcity,
      allowing owners to take a view as to the demand for that asset in the future
      (and, hence, the potential for price appreciation).220




      218 Even in token-based projects that currently exhibit a high degree of centralization – i.e.,
      reliance on the “efforts” of a single entity, the absence of a legal obligation or relationship
      between that entity and the owner of a token is a fundamental distinction between a token
      and any type of security.
      219 For example, in the case of ether, the utility is the ability of the owner to use the tokens

      to pay network validators a fee to deploy smart contract code to the Ethereum network,
      known as “gas”.
      220 As discussed above under “Crypto Assets as Speculative Investments”, this potential

      for expectation-driven price appreciation also encourages not only purely speculative
      activity (i.e., activity that does not contribute to general economic growth), but also outright
      illicit activity, such as “pump-and-dump” schemes that take advantage of the unwary and
      gullible. While clearly a deeply concerning by-product of the technology, these
      characteristics do not convert a non-financial asset into a “security” under current law.
                                                    71
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 108 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
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               By way of example, a smart contract creating a token could be
      deployed and sold by a company that dissolves immediately after the token
      is distributed. The token and the abilities (if any) that the token enables
      will continue to exist so long as the smart contract remains deployed to the
      associated blockchain network, even though the entity that sold the token
      no longer does. Absent idiosyncratic facts (such as particular obligations
      of a bankruptcy estate), this would not be the case with a security.221
                4. Conclusion
               Absent a finding that a given token is intended by the seller to
      represent an obligation of, or an interest in, a business enterprise with
      identifiable rights or benefits in, or related to, that business,222 tokens
      should not themselves be characterized as securities under current
      jurisprudence interpreting the Securities Acts. Owning a token has the
      effect of aligning the economic interests of all owners. However, simply
      owning a token, without more, does not create any sort of legal
      relationship between the token owner and the entity that deployed the
      smart contract creating the token or that raised funds from other parties
      through sales of the tokens. Any such token would be effectively “issuer
      independent” – a concept wholly foreign to federal securities law.

      221 Some have raised concerns that not treating crypto assets as securities would give a
      “free pass” not just to bad actors who use crypto assets to raise money in fraudulent
      schemes (and who are already subject to our securities laws) but also to opportunistic third-
      party participants in fraudulent schemes who are not part of the group initiating the fraud,
      but who recognize the fraud and seek to benefit from it (or who create a separate fraudulent
      scheme with otherwise valid crypto assets). First, this would only be the case if the fraud
      involved transactions in crypto assets that did not create or represent a legal relationship
      with a third party and meet the other elements of the Howey test (or are not another
      enumerated type of security). As discussed herein, transactions constituting sales of crypto
      assets for capital raising purposes will very likely be properly considered investment
      contract transactions. The same would be true for secondary transactions in crypto assets
      in which the elements of Howey are in fact met at the time of the transaction. The federal
      securities laws do, and should, apply to those transactions to protect investors. To the
      extent secondary transactions in crypto assets do not come within the purview of the
      securities laws (i.e., because the crypto assets are not themselves securities or the elements
      of Howey are not meet for a given transaction in those assets), there are a variety of other
      regulatory schemes that might apply to address such misconduct. To the extent the conduct
      rises to the level of criminal activity, criminal charges for theft, fraud or similar crimes may
      apply to such conduct. Fraud that is not criminal in nature may be addressed by consumer
      protection laws, which are broad and flexible and have successfully been applied by
      regulators to address a wide variety of activity harmful to consumers. Fraud, unfortunately,
      happens every day in a host of different non-securities markets and sectors markets and
      there are a variety of remedies to address frauds. Even if the securities laws do not apply
      to a particular fraudulent transaction, there are other regulatory schemes that do and that
      are more than sufficient to address these issues.
      222 For an example of a crypto asset intended to represent an interest in a business enterprise

      with identifiable rights or benefits in that business, see Amendment 11 to INX Limited
      Registration Statement on Form F-1 (“each INX Token held by parties other than the
      Company, shall entitle its holder to receive a Pro Rata Portion … of an aggregate amount
      which equals 40% of our cumulative Adjusted Operating Cash Flow, net of Adjusted
      Operating Cash Flows that have already formed a basis for a prior distribution”) available
      at
      https://www.sec.gov/Archives/edgar/data/0001725882/000121390020023078/ea125736-
      f1a11_inxlimited.htm#a_014.
                                                    72
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 109 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      III.   The SEC’s Position on Fundraising Through the Sale of
      Crypto Assets

               A.        The Early Cases
               Much of the discussion of the applicability of securities law to
      crypto assets arose from the way in which crypto assets have been
      distributed. Unlike most crypto assets offered and sold today, bitcoin and
      a handful of other very early crypto assets that followed it came into
      existence exclusively through the process of proof-of-work “mining”. For
      example, in the case of bitcoin, launched in early 2009, new bitcoins are
      created programmatically approximately every 10 minutes by the protocol
      code as a reward for those who expend energy and capital to verify the
      validity of proposed transactions. This process takes a significant amount
      of time even where, as with bitcoin, the rate of new assets created starts
      out at a relatively high level and gradually slows over time.223

               This changed significantly when Mastercoin was launched in
      2013. The Mastercoin launch is generally regarded as the first time a large
      number of crypto assets were created prior to the commencement of
      operation of the network (a process known as a “pre-mine”) and then sold
      to fund the development of the related network.224 This process, known as
      an ICO, quickly gained popularity following the sale in 2015 of so-called
      “pre-mined” ether tokens. Proceeds from the ether pre-mine and ICO were
      used to fund the development of the Ethereum Network. By early 2018,
      the concept of ICOs had captivated the general public, with expectations
      of easy riches to be had if only the right tokens could be purchased.225
      Promoters touted a new type of crowdfunding without all the messy
      securities law compliance obligations. Unfortunately, the idea of making
      easy money through speculative investment in nascent blockchain projects
      (many of which consisted of nothing more than a brief “white paper” and
      marketing website) led to rampant fundraising abuse often at best




      223 See Satoshi Nakamoto, “Bitcoin: A Peer-to-Peer Electronic Cash System”, available at
      https://bitcoin.org/bitcoin.pdf.
      224 See Vitalik Buterin, “Mastercoin: A Second-Generation Protocol on the Bitcoin

      Blockchain”, Bitcoin Magazine, November 4, 2013 (“The project started off with a month-
      long fundraiser, in which anyone could buy mastercoins by sending bitcoins to the
      Mastercoin Exodus address … 1 BTC … would get you 100 MSC, and an additional 10
      more for every week between the end of the fundraising period and the time at which you
      bought the mastercoins, encouraging investors to buy earlier.”), available at
      https://bitcoinmagazine.com/technical/mastercoin-a-second-generation-protocol-on-the-
      bitcoin-blockchain-1383603310.
      225 See, e.g., David Floyd, $6.3 Billion: 2018 ICO Funding Has Passed 2017’s Total,

      COINDESK (April 19, 2018), https://www.coindesk.com/markets/2018/04/19/63-billion-
      2018-ico-funding-has-passed-2017s-total/; see also, “The SEC Has an Opportunity You
      Won’t Want to Miss: Act Now!”, U.S. SEC. & EXCH. COMM’N (May 16, 2018) available at
      https://www.sec.gov/news/press-release/2018-8.
                                                73
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 110 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      characterized by unjustified and exuberant optimism and at worst, by
      outright fraud.226

               In one of the first SEC-led investigations into the application of
      U.S. federal securities law into fundraising through the offer and sale of
      crypto assets, the SEC applied the Howey test to sales of tokens in its July
      2017 “Report of Investigation Pursuant to Section 21(a) of the Securities
      Exchange Act of 1934: The DAO” (the “DAO Report”).227 The DAO
      Report related to an attempt to construct a purportedly decentralized
      equivalent of a venture fund (called “The DAO”), where participants could
      pool funds in the form of ether to purchase tokens of The DAO. The
      tokens would allow owners to vote on the projects in which The DAO
      would invest its “treasury” of ether. The tokens would also be the vehicle
      for the token owners to realize anticipated gains from the success of these
      investments.
              Although no enforcement action was taken by the SEC, the DAO
      Report expressed the SEC’s view that the sale of these tokens, the value
      of which the SEC concluded was significantly dependent on the efforts of
      the sponsor, involved an unregistered offering of an investment contract,
      stating that “[b]ecause DAO Tokens were securities, The DAO was
      required to register the offer and sale of DAO Tokens, unless a valid
      exemption from such registration applied …”.228 The SEC noted that
      “[w]hether or not a particular transaction involves the offer and sale of a
      security—regardless of the terminology used—will depend on the facts
      and circumstances, including the economic realities of the transaction.”229
              Since the DAO Report, the SEC has actively sought to establish
      regulatory authority over fundraising transactions using tokens through




      226 See, e.g., David Adlerstein, “The ICO Governance Deficit”, CoinDesk (Sept. 10, 2017),
      https://www.coindesk.com/markets/2017/09/10/the-ico-governance-deficit/ (describing
      lack of investor protections in ICOs) and Daniel Dupuis, Deborah Smith, Kimberly
      Gleason, Old Frauds with a New Sauce: Digital Assets and Space Transition, Journal of
      Financial Crime, December 14, 2021 (describing the evolution of fraud schemes
      historically conducted with fiat money in physical space to the crypto assets in digital
      space).
      227 Exchange Act Rel. No. 34-81207, July 25, 2017.
      228 Id. at p. 16.
      229 The DAO Report, at 17-18.


                                                74
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 111 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      enforcement,230 guidance,231 and rulemaking.232 Further, the current Chair
      of the SEC, Gary Gensler, and its current Director of Enforcement, Gurbir
      Grewal, have each made statements suggesting that they plan to
      aggressively pursue enforcement actions targeting perceived violations of
      federal securities law in the context of transactions involving crypto assets
      and potential investment contracts, even where the violations are technical
      in nature (i.e., not involving allegations of intentional fraud, recklessness
      or other willful misconduct).233

               B.        The ICO Boom (and Bust)
               The lion’s share of the SEC’s enforcement actions relating to
      crypto assets to date have targeted fundraising transactions where the
      activity comfortably fit the model of pre-crypto asset enforcement actions.
      Similar to the public sale of strowrange seeds by Strowrange Labs in our
      prior example, something was sold in a purportedly commercial
      transaction, but the “economic reality” alleged was that the purchasers had
      no bona fide consumptive interest in the thing sold but rather sought to
      profit by later resale with the expectation that the seller would be driving
      the increase in value of whatever was being sold. For the purposes of these
      actions, it is irrelevant whether the thing sold, be it a physical item, like
      the strowrange seeds or an intangible item, like crypto assets, was or was
      not a security for purposes of the Securities Acts (even though the SEC
      asserted in many of these complaints and related consent orders that the
      crypto assets were themselves securities).
               Instead, as with the prior Howey cases, what was legally relevant
      to the outcome was the nature of the economic relationship between the
      buyer and seller. Although many of these enforcement actions involved
      allegations of outright and knowing frauds, such as enforcement actions



      230 See, e.g., BlockFi Lending LLC, Securities Act Release No. 11029 (February 14, 2022);
      In the Matter of Paragon Coin, Inc., Release No. 33-10574 (November 16, 2018);
      CarrierEQ, Inc., d/b/a Airfox, Securities Act Release No. 33-10575 (November 16, 2018);
      In the Matter of Munchee Inc., SEC Release No. 10445 (Dec. 11, 2017), available at
      https://www.sec.gov/litigation/admin/2017/33-10445.pdf.
      231   FinHub, Framework for “Investment Contract” Analysis of Digital Assets (the
      “Framework”), April 3, 2019, available at: https://www.sec.gov/corpfin/framework-
      investment-contract-analysis-digital-assets. It is important to keep in mind that the
      Framework is guidance and is not binding on the SEC in any way. It explicitly expresses
      the views of the FinHub Staff and not of the SEC itself, who did not formally approve the
      Framework guidance. Although non-binding, the Framework is the most encompassing
      affirmative guidance provided to date by the SEC. As a result, we believe it is still
      important that it be carefully considered.
      232 See, e.g., the Proposed Rule 3b-16 Amendments; Further Definition of “As a Part of a

      Regular Business” in the Definition of Dealer and Government Securities Dealer (March
      28,         2022)         (“Proposed        Rule        3a5-4”),        available      at
      https://www.sec.gov/rules/proposed/2022/34-94524.pdf.
      233 See, e.g., Gary Gensler, “Remarks Before the Aspen Security Forum”, (Aug. 3, 2021),

      available at: https://www.sec.gov/news/public-statement/gensler-aspen-security-forum-
      2021-08-03; see also, Gurbir Grewal, Director, Division of Enforcement, 2021 SEC
      Regulation Outside the United States - Scott Friestad Memorial Keynote Address, (Nov.
      8, 2021), available at: https://www.sec.gov/news/speech/grewal-sec-speaks-101321.
                                                75
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 112 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
                     Do not cite in academic work without authors’ consent

      against PlexCorps, which promised purchasers extravagant returns,234 and
      AriseBank, which promised daily profits to token holders,235 other actions
      focused on the more technical violation of failure to comply with Section
      5 of the Securities Act, as a result of soliciting funds from the general
      public without registration, without alleging other fraudulent action.236
      Particularly notable are the successful enforcement actions for violations
      of Section 5 of the Securities Act brought by the SEC against Canadian
      social media company, Kik Interactive Inc.237 and messaging giant
      Telegram Group Inc.,238 as well as the currently ongoing enforcement
      actions against Ripple Labs, Inc. and LBRY Inc. (discussed in the next
      section below).239

                C.        Telegram, Kik Interactive, Ripple Labs and LBRY

              Many of the SEC’s early enforcement actions regarding
      fundraising sales of crypto assets were resolved without litigation,
      generally as a result of a consent decree being entered.240 However, in the

      234 SEC Complaint, S.E.C. v. PlexCorps, 17-cv-7007 (filed Dec. 1, 2017), available at
      https://www.sec.gov/litigation/complaints/2017/comp-pr2017-219.pdf                  (alleging
      misrepresentations about the size and scale of PlexCorps’ operations, the use of funds
      raised in an ICO, and the amount of funds raised in the ICO).
      235 SEC Complaint, S.E.C. v. AriseBank (filed Jan. 25, 2018), available at

      https://www.sec.gov/litigation/complaints/2018/comp-pr2018-8.pdf (alleging “many”
      materially false statements and omissions in connection with an ICO transaction).
      236 See, e.g., In the Matter of Munchee Inc., SEC Release No. 10445 (Dec. 11, 2017),

      available at https://www.sec.gov/litigation/admin/2017/33-10445.pdf.; In the Matter of
      Bloom Protocol, LLC, SEC Release No. 11089 (Aug. 9, 2022), available at
      https://www.sec.gov/litigation/admin/2022/33-11089.pdf.
      237 See Complaint, S.E.C. v. Kik Interactive Inc., 19-cv-5244 (June 4, 2019).
      238 S.E.C. v. Telegram Group, Inc., 448 F. Supp. 3d 352 (S.D.N.Y. 2020).
      239 S.E.C. v. Ripple Labs, Inc., et al., No. 20-10832 (S.D.N.Y.). Ripple Labs, along with a

      number of other companies that have raised funds through the sale of crypto assets and
      become the subject of an SEC enforcement action have raised concerns that they were not
      given “fair notice” that their fundraising sales of crypto assets might be considered
      “investment contracts” and thus required to be registered in order to be offered to the
      general public, pointing to some of the unique features of crypto assets. However, the
      Howey case law makes clear that these allegations are largely unfounded, at least with
      respect to a distinction based on whether the asset sold in the alleged investment scheme
      was a token or some more conventional asset. What is at issue in the enforcement actions
      involving fundraising through sales of crypto assets is not whether the crypto asset (i.e.,
      the “object” of the purported investment scheme) itself is a “security” (that has never been
      an issue in prior Howey cases). Rather, the question is whether it reasonable to conclude
      that the offered asset was being purchased for bona fide consumptive use. Should a court
      conclude that the “economic realities” were that purchasers were buying with a reasonable
      expectation of profit based the entrepreneurial or managerial efforts of others, a securities
      transaction will be present. As discussed in the prior section, the principles-based Howey
      test leaves room for differences of opinion on which ostensibly commercial transactions
      constitute “investment contracts”. The principles applied by courts have and continue to
      remain the same regardless of whether the object sold is a cow embryo, a cask of whiskey
      or a crypto asset. The unique elements of crypto assets should not be and are not a
      distinguishing factor for “fair notice” purposes.
      240 See, e.g., In the Matter of Munchee Inc., SEC Release No. 10445 (December 11, 2017);

      In the Matter of Zachary Coburn, SEC Release No. 84553 (November 8, 2018); In the
      Matter of Paragon Coin, Inc., SEC Release No. 33-10574 (November 16, 2018);
      CarrierEQ, Inc., d/b/a Airfox, SEC Release No. 33-10575 (November 16, 2018); and In
      the Matter of Block.one., SEC Release No. 10714 (September 30, 2019).
                                                  76
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 113 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      last several years a few of these enforcement cases went before a court in
      a fully contested proceeding and were resolved with a judicial decision.
      The holdings in these cases provide insight into the evolution of Howey-
      related jurisprudence where crypto assets are the object of a purported
      investment contract transaction.
      As non-appellate cases, the first two decisions from the Southern District
      of New York regarding fundraising sales of tokens —S.E.C. v. Telegram
      Group Inc.,241 and S.E.C. v. Kik Interactive Inc.,242 are outside our
      historical review of Howey-related appellate jurisprudence. Nonetheless,
      the courts’ reasoning in these cases may act as important harbingers for
      what may come as and when the disputes move to the appellate level. In
      addition, two major enforcement actions remain in litigation at the time
      of this writing, S.E.C. v. Ripple Labs, Inc. et al.243 and S.E.C. v. LBRY,
      Inc.,244 with the former pending a decision on competing motions for
      summary judgment by the SEC and the defendants and an order granting
      the SEC’s motion for summary judgment recently entered in the latter.

               Critically, each of these cases involve some form of fundraising
      transaction by the entity that was responsible for the creation of the crypto
      assets. As a result, all four cases fall comfortably in the mainstream of
      Howey jurisprudence, as discussed in Section II above, in which the nature
      of the object sold is not germane to the determination of whether an
      investment contract transaction is present. Nevertheless, in all four of
      these actions, the SEC took pains to characterize the crypto asset sold as a
      “security” (sometimes referred to a as “crypto asset security” or, more
      recently—perhaps to distinguish these assets from crypto assets intended
      by their issuer to be securities, as a “crypto asset security”). Although not
      relevant for the successful prosecution of these actions, this nomenclature
      strongly suggests that a “marker” is being laid for the SEC’s position on
      transactions in crypto assets outside of fundraising transactions. The
      validity of this position will be discussed below.
                1. Telegram Group, Inc.

               In the Telegram, Judge Kevin Castel granted the SEC’s request
      for a permanent injunction against Telegram Group Inc. and TON Issuer
      Inc. (collectively, “Telegram”) finding that the SEC had “shown a
      substantial likelihood of success in proving that the Gram Purchase
      Agreements, Telegram's implied undertakings, and its understandings
      with the [i]nitial [p]urchasers, including the intended and expected resale
      of [the crypto asset known as] Grams into a public market, amount to the
      distribution of securities, thereby requiring compliance with section 5.”245
      In doing so, Judge Castel addressed what had then become a common form

      241 448 F. Supp. 3d 352 (S.D.N.Y. 2020).
      242 492 F. Supp. 3d 169 (S.D.N.Y. 2020).
      243 S.E.C. v. Ripple Labs, Inc. et al. No. 20-10832 (S.D.N.Y.).
      244 S.E.C. v. LBRY, Inc. No. 21-cv-00260 (D.N.H.).
      245 Telegram at 381.


                                                  77
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 114 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      of alternative fundraising with crypto assets—the Simple Agreement for
      Future Tokens (a “SAFT”).246
               In January 2018, Telegram, a private company known for its
      eponymous encrypted messaging application, Messenger, began raising
      funds in order to finance its operations and develop its own blockchain
      network, known as the “TON Blockchain”. From January until March
      2018, Telegram sold contractual rights to acquire approximately 2.9
      billion crypto assets called “Grams” to 175 U.S. and international initial
      purchasers through a series of SAFTs, referred to as Gram Purchase
      Agreements.247 Under these agreements, delivery of the Grams (and the
      launch of the TON Blockchain) was supposed to occur no later than
      October 31, 2019, at which time, after the launch of the TON Blockchain,
      the SAFT holders would have a contractual right to receive Grams, and
      members of the public would have the ability to purchase Grams for an
      active network. Telegram argued that the sale of the SAFTs, and the sale
      of Grams to the public after the launch of the TON Blockchain, were two
      distinct sets of transactions—the first which was subject to securities laws,
      and exempt from registration under Regulation D, and the second which
      was simply a purchase of a “utility token” due to their function and
      consumptive use.
               Judge Castel rejected Telegram’s argument—instead finding that,
      upon examination of the totality of the evidence and considering the
      economic realities, that the SEC had established a substantial likelihood
      of success in showing that (a) “at the time of the offers and sales to the
      [i]nitial [p]urchasers, a reasonable investor expected to profit from
      Telegram’s continued support for Grams and the underlying TON
      Blockchain through the distribution of Grams by the [i]nitial [p]urchasers
      to the public” and (b) “Telegram's present plan to distribute Grams is an
      offering of securities under the Howey test to which no exemption
      applies.”248
              The Telegram decision collapses the initial sales of Gram tokens
      by Telegram to the initial purchasers and the proposed resales of Grams
      by these same persons (presumably to members of the general public) into
      one single “scheme” to distribute the Grams to the public. In doing so, the
      decision looks closely at the nature of investment contract transactions
      using tokens and rebuffs the SEC’s claim that the Grams tokens were
      themselves securities. In their complaint, the SEC had alleged that Grams


      246 For a detailed review of the SAFT framework and its apparent shortcomings, see Juan
      Batiz-Benet, Marco Santori, and Jesse Clayburgh, The SAFT Project: Toward a Compliant
      Sale Framework, (October 2, 2017), http://www.saftproject.com/static/SAFT-Project-
      Whitepaper.pdf; Cf. Cardozo Blockchain Project, “Not So Fast—Risks Related to the Use
      of       a      “SAFT”        for    Token       Sales”      (2017)     available     at
      https://larc.cardozo.yu.edu/cgi/viewcontent.cgi?article=1000&context=blockchain-
      project-reports.
      247 See S.E.C. v. Telegram Group, Inc., 448 F. Supp. 3d 352 (S.D.N.Y. 2020).
      248 Id. at 358-9.


                                                78
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 115 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      were securities “because the [i]nitial [p]urchasers and subsequent
      investors expect to profit from Telegram’s work: the development of a
      TON “ecosystem,” integration with Messenger, and implementation of the
      new TON Blockchain…. [and] there is an expectation on the part of
      investors that they will profit if Telegram builds out the functionalities it
      has promised.”249 Telegram, however, argued that the Grams were distinct
      from the Gram Purchase Agreement (acknowledged by Telegram to be a
      security), and therefore must be evaluated separately under Howey.
               In his decision, Judge Castel distinguishes between the two
      positions, and while he does not go so far as to reject the SEC’s argument,
      he does not adopt the position that the Grams standing alone are securities,
      instead writing that “the security in this case is not simply the Gram, which
      is little more than alphanumeric cryptographic sequence,” and
      highlighting that the transaction at issue is the “scheme” which “consists
      of the full set of contracts, expectations, and understandings centered on
      the sales and distribution of the Gram.”250 In doing so, Judge Castel
      highlights the importance of focusing on all of the facts and circumstances
      associated with fundraising sale transactions involving crypto assets,
      rather than on the crypto asset alone. Nonetheless, given that it is
      irrelevant to the ultimate outcome of the case, the Telegram decision falls
      short of fully recognizing the jurisprudential importance of distinguishing
      between fundraising transaction and the asset sold.
              Shortly after issuing his main order, Judge Castel made this
      position even more clear in a subsequent ruling, noting:
                    [O]ne of the central points of the Court’s [March 24, 2020]
            Opinion and Order [was], specifically, that the “security” was neither
            the Gram Purchase Agreement nor the Gram but the entire scheme that
            comprised the Gram Purchase Agreements and the accompanying
            understandings and undertakings made by Telegram, including the
            expectation and intention that the Initial Purchasers would distribute
            Grams into a secondary public market.251
                2. Kik Interactive, Inc.

               Kik Interactive, Inc. (“Kik”), the Canadian developer of Kik
      Messenger, a messaging app, sought to develop a “digital ecosystem”
      using digital tokens called Kin as the digital currency. During 2017,
      through a private SAFT “pre-sale” sale, and a subsequent public token
      distribution event (“TDE”) Kik offered and sold one trillion Kin tokens to
      more than 10,000 purchasers for approximately $100 million dollars, with
      over half of this sum alleged to have come from persons located in the
      United States. The proceeds of these sales were intended to fund Kik’s


      249 Complaint, at 2, SEC v. Telegram Group, Inc., 448 F. Supp. 3d 352 (S.D.N.Y. 2020).
      250  448 F. Supp. 3d (S.D.N.Y. 2020) at 379.
      251 S.E.C. v. Telegram Group, Inc., 19-cv-9439 (PKC) (S.D.N.Y. Apr. 1, 2020)


                                                79
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 116 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
                     Do not cite in academic work without authors’ consent

      operations and create, develop, and support a “Kin Ecosystem” in which
      Kin tokens, at a future date, could be used to buy goods and services.252
      The SEC claimed that the offer and sale of Kin through the SAFT and at
      the TDE, should be characterized as an investment contract transaction—
      which was sold without a registration statement being in effect, and
      without an exemption from registration—thereby violating Section 5(a)
      and 5(c) of the Securities Act.
              Kik denied these allegations, arguing in a fashion similar to
      Telegram that the pre-sale transactions were exempt from registration as
      “private placements” that qualified for the safe harbor provided by
      Regulation D under the Securities Act, and that at the time of the TDE, the
      Kin tokens were not themselves “securities”, but rather a medium for
      consumptive and functional use by users of Kik’s social media
      platform.”253 The only contractual agreement with Kin users was a Terms
      of Use Agreement, which in part provided that the Kin tokens were
      provided on an “As Is and As Available basis without warranties or
      conditions of any kind, either express or implied.”254 Both the SEC and
      Kik moved for summary judgement on that basis.
               In granting summary judgment to the SEC, the court agreed with
      the SEC’s position that Kik had offered and sold unregistered securities
      through investment contract transactions involving sales of the Kin token.
      In particular, the court asserted that a common enterprise was present
      based on the pooling of proceeds from sales of Kin tokens for construction
      of the digital ecosystem promoted by Kik which the court stated was
      crucial to the “success of the ecosystem [which] drove demand for Kin and
      thus dictated investors’ profits”.255 Finding that “Kik recognized and
      repeatedly emphasized this,”256 the court stated that “contractual language
      is important to, but not dispositive of, the common enterprise inquiry, and
      courts regularly consider representations and behavior outside the
      contract.”257

      252 Complaint, at 2-3, S.E.C. v. Kik Interactive Inc., 492 F. Supp. 3d 169 (S.D.N.Y. 2020).
      253  Answer to Complaint, at 16, S.E.C. v. Kik Interactive Inc., 492 F. Supp. 3d 169
      (S.D.N.Y. 2020). Kik’s focus on functionality of the Kin token demonstrates the confusion
      present in this area. As discussed in detail in Section II, in virtually all of the Howey cases
      involving asset sales, the assets in question had some functionality or “utility”. The
      existence of some sort of functionality is also irrelevant to the whether an investment
      contract was present. Rather, attention should be focused on what a reasonable purchaser
      would have expected from her purchase. Did the “facts and circumstances” of the
      transaction suggest that the assets were being acquired for consumptive purposes (unlikely
      to give rise to an investment contract transaction) or were the purchasers likely primarily
      motivated by the prospect of a financial gain from the later resale of the asset (more likely
      that there would be an investment contract transaction present)?
      254 492 F. Supp. 3d 169 (S.D.N.Y. 2020).
      255 Id. at p. 178.
      256 Id.
      257 See, infra, Section [167] for a discussion of the relationship between contractual privity

      between the parties and presence of an investment contract transaction. As noted there, in
      the context of a fundraising transaction, we believe that the position taken in Kik (i.e., that


                                                   80
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 117 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
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              Notwithstanding that the only question before the court was
      whether the fundraising sales by Kik of the Kin tokens constituted
      investment contract transactions, making the status of the Kin token
      irrelevant to the matter in dispute, the court nevertheless wrote in dicta
      that “Purchasers in the [private and public] sales received the same class
      of securities, fungible Kin that were equal in value. It is true that they
      received them via different instruments with different rights. However,
      the ultimate result was distribution of identical assets.”258 While the
      finding of investment contract transactions in Kik is consistent,
      philosophically at least, with prior Howey jurisprudence, the additional
      statement regarding the nature of Kin tokens, made without analysis or
      consideration of the factors discussed above, demonstrates how easy it is
      to conflate an investment contract transaction with its non-security object.
                3. Ripple Labs, Inc.

               In December 2021, the SEC filed a complaint259 against Ripple
      Labs, Inc. and two of its senior executives, Brad Garlinghouse and Chris
      Larson (together, the “Ripple Defendants”). The substance of the SEC’s
      complaint against the Ripple Defendants was a “garden variety” claim of
      a violation of Section 5 of the Securities Act by them resulting from long-
      running fundraising sales of a crypto asset, known as XRP. These sales
      were conducted in a variety of ways, however, some of the sales were
      made to the general public in the United States without registering those
      transactions with the SEC.

             Nevertheless, the first paragraph of the SEC’s complaint against
      Ripple Labs states that “[f]rom at least 2013 through the present,
      Defendants sold over 14.6 billion units of a crypto asset security called
      “XRP,” in return for cash or other consideration worth over $1.38 billion
      U.S. Dollars (“USD”), to fund Ripple’s operations and enrich Larsen and
      Garlinghouse.”260 This assertion regarding the securities law status of
      XRP tokens, irrelevant to the actual alleged violations by the Ripple
      Defendants, resulted in most U.S.-based crypto asset marketplaces to
      preemptively delisting XRP tokens, immediately and predictably




      the absence of contractual privity between the fundraising party and the investor providing
      the funds should not prohibit the finding of an investment contract transaction), while very
      limited in precedent, and is the right policy outcome and one likely to be followed by
      subsequent courts.
      258 Id. at p. 182. Given that this statement is made in dicta, it is possible to construe the

      court’s reference to Kin tokens as “securities” as mere shorthand for a conclusion that the
      sales of these assets constitute securities transactions, although reasonable people could
      differ on this.
      259 Complaint, S.E.C. v. Ripple Labs, Inc. et al., No. 20-10832 (S.D.N.Y. Dec. 22, 2020),

      ECF No. 4 (the “Ripple Labs Complaint”).
      260 Ripple Labs Complaint at p. 1 (emphasis added).


                                                  81
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 118 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      removing a significant amount of the liquidity support for XRP causing in
      a significant decline in the price of the token.261

               In response, the well-funded Ripple Defendants have mounted a
      vigorous and aggressive defense, alleging that they were not provided with
      “fair notice” of their potential violations and requesting extensive
      discovery about the inner workings of the SEC’s decision-making as it
      developed its response to the proliferation of transactions involving crypto
      assets.262 The discovery issues, which have continued for over a year as
      of this writing, were referred to a federal magistrate judge and created a
      great deal of discussion among observers of the crypto asset space.263 In
      addition, as will be discussed below, following the price declines in the
      XRP token, a large group of disgruntled XRP owners unsuccessfully
      attempted to intervene in the case, alleging that they had been harmed as
      a result of the SEC’s actions.264 At the time of this writing, both the SEC
      and Ripple Labs have filed motions for summary judgment, requesting the
      judge to make a ruling based on the arguments already made, and have
      subsequently filed their oppositions to the other party’s summary
      judgment motion.
                4. LBRY, Inc.

               Most recently, the SEC commenced an action against LBRY, Inc.,
      a company that developed what it refers to as a popular decentralized
      digital content marketplace (known as “LBRY”) that runs on blockchain
      technology. LBRY, Inc. asserts that it did not conduct an ICO (generally
      understood here as a public sale of pre-functional crypto assets) and that it
      developed its blockchain network using traditional funding, rather than
      through the sale of any digital tokens (which it claims it only sold well
      after the blockchain was fully launched and operational). Nevertheless, in
      March of 2021, the SEC filed a complaint against LBRY, Inc. claiming
      that, starting in 2016 LBRY, Inc. had offered and sold unregistered
      securities in the form of a crypto asset called LBRY Credits (“LBC”),
      which it said LBRY, Inc. had told investors was to be used to fund its
      business and build its product.


      261 Olga Kharif, Cryptocurrency XRP is in free fall with exchanges delisting coin,

      Bloomberg           News         (Dec.          30,       2021)         available       at:
      https://www.bnnbloomberg.ca/cryptocurrency-xrp-is-in-free-fall-with-exchanges-
      delisting-coin-1.1542141.
      262 See Kara Kapp, “The ‘Ripple Effect’: A Striking Development on Defending Digital

      Asset Securities Litigation” (Reuters April 21, 2022), available at
      https://www.reuters.com/legal/legalindustry/ripple-effect-striking-development-
      defending-digital-asset-securities-litigation-2022-04-21/. For a discussion of Ripple Labs’
      fair notice defense, see supra note [239].
      263 See Holly Barker, “Ripple Discovery Would Chill All Agency Debate, SEC Says (1)”

      (Bloomberg            Law         Aug.          2,       2022),         available        at
      https://news.bloomberglaw.com/litigation/ripple-discovery-threatens-to-chill-all-agency-
      debate-sec-says.
      264 See Motion to Intervene, S.E.C. v. Ripple Labs, Inc., et al., No. 20-10832 (S.D.N.Y.

      March 14, 2021) (the “XRP Holder Motion”).
                                                 82
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 119 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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               In their motion for summary judgement, however, the SEC
      equivocated. Most of the SEC’s motion appears to acknowledge the
      scheme/object distinction, stating at one point that, “If crypto assets, or
      anything else, are offered in a way that meets the three prongs of Howey,
      an investment contract exists and the securities laws apply”.265 On the
      other hand, elsewhere in the motion the SEC refer to the LBC tokens sold
      by LBRY as “LBC investment contracts”. Nevertheless, in order to draw
      support for a finding that LBRY Inc. had had “fair notice” of the
      application of the federal securities laws to LBRY Inc.’s fundraising
      transactions in LBC, the SEC described the Howey test as having been
      “satisfied for interests in: orange groves…payphone leases...investment
      packages to secure EB-5 visas…online ad services…licenses to sell dental
      products…films…multi-level         marketing…chinchillas…and        virtual
      shares…,”266 and cited to the statement in Kik that “the law regarding the
      definition of investment contract gives a reasonable opportunity to
      understand what conduct and devices it covers.”267
               Of course, the various objects enumerated by the SEC in their
      summary judgment motion were not themselves found to be “investment
      contracts”, but rather it was the specific transactions through which these
      non-financial assets were sold that constituted the relevant “security”. The
      SEC did not cite any significant authority that would support the idea that
      the LBC tokens themselves were “securities”. In fact, if that had been
      clearly asserted, such a position would almost certainly merit a finding of
      a lack of “fair notice” on the part of the defendants.
               Notwithstanding the apparent recognition by the SEC in its
      briefing that the object of an investment scheme is not itself a security, the
      District Court in New Hampshire in a recent memorandum and order
      appears to characterize LBC itself as a security, ruling that the offer and
      sale of LBC tokens (apparently, all offers and sales, regardless of the
      specific circumstances of the transaction) violated Section 5 of the
      Securities Act and therefore granting the SEC’s motion for summary
      judgment.268 The LBRY Order frames the dispute as follows: “the issue
      to be decided is whether the economic realities surrounding LBRY’s
      offerings of LBC led investors to have ‘a reasonable expectation of profits
      to be derived from the entrepreneurial or managerial efforts of others’”.
      The court then goes on to repeatedly say that “LBRY offered LBC as a
      security.”269

               Critically, while the court refers to it as “uncontested” that some
      unknown number of purchasers of LBC from LBRY acquired the token
      “at least in part” to use the token for its intended purpose, rather than to
      hold as an investment, no attempt is made in the LBRY Order to

      265 SEC, LBRY Summary Judgment Motion at p. 19 (emphasis added).
      266 Id. at p. 22.
      267 Id. at p. 23 (emphasis added).
      268 See Memorandum and Order at 18, SEC v. LBRY, Inc., No. 21-cv-00260-PB (D.N.H.

      Nov. 7, 2022), ECF No. 86 (“LBRY Order”).
      269 Id.


                                               83
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 120 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      distinguish among the sales that were made to purchasers that had a bona
      fide consumptive intent and those who were offered, and who purchased,
      LBC tokens with a reasonable expectation of profit from the efforts of
      LBRY, Inc.270 In terms of finding a violation of Section 5, this distinction
      is not necessary. So as long as there were at least some offers and sales of
      LBC tokens to the public as investments (and the record as presented in
      the LBRY Order suggests that there were), then those offers and sales
      would be illegal (as they were not registered with the SEC or otherwise
      exempt from registration). Whether there were some other sales of LBC
      that did not violate Section 5 would be irrelevant to a finding that a
      violation occurred.

               The LBRY Order continues, “Nothing in the case law suggests
      that a token with both consumptive and speculative uses cannot be sold as
      an investment contract.” This is indeed correct. To apply this to our
      strowrange parable, Strowrange Labs can sell some of the seeds in small
      amounts in a seed catalog that offers a wide variety of different seeds, and
      which is mailed to at-home gardeners (even though this may be considered
      a ”public offering”. Some purchasers may even be aware of the hype
      around the seeds and thing that it might be “fun” to own some. These
      transactions would not be occurring in a manner that in any way suggests
      an investment opportunity and there is nothing in Howey jurisprudence
      that suggests that sales made through the catalog should be considered
      investment contract transactions.

               However, other of the strowrange seeds could be offered by Labs
      to investors like Fund with promises of value creation in transactions
      which are properly treated as securities offerings. What matters in making
      this distinction are the economic realities of the transaction, not (as the
      SEC themselves observed) the nature of the object sold. Unfortunately,
      the LBRY court did not correctly apply Howey and failed to assess the
      economic realities of each of the various transactions in LBC tokens
      conducted by LBRY Inc. – instead, it appears to have concluded that all
      transactions in LBC should be treated as investment contract transactions.

               The LBRY court seems to thereby apply a new test not found in
      existing Howey jurisprudence – what we referred to above as the “original
      sin” theory. Rather than applying Howey to particular transactions, the
      LBRY court makes the same mistake that the original Ninth Circuit
      appellate tribunal did in Hocking. There, the tribunal misconstrued
      Howey, finding that the potential for a transaction to have investment
      character (i.e., the availability of a rental pool agreement offered by the
      operator of the condominium development at issue) automatically resulted
      in the plaintiff’s purchase being characterized as an investment contract
      transaction without examining the facts and circumstances of a specific
      transaction.271 As discussed above, the full Ninth Circuit in a rehearing en
      banc272 strongly disagreed with the tribunal’s position and reversed,

      270 Id.
      271 Hocking v. Dubois, 839 F.2d 560 (9th Cir.), withdrawn, 863 F.2d 654 (1988).
      272 Hocking II, supra note [185].


                                                84
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 121 of 215
                          DISCUSSON DRAFT: NOVEMBER 10, 2022
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      remanding the case for fact-finding on the specific circumstances
      applicable to the transaction in question.

              Demonstrating the difficulty in getting this right at the District
      Court level – something we observed in the relatively frequent appellate
      reversals in our survey, the LBRY Order continues:

                  Despite LBRY’s insistence to the contrary, I cannot reject the
                  SEC’s contention that LBRY offered LBC as a security simply
                  because some LBC purchases were made with consumptive
                  intent. Were it otherwise, the Securities Act would be unable to
                  adapt to the “countless and variable schemes devised by those who
                  seek the use of the money of others on the promise of profits”
                  wherever a token held some consumptive utility. … Accordingly,
                  statements from a subset of LBC holders that they purchased LBC
                  for use on the LBRY Blockchain is of limited relevance in
                  determining whether LBRY offered it as a security. See Warfield,
                  569 F.3d at 1021 (“[W]hile the subjective intent of the purchasers
                  may have some bearing on the issue of whether they entered into
                  investment contracts, we must focus our inquiry on what the
                  purchasers were offered or promised.”).

                          In summary, what the evidence in the record discloses is
                  that LBRY promoted LBC as an investment that would grow in
                  value over time through the company’s development of the LBRY
                  Network. While some unknown number of purchasers may have
                  acquired LBC in part for consumptive purposes, this does not
                  change the fact that the objective economic realities of LBRY’s
                  offerings of LBC establish that it was offering it as a security.273

              In articulating its position, the LBRY court demonstrates the
      underlying flaw in its reasoning by relying on a case involving fraudulent
      sales of annuity contracts, Warfield v. Alaniz.274 Warfield concerned a
      criminal Ponzi scheme in the form of purported “charitable gift annuities”
      (no money was ever given to charity and the promoter wound up serving
      jail time). The plaintiff, an individual named Warfield, was a court-
      appointed receiver for what was left of the investors’ assets. Warfield sued
      agents of the foundation that was used as the vehicle to operate the scheme,
      seeking to recover commissions paid to those agents from monies raised
      from investors. One issue the receiver faced in its pursuit of a Madoff-like
      recovery was whether the annuity contracts were “securities”. The defense
      sought to counter this allegation by asserting that the ostensibly charitable
      nature of the arrangement defeated Howey’s “investment of money”
      prong.

              Unsurprisingly, the Warfield court did not buy this argument,
      particularly in the context of a criminal Ponzi scheme. To reach this

      273   LBRY Order at pp.18-19.
      274   569 F.3d 1015 (9th Cir. 2009).
                                                   85
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 122 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      conclusion, the court focused its inquiry on what the annuity purchasers
      were offered or promised, which the court stated was “an objective inquiry
      into the character of the instrument or transaction offered based on what
      the purchasers were ‘led to expect’”.275 Warfield, however, involved an
      “instrument” – the charitable annuity contract – which proposed the same
      (fraudulent) arrangement for everyone by its terms. The only slim reed to
      be batted away by the court was the suggestion by the defense that because
      the word “charitable” was used in the product, purchasers had no present
      expectation of financial gain. This was easily dismissed by the court
      where the record showed that purchasers’ returns were repeatedly being
      favorably compared to what could be earned in the stock market.

               In contrast, given that the LBRY court acknowledged both that
      LBC had a bona fide consumptive use (something not the case with the
      purported financial contracts in Warfield) and that there were significant
      numbers of people acquiring LBC for that consumptive use, it was
      incumbent on the court not to fall into the same trap as the original Hocking
      tribunal who were reversed. In fact, the court in LBRY made the very same
      assumption as that Hocking tribunal – that because the purchase of a non-
      financial asset could have been based on an expectation of profit or on the
      presence of financial inducements provided by others that the asset was
      automatically a security based on those considerations without any
      investigation into the circumstances of specific transactions.276 This is the
      exact opposite of the learnings from over 70 years of Howey jurisprudence.

               The LBRY court lost sight of the question properly before it: were
      there one or more identifiable sales of LBC to persons that did not have a
      bona fide consumptive interest in the assets and instead were looking to
      profit through price increases reasonably expected to come from LBRY’s
      efforts? Instead, the court answered the wrong question – are LBC tokens
      themselves securities? Because as we have seen, LBC tokens, like most
      other crypto assets, are not instruments and do not create a legal
      relationship between the owner and any other person, the proper inquiry is
      transaction-based; not asset-based.
               5. Conclusion

             To date, Telegram, Kik, and LBRY are the only thoroughly briefed
      and decided cases relating to fundraising sales of crypto assets and none

      275Id. at 1021 (emphasis added; footnotes omitted).
      276The SEC in a recent complaint filed against Hydrogen Technology Corporation alleged
      that some means of distributing a particular crypto asset, known as Hydro, are securities
      transactions while other means of distributing the very same crypto asset were not alleged
      to constitute securities transactions. See, Complaint, U.S. Securities and Exchange
      Commission v. The Hydrogen Technology Corporation, Michael Ross Kane, and Tyler
      Oster, Case No. 1:22-cv-08284-LAK (SDNY September 29, 2022) (describing four means
      of distributing the Hydro token: through bounty programs, employee compensation, sales
      in the open market, and airdrops – free giveaways – and alleging that the transactions
      involving the first three were investment contract transactions but not alleging that the
      distributions via airdrop were investment contract transactions).
                                                 86
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 123 of 215
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      of these decisions are yet to have been appealed beyond the district court
      level. As a result, there is limited material to work with from a
      jurisprudential perspective when applying Howey to the crypto assets
      themselves. Nevertheless, we can observe the seeds of judicial tensions
      emerging. On the one hand, we see in Judge Castel’s two Telegram
      decisions a clear skepticism about linking investment contract transactions
      to the crypto assets being sold.
               Alternatively, although there is the dicta noted in the Kik decision,
      because that is not accompanied by any reasoning that would not also be
      applicable to the investment contract transactions found to be present, it is
      difficult to know whether much can be made of the court’s statement,
      which can also be read as mere shorthand. Similarly, the thesis underlying
      the LBRY Order is difficult to decipher on this point. We will learn more
      when the remedies for the Section 5 violation found are determined. At
      that point, we may see a court for the first time fully embrace the
      Embodiment Theory, although the support such an approach would
      receive at the appellate level is unclear at best. For the time being at least,
      we are left with the 70-plus years of extant Howey jurisprudence from
      which to draw conclusions about the application of this law to non-
      fundraising secondary transactions in crypto assets.

      IV.    Applying Howey Case Law to Secondary Transactions in
      Crypto Assets and the SEC’s “Embodiment” Theory

               Although the application of the Howey case law to fundraising
      sales of crypto assets is reasonably straightforward, the SEC has
      consistently implied that it is not just the fundraising transaction that is an
      “investment contract”. Across a range of formal and informal statements,
      the crypto asset itself is referred to as an “investment contract” or even just
      a “security”, a “crypto asset security” or a “crypto asset security” akin to
      a share of stock or a bond or other debt instrument. In particular, the SEC’s
      current Chair, Gary Gensler, has taken this position even more
      aggressively than his predecessor, Jay Clayton, for example stating that
      “[w]ithout prejudging any one token, most crypto tokens are investment
      contracts under the Supreme Court’s Howey Test.”277 By way of contrast,
      former SEC Chair Jay Clayton chose his words more carefully. When
      testifying before Congress in February 2018, he simply stated that “[e]very
      ICO I’ve seen is a security,” clearly referring to the transactions pursuant




      277See Gary Gensler, “Prepared Remarks of Gary Gensler on Crypto Markets Penn Law
      Capital Markets Association Annual Conference” (April 4, 2022), available at:
      https://www.sec.gov/news/speech/gensler-remarks-crypto-markets-040422.
                                               87
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 124 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
                     Do not cite in academic work without authors’ consent

      to which the relevant crypto assets were being sold rather than to the crypto
      assets themselves.278
               This approach of proposing to treat a non-financial crypto asset
      (i.e., one that is not a “securities equivalent”)279 as a security is notably in
      contrast with that of a number of other major jurisdictions, such as the
      European Union,280 Switzerland,281 and Singapore,282 all of which
      generally do not consider non-financial crypto assets to be “securities”.
               What distinguishes tokens from the myriad of other assets that
      featured in earlier SEC “investment contract” enforcement actions are
      their ready transferability and the fact that, unlike the failed schemes that
      lead to many of the earlier enforcement actions (where investor loss was
      often the proximate cause of an SEC investigation), many tokens managed

      278 See Stan Higgins, SEC Chief Clayton: ‘Every ICO I’ve Seen Is a Security’, COINDESK

      (Feb. 7, 2018), available at https://www.coindesk.com/sec-chief-clayton-everyico-ive-
      seen-security?amp.
      279 See, infra, text at note [131].
      280 In September 2020, the European Commission published a draft of the Markets on

      Crypto-assets (the “MiCA Regulation”). The MiCA Regulation limits its scope to those
      “crypto-assets” that do not qualify as financial instruments, deposits or structured deposits
      under the EU financial services legislation. Under the MiCa Regulation, the categorization
      of non-financial crypto assets includes “crypto asset[s]” “utility token[s]”, “asset-
      referenced token[s]”, and “electronic money token[s]”. On June 30, 2022, the European
      Council presidency and the European Parliament announced that they had reached a
      provisional agreement on scope of the MiCA Regulation. See Council of the EU Press
      release “Digital finance: agreement reached on European crypto-assets regulation
      (MiCA)”, June 30, 2022, available at https://www.consilium.europa.eu/en/press/press-
      releases/2022/06/30/digital-finance-agreement-reached-on-european-crypto-assets-
      regulation-mica/.
      281 In February 2018, the Swiss Financial Market Supervisory Authority (“FINMA”)

      published guidance on how to apply Swiss financial markets laws in its guidelines
      regarding the regulatory framework for ICOs (the “ICO Guidelines”). According to the
      ICO Guidelines, FINMA distinguishes between “Payment tokens” which have no further
      functionality or links to other development projects, “Utility tokens” which are intended to
      provide digital access to an application or service, and “Asset tokens” which represent
      assets such as participations in real physical underlyings, companies, earning stream, or an
      entitlement to dividends or interest payments. See FINMA Publishes ICO Guidelines,
      FINMA (Feb. 16, 2018), available at https://www.finma.ch/en/news/2018/02/20180216-
      mm-ico-wegleitung/.
      282 In May 2020, the Monetary Authority of Singapore (the “MAS”) published the “Guide

      to Digital Token Offerings” which details the regulations surrounding crypto assets and
      their applicability to securities, collective investments, and derivative contracts. In doing
      so, the MAS described the characteristics of crypto assets which would constitute capital
      markets products, and thus be regulated under Singapore’s Securities and Futures Act
      (“SFA”), stating that the “MAS will examine the structure and characteristics of, including
      the rights attached to, a digital token in determining if the digital token is a type of capital
      markets product under the SFA.” Monetary Authority of Singapore, “A Guide to Digital
      Token         Offerings”,        2        (May       26,       2020),        available        at
      https://www.mas.gov.sg/regulation/explainers/a-guide-to-digital-token-offerings. In April
      2022, Ravi Menon, Managing Director of MAS stated during an interview that MAS
      “regulates crypto assets-related services and service providers on an activity basis rather
      than an entity-based approach,” and clarified that crypto assets which represent securities,
      such as a share or a bond, are regulated under the Securities and Futures Act, and that “[i]f
      the crypto asset is used as a means of payment, then it is regulated as a digital payment
      token under the Payment Services Act.” MAS Approach to the Crypto Ecosystem, MAS
      (April 27, 2022), available at https://www.mas.gov.sg/news/speeches/2022/mas-approach-
      to-the-crypto-ecosystem.
                                                    88
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 125 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

      to sustain or even increase their value when traded in secondary markets.
      The presence of vibrant secondary markets for tokens led to a completely
      unique type of SEC enforcement action – unprecedented in the investment
      contract jurisprudence to date: the pursuit of parties not involved in the
      original fundraising scheme for violations of the securities laws resulting
      from secondary dealings in tokens. These enforcement actions required a
      leap from a focus on fundraising schemes to a focus on activities by
      infrastructure providers to the crypto asset community, such as operators
      of trading platforms.
                Prior to the filing of the Wahi Complaint,283 the two most notable
      such enforcement actions were taken against Zachary Coburn, the
      developer of a computer protocol for a DEX, known as “EtherDelta,”284
      and Poloniex, LLC, the operator of a centralized crypto asset
      marketplace.285 In the case of Coburn, he had no relationship with the
      original fundraising by any token project; rather, he was charged in
      connection with the operation of an unregistered national securities
      exchange based in part on the fact that he continued to benefit from trading
      fees extracted by the EtherDelta protocol from the protocol’s users. The
      SEC alleged that EtherDelta “operated as a marketplace for bringing
      together orders of multiple buyers and sellers in [crypto assets] that
      included securities…”286 This statement underlined the SEC’s position
      that at least some of the crypto assets traded constituted securities.287
               Similarly, the SEC alleged that Poloniex operated a crypto asset
      trading platform that met the definition of an “exchange” under federal
      securities law. The platform displayed a limit order book that matched the
      orders of multiple buyers and sellers in crypto assets, including crypto
      assets that the SEC alleged were themselves “investment contracts” and
      thus “securities”. However, in neither the Coburn nor the Poloniex
      consent orders did the SEC specify which crypto assets it believed were
      securities, denying market participants the opportunity to evaluate the
      specific facts and circumstances related to the transactions in each of those
      assets to determine how such a conclusion may have been reached.
               The status of secondary markets in crypto assets came into even
      greater focus in January 2022, when the SEC proposed a major overhaul
      of Exchange Act Rule 3b-16.288 The proposed amendments would bring


      283 See, infra, Section [IV.B].
      284 In the Matter of Zachary Coburn, S.E.C. Release No. 34-84553 (November 8, 2018).
      285 In the Matter of Poloniex, LLC, S.E.C. Release No. 34-92607 (August 9, 2021).
      286 In the Matter of Zachary Coburn, supra note [284] at 9.
      287 There is no suggestion in the SEC’s complaint that Mr. Coburn was creating a new

      “investment contract” by allowing various crypto assets to be exchanged by third parties
      through the EtherDelta protocol. For an article addressing the status of crypto asset
      exchanges under the federal securities laws, see Michael J. O’Connor, Overreaching its
      Mandate? Considering the SEC’s Authority to Regulate Cryptocurrency Exchanges, 11
      Drexel L. Rev. 539 (2019) (distinguishing between the contractual promises that bind
      issuers of crypto assets, which may result in the formation of an investment contract, and
      the relationship between exchanges and their customers, which are not accompanied by the
      contractual promises of the issuer).
      288 Securities Exchange Act Release No. 94062 (Jan. 26, 2022) (Proposing Release),

      available at https://www.sec.gov/rules/proposed/2022/34-94062.pdf.
                                                 89
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 126 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
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      “Communication Protocol Systems”, a term not formally defined in the
      proposal, within the Exchange Act’s definition of the term “national
      securities exchange”. As a result, an entity deemed to be operating a
      Communication Protocol System that was not registered as a national
      securities exchange under Section 6 of the Exchange Act would be
      required to register with the Financial Industry Regulatory Authority
      (“FINRA”) as a broker-dealer and comply with the SEC’s existing
      Regulation ATS.289 To the extent that the position currently being
      advocated by the SEC were to prevail – i.e., that most crypto assets are
      deemed to constitute either permanent securities (under the “original sin”
      theory) or temporary securities (under the Embodiment Theory), then
      secondary transactions in these assets would be severely constrained. For
      example, many tools used by market participants to exchange crypto assets
      (sometimes referred to as “decentralized exchanges” or “DEXes”) could
      meet the proposed broad definition of Communication Protocol System
      and would likely be required to impose a centralized intermediary
      (eliminating any possibility of operating on a decentralized basis) or find
      a practicable way to exclude or U.S. persons.290
                In this section, we trace the SEC’s approach to the characterization
      of crypto assets and transactions therein outside of the fundraising context
      (i.e., in secondary transactions between parties not directly or indirectly
      involved in the original fundraising scheme). This begins with the SEC’s
      first major statement on the topic, the “When Howey Met Gary (Plastic)”
      speech.291 As noted above, the subsequent Coburn and Poloniex
      enforcement actions did not identify those crypto assets which the SEC
      believed were themselves securities. It was not until 2022 and the Wahi
      complaint that the SEC identified nine specific crypto assets that it alleged
      were securities, even when sold in a transaction that did not involve
      fundraising. Accordingly, we look closely at the arguments asserted there,
      concluding that current Howey jurisprudence does not support the position
      that these assets are securities. This section ends with a look at the policy
      reasons why such a position should not be adopted as a new interpretation
      of Howey.




      289 17 CFR § 242.301, et seq.
      290 See, e.g., Jamie Crawley, Hester Peirce Warns Proposed SEC Reform of Securities
      Trading Platforms Could Threaten DeFi, CoinDesk (Feb. 1, 2022),
      https://www.coindesk.com/policy/2022/02/01/hester-peirce-warns-proposed-sec-reform-
      of-securities-trading-platforms-could-threaten-defi/; ConsenSys Software, Inc., Comment
      Letter on Amendments to Exchange Act Rule 3b-16 Regarding the Definition of
      “Exchange”; Regulation ATS for ATSs That Trade U.S. Government Securities, NMS
      Stocks, and Other Securities; Regulation SCI for ATSs That Trade U.S. Treasury Securities
      and Agency Securities (April 14, 2022), available at https://www.sec.gov/comments/s7-
      02-22/s70222-20123694-279940.pdf- (“We write out of concern that some language in the
      proposed rule may inadvertently designate decentralized systems, such as some of those
      built on Ethereum, as exchanges within the meaning of the Exchange Act of 1934 … if
      those systems are used to transact in cryptocurrencies that are misconstrued as securities.”).
      291 William Hinman, “Digital Asset Transactions: When Howey Met Gary (Plastic)” (June

      14, 2018), available at https://www.sec.gov/news/speech/speech-hinman-061418 (the
      “Hinman Speech”).
                                                   90
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 127 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
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                A.        “Morphing”
                1. The “When Howey Met Gary (Plastic)” Speech

               In the summer of 2018, with ICO mania at full throttle and new
      crypto assets being introduced on a seemingly daily basis, the SEC’s then
      Director of Corporation Finance, William Hinman, gave a speech in which
      he sought to introduce a general framework for determining when crypto
      assets initially sold in a transaction that would be considered an investment
      contract transaction (such as an ICO) could later be offered and sold
      without creating securities transactions.292 Highlighting the challenge in
      this effort, Director Hinman noted that “whether a transaction in a coin or
      token on the secondary market amounts to an offer or sale of a security
      requires a careful and fact-sensitive legal analysis”.
              The specific context of the speech was the rapidly growing interest
      in ether, the native token of the Ethereum network. As discussed in
      Section I, ether is needed to pay the transaction fees to deploy smart
      contract code to the network (known as gas). Similar to patterns seen with
      many other commodities, market participants acquired ether in secondary
      market transactions in anticipation that growing demand for the Ethereum
      network would drive demand (and therefore price) of ether.
              However, it was recognized that if the SEC were to assert that
      ether tokens were securities, the consequences would be quite significant.
      All secondary transactions in ether, regardless of the specific facts and
      circumstances, would then be securities transactions and it would not be
      possible to list ether on the same marketplaces that allowed trading in
      bitcoin and other non-security crypto assets. Numerous other restrictions
      would also apply. Many thought that such a determination could stifle, if
      not destroy, the nascent blockchain industry in the U.S.
               Clearly sensitive to these concerns and eager to carve out a
      position that avoided this adverse outcome without giving a license to the
      rapidly proliferating token sales being used for fundraising, Director
      Hinman stated: “Returning to the ICOs I am seeing, strictly speaking, the
      token – or coin or whatever the digital information packet is called – all
      by itself is not a security, just as the orange groves in Howey were not.”293



      292 Hinman Speech. As is almost universally the case with public discourse by the Staff
      and Commissioners of the SEC, the Hinman Speech included an important disclaimer:
      “The Securities and Exchange Commission disclaims responsibility for any private
      publication or statement of any SEC employee or Commissioner. This speech expresses
      the author’s views and does not necessarily reflect those of the Commission, the
      Commissioners, or other members of the staff.” This disclaimer took on much greater
      import after the defendants in Ripple Labs sought to gain access to internal SEC documents
      relating to the deliberation process that preceded the speech as part of their fair notice
      defense during the discovery phase of S.E.C. v. Ripple Labs, Inc. et al. See S.E.C. v. Ripple
      Labs, Inc. et al., 20-CV-10832 (AT) (SN) (S.D.N.Y. June 15, 2021) .
      293 Id.


                                                  91
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 128 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

               Using an apt example, Director Hinman illustrated the difference
      between a non-security asset and an investment contract transaction
      involving that asset. A housing unit purchased as a residence is not itself
      a security, he observed. However, under certain circumstances, the same
      asset can be offered and sold in a way that causes investors to have a
      reasonable expectation of profits based on the efforts of others (for
      example, as the result of a rental pool agreement also being offered). Thus,
      in these circumstances, whether what is being sold is a residence or a
      crypto asset, where the primary diver of the purchase is not its
      consumptive use and, so long as a common enterprise has been formed
      between the parties to that transaction, the offer and sale of the property
      would likely be considered an investment contract transaction. All this is
      a straightforward application of Howey jurisprudence. Clearly, it is not
      the housing unit that is the “security” in this example, as we saw with
      Hocking. The housing unit is and remains just that – a property interest,
      and not a financial instrument. However, when that property interest is
      sold in a transaction in which all four Howey factors are present, that
      transaction will be a type of securities transaction (that is, an investment
      contract transaction).
               Things become more interesting when Director Hinman
      considered the bank certificates of deposit that were the object of an
      investment contract transaction in Gary Plastic.294 Unlike housing units
      (and crypto assets), certificates of deposit are very much financial assets
      and properly classified as “instruments” – they represent a legal right
      against an identifiable entity (the ability to receive interest at a stated rate
      and a return of principal from the bank that issued the certificate).295
      However, in a separate case, Marine Bank v. Weaver,296 the Supreme Court
      held that, although financial instruments, federally insured bank
      certificates of deposit were not securities for purposes of the Securities
      Acts. This led Director Hinman to observe:
               [W]hen a CD, exempt from being treated as a security …, is sold
               as a part of a program organized by a broker who offers retail
               investors promises of liquidity and the potential to profit from
               changes in interest rates, the Gary Plastic case teaches us that the
               instrument can be part of an investment contract that is a
               security.297
      This is exactly right: the object of the investment contract transaction in
      Gary Plastic was a type of financial instrument that entitled the original
      owner – as well as any transferee of the owner – to specifically identifiable
      rights against the bank issuer. More importantly, the separate promises


      294 Gary Plastic Packaging Corporation v. Merrill Lynch Pierce Fenner & Smith Inc., 756

      F.2d 230 (2d Cir. 1985).
      295 See, infra, text at note [131].
      296 Marine Bank v. Weaver, 455 U.S. 551 (1982).
      297 Hinman Speech (emphasis added).


                                                92
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           Electronic copy available at: https://ssrn.com/abstract=4282385
Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 129 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

      made by Merrill Lynch for the benefit of its customers were clearly
      defined in a “Money Market Information Bulletin”, the key provisions of
      which the court set out in detail in its decision. There is no suggestion in
      Gary Plastic that a non-customer of Merrill Lynch who bought a bank
      certificate of deposit previously in the program but without any of the
      express additional rights provided by Merrill Lynch would own a
      “security”. As a result, market participants always had an objective and
      observable means of determining whether they were engaging in an
      investment contract transaction.
               However, this comparison to Gary Plastic led Director Hinman to
      state that “the same reasoning applies to digital assets”, concluding that a
      [crypto] asset itself “can be, … and most often is, a security – because it
      evidences an investment contract.” This approach can be viewed as a
      laudable attempt to balance competing policy goals. On the one hand, this
      allowed Director Hinman to clear the air on the questions swirling around
      use of the Ethereum blockchain at the time by confirming that secondary
      transfers of ether tokens in the present day were not investment contract
      transactions. On the other hand, this also allowed Director Hinman to
      avoid unequivocally stating that ether tokens were simply “not securities”,
      something that would have likely been perceived as a potential “opening
      of the floodgates” to all sorts of questionable new crypto assets that may
      have been initially sold in unregistered investment contract transactions in
      violation of Section 5 of the Securities Act and then traded in true
      secondary transactions before the original violations could be addressed
      by the SEC’s enforcement staff.
               If it had been left there, this would have been an effective and
      practical means of addressing the immediate issue. In hindsight, though,
      the analogy to the Gary Plastic case was an unfortunate reference point to
      build from. No case law was cited in the speech for the proposition that a
      non-financial asset can “evidence” an investment contract. In fact, a
      review of the case law demonstrates that this is not something found
      elsewhere in the entirety of Howey appellate jurisprudence.
               Yet, in the absence of a more appropriate solution from
      Congress,298 this concept has gone on to become a backbone of the SEC’s
      approach to enforcement in the area of crypto assets and introduced the
      idea that a crypto asset can transition (commonly referred to as
      “morphing”) from something that evidences an investment contract to
      something that does not. The speech goes on to develop this idea further,
      stating:
               [T]his also points the way to when a digital asset transaction may
               no longer represent a security offering. If the network on which


      298Subsequent to the speech, Congress has indeed taken up the mantle of addressing the
      legitimate policy concerns that may have originally driven Director Hinman’s approach to
      applying the Securities Acts to crypto assets. See Section V, infra.
                                                93
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 130 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

                the token or coin is to function is sufficiently decentralized –
                where purchasers would no longer reasonably expect a person or
                group to carry out essential managerial or entrepreneurial efforts
                – the assets may not represent an investment contract. Moreover,
                when the efforts of the third party are no longer a key factor for
                determining the enterprise’s success, material information
                asymmetries recede. As a network becomes truly decentralized,
                the ability to identify an issuer or promoter to make the requisite
                disclosures becomes difficult, and less meaningful.299
                By retrospectively applying this new concept of “sufficient
      decentralization” to the Ethereum blockchain network, it was not
      necessary or relevant for Director Hinman to explain how market
      participants could determine the moment in time when other crypto assets
      might “morph” from a security to a non-security – something critical to
      third parties’ ability to comply with the Securities Acts with respect to
      those assets. The introduction of the morphing concept subsequently gave
      rise to a near obsessive focus in the crypto asset community on the idea of
      a blockchain network or dApp becoming “sufficiently decentralized” as
      the skeleton key for unlocking the Holy Grail of “non-security” status for
      the related crypto asset.300
              However, the absence of any case law authority for the idea that a
      non-financial asset that was initially treated as a security could later
      “morph” into a non-security based upon events extrinsic to the asset lead
      to a multitude of theories, ideas, and conjectures among members of the
      bar seeking to provide guidance to their clients. This leaves crypto asset
      market participants without an objective and observable means of
      determining with any reasonable certainty when and under what
      circumstances such a morphing “out of” security status might occur. It
      also left open the very real issue of what market participants were
      supposed to do to monitor whether a given crypto asset might later “return
      to” security status (a possibility clearly left open by the morphing
      hypothesis).301



      299 Id. (emphasis added).
      300  See, e.g., Blockchain Association, “Understanding the SEC’s Guidance on Digital
      Tokens: The Hinman Token Standard” Jan. 10, 2019, available at
      https://blockchainassoc.medium.com/understanding-the-secs-guidance-on-digital-tokens-
      the-hinman-token-standard-dd51c6105e2a.
      301 Notwithstanding the absence of any relevant jurisprudence applicable to “sufficient

      decentralization” in the context of federal securities law, a number of thoughtful attempts
      to elaborate on this concept have been made. See, e.g., Gabriel Shapiro, “Defining
      Decentralization for Law”, April 15, 2020, available at https://lex-
      node.medium.com/defining-decentralization-for-law-58ca54e18b2a;           Marc      Boiron,
      “Sufficient Decentralization: A Playbook for web3 Builders and Lawyers”, available at
      https://variant.fund/wp-content/uploads/2022/08/Sufficient-Decentralization-by-Marc-
      Boiron.docx.pdf; and Jesse Walden, “Progressive Decentralization: A Playbook for
      Building Crypto Applications”, available at https://a16z.com/2020/01/09/progressive-
      decentralization-crypto-product-management/.
                                                 94
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 131 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

               Illustrating these issues, the Web3 Foundation recently announced
      that they believe DOT, the native cryptoasset to the Polkadot blockchain
      network, has morphed into something other than a security as of the three-
      year anniversary of their initial outreach to FinHub at the SEC regarding
      the status of DOT.302 The vision for Polkadot never contemplated DOT
      being a security, but the team understood that the SEC was likely to view
      DOT as a security. The team also wanted to do anything they could to
      ensure DOT was or became a non-security in the eyes of the SEC, so they
      began a process of engagement with the SEC in order to reach that goal.
      Eventually, after three years of engagement, the Web3 Foundation was
      comfortable announcing that DOT had morphed from security to non-
      security.

               While the Web3 Foundation likely never viewed DOT as a
      security, the implication of this announcement is that the SEC did, and,
      since the SEC has not commented, we do not know whether they still do
      or whether they agree that DOT has morphed from security to non-
      security. This is practically unworkable because it does not provide
      market participants with a reliable basis to treat DOT as a non-security.
      An announcement from a sponsor entity that a crypto asset is no longer a
      security without confirmation from the SEC that they agree does not
      assuage regulatory concerns for those engaging in transactions in the
      crypto asset. Given that failure to register as either a broker, dealer, or
      exchange are strict liability violations of the Exchange Act and the
      obligation to register is triggered by activities involving securities, it is of
      critical importance that market participants have clear means of
      determining when a crypto asset is or is not a security.

               Nevertheless, since most of enforcement actions at the time had
      properly related to addressing issues in ICO-era fundraising transactions
      that were conducted in violation of Section 5 of the Securities Act, the
      bellicose statements from the SEC about most crypto assets being
      securities, even if sold by third parties in secondary transactions, has
      generally not been examined closely by legal scholars.303
               2. The Response to XRP Holders’ Motion to Intervene in SEC
                  v. Ripple Labs, Inc., et al.

              In connection with their litigation with Ripple Labs, the SEC was
      required to respond to the request to intervene raised by the XRP Holder
      Motion. A large group of holders of XRP tokens, aggrieved as to the price

      302 See Web3 Foundation Team, Less Trust, More Truth: Polkadot’s Native Token (DOT)
      Has Morphed and Is Not a Security. It Is Software., Medium (November 4, 2022), available
      at https://medium.com/web3foundation/less-trust-more-truth-polkadots-native-token-dot-
      has-morphed-and-is-not-a-security-b2a8847a70cc.
      303 Until the Wahi Complaint, the SEC had not brought an enforcement action directly

      alleging that a secondary transaction in an identified crypto asset itself constituted a
      securities transaction. Prior to the Wahi Complaint, the only SEC-led enforcement cases
      with respect to secondary transactions in crypto assets had involved non-litigated consent
      orders with intermediary entities that had facilitated trading of one or more unidentified
      crypto assets that the SEC deemed securities without further analysis.
                                                 95
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 132 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                    Do not cite in academic work without authors’ consent

      declines resulting from the sudden unavailability of XRP in U.S.
      marketplaces, initially sought to sue the SEC for their losses. When that
      attempt failed, they tried a new approach to getting their grievances against
      the SEC heard in court – they attempted to interplead in the case as
      defendants.
                In doing so, in addition to making many of the expected arguments
      (e.g., the need for prosecutorial discretion), the SEC also addressed its
      view with respect to the nature of secondary transactions in crypto assets
      originally sold in an investment contract transaction.304 Similar to the
      approach taken in the Hinman Speech, the SEC wrote in their response
      that the security at issue in its litigation with the Ripple Defendants was
      not XRP, the crypto asset, but rather all the facts and circumstances
      surrounding the crypto asset and the manner in which XRP was initially
      offered and sold, asserting that the XRP token “is the embodiment of those
      facts, circumstances, promises, and expectations and today represents that
      investment contract.”305 Notably, the SEC cited no case law in support of
      this novel “embodiment” theory.
               The SEC’s Embodiment Theory is, however, inconsistent with
      post-Howey appellate jurisprudence and presents likely insurmountable
      difficulties for market participants in the U.S. seeking to buy, hold or sell
      crypto assets.      As discussed above, the Howey test is applied
      retrospectively and intended to address circumstances in which parties to
      an ostensibly commercial transaction have direct dealings with each other
      and thus are aware of both contractual and non-contractual circumstances
      relevant to the Howey analysis. In contrast, the purchaser of a crypto asset
      in a secondary market transaction (e.g., whether on a centralized or
      decentralized exchange) has no way of knowing or determining all of the
      “facts, circumstances, promises, and expectations” might be deemed by a
      court in hindsight to be “embodied” in any given crypto asset, many of
      which may not be matters of the public record and capable of discovery
      by third parties.
               Unlike assets which constitute instruments (including what we
      refer to as “securities equivalents”306), where all relevant legal
      characteristics can be examined by a buyer or seller solely through the
      review of definitive written documentation, the “facts and circumstances”
      related to the finding of a constructive legal relationship that is imputed
      onto parties in direct dealings with each other under Howey’s “investment
      contract” doctrine when applied to investment schemes are not capable of


      304 Memorandum of Law in Opposition to Motion to Intervene, S.E.C. v. Ripple Labs, Inc.
      et al., No. 20-10832 (S.D.N.Y. May 3, 2021), ECF No. 153 (the “Ripple Labs
      Memorandum of Law”).
      305 Id. (emphasis in original). This “embodiment” hypothesis differs from the position

      taken by the SEC in the Ripple Labs Complaint, where the very first line states: “From at
      least 2013 through the present, Defendants sold over 14.6 billion units of a digital asset
      security called ‘XRP’ … ”.
      306 See, infra, text at note [131].


                                                 96
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 133 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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      being determined with certainty on an ongoing basis by persons not part
      of the original scheme.307
               Moreover, not only has the SEC not provided any means for third
      parties to “weigh” the relevance of various facts that may suggest that an
      original transaction met the Howey test against other facts that may suggest
      the contrary, such a weighting scheme is simply impossible to construct
      based on the diverse approaches taken by courts around the country over
      the past 70 years.
               This is compounded by the reality that many relevant “facts and
      circumstances” may be private matters between the original parties and
      not capable of discovery by third parties who lack the SEC’s subpoena
      power to access e-mail messages, Discord servers, and intra-company
      Slack channels (holding aside the rather obvious problem that these facts
      and circumstances are constantly changing and third parties seeking to
      own, use and transfer crypto assets do not have the economic resources or
      incentive to constantly monitor this information). Finally, Hocking and
      other cases teach us that the evaluation of whether an investment contract
      transaction is present must be made at the time the transaction takes place.
      Thus, to correctly apply Howey, a party would have to make their
      evaluation at the time each specific transaction takes place.
               With the embodiment theory, the SEC is ignoring the correct
      application of Howey to each transaction and attempting to create a de
      facto presumption that all (or most) crypto assets are themselves
      investment contracts in the same way that “notes” are presumed to be
      securities. A note is presumed to be a security because it is enumerated as
      a type of security in both Securities Act (that presumption may be rebutted
      for notes entered into for certain commercial and personal purposes, which
      are excluded from the coverage of the securities laws).308 In addition, a
      note is itself is legally enforceable of the relevant the issuer – a readily
      determinable person or entity. The issuer is the one responsible for
      making payments in accordance with the written promise to pay set forth
      in the note. If the issuer does not meet its payment obligations under the
      note, the holder of the note can present the note in court as evidence of
      those obligations and seek the remedies available under the circumstances.


      307
        The SEC recently revalidated in this point in its Memorandum of Law in Support of its
      Motion for Summary Judgement in S.E.C. v. Ripple Labs, Inc. (Oct. 21, 2022), writing: “

               The use of [the words “transaction” and “scheme” in Howey] contemplates that
               “the security not be formed of one neat, tidy certificate, but [by] a general
               ‘scheme’ of profit seeking activities.” Hocking v. Dubois, 885 F.2d 1449, 1457
               (9th Cir. 1989). Thus, courts have held that in applying Howey a ‘written
               contract does not control.’ Baroi v. Platinum Condo Dev., LLC, 914 F. Supp. 2d
               1179, 1192 (D. Nev. 2012) (citing Hocking, 885 F.2d at 1457).

      Pl. Mem. of Law in Opp’n to Def. Mot. for Summ. J at 17, S.E.C. v. Ripple Labs, Inc. (20
      CIV. 10832 (AT)(SN)) (Oct 21, 2022).
      308 Reves v. Ernst & Young, 494 U.S. 56 (1990).


                                                97
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 134 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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               But crypto assets are not in the enumerated list of instruments in
      the definition of security and are very different than notes. Crypto assets
      are not written instruments that set forth the obligations of an issuer and
      the rights of a holder. Instead, crypto assets are merely strings of numbers
      that allows the person controlling the private key associated with the
      public blockchain address to which some number of the crypto assets are
      credited to interact with the relevant blockchain. Crypto assets do not
      generally provide the holder with specific legally enforceable rights and
      they do not impose obligations on an identifiable issuer.
               Under these circumstances, there is no legal or logical basis for a
      presumption that crypto assets are securities. Instead, one must evaluate
      the facts and circumstances of each transaction in which a crypto asset is
      transferred to determine whether that transaction should be treated as an
      investment contract and subject to securities law compliance. To presume
      that crypto assets are all securities would require a legislative change
      recognizing crypto assets as a new category of issuer-independent
      securities and setting forth how such a presumption can be rebutted and by
      whom.
               3. The Embodiment of Rights Under Law

               Unlike the Embodiment Theory with respect to crypto assets and
      federal securities law, in other areas, a well-developed concept of the
      “embodiment” of rights under law does exist. For example, state
      commercial law provides for certain documents, such as “chattel paper” to
      embody rights. This formal embodiment concept results from centuries of
      common law developed by judges, codified over decades by state
      legislatures in the Uniform Commercial Code and other statutes.309
               4. Conclusion

                The SEC’s morphing hypothesis, if adopted, could also be
      devastating for intermediaries involved in crypto asset transactions. In
      particular, because many elements of federal securities law impose strict
      liability on those who violate them (for example, operating an unregistered
      exchange for the transfer of securities or acting as an unregistered “broker”
      or “dealer” in securities), if a court were to adopt and apply the SEC’s
      Embodiment Theory to secondary transactions in crypto assets, third
      parties dealing in such crypto assets might face significant consequences
      and penalties without ever having notice of the facts, circumstances,
      promises, and expectations giving rise to a determination that a particular
      asset is in hindsight deemed to “embody” a security.




      309See, Thomas H. Jackson (1983) “Embodiment of Rights in Goods and the Concept of
      Chattel Paper”, UNIVERSITY OF CHICAGO LAW REVIEW, Vol. 50: Iss. 3, Article 3 (1983),
      available at https://chicagounbound.uchicago.edu/uclrev/vol50/iss3/3/.
                                               98
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 135 of 215
                       DISCUSSON DRAFT: NOVEMBER 10, 2022
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                B.     The Wahi Complaint and the Common Enterprise
                Problem
               The Wahi Complaint was filed by the SEC in July 2022 in
      conjunction with a related criminal indictment filed by the U.S.
      Department of Justice.310 The Wahi Complaint provided the first insights
      into the SEC’s reasoning as to why specifically enumerated crypto assets
      were themselves “crypto asset securities”. Rather than following the well-
      settled jurisprudence and applying the Howey test to an identified
      “contract, transaction or scheme”, the Wahi Complaint instead states flatly
      that the defendants “traded in securities subject to federal securities law
      because these crypto assets were investment contracts”, going on to state
      that these assets “were offered and sold to investors who made an
      investment of money in a common enterprise, with a reasonable
      expectation of profits to be derived from the efforts of others”.311
              Similar to complaints filed by the SEC against fundraising sellers
      of crypto assets in well-understood investment contract transactions, in the
      Wahi Complaint the SEC asserts:
                         [E]ach of the nine crypto asset securities were offered and
                sold by an issuer to raise money that would be used for the issuer’s
                business. In the offerings, the issuers directly sold crypto asset
                securities to investors in return for consideration …. The crypto
                asset securities then were issued and distributed to the investors’
                blockchain addresses. [T]he issuers and their promoters solicited
                investors by touting the potential for profits to be earned from
                investing in these securities based on the efforts of others. These
                statements focused on, among other things, the value of the token
                at issue and the ability for investors to engage in secondary trading
                of the token, with the success of the investment depending on the
                efforts of management and others at the company. … [E]ach of
                the nine companies that offered these crypto asset securities and
                their promoters further emphasized, among other things, their
                efforts to get their crypto asset securities listed on secondary
                trading platforms, and the critical role that executives and others
                at the company played in turning the company into a success,
                thereby increasing the value of the crypto asset security. In other
                words, each of the nine companies invited people to invest on the
                promise that it would expend future efforts to improve the value
                of their investment.312
               The Wahi Complaint refers to the above as the “hallmarks” of the
      definition of a security without further explanation as to how they reach
      this conclusion. It would appear that the SEC’s theory is that the mere

      310 See Sealed Indictment, United States v. Wahi, No. 22 Crim. 392 (S.D.N.Y. filed Jul. 21,
      2022).
      311 Wahi Complaint at p. 21 (emphasis added).
      312 Id. at p. 22.


                                                 99
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 136 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
                     Do not cite in academic work without authors’ consent

      purchase of a crypto asset that was sold in an original investment contract
      transaction,313 even if only very briefly held (as was the case in the
      purchases by the defendants in Wahi Complaint), is sufficient to put the
      asset holder in the position of being in a “common enterprise” with the
      original asset seller and that this relationship would be sufficient to support
      a finding that the crypto asset itself is a security.
               As discussed above, this position relies on a court adopting the
      SEC’s Embodiment Theory (since purchasers and sellers of crypto assets
      in secondary transactions are not providing funding to the original asset
      seller). Moreover, before radically expanding 70 years of Howey
      jurisprudence to embrace such a theory and creating a risk of violations of
      federal law due to strict liability regimes, it is incumbent both on the SEC
      and any court considering the matter to take into account how such a
      theory would be applied as a practical matter and how market participants
      would be able to determine at any point in time whether a given crypto
      asset did, or did not, “embody” a particular scheme.
              At the conclusion of this Article, we suggest an alternative and
      substantially more practical way of achieving the SEC’s desired policy
      outcome.

                C.    Why the Idea of a Security “Morphing” and the
                Embodiment Theory Should Not Be Adopted
              As noted above, it is perfectly appropriate for the SEC to propose
      new conceptual approaches to changes brought on by technology-driven
      developments, especially where the relevant enabling statutes (the
      Securities Acts) have a recognized remedial purpose. However, the
      Embodiment Theory would not only change existing law, it would also
      upset the delicate balance currently present in the construction of the
      Securities Acts. As we have observed, “investment contract” is a status
      imposed in retrospect by a court on a purportedly commercial transaction
      to remediate an attempt by one of the parties to circumvent required
      compliance with the Securities Acts. As a remedial provision intended to
      address prior wrongdoing, the inherent uncertainties of the precise
      application of the Howey test to any given situation are generally
      considered an acceptable trade-off for the protections it provides to the
      unwary.
               However, applying the same approach to secondary transactions
      in non-financial assets creates a completely new set of incentives and risks.
      Rather than simply imposing a high degree of diligence on a single party
      indirectly raising money or inducing participation in a questionable
      business venture, adopting the Embodiment Theory would impose nearly
      insurmountable burdens on virtually all market participants dealing with

      313 An assertion not able to be disputed by the asset sellers in question since these entities

      were not named parties in the Wahi Complaint.
                                                  100
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 137 of 215
                        DISCUSSON DRAFT: NOVEMBER 10, 2022
                     Do not cite in academic work without authors’ consent

      crypto assets, since in order to ensure compliance with the Securities Acts
      an assessment of whether a given crypto asset is at the time – in fact, the
      exact moment – of the secondary transaction in fact “embodying” an
      investment scheme would need to be made. It appears that the SEC’s
      response to this concern is that, at the moment, the vast majority of crypto
      assets “embody” an investment scheme and so market participants should
      just assume all crypto assets are “securities” to be on the safe side.
                We do not believe that this is an adequate or appropriate position.
      Even if the Embodiment Theory were to be adopted, it is not at all clear
      that, if a properly presented case with a full fact finding were to be brought
      before a court that the court would agree that there was an ongoing
      investment scheme of the type contemplated by the Howey test.314
                Moreover, it is widely recognized that developments in the crypto
      asset space are happening very quickly315 and the state of affairs that might
      give rise to a conclusion that a given crypto asset does “embody” an
      investment scheme could change at any time (and in either direction – with
      the relevant morphing being out of, but potentially also into, “security
      status”316), making the entire process beyond unwieldy. Add to this, a
      variety of facts relevant to a full determination of the matter under the
      Howey case law will likely not be known (or knowable) to the general
      public, users of crypto assets, and other market participants, such as those
      facilitating exchanges of these assets or custodying the assets for users.
      These persons have no way to require sponsors of projects to disclose the
      relevant private information about their involvement in a project to them.
      Although this is not an issue in primary transactions where the parties are
      dealing directly with each other, in a secondary transaction, without access
      to this private information, market participants are left to guess about
      whether a given token does, or does not, embody a scheme at a particular



      314 In the Wahi Complaint, for reasons unclear, the SEC only claimed that nine of the 25
      total crypto assets it said were traded by the defendants were “crypto asset securities”. (The
      SEC has previously used the term “digital asset securities” for crypto assets it maintains
      “are” securities. It is unclear if this change in nomenclature is intended to have substantive
      significance.) There is some uncertainty as to the overlap between the remaining unnamed
      assets referred to in the SEC’s complaint and those covered by the Department of Justice
      in the related criminal complaint. We note that, in our survey of appellate cases, a
      significant majority were determined by the court not to involve an investment scheme
      under Howey. See Section [II.A.4] infra.
      315 See, e.g., BNY Mellon, “Digital Assets: From Fringe to Future”, September 2021,

      available at https://www.bnymellon.com/us/en/insights/all-insights/digital-assets-from-
      fringe-to-future.html (“Just as traditional markets have evolved by means of collaboration
      among stakeholders, we believe the same must be true for crypto assets, albeit more
      quickly. Decentralization is a built-in feature of the distributed technologies that underly
      crypto assets. … This new ecosystem, which must be grounded in both trust and
      innovation, will provide significant opportunities for growth.”).
      316 See, e.g., Frederick Munawa, “What’s at Stake: Will the Merge Turn Ether into a

      Security?”          (CoinDesk            Aug.       10,       2022)         available       at
      https://www.coindesk.com/tech/2022/08/10/whats-at-stake-will-the-merge-turn-ether-
      into-a-security/.
                                                  101
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 138 of 215
                          DISCUSSON DRAFT: NOVEMBER 10, 2022
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      time. Given that the Securities Acts provide for strict liability for
      violations of various provisions, this is simply an unacceptable result.
              Finally, in a similar context considering whether a subjective test
      should be applied when the security in question was 100% of the shares of
      stock in a business being sold, the Supreme Court expressly rejected an
      analogous “morphing” concept, stating:
                           More importantly, however, if applied to this
                  case, the sale of business doctrine would also have to be
                  applied to cases in which less than 100% of a company’s
                  stock was sold. This inevitably would lead to difficult
                  questions of line drawing. The Acts’ coverage would in
                  every case depend not only on the percentage of stock
                  transferred, but also on such factors as the number of
                  purchasers and what provisions for voting and veto rights
                  were agreed upon by the parties. As we explain more
                  fully in Gould v. Ruefenacht, … decided today as a
                  companion to this case, coverage by the Acts would in
                  most cases be unknown and unknowable to the parties at
                  the time the stock was sold. These uncertainties attending
                  the applicability of the Acts would hardly be in the best
                  interests of either party to a transaction. Cf. Marine Bank
                  v. Weaver, 455 U.S. at 455 U. S. 559, n. 9 (rejecting the
                  argument that the certificate of deposit at issue there was
                  transformed, chameleon-like, into a “security” once it
                  was pledged).317

      V.          THE PROBLEM AND A SOLUTION

                  A.    The Inadequacy of the Current Regulatory
                  Framework for Secondary Markets in Crypto Assets
               If most crypto assets are not securities, then the most likely
      categorization of these assets would be as “commodities” under the CEA.
      However, under current law, spot transactions in commodities are subject
      only to limited oversight by the CFTC as, historically, such spot
      transactions have generally been wholesale commercial transactions (such
      as direct trade in crude oil, wheat, or pork bellies) and not practically
      available to the retail market (and certainly not through anonymous, order
      book-based trading platforms that provide analogous services as
      traditional securities intermediaries).
               Although centralized crypto asset marketplaces are required to
      register with the Financial Crimes Enforcement Network, a bureau of the
      U.S. Department of the Treasury, as money service businesses and obtain
      state money transmission licenses in those states in which they operate (to

      317   Landreth Timber Co. v. Landreth, 471 U.S. 681, 696 (1985) (emphasis added).
                                                   102
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 139 of 215
                           DISCUSSON DRAFT: NOVEMBER 10, 2022
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      the extent so required), this regulation is designed for those businesses
      temporarily entrusted with customer funds and focuses mainly on the
      safety and soundness of the “money transmitter” and their adoption and
      implementation of the broad anti-money laundering and know-your-
      customer requirements found in the Bank Secrecy Act. Left unaddressed
      are matters relating to the fairness and integrity of the marketplaces
      themselves, including prohibitions on manipulative behavior by the
      marketplace operators and participants and addressing the inevitable
      conflicts of interest that arise from trading businesses.
               Also lacking are requirements that persons or entities that raised
      money in a private fundraising sale of crypto assets (and thus not required
      to register the sale with the SEC) provide any ongoing disclosures to the
      marketplaces about their continued involvement with the project.
      Although there may not be a legally enforceable obligation on the part of
      a project sponsor to utilize the proceeds raised in a fundraising sale for a
      particular purpose, owners of crypto assets do indeed often rely on a select
      group of individuals to cause a project to grow and develop, thus driving
      up demand for the crypto asset and, most likely, the asset’s price.

                   B.        Legislative Responses
               A number of important pending legislative initiatives in Congress
      aim to address these gaps.318 Bills looking at these issues from the
      commodities perspective have emerged from both the Senate and the
      House. The Digital Commodities Consumer Protection Act of 2022 (the
      “DCCPA”), introduced in August 2022 by Senators Debbie Stabenow,
      Chairwoman of the Senate Committee on Agriculture, Nutrition, and
      Forestry, and John Boozman, Ranking Member, along with Senators Cory
      Booker and John Thune, would give the CFTC new tools and authorities
      to regulate crypto asset commodities and would go a long way toward
      filling the current regulatory gap. However, in its current form, this bill
      does not provide a practical framework that would allow market
      participants to distinguish crypto assets that are securities from those that
      are not.
               The DCEA, re-introduced in April 2022 by members of the House
      Agriculture Committee, would create a definition of “digital commodity”.
      Consistent with our discussion above concerning the proper application of
      Howey jurisprudence to crypto assets, this definition would exclude crypto
      assets which purport to create obligations between an issuer and the holder
      of the asset. This definition does not contemplate “morphing” through
      some form of decentralization, as posited by the SEC. The DCEA
      definition of digital commodity is focused solely on the potential
      obligations between the issue and the holder.



      318   Pending legislation with respect to stablecoins is beyond the scope of this Article.
                                                    103
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 140 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
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              Spot transactions in digital commodities would then fall within
      under the CFTC’s regulatory regime. The DCEA would also create a new
      regulatory framework for digital commodity developers, dealers, and
      exchanges. In the event of a “digital commodity presale” when a
      developer delivers a digital commodity as part of a securities offering,
      holders of such pre-sold digital commodities would only have limited
      options for secondary sale, among which they could sell on a digital
      commodity exchange registered with the CFTC. “Presold digital
      commodity tokens” generally would include those received by an early
      investor, those given to developers (or relatives thereof), or those reserved
      for a development foundation. Generally, those tokens received by
      individuals or entities which can be considered “insiders”. A registered
      digital commodity exchange would be subject to a self-certification
      process in order to list new digital commodities for trading.
               Between the introduction of these two bills, Senators Cynthia
      Lummis and Kirsten Gillibrand announced the introduction of the
      Lummis-Gillibrand Responsible Financial Innovation Act (the “RFIA”).
      The RFIA provides a comprehensive and holistic approach to crypto asset
      activity and would tackle many of the issues arising at the intersection of
      traditional financial regulation and crypto assets, including taxation,
      custody, consumer protection, commodities regulation, and securities
      regulations, among other things.
              The RFIA also takes an approach to providing a legislative answer
      to the question of when transactions involving crypto assets will be
      governed by federal securities law and when the federal commodities laws
      properly apply and has similarities to the current form of the DCEA. In
      particular, Title III of the RFIA addressees the information asymmetry
      concerns raised by the SEC by imposing new SEC-governed disclosure
      obligations on companies that raise funds through the sale of crypto assets,
      even where the funds were raised in private placement transactions.
               The RFIA introduces a new term, “ancillary asset” and various
      additional related provisions to what would be a new Section 41 of the
      Exchange Act to create a disclosure regime tailored to the needs of users
      of crypto assets. The term “ancillary asset” in the RFIA is used to describe
      a fungible intangible asset (which is not necessarily a crypto asset) that is
      offered, sold or otherwise provided to a person in connection with the
      purchase and sale of an “investment contract” , but which does not provide
      the holder of the asset with: (i) a debt or equity interest in that entity, (ii) a
      profit or revenue share derived from that entity, (iii) an entitlement to an
      interest or dividend payment from that entity, (iv) a profit or revenue share
      in that entity derived solely from the entrepreneurial or managerial efforts
      of others, or (v) any other financial interest in that entity.
               The concept of “ancillary assets” in the RFIA allows statutory law
      to align better with existing Howey jurisprudence by providing a clear way
      of distinguishing between assets sold in investment contract transactions

                                               104
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 141 of 215
                          DISCUSSON DRAFT: NOVEMBER 10, 2022
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      which are not otherwise “securities”, and the transactions by which these
      assets are sold, which sometimes are. The large majority of major crypto
      assets currently in the market would likely be considered “ancillary assets”
      under the RFIA, since very few of these assets provide the holder with
      equity or debt-like rights in a separate “business entity” – they simply
      allow for instructions to be given to a network of computers.
               The proposed new Section 41 of the Exchange Act would
      introduce a presumption that ancillary assets are not “securities”. For a
      seller of ancillary assets (and certain of its affiliates) this presumption is
      conditional – for those persons to benefit from it, the seller must be in
      compliance with the above-mentioned tailored disclosure requirements, to
      the extent that they are applicable. On the other hand, persons simply
      using the relevant crypto assets and not otherwise affiliated with the asset
      seller are provided with an unconditional presumption that the ancillary
      asset is not a “security”, promoting liquidity but also bringing these assets
      within the newly expanded jurisdiction of the CFTC, which in Title IV of
      the RFIA is given jurisdiction over spot markets in fungible crypto assets.
      With the CFTC in charge of secondary markets in most crypto assets319
      and the SEC charged with overseeing the disclosure regime applicable to
      sellers of crypto assets, the RFIA seeks to balance the competing policy
      concerns in a way that provides much enhanced protections to the market
      while allowing offering technologists seeking to build new projects in the
      U.S. a viable path forward.
               At the same time, the RFIA recognizes that there is a broad design
      space available when crypto assets are created. Where a crypto asset does
      create (or at least purports to create) actual legal rights that can be enforced
      in a traditional judicial proceeding (as would be the case with equity or
      debt rights), then the parties would need to carefully consider whether a
      “security” had been created. This determination is left to existing Howey
      and related jurisprudence.
               Under the RFIA, if a company with jurisdictional ties to the U.S.
      offers, sells, or otherwise executes investment contract transactions that
      provide their counterparty with an “ancillary asset”, that company will be
      subject to the periodic disclosure requirements targeted at the asset sold
      and the involvement of the seller beginning on the date that is 180 days
      after the first date on which the investment contract is offered, sold, or
      otherwise provided by the company. However, the disclosure is
      conditional upon there being an active trading market for the asset and the
      seller (or certain affiliated entities) remaining the driving force in
      determining the value of the relevant assets. Said differently, the
      disclosure obligations under the RFIA continue until the project to which
      the relevant assets relate is “sufficiently decentralized”. Every six months
      this is tested again and when the seller entities are no longer actively


      319   How the CFTC would do this is outside the scope of this Article.
                                                   105
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 142 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                   Do not cite in academic work without authors’ consent

      involved, the requirement for them to provide disclosure to the market
      ceases.
               Although this Article does not endorse any of these legislative
      initiatives on their own, we do believe that these three legislative
      initiatives, taken together, form a strong starting point for a discussion of
      potential federal regulation of crypto asset marketplaces and uses that is
      wholly consistent with the conclusions of our work. Critically, it is the job
      of Congress, not unelected regulators, to balance the competing policy
      considerations and craft a solution that would address the current absence
      of required disclosures by crypto asset-based project sponsors necessary
      for fulsome consumer protection, without taking the untenable position
      that most tokens are themselves securities.
              Such legislation could bring crypto asset marketplaces under a
      coordinated federal regulatory umbrella and ensure that these
      marketplaces had a level of oversight and supervision similar to other
      “designated contract markets” for commodity interests. In addition, by
      distinguishing between the “contract, transaction, or scheme” comprising
      an investment contract transaction, and the crypto asset sold as the
      “object” of that scheme, new legislation would codify existing
      jurisprudence while balancing the real need to protect consumers through
      added disclosure. This would provide a practical and balanced solution to
      a very real and expensive problem for participants in the crypto asset
      sector.
              We are encouraged by the steps taken by Congress in 2022 and
      look forward to seeing an ongoing and transparent dialogue with all
      stakeholders as all of the work that has been done, together with significant
      and constructive work undertaken elsewhere in Congress (most notably
      the bi-partisan efforts made in the House Financial Services Committee to
      address the issuance, holding and use of stablecoins) eventually crystalize
      into one or more laws that set the U.S. on a course for sustainable
      leadership in the use of crypto assets.

      VI.      CONCLUSION

               Securities regulators in the U.S. have attempted to address the
      many issues raised from the advent of crypto assets through a range of
      policy statements and enforcement actions, generally through an
      application of the Howey test to transactions in these assets. However, in
      their understandable efforts to protect those who have been the direct or
      indirect victims of fraudulent or misleading fundraising schemes utilizing
      crypto assets, regulators have gone beyond current jurisprudence to
      suggest that most fungible crypto assets are themselves “securities”, a
      position that would provide them with jurisdiction over nearly all activity
      taking place with these assets.



                                               106
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            Electronic copy available at: https://ssrn.com/abstract=4282385
Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 143 of 215
                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                   Do not cite in academic work without authors’ consent

               As we have demonstrated, there is no current basis in the law
      relating to “investment contracts” to classify most fungible crypto assets
      as “securities” when transferred in secondary transactions because an
      investment contract transaction is generally not present and these assets
      neither create nor represent the necessary cognizable legal relationship
      between an identifiable legal entity on the one hand and the owner of the
      crypto asset on the other that is the hallmark of a security.
               Although it is perfectly appropriate for securities regulators to
      suggest new approaches to new “devices” that fall within their remit, we
      have endeavored to show that there are strong policy reasons against
      judicially or legislatively adopting the Embodiment Theory and the idea
      of securities “morphing” into and out of being a “security” due to the
      uncertainty it would bring to the marketplace and the near-impossible duty
      it would impose on market participants to constantly monitor changes to
      the “facts and circumstances” that might result in a court asserting that a
      given investment scheme was ongoing and “embodied” in a crypto asset.
      This would greatly disadvantage market participants in the United States
      in light of the regulatory approaches being taken in other major
      jurisdictions around the world. The “morphing” of things should be left
      to Proteus and the stuff of Greek myths – modern market participants
      require an objective and observable means of determining at any particular
      point in time whether they may be engaging in securities activity, i.e.,
      certain rules that are rooted in the more than 70 years of existing Howey
      jurisprudence which can be applied clearly and plainly by good faith
      actors, something the SEC’s current theory would simply foreclose.
               At the same time, the authors acknowledge that changes are
      needed to address legitimate concerns about the protections currently
      available to market participants that own, and trade in, crypto assets.
      Accordingly, the authors argue that this gap should be addressed
      legislatively, through an act of Congress. Aspects of the proposed
      legislation discussed above provide a basis to develop a constructive,
      insightful, and bi-partisan approach to the concerns raised by regulators
      and others and, together, point the way toward a practical solution without
      creating unworkable legal fictions that will inevitably cause the U.S. to
      fall behind the rest of the world in this critical technology infrastructure.




                                               107
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           Electronic copy available at: https://ssrn.com/abstract=4282385
         Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 144 of 215
                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                   Do not cite in academic work without authors’ consent

                                                                                                                          Annex A

                                                  ABOUT OUR SURVEY
         In the course of researching for this Article, we examined whether there might exist jurisprudential
precedents in the United States, particularly in federal appellate courts and the Supreme Court, to support
the suggestion that non-financial assets that are the “object” of an investment scheme but which contain no
contractual terms, such as crypto assets, oranges grove parcels, aging whiskey, animal pelts, and the like,
could themselves be found to be “securities” when sold on the secondary market without an assignment of
the related contractual promises that were a necessary part of the finding of an “investment contract”. In
order to undertake this examination, we identified each federal circuit court and Supreme Court decision320
that raises the question of whether a particular “contract, transaction, or scheme” was an investment
contract. To do this, we compiled a set of every such decision citing to S.E.C. v. W.J. Howey Co. along
with the phrase “investment contract” (in order to isolate investment contract decisions citing to Howey
from those which cite to Howey for other reasons). Additionally, because a handful of relevant cases cite
to United Hous. Found., Inc. v. Forman but not Howey and use the term “common venture” rather than
“common enterprise” we expanded our review to include relevant decisions citing to Forman. In total, we
found 253 relevant federal appellate court decisions and 13 Supreme Court decisions as of November 7,
2022. The following summarizes certain trends and highlights several particularly relevant cases with
respect to crypto assets. A detailed list of all decisions reviewed is set forth in Schedules 1-5.
    SUPREME COURT AND FEDERAL APPELLATE COURT DECISIONS ASSESSING THE EXISTENCE OF AN
                                “INVESTMENT CONTRACT”




 Figure 1: Annual distribution of federal appellate and Supreme Court cases assessing the existence of an
                                           “investment contract”.
        Although the word “investment contract” has been a part of the United States jurisprudential
lexicon since as early as 1868,321 the first published reference to it in our highest court was in 1941 in the
respondent’s argument in Helvering v. Le Gierse, 312 U.S. 531 (1941), which was soon followed by the
primary precursor to Howey, SEC v. C.M. Joiner Leasing Corp., 320 U.S. 344 (1943). Since this time, the

320 We limited our review to federal appellate and Supreme Court decisions both due to practicality (there are at least 1,600 district

court cases on the topic), as well as jurisprudential significance.
321 A LexisNexis search indicates that the first reference of the term was in 1868 in Nicoll v. Mason, 49 Ill. 358 (1868).


                                                                108
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       Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 145 of 215
                                DISCUSSON DRAFT: NOVEMBER 10, 2022
                             Do not cite in academic work without authors’ consent

majority of federal appellate and Supreme Court decisions have found that there lacked an investment
contract or remanded the case for further proceedings on that question (see Figure 2).




Figure 2: Decisional outcomes of federal appellate and Supreme Court cases assessing the existence of an
                                         “investment contract”.
        In totality, of the 266 relevant federal appellate and Supreme Court decisions reviewed, courts have
found an absence of an investment contract in approximately 42% of decisions, with a further 12% of cases
being remanded back to the lower court for additional fact finding. 36% of the cases reviewed found the
presence of an investment contract. (Opinions of the remaining cases either did not specifically discuss
whether the transaction at issue constituted an “investment contract or were later withdrawn and substituted
with a subsequent decision.)
         The period between 1973 and 1996, the most active period for investment contract cases at the
appellate level, saw decisions dealing primarily with interests in the real estate, banking, investment
services and lending sectors. This is in contrast to the prior 25-year period, in which the primary interests
at issue were associated with the oil and gas sector. Since 1997, the primary interests giving rise to disputes
have been in the real estate sector, but this is closely followed by cases involving sale and leaseback
arrangements, including Cooper v. King, 114 F.3d 1186 (6th Cir. 1997), S.E.C. v. Rubera, 350 F.3d 1084
(9th Cir. 2003), and S.E.C. v. Edwards, 540 U.S. 389 (2004). Overall, the primary interests at issue have
been limited and general partnership interests, real estate, and leasehold interests (inclusive of leasehold
interests in the oil and gas sector), discretionary trading account interests, and franchise interests across a
variety of industries. What we see across all cases is a combination of promoters of capital-intensive
businesses seeking to raise funds without committing to the process of a public offering of securities
intermixed with more modest business ventures gone awry, with a disgruntled party seeking to avail itself
through a remedy under federal securities law where one may not have been available in state court.
         As has been discussed throughout the Article, in all circuit court and Supreme Court decisions
which found an investment contract to be present, there existed some sort of business relationship between
the parties.




                                                       109
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       Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 146 of 215
                               DISCUSSON DRAFT: NOVEMBER 10, 2022
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     FEDERAL APPELLATE DECISIONS ASSESSING THE EXISTENCE OF AN “INVESTMENT CONTRACT”




    Figure 3: Annual distribution of federal appellate cases assessing the existence of an “investment
                                                contract”.




  Figure 4: Distribution of federal appellate decisions assessing the existence of an investment contract
                                          since Howey, by circuit.


         The Ninth Circuit, which has thus far been responsible for 27% of all federal appellate investment
contract cases, has found no investment contract, or remanded for further proceedings, in 53% of all
decisions. This approximately mirrors the Fifth Circuit, which has thus far been responsible for 17% of all
federal appellate investment contract cases, and has similarly found no investment contract, or remanded
for further proceedings, in 55% of all its decisions.
        In the first 25 years following the Supreme Court’s decision in Howey (1946-71), federal appellate
courts issued just 18 opinions with respect to the status of certain schemes alleged to be investment

                                                      110
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        Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 147 of 215
                                    DISCUSSON DRAFT: NOVEMBER 10, 2022
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contracts. Of those, the courts found an investment contract to have been formed in nine cases, which dealt
primarily with interests related to the oil and gas industry,322 but also two cases stemming from the sales of
beaver interests (animal sales),323 and real estate324 and distributorships & franchises,325 respectively. In all
18 cases, the decisions referenced a written contractual relationship between the parties.




       Figure 5: Distribution of industries at issue in the during the first 25-year period after Howey.
         The Fifth Circuit, the single most active circuit with respect these 18 decisions, with a total of five
opinions, focused primarily on issues related to oil and gas interests. For example, in Roe v. United States,
287 F.2d 435 (5th Cir. 1961), the Fifth Circuit remanded the case for further proceedings after finding that
that oil leases sold via a “high-pitched, hard-sell extravagant solicitation campaign” which promised
extraordinary returns garnered through the activities of persons other than the purchasers were more than
offerings of naked leasehold rights and as such, “if credited,” would constitute the sale or delivery of an
investment contract. Contrast Roe with Lynn v. Caraway, 379 F.2d 943 (5th Cir. 1967) in which the court
specifically differentiated the sale of certain fractional undivided interests in an oil and gas lease from Roe
on account of there being no evidence to support a finding that the seller made any promise or agreement
in addition to selling the naked leasehold right. The courts’ differentiation between those sales of property
rights which are coupled with additional contractual promises, and those which are not reverberates
throughout the jurisprudence on investment contracts.




322 Cross v. Pasley, 270 F.2d 88 (8th Cir. 1959); Moses v. Michael, 292 F.2d 614 (5th Cir. 1961); S.E.C. v. MacElvain, 417 F.2d

1134 (5th Cir. 1969), cert. denied, 397 U.S. 972 (1970); Johns Hopkins Univ. v. Hutton, 422 F.2d 1124 (4th Cir. 1970).
323 Cont'l Mktg. Corp. v. S.E.C., 387 F.2d 466 (10th Cir. 1967); Kemmerer v. Weaver, 445 F.2d 76 (7th Cir. 1971).
324 Blackwell v. Bentsen, 203 F.2d 690 (5th Cir. 1953).
325 United States v. Herr, 338 F.2d 607 (7th Cir. 1964).


                                                             111
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         Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 148 of 215
                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                   Do not cite in academic work without authors’ consent




                  Figure 6: Types of interests sold during the first 25-year period after Howey.


         Between 1972 and 1996, federal appellate courts issued what is thus far the majority of the opinions
with respect to the presence of an investment contract. During this period, federal appellate courts
disseminated 177 opinions discussing investment contracts, of which the leading type of transaction or
scheme at issue were those associated with the status of partnerships, whether limited or general, in the real
estate industry.326 Other notable interests at issue related to discretionary trading accounts, for which the
courts generally found that the business relationships at issue lacked the essential element of a “common
enterprise.”327




                         Figure 7: Top 10 types of interests sold during the second
                                       25-year period after Howey.
        The Ninth Circuit issued the most decisions during this time, finding investment contracts 35% of
the time, and either finding no investment contract, or remanding for future fact finding 58% of the
decisions during this time. The remaining 7% of decisions dealt with notes, or in the case of Hocking v.

326 See, e.g., Reeves v. Teuscher, 881 F.2d 1495 (9th Cir. 1989); Rodeo v. Gillman, 787 F.2d 1175 (7th Cir. 1986); Maritan v.

Birmingham Properties, 875 F.2d 1451 (10th Cir. 1989); and Koch v. Hankins, 928 F.2d 1471 (9th Cir. 1991).
327 See, e.g., Curran v. Merrill Lynch, Pierce, Fenner & Smith, Inc., 622 F.2d 216 (6th Cir. 1980); Salcer v. Merrill Lynch, Pierce,

Fenner & Smith, Inc., 682 F.2d 459 (3d Cir. 1982); Mordaunt v. Incomco, 686 F.2d 815 (9th Cir. 1982); and Lopez v. Dean Witter
Reynolds, Inc., 805 F.2d 880 (9th Cir. 1986).
                                                               112
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         Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 149 of 215
                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                   Do not cite in academic work without authors’ consent

Dubois, 839 F.2d 560 (9th Cir. 1988), was withdrawn.328 A close runner up, the Fifth Circuit found
instances of an investment contract in 16% of decisions during this period, and either found no investment
contract, or remanded for further fact finding in 60% of the decisions during this time. The remaining 24%
of decisions dealt with one or more of the enumerated types of securities set forth in the Securities Acts,
other than an investment contract, or in the case of Williamson v. Tucker, 632 F.2d 579 (5th Cir. 1980), was
withdrawn.329
         In addition to the Hocking line of cases, described in Part II.C, notable amidst these 177 opinions
is the Ninth Circuit’s opinion in S.E.C. v. Belmont Reid & Co., 794 F.2d 1388 (9th Cir. 1986). In Belmont
Reid & Co., the SEC brought antifraud actions against salesmen who sold contracts for gold coins to
investors on behalf of a Nevada natural resources developer who, in an effort to raise capital, sought to sell
its gold directly to investors, with the option to either purchase the coins thirty days in advance of delivery,
or prepay for the coins at a fixed price. The SEC alleged only that the pre-payment plan was a security, as
the prepayment price embodies a discount of between 33% and 48% of the prevailing market price of gold.
In finding that the case failed to meet the “solely from the efforts of others” prong of Howey, the court
found, along with the district court, that the profits of the coin buyer “depended upon the fluctuations of the
gold market,” not the seller, and therefore declined to accept that the contracts at issue were investment
contracts.330
        Finally, in the last 25 years, from 1997 through 2022, there have been 59 federal appellate opinions
with respect to the status of certain schemes as investment contracts, 35 of which were decided by either
the Ninth, Eleventh, or Fifth Circuits. During this time, the notable schemes at issue have included
payphone leases packaged together with service contracts,331 and a handful schemes involving virtual in-
game shares, condominium interests, employee stock option plans, and recently, digital assets.332




328 Withdrawn at 885 F.2d 1449 (1989).
329 Withdrawn at 645 F.2d 404 (1981).
330 794 F.2d 1388 (9th Cir. 1986).
331 See, e.g., S.E.C. v. ETS Payphones, Inc., 408 F.3d 727 (11th Cir. 2005); S.E.C. v. ETS Payphones, Inc., 300 F.3d 1281 (11th

Cir. 2002), rev'd sub nom., S.E.C. v. Edwards, 540 U.S. 389 (2004); S.E.C. v. Ross, 504 F.3d 1130 (9th Cir. 2007); S.E.C. v. Rubera,
350 F.3d 1084 (9th Cir. 2003).
332 Fedance v. Harris, 1 F.4th 1278 (11th Cir. 2021).


                                                               113
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       Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 150 of 215
                                DISCUSSON DRAFT: NOVEMBER 10, 2022
                             Do not cite in academic work without authors’ consent




      Figure 8: Distribution of industries at issue in the during the third 25-year period after Howey.
        Of those opinions, the federal appellate courts found investment contracts in 33 instances. Notable
decisions during this period include S.E.C. v. SG Ltd., 265 F.3d 42 (1st Cir. 2001) and S.E.C. v. Edwards,
540 U.S. 389 (2004), among others.
        In S.E.C. v. SG Ltd., the First Circuit was tasked with determining whether virtual shares in an
enterprise existing only in cyberspace fell within the purview of federal securities law. In finding that the
SEC alleged sufficient facts to state a triable claim, and thus reversing the lower court’s decision, the First
Circuit gave great weight to the economic realities of the situation, holding that the SEC had sufficiently
proven that the offer to sell virtual shares in various “virtual companies” listed on a “virtual stock exchange”
while promising a risk free investment, amounted to an invitation to enter into an investment contract, and
was thus within the jurisdictional reach of federal securities law.
         In Edwards, the Supreme Court was asked to decide whether a payphone sale-and-leaseback
arrangement was excluded from the term “investment contract” because the scheme offered a contractual
entitlement to a fixed, rather than a variable, return. There, the defendant sold payphones to the public
packaged with a site lease, a five-year leaseback and management agreement, and a buyback agreement.
The purchasers of the packages were not involved in the day-to-day operations of the payphones they owned
and were promised a 14% annual return. As the payphones did not generate enough revenue to make
payment under the leaseback agreements, the company became dependent on funds from investors to meet
its obligations.
        While the district court held that the arrangement was an investment contract, the Eleventh Circuit
reversed on two grounds. First, the court read that an “investment contract” was an offer of either capital
appreciation, or participation in the earning of the enterprise, thereby excluding schemes which offered a
fixed rate of return. Second, the court held that “efforts of others” prong was not satisfied when the
purchasers had contractual entitlement to the return. The Supreme Court concluded that the Eleventh
Circuit erred on both accounts and held that an investment scheme promising a fixed rate of return can be
an investment contract subject to federal securities law. In doing so, the Court analyzed the judicial history

                                                       114
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           Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 151 of 215
                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                   Do not cite in academic work without authors’ consent

of the Howey test, citing to the state courts interpretation of their “blue sky” laws to explain the meaning of
the word “profit” within the definition set forth in Howey in order to find that there is no reason to
distinguish between promises of fixed returns and promises of variable returns for purposes of the test.
         What the Edwards court did not do was directly opine on whether or not there was a “common
enterprise” involved in the investment contract at issue. Nor did the Supreme Court relieve courts from
having to find a common enterprise. Notwithstanding the foregoing, the SEC took that silence to mean that
the Supreme Court supported their interpretation of the “common enterprise” prong of the Howey test to be
all but nullified. Addressing the issue in footnote 10 of the Framework, the SEC cites to the Opinion of the
SEC in In re Barkate, 57 S.E.C. 488, 496 n.13 (Apr. 8, 2004), where the SEC lowered the bar for the finding
of an investment contract by rejecting the “common enterprise” element of Howey and embracing the prior
standards elucidated in state “blue sky” laws, thus redefining the traditional investment contract test as
those adopted prior to Howey. In furtherance of the foregoing, in the same footnote 10 of the Framework,
the SEC cited to their Supplemental Brief in Edwards in which the SEC writes:
           Edwards not only confirms broad vertical commonality as the correct interpretation of
           “common enterprise,” but also supports the Commission’s original interpretation of
           “investment contract” – first articulated in 1941 and recently reiterated in a post-Edwards
           adjudicatory opinion. As the Commission clarified in that recent opinion, a “common
           enterprise” does not impose “a distinct requirement for an investment contract.” 333


         Accordingly, it appears that the SEC’s definition of “investment contract” is notably broader than
what is otherwise seen in the Howey jurisprudence. Specifically, the SEC cites to In re Natural Resources
Corp., 8 S.E.C. 637 (1941) in the aforementioned brief as describing an investment contract as being
“transactions which in substance…involve the laying out of money by the investor on the assumption and
expectation that the investment will return a profit without any active effort on his part, but rather as a result
of the efforts of someone else.” Nevertheless, courts considering questions of the application of Howey to
transactions involving crypto assets continue to apply all four Howey prongs.




333   Appellee Supplemental Br, S.E.C. v. Edwards, 540 U.S. 389, 14-15 (2004).
                                                              115
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                                     Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 152 of 215
                                                                 DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                              Do not cite in academic work without authors’ consent

                                                                                   SCHEDULE 1

 FEDERAL APPELLATE AND SUPREME COURT DECISIONS POST- SEC V. W.J. HOWEY CO. IN WHICH THE COURT FOUND AN
 INVESTMENT CONTRACT.

                                                                                  Object Key
     Yes             Means that the court found that there was, or that the allegations were sufficient to determine that, the contract, transaction, or scheme at issue
                     in the case was an investment contract.

                                    Investment
                                                     Object or                                Finding
           Case Caption             Contract                              Industry
                                                     Interest
                                    Found?
           S.E.C. v. C. M.
                                                                                              Finding the sale and assignment of an oil lease to be not merely the sale of naked
1.         Joiner Leasing Corp.,                     Leasehold
                                    Yes                                   Oil & Gas           leasehold rights but an "investment contract," because the exploration enterprise was
           320 U.S. 344                              Interest
                                                                                              woven into the oil lease enterprise.
           (1943)334
                                                                                              Finding an offer for the sale of units of a citrus grove for real estate development to
                                                                                              be an "investment contract" when coupled with a service contract for cultivating,
           S.E.C. v. Howey                                                                    marketing, and remitting net proceeds to purchasers. Establishing the Howey test,
2.                                                   Real Estate
           Co., 328 U.S. 293        Yes                                   Real Estate         which is used to determine the existence of an "investment contract" when a given
                                                     Interest
           (1946)                                                                             contract, transaction, or scheme involves (1) an investment of money (2) in a
                                                                                              common enterprise (3) with an expectation of profits (4) solely from the efforts of
                                                                                              the promoter or a third party.
                                                                                              Finding, post Howey, the sale of citrus groves coupled with a management contract
3.         Blackwell v.
                                                     Real Estate                              to be an "investment contract" within the meaning of the term as defined in Howey.
           Bentsen, 203 F.2d        Yes                                   Real Estate
                                                     Interest                                 Finding "[i]f they merely purchased land, without more, such a purchase would not
           690 (5th Cir. 1953)
                                                                                              constitute an investment contract within the meaning of the Securities Act."
                                                                                              Concluding that consideration paid for the cost of drilling in an oil and gas venture
           Cross v. Pasley, 270
4.                                                   Leasehold                                is consideration for an "investment contract," because the investor has an
           F.2d 88 (8th Cir.        Yes                                   Oil & Gas
                                                     Interest                                 expectation of passive returns on the basis that existing and future drilling expenses
           1959)
                                                                                              are covered.
           Los Angeles Trust
                                                                                              Finding the economic inducement of prospective investors to be an offer to enter an
           Deed & Mortgage
                                                                                              "investment contract" under the Securities Act where resulting investor profits are
5.         Exch. v. S.E.C., 285                      Promissory
                                    Yes                                   Trust Sales         inextricably linked to the efforts of managers in a common enterprise in exercising
           F.2d 162 (9th Cir.                        Note
                                                                                              independent judgment to find and purchase discounted trust deeds secured by real
           1960), cert. denied,
                                                                                              estate. See Schedule 3 at 2 for prior history.
           366 U.S. 919 (1961)


 334   Decided prior to S.E.C. v. W.J. Howey Co., 328 U. S. 293 (1946) included as notable precedent for purposes of empirical accuracy.
                                                                                          116
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                                                      Electronic copy available at: https://ssrn.com/abstract=4282385
                               Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 153 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                               Investment
                                            Object or                           Finding
      Case Caption             Contract                        Industry
                                            Interest
                               Found?
      Moses v. Michael,
6.                                          Leasehold                           Concluding the assignment of an undivided working interest in oil and gas leases
      292 F.2d 614 (5th        Yes                             Oil & Gas
                                            Interest                            constitutes an investment contract under the Securities Act.
      Cir. 1961)

      United States v.                                                          Concluding a distributor agreement does not create a vendor-purchaser relationship
                                            Distributorship    Sales Training
7.    Herr, 338 F.2d 607       Yes                                              but an investment contract where the purchasers were led to expect large profits
                                            Rights             Materials
      (7th Cir. 1964)                                                           through no efforts of their own.


                                                                                Finding an annuity contract to be an "investment contract," unexcepted by the
      S.E.C. v. United
8.                                          Variable                            insurance exemption, under the Securities Act where policy payments accumulate as
      Benefit Life Ins. Co.,   Yes                             Insurance
                                            Annuities                           part of a flexible fund arrangement and establish an expectation of growth through
      387 U.S. 202 (1967)
                                                                                sound investment management.

      Cont'l Mktg. Corp. v.
                                                                                Concluding the collection of investments in a scheme for the sale, care,
      S.E.C., 387 F.2d 466
9.                                                                              management, replacement, and resale of live beavers for breeding creates an
      (10th Cir. 1967),        Yes          Beaver Interests   Animal Sales
                                                                                investment contract within the meaning of the Securities Act where returns are
      cert. denied, 391
                                                                                predicated on the efforts not of investors but of others.
      U.S. 905 (1968)
      S.E.C. v. MacElvain,                                                      Finding the sale of interests in underwater mining claims to create an investment
      417 F.2d 1134 (5th                                                        contract where the land promoter promised to contest the U.S. Department of
10.   Cir. 1969), cert.        Yes          Title Interests    Oil & Gas        Interior's interest in the land, impliedly to inure to the benefit of all purchasers,
      denied, 397 U.S. 972                                                      despite the promoter's disclaimer of any "collateral offer, promise, or assurance of
      (1970)                                                                    any nature whatsoever."
      Johns Hopkins Univ.
      v. Hutton, 422 F.2d                   Production                          Holding a production payment representing mineral rights to oil and gas reserves to
11.   1124 (4th Cir. 1970),    Yes          Payment            Oil & Gas        be an "investment contract" where extraction of those reserves is limited to specified
      cert. denied, 416                     Interest                            wells maintained by efforts of persons other than the purchaser.
      U.S. 916 (1974)
      Kemmerer v.
12.                                                                             Affirming that the sale of live beavers constitutes an "investment contract" when
      Weaver, 445 F.2d 76      Yes          Beaver Interests   Animal Sales
                                                                                coupled with a service agreement to house, feed, and otherwise care for the beavers.
      (7th Cir. 1971)




                                                                              117
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                               Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 154 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                               Investment
                                            Object or                          Finding
      Case Caption             Contract                       Industry
                                            Interest
                               Found?
      S.E.C. v. Glenn W.
      Turner Enters., Inc.,                                                    Finding the interests in a multi-level marketing scheme to create an "investment
13.   474 F.2d 476 (9th                     Promotions        Multi-Level      contract," broadening interpretation of the word "solely" under the fourth prong of
                               Yes
      Cir. 1973), cert.                     Agreement         Marketing        the Howey test to be inclusive of the scheme's creation of an expectation of returns
      denied, 419 U.S. 900                                                     only primarily from the efforts of others.
      (1974)
      Nor-Tex Agencies,
      Inc. v. Jones, 482                                                       Affirming that transactions involving investment in fractional undivided oil and gas
14.                                         Leasehold
      F.2d 1093 (5th Cir.      Yes                            Oil & Gas        interests create an "investment contract" where investors were led to expect profits
                                            Interest
      1973), cert. denied,                                                     as a result of the promoter's efforts.
      415 U.S. 977 (1973)
                                                                               Finding the award of an interest in a real estate venture to an investor to be a security
      Andrews v. Blue,
15.                                         Joint Venture                      where, although under contract as a "consultant" to the venture, the investor was a
      489 F.2d 367 (10th       Yes                            Real Estate
                                            Interests                          consultant in name only and relied only on the efforts of others in anticipation of
      Cir. 1973)
                                                                               profits.
      Glen-Arden                                                               Concluding the sale of warehouse receipts for whiskey creates an "investment
16.   Commodities, Inc. v.                  Warehouse                          contract" where the seller provides additional services, such as insuring the whiskey,
                               Yes                            Commodities
      Costantino, 493 F.2d                  Receipts                           storing the whiskey barrels to maturity, and, without additional charge, assisting
      1027 (2d Cir. 1974)                                                      purchasers with selling the whiskey upon maturity.
                                                                               Finding that an investment plan involving the investor's contribution of cash and
                                                              Banking,
      El Khadem v. Equity                                                      securities as collateral in exchange for a line of credit under an assignable
17.                                         Promissory        Investment
      Sec. Corp., 494 F.2d     Yes                                             promissory note is an investment contract where the creditor rehypothecates the
                                            Note              Services &
      1224 (9th Cir. 1974)                                                     investor's collateral, uses it to capitalize its own business, and allows the investor to
                                                              Lending
                                                                               gain investment leverage and tax benefits.
      Miller v. Cent.                                                          Concluding that the interests in a multi-level marketing scheme involving chinchilla
      Chinchilla Grp., Inc.,                Chinchilla        Buy-Back         breeding create an "investment contract" where the expectation of profits is
18.                            Yes
      494 F.2d 414 (8th                     Interests         Sales            dependent not on the interest holders' own initial efforts but on the efforts of their
      Cir. 1974)                                                               recruits to persuade additional retail investment in the enterprise.
                                                                               Holding that jurisdiction existed to hear plaintiff's Securities Act allegations because
      Forman v. Cmty.
                                                                               plaintiff's ownership of stock in a housing cooperative constituted an investment
      Servs., Inc., 500 F.2d                Cooperative
                                                                               contract within the meaning of the Securities Acts due to residents' expectation of
19.   1246 (2d Cir. 1974),     Yes          Apartment         Real Estate
                                                                               profit by income derived from reduced carrying charges, tax benefits, and saved
      rev’d, 421 U.S. 837                   Stock
                                                                               expenses. Overturned at 421 U.S. 837 (1975). See Schedule 2 at 12 for subsequent
      (1975).
                                                                               history.
20.   1050 Tenants Corp.                    Housing Co-Op                      Determining that the interests of homeowners in a cooperative housing corporation
                               Yes                            Real Estate
      v. Jakobson, 503                      Stock Interests                    are securities where cooperative sponsors tout the tax benefits of incorporation to

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                                            Electronic copy available at: https://ssrn.com/abstract=4282385
                               Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 155 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                               Investment
                                            Object or                            Finding
      Case Caption             Contract                        Industry
                                            Interest
                               Found?
      F.2d 1375 (2d Cir.                                                         prospective residents, rents from commercial spaces are used to reduce maintenance
      1974)                                                                      charges, and the sponsors exercise control over the enterprise.
                                                                                 Finding that a pyramid selling scheme constituted an investment contract where the
      S.E.C. v. Koscot                                         Investment
21.                                         Promotions                           promoters retained immediate control over the essential managerial conduct of the
      Inter., Inc., 497 F.2d   Yes                             Marketing
                                            Agreement                            enterprise and investors' ability to profit was inextricably tied to defendants'
      473 (5th Cir. 1974)                                      Scheme
                                                                                 recruitment meetings, guidelines, and sales.
      S.E.C. v. Continental                                                      Finding the scheme of trading on discretionary commodities accounts to create an
22.                                         Commodities        Commodities
      Com Corp., 497 F.2d      Yes                                               investment contract where a common enterprise is established by traders' investment
                                            Options            Trading
      516 (5th Cir. 1974)                                                        in an array commodity options and futures for different investors.
      Safeway Portland
      Employees' Fed.                                          Banking,          Determining a certificate of deposit to be a non-exempt investment contract under
                                            Certificates of
23.   Credit Union v. C.                                       Investment        the Securities Act where the terms of deposit included bonus payments create an
                               Yes          Deposit &
      H. Wagner & Co.,                                         Services &        expectation of profit reliant on the continued success and solvency of the issuer's
                                            Bonus Interest
      501 F.2d 1120 (9th                                       Lending           business.
      Cir. 1974)
      S.E.C. v. Commodity
                                                                                 Finding the sale of naked double options for investment in a common venture to
24.   Options Int'l, Inc.,                  Commodities        Commodities
                               Yes                                               create an investment contract where purchasers have a reasonable expectation of
      553 F.2d 628 (9th                     Options            Trading
                                                                                 profits derived from the entrepreneurial efforts of the venture.
      Cir. 1977)
      Daniel v.
                                                                                 Holding that union members' interest in a pension fund managed by trustees with
      International Bd. of
                                                                                 exclusive control over investment decisions was an investment contract under the
25.   Teamsters, 561 F.2d
                               Yes          Pension Interest   Pension Plans     Securities Acts where union members contributed via employer contributions and
      1223 (7th Cir. 1977),
                                                                                 expected capital appreciation. Overturned at 439 U.S. 551 (1979). See Schedule 2 at
      rev’d, 439 U.S. 551
                                                                                 26 for subsequent history.
      (1979).
      Melton v.
                                                                                 Affirming the lower court's conclusion that the sale of "revocable inter vivos trusts"
26.   Unterreiner, 575
                               Yes          Trust Interest     Trust Sales       creates an investment contract where the sale proceeds are used to invest in real
      F.2d 204 (8th Cir.
                                                                                 estate mortgages and contracts from which the purchaser can expect passive returns.
      1978)
      United States v.                                                           Finding the sale of federally insured student loan debt to create an investment
27.                                         Loan Sale
      Carman, 577 F.2d         Yes                             Education         contract when coupled with a service contract and repurchase agreement as part of
                                            Interests
      556 (9th Cir. 1978)                                                        an integrated investment package.




                                                                               119
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                               Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 156 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                               Investment
                                            Object or                           Finding
      Case Caption             Contract                       Industry
                                            Interest
                               Found?
                                                                                Remanding for new trial on error but finding that plaintiff's limited partnership
      Goodman v. Epstein,                   Limited
28.                                                                             interest was an investment contract under the Securities Acts by reason that, as a
      582 F.2d 388 (7th        Yes          Partnership       Real Estate
                                                                                limited partner, plaintiff was precluded from participating in essential management
      Cir. 1978)                            Interests
                                                                                decisions affecting the profit-seeking business venture.
                                                                                Finding an investment in an earthworm farming venture to be an investment
      Smith v. Gross, 604
29.                                         Earthworm         Buy-Back          contract, because the promoter promised that its instructions would enable investors
      F.2d 639 (9th Cir.       Yes
                                            Interests         Sales             to reap profits with little effort, and that it would buy back all bait-sized worms at a
      1979)
                                                                                set price per pound.
      United States v.                                                          Affirming that the sale of real estate mortgage notes establishes an investment
30.                                         Real Estate
      Farris, 614 F.2d 634     Yes                            Real Estate       contract where noteholders are led to place substantial trust in the management skill
                                            Interest
      (9th Cir. 1979)                                                           and solvency of the issuer.
      Cameron v. Outdoor                                                        Finding the sale of condominium campsite blocks to create an investment contract
31.   Resorts of America,                                                       when coupled with a rental arrangement that promises rental income relying on the
                               Yes          Rental Income     Real Estate
      Inc, 608 F.2d 187                                                         promoter's management efforts and materially restricts the investor's independent
      (5th Cir. 1980)                                                           involvement.
      S.E.C. v. Murphy,                     Limited                             Determining the sale of shares in a limited partnership in a cable television system to
32.   626 F.2d 633 (9th        Yes          Partnership       Partnerships      create an investment contract where investors assume no managerial role but expect
      Cir. 1980)                            Interests                           profit solely based on the efforts of others.
      Rosenberg v.                                                              Finding commodity trading accounts sold by a bankrupt trader to create an
33.   Collins, 624 F.2d        Yes          Cash Interests    Commodities       investment contract where investors' fortunes were inextricably linked with and
      659 (5th Cir. 1980)                                                       dependent upon the company's solvency and trading efforts.
      Kosnoski v. Bruce,                    Limited
34.                                                                             Concluding limited partnership interests in two real estate ventures to be securities
      669 F.2d 944 (4th        Yes          Partnership       Real Estate
                                                                                where the limited partner's role is almost entirely passive.
      Cir. 1982)                            Interests
                                                                                Finding that the court could, as a matter of law, preliminarily determine that the
                                                                                pair-off contract sold by appellants was an investment contract and thus a security
      S.E.C. v. G. Weeks
35.                                         Mortgage          Government        subject to registration because, unlike standard forward contracts, purchasers were
      Secur., Inc., 678 F.2d   Yes
                                            Interests         Securities        guaranteed a return in the form of interest generated by appellants' own investing
      649 (6th Cir. 1982)
                                                                                efforts, and affirming the District Court's order enjoining appellants from further
                                                                                violating the registration provisions of the Securities Act.
      S.E.C. v. Aqua-Sonic                                                      Concluding that a licensing scheme for promotion and distribution of new dental
36.   Prods. Corp., 687                     Distributorship   Distributorship   devices creates an investment contract when coupled with an optional sales agency
                               Yes
      F.2d 577 (2d Cir.                     Rights            s & Franchises    agreement, at least where the licensor makes economic inducements and expects
      1982)                                                                     licensees to enter the optional agreement to rely primarily on the efforts of others.

                                                                             120
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                              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 157 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                              Investment
                                           Object or                           Finding
      Case Caption            Contract                       Industry
                                           Interest
                              Found?


                                                                               Finding that a tractor trailer sale and leaseback arrangement creates an investment
      United States v.
37.                                        Sale/Leaseback    Leaseback         contract where investors make minimal down payments, finance the remaining
      Jones, 712 F.2d 1316    Yes
                                           Interests         Arrangement       balances using bank loans, receive monthly payments on the lease obligations, and
      (9th Cir. 1983)
                                                                               assume a purchase option at the end of each lease.

      Mayer v. Oil Field                   Limited
38.                                                                            Concluding that a limited partnership interest constitutes a security where limited
      Sys. Corp., 721 F.2d    Yes          Partnership       Oil & Gas
                                                                               partners exercise no managerial role in partnership affairs.
      59 (2d Cir. 1983)                    Interests

      Siebel v. Scott, 725                 Limited                             Finding a limited partnership interest to create an investment contract where the
39.   F.2d 995 (5th Cir.      Yes          Partnership       Partnerships      holder relies not his own entrepreneurial talents but on the managerial efforts of the
      1984)                                Interests                           general partners for profit.

                                                                               Applying the "horizontal commonality" test under the "common enterprise" prong of
                                                                               the Howey test to conclude that a beneficiary trust account interest creates an
      S.E.C. v. Prof'l                     Escrow, Trust     Phonographic      investment contract where, citing Union Planters Nat'l Bank, the "fortunes of each
40.   Assocs., 731 F.2d       Yes          & Joint Venture   Record Master     investor in a pool of investors" are tied "to the success of the overall venture."
      349 (6th Cir. 1984)                  Interests         Tapes             Finding contributions to a joint venture designed to exploit master record leases to
                                                                               create an investment contract where at least some investors are passive and
                                                                               contribute money in reasonable reliance on the promoters' skills and efforts.
      Gary Plastic
                                                                               Finding that the sale of certificates of deposit, although conventionally not in and of
      Packaging Corp. v.                                     Banking,
                                                                               themselves securities, creates an investment contract when coupled with, among
41.   Merrill Lynch,                       Certificate of    Investment
                              Yes                                              other things, the depositor's (1) buy-back right to retrieve his deposit before
      Pierce, Fenner &                     Deposit           Services &
                                                                               maturity, and (2) reliance on a financial advisor to select and negotiate terms of
      Smith, Inc., 756 F.2d                                  Lending
                                                                               investments.
      230 (2d Cir. 1985)
      S.E.C. v. Goldfield                                                      Finding interests in an ore sale and processing arrangement to create an investment
                                           Ore Purchase
42.   Deep Mines Co. of                                      Mining &          contract where the promoter used investors' contributions to fund a common
                              Yes          Program
      Nevada, 758 F.2d                                       Refining          enterprise from which the investors expect to reap profit as a result of the efforts of
                                           Interests
      459 (9th Cir. 1985)                                                      the promoter to process ore using proprietary techniques.
      San Francisco-
                                                                               Concluding a fractional interest in a producing oil well to be an investment contract
      Oklahoma Petro. v.
43.                                        Leasehold                           where the investor does not have a bare leasehold but relies exclusively on the
      Carstan Oil, 765        Yes                            Oil & Gas
                                           Interest                            promoter's efforts to maintain the oil well and extract and sell its production in
      F.2d 962 (10th Cir.
                                                                               anticipation of profit.
      1985)
                                                                            121
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                              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 158 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                              Investment
                                           Object or                           Finding
      Case Caption            Contract                        Industry
                                           Interest
                              Found?
                                                                               Affirming conviction for securities fraud and rejecting contention that "common
                                                                               enterprise" and "efforts of others" prongs of Howey were not met. The court found
      United States v.
                                           Tax Shelter                         the "solely through the efforts of others" prong of Howey to have been met because
44.   Morse, 785 F.2d 771     Yes                             Various
                                           Interests                           "the efforts made by those other than the investor [we]re the undeniably significant
      (9th Cir. 1986)
                                                                               ones." Further, common enterprise was met because the fortunes of the investor
                                                                               [we]re dependent upon the efforts and success of the party seeking the investment.
      Albanese v. Florida                                                      Determining that a fraudulent ice machine sales and leaseback scheme creates an
      Nat. Bank of                         Sale/Leaseback     Leaseback        investment contract where the promoter sells and agrees to lease the machines back
45.                           Yes
      Orlando, 823 F.2d                    Interests          Arrangement      from investors under various agreements to place them in commercial
      408 (11th Cir. 1987)                                                     establishments, service them, collect rents, and distribute earnings to the investors.
      Waterman v. Alta
                                                                               Affirming that interests in a cattle-feeding operation create an investment contract
46.   Verde Indus., 833
                              Yes          Cattle Interests   Animal Sales     where the failure or success of the enterprise, and therefore investors' expected
      F.2d 1006 (4th Cir.
                                                                               profit, relies on the efforts of third parties to purchase, care for, and sell cattle.
      1987)
      Buhler v. Audio
      Leasing Corp., No.
                                                              Master-          Finding interests in an audio leasing scheme to be securities where the promoter
47.   86-4162, 1988 U.S.                   Audio Leasing
                              Yes                             Recording        sells those interests to investors together with a distribution agreement to manage
      App. LEXIS 21714                     Program
                                                              Leasing          leasing functions, creating an expectation for passive returns.
      (9th Cir. Feb. 26,
      1988)
      United States v.                                                         Affirming the appropriateness of a jury instruction asserting that profit-sharing
48.                                        Profit-Sharing     Commodities
      Kessi, 868 F.2d 1097    Yes                                              agreements are securities, because profit-sharing agreements would naturally meet
                                           Interests          Trading
      (9th Cir. 1989)                                                          all prongs of the Howey test.
                                                                               Finding a cattle-feeding consulting agreement to create an investment contract
      Long v. Shultz Cattle                Cattle
49.                                                                            where investors retain little to no control over operations, have no experience in the
      Co., Inc., 881 F.2d     Yes          Poundage           Animal Sales
                                                                               cattle business, and can only reasonably expect to receive profits based on the
      129 (5th Cir. 1989)                  Interests
                                                                               promoter's ability to raise and market cattle. See entry 52 for subsequent history.
                                                                               Finding a partnership's limited partner but not general partner interests to be
      Reeves v. Teuscher,                  Limited                             securities where limited partners only supply capital and expect returns based on the
50.   881 F.2d 1495 (9th      Yes          Partnership        Real Estate      expertise of general partners, and the general partnership interests not to be
      Cir. 1989)                           Interests                           securities where exclusively general partners control and supervise enterprise
                                                                               operations.




                                                                             122
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                               Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 159 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                               Investment
                                            Object or                          Finding
      Case Caption             Contract                      Industry
                                            Interest
                               Found?
                                                                               Finding that the videotape sales agreements were investment contracts. Rejecting
      Davis v. Metro
51.                                         Tax Shelter      Tax Shelter       that only the four corners of a video tape sales agreement can supply evidence of the
      Prods., Inc., 885 F.2d   Yes
                                            Interests        Scheme            existence of a "common enterprise" without examining the underlying economic
      515 (9th Cir. 1989)
                                                                               realities.
                                                                               Denying petition for rehearing and request to reconsider the holding of Continental
                                                                               Com Corp. and the 5th Circuit’s approach to the "common enterprise" prong of the
      Long v. Shultz Cattle                 Cattle                             Howey test; holding that cattle feeding operation agreements are investment
52.   Co., 896 F.2d 85 (5th    Yes          Poundage         Animal Sales      contracts where investors have an ownership interest in a business where the
      Cir. 1990)                            Interests                          promoter solicits and pools together contributions from hundreds of investors to
                                                                               support the enterprise and its profitability depends on defendants. See entry 49 for
                                                                               prior history.
                                                                               Finding an interest in a scheme for the sale of cattle embryos to establish an
      Eberhardt v. Waters,
53.                                         Cattle Embryo    Cattle            investment contract where investors with no knowledge or experience in the cattle
      901 F.2d 1578 (11th      Yes
                                            Interests        Breeding          industry must rely on the promoter's efforts and technical know-how to purchase,
      Cir. 1990)
                                                                               manage, and sell the embryos and care for calves.
                                                                               Concluding that a cattle purchase agreement coupled with a management contract
      Bailey v. J.W.K.
54.                                         Cattle Embryo    Cattle            creates an investment contract where investors' expectations of profit from cattle
      Props., Inc., 904 F.2d   Yes
                                            Interests        Breeding          breeding operations are dependent on the promoter performing essential functions as
      918 (4th Cir. 1990)
                                                                               an expert in embryo selection and crossbreeding.
      Uselton v.                                                               Concluding interests in an employee stock ownership program to be securities where
      Commercial                            Employee                           employees' purchases are contributory and voluntary, contributions are pooled to
55.   Lovelace Motor           Yes          Stock Option     ESOP              fund the employer's operations, and employees could reasonably anticipate profit
      Freight, 940 F.2d                     Plan                               from dividend distributions and stock appreciation in stock resulting from the efforts
      564 (10th Cir. 1991)                                                     of the employer's managers.
      McCoy v. Hilliard,                    Limited
56.                                                                            Finding an investment in a barge operation to be a security where investors cannot
      940 F.2d 660 (6th        Yes          Partnership      Barges
                                                                               realistically expect to exert any control over the barge.
      Cir. 1991)                            Interests
                                                                               Discussing that the overall scheme perpetuated under a model purchase agreement
      In re United Energy                   Production                         and power sale agreement creates an investment contract where investors agree to
57.   Corp., 944 F.2d 589      Yes          Payment          Solar Farming     purchase solar energy production modules and sell power back to the promoter,
      (9th Cir. 1991)                       Interest                           because the purchase and resulting profits from power sales are intimately
                                                                               intertwined.




                                                                            123
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                               Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 160 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                               Investment
                                            Object or                           Finding
      Case Caption             Contract                       Industry
                                            Interest
                               Found?
                                            Managed
      S.E.C. v. R.G.
                                            Account,                            Finding that interests, both in an investment account and in a gold refining venture,
      Reynolds
58.                                         Promissory        Investment        are securities under the Howey test, because investors reasonably expect passive
      Enterprises, Inc., 952   Yes
                                            Note, and Gold    Program           profit based on the efforts of others and underlying contributions are pooled to
      F.2d 1125 (9th Cir.
                                            Refining                            support the enterprise on which the expectation of profit depends.
      1991)
                                            Interests
      S.E.C. v.
      International Loan                                                        Determining that interests sold in a chain-letter marketing scheme are securities
59.                                         Payment           Multi-Level
      Network, Inc., 968       Yes                                              where sales are solicited using promotional literature from which investors could
                                            Interests         Marketing
      F.2d 1304 (D.C. Cir.                                                      discern a reasonable expectation of profit.
      1992)
                                                                                Finding contributions to a joint venture to be the sale of securities under Howey
60.   Stone v. Kirk, 8 F.3d                 Tax Shelter       Investment
                               Yes                                              where the venturers pool their funds together to jointly empower the promoter to act
      1079 (6th Cir. 1993)                  Interests         Program
                                                                                as their agent to maintain tax shelters for their benefit.
      S.E.C. v. Eurobond                                                        Finding interests in a Eurobond investment program to create an investment contract
61.   Exchange, Ltd., 13                    Eurobond          Investment        where investors share in the risk of loss and depend on the promoter's efforts and
                               Yes
      F.3d 1334 (9th Cir.                   Interests         Program           expertise to manage certain interest-bearing treasury bonds issued by foreign
      1994)                                                                     governments in expectation of profit from the spread in interest rates.
      United States v.                                                          Affirming that the sale of "units" in a gold mining operation does not constitute the
62.                                         Gold Mining       Mining &
      Brooks, 62 F.3d          Yes                                              sale of goods but instead creates an investment contract where the promoter's efforts
                                            Interests         Refining
      1425 (9th Cir. 1995)                                                      were the "undeniably significant ones" necessary to make the investment a success.
      United States SEC v.
      Better Life Club of                                                       Affirming the district courts finding that the advertising of pooled notes in a multi-
      Am., Inc., No. 98-                                                        level marketing scheme is not a purely commercial transaction and instead
63.                                         Payment           Multi-Level
      5079, 1999 U.S.          Yes                                              constitutes the offer of securities where investors contribute substantial funds to a
                                            Interests         Marketing
      App. LEXIS 7319                                                           common enterprise, and where the promoter promises to double investors’ money,
      (D.C. Cir. Mar. 24,                                                       and analyzing the same notes under Reves.
      1999)
      S.E.C. v. Unique Fin.
                                                                                Concluding the sale of foreign exchange contracts to create an investment contract
      Concepts, Inc., 196
64.                            Yes          Forex Interests   Forex             where the promoter pools investors' funds to apply toward advertising, salary, and
      F.3d 1195 (11th Cir.
                                                                                finding new investors.
      1999)




                                                                            124
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                              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 161 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                              Investment
                                           Object or                           Finding
      Case Caption            Contract                       Industry
                                           Interest
                              Found?

      Jeanne Piaubert, S.A.                Limited                             Summary judgment reversed and case remanded because plaintiff Fragrance Group,
65.   v. Sefrioui, 208 F.3d   Yes          Partnership       Cosmetics         Ltd pled sufficient facts to prove that limited partnership interest it purchased in JP
      221 (9th Cir. 2000)                  Interests                           Limited Partnership was an investment contract.

      S.E.C. v. Banner
66.   Fund International,                  Arbitrage         Arbitrage         Determining the beneficial interests in a banner fund program to be securities where
                              Yes
      211 F.3d 602 (D.C.                   Interests         Trading           the promoter pools investors' funds and investors expect passive returns.
      Cir. 2000)
      SEC v. Infinity Grp.                 Property                            Finding a property transfer contract to create an investment contract where investors
67.                                                          Investment
      Co., 212 F.3d 180       Yes          Transfer                            contribute money in common to investment trusts in anticipation of returns resulting
                                                             Program
      (3d Cir. 2000)                       Interests                           from the efforts of others.
      S.E.C. v. SG Ltd.,                                                       Concluding that the opportunity to invest in the virtual shares in a fantasy game
68.                                        Virtual In-
      265 F.3d 42 (1st Cir.   Yes                            Entertainment     enterprise existing only in cyberspace is an offer for the sale of securities under the
                                           Game Shares
      2001)                                                                    Howey test.
      S.E.C. v. Alliance
                                           Equipment
69.   Leasing Corp., 28 F.                                   Leaseback         Affirming that the sale of investments in an equipment leasing program marketed by
                              Yes          Leasing
      App'x 648 (9th Cir.                                    Program           a third party creates an investment contract.
                                           Program
      2002)
      S.E.C.. v. Rubera,                   Telephone         Payphone &        Finding interests in a payphone investment program to create an investment contract
70.   350 F.3d 1084 (9th      Yes          Investment        Service           where the sale of payphones accompanies a service agreement placing management
      Cir. 2003)                           Program           Contracts         in the hands of the promoter and promising a return.
                                                                               Sale of payphones with leaseback agreement for a fixed monthly payment
                                                                               representing a 14 percent annual return where Purchasers were not involved in the
                                                                               day to day operation of the payphones they owned, as the company (1) selected the
                                                             Payphone &
71.   S.E.C. v. Edwards,                   Sale/Leaseback                      site for the phone, (2) installed the equipment, (3) arranged for connection and long-
                              Yes                            Service
      540 U.S. 389 (2004)                  Interests                           distance service, (4) collected coin revenues, and (5) maintained and repaired the
                                                             Contracts
                                                                               phones, could be properly considered an investment contract. Fixed returns
                                                                               sufficient profit to satisfy expectation of profit prong of Howey test. See Schedule 2
                                                                               at 99 for prior history and entry 73 for subsequent history.
      United States v.
                                           Trading
72.   Dale, 374 F.3d 321                                     Investment        Concluding that investment programs offered to investors, although fraudulent, meet
                              Yes          Program
      (5th Cir. 2004),                                       Program           the Howey test. Vacated & Remanded at 543 U.S. 1113 (2005)
                                           Interests
      vacated & remanded



                                                                           125
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                             Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 162 of 215
                                                     DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                  Do not cite in academic work without authors’ consent

                             Investment
                                          Object or                           Finding
      Case Caption           Contract                        Industry
                                          Interest
                             Found?
      543 U.S. 1113
      (2005)
                                                                              On remand after the Supreme Court clarifies that investments with a fixed rate of
      S.E.C. v. ETS
                                                             Payphone &       return could constitute an "investment contract", finding that the SEC meets its
73.   Payphones, Inc., 408                Sale/Leaseback
                             Yes                             Service          burden of showing a reasonable probability of success in finding that a payphone
      F.3d 727 (11th Cir.                 Interests
                                                             Contracts        sale and leaseback agreement creates an investment contract. See Schedule 2 at 99
      2005)
                                                                              and entry 71 for prior history.
      S.E.C. v. Mutual
                                          Viatical
74.   Benefits Corp., 408
                             Yes          Settlement         Insurance        Holding that investments in viatical settlement contracts are securities.
      F.3d 737 (11th Cir.
                                          Interests
      2005)
                                                                              Finding limited partner interests in a registered limited liability partnership to be
      S.E.C. v. Merchant,                 Limited
75.                                                          Consumer         securities after applying the Williamson factors, because the partners have no real
      483 F.3d 747 (11th     Yes          Partnership
                                                             Debt             ability to remove the firm and are completely inexperienced in the debt purchasing
      Cir. 2007)                          Interests
                                                                              industry.
      S.E.C. v. Ross, 504                                    Payphone &
76.                                       Sale/Leaseback                      Maintaining that an "investment opportunity" offered by Alpha Telcom is the offer
      F.3d 1130 (9th Cir.    Yes                             Service
                                          Interests                           of a security.
      2007)                                                  Contracts
                                                                              Concluding that the interests in limited liability companies formed to finance the
      United States v.
77.                                                                           production and distribution of motion pictures could create an investment contract
      Leonard, 529 F.3d      Yes          LLC Interests      Entertainment
                                                                              given that the members play only a passive role in the management of the
      83 (2d Cir. 2008)
                                                                              companies, despite the organizational agreements.
      S.E.C. v. U.S.
                                                             Banking,
      Reservation Bank
78.                                                          Investment       Holding a two-part investment to be a security when consisting of a certificate of
      and Trust., 289 F.     Yes          Profit Interests
                                                             Services &       deposit and a leveraged profit-sharing agreement.
      App'x 228 (9th Cir.
                                                             Lending
      2008)

      Warfield v. Alaniz,                                                     Finding the sale of charitable gift annuities to create an investment contract where
79.                                       Annuity
      569 F.3d 1015 (9th     Yes                             Annuity Sales    the annuities are marketed as investments and not merely as vehicles for
                                          Interests
      Cir. 2009)                                                              philanthropy.




                                                                          126
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                              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 163 of 215
                                                     DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                  Do not cite in academic work without authors’ consent

                              Investment
                                           Object or                          Finding
      Case Caption            Contract                      Industry
                                           Interest
                              Found?
      Liberty Prop. Tr. v.
      Republic Props.                      Limited                            Holding that certain investors do not exercise sufficient control of a limited
80.   Corp., 388 U.S. App.    Yes          Partnership      Real Estate       partnership (when disregarding corporate form) to disqualify their units from being
      D.C. 70, 577 F.3d                    Interests                          considered securities.
      335 (2009)
      Affco Invs. 2001
      LLC v. Proskauer                                                        Holding that membership interests in a limited liability company operating a tax
81.                                                         Tax Shelter
      Rose L.L.P., 625        Yes          LLC Interests                      shelter scheme are securities, because the investors are passive investors who
                                                            Scheme
      F.3d 185 (5th Cir.                                                      depend on the efforts of others for their profits.
      2010)

      U.S. v. Wetherald,                   Limited
82.                                                         Telecommunic      Finding partnership interests in the competitive local exchange carriers to be
      636 F.3d 1315 (11th     Yes          Partnership
                                                            ations            securities under the Williamson factors.
      Cir. 2011)                           Interests

      Minn. Lawyers Mut.
83.   Ins. Co. v. Ahrens,                  Investment       Commodities       Noting that a lawyer's solicitation of an investment would likely meet the Howey test
                              Yes
      432 F. App'x 143 (3d                 Interests        Trading           and would not be covered under the attorney's malpractice policy.
      Cir. 2011)
                                                                              Rejecting the plaintiffs contention that purchase agreements for at least one Orlando
                                                                              condominium unit were investment contracts because the plaintiffs were under no
      Bamert v. Pulte
                                                                              contractual obligation to join an offered rental pool or otherwise contract with the
84.   Home Corp., 445 F.                   Condominium
                              Yes                           Real Estate       defendant’s proposed rental agent, but finding that the plaintiff had sufficiently
      App'x 256 (11th Cir.                 Interests
                                                                              alleged facts to establish the existence of an investment contract as to the exclusive
      2011)
                                                                              rental agreements, if the rental agents were to be found to be affiliates of the
                                                                              condominium seller.
      S.E.C. v. Merklinger,                                                   Finding that the membership interests in a limited liability company are securities
85.   489 F. App'x 937        Yes          LLC Interests    Recycling         where the promoter fraudulently raises funds from investors and purports to be in the
      (6th Cir. 2012)                                                         business of collecting, shredding, and recycling used tires.

      United States v.
86.   Wosotowsky, 527 F.                   Variable
                              Yes                           Annuity Sales     Affirming that the fraudulent sale of variable annuities meets the Howey test.
      App'x 207 (3d Cir.                   Annuities
      2013)



                                                                          127
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                              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 164 of 215
                                                     DISCUSSON DRAFT: NOVEMBER 10, 2022
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                              Investment
                                           Object or                          Finding
      Case Caption            Contract                      Industry
                                           Interest
                              Found?

      S.E.C. v. Radical
                                                                              Affirming that contracts with investors in the form of "directions to purchase" are
      Bunny LLC, 532 F.                                     Investment
87.                           Yes          Loan Interests                     securities, because the investments are made in a common enterprise to purchase
      App'x 775 (9th Cir.                                   Program
                                                                              loans from another company and all profits are derived from the promoter's efforts.
      2013)


      United States v.                                      Banking,
                                                                              Finding that an investment in a bridge loan enterprise is a security where investors
      Rowzee, 550 F.                                        Investment
88.                           Yes          Loan Interests                     could typically expect returns within a few months without exercising any control
      App'x 452 (9th Cir.                                   Services &
                                                                              over the loans.
      2013)                                                 Lending


      United States v.                                                        Finding strong evidence that investment notes are securities under both the
      McKye, 638 F.                        Investment                         "investment contract" theory and "note theory" where investors contribute money to
89.                           Yes                           Real Estate
      App'x 680 (10th Cir.                 Notes                              a common enterprise with the expectation of receiving payments based on the
      2015)                                                                   promoter's efforts.


      S.E.C. v. Schooler,                  General                            Concluding general partner interests to be securities under the Williamson factors
90.   905 F.3d 1107 (9th      Yes          Partnership      Real Estate       where partners relinquish near-total control over the investments to a single person
      Cir. 2018)                           Interests                          to manage and trade on underlying investments.

      S.E.C. v. Liu, 754 F.
      App'x 505 (9th Cir.                  EB-5                               Affirming membership interests in a limited liability company to be securities when
                                                            EB-5
      2018), vacated and                   Immigrant                          sold as part of the EB-5 immigrant investor program, under which investors are
91.                           Yes                           Investment
      remanded, 140 S. Ct.                 Investor                           promised an opportunity to earn profit, even if profits are not investors' primary
                                                            Program
      1936, 207 L. Ed. 2d                  Program                            motivation.
      401 (2020)

      S.E.C. v. Sethi, 910                                                    Concluding that partnership interests in an oil and gas joint venture create an
                                           Joint Venture
92.   F.3d 198 (5th Cir.      Yes                           Oil & Gas         investment contract where contractual powers in the partnership are illusory in
                                           Interests
      2018)                                                                   practice.




                                                                          128
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                              Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 165 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                              Investment
                                           Object or                           Finding
      Case Caption            Contract                       Industry
                                           Interest
                              Found?
      S.E.C. v. Scoville,                                                      Finding the sale of "adpacks," when bundled with internet advertising services, to
                                           Revenue
93.   913 F.3d 1204 (10th     Yes                            Internet          establish an investment contract where the advertising services agreement allows a
                                           Interests
      Cir. 2019)                                                               purchaser to share in some of the promoter's revenue.
      Living Bens. Asset
      Mgmt., L.L.C. v.
      Kestrel Aircraft Co.                                                     Finding that life insurance settlements create an investment contract where the
                                           Life
94.   (In re Living Bens.     Yes                            Insurance         investor relies on the promoter's substantial expertise and pre-purchase efforts to
                                           Settlements
      Asset Mgmt.,                                                             profit from the investments in the underlying life settlements.
      L.L.C.), 916 F.3d
      528 (5th Cir. 2019)

      Masel v. Villarreal,                 Limited                             Finding a limited partner interest to create an investment contract where, despite
                                                             Medical
95.   924 F.3d 734 (5th       Yes          Partnership                         having the power to block certain enumerated business decisions, limited partners
                                                             Billing
      Cir. 2019)                           Interests                           rely solely on general partners to operate and manage the enterprise.


                                           EB-5
      S.E.C. v. Hui Feng,                                    EB-5              Affirming that EB-5 immigrant investor program interests create an investment
                                           Immigrant
96.   935 F.3d 721 (9th       Yes                            Investment        contract where corresponding contributions fund the operations of the limited
                                           Investor
      Cir. 2019)                                             Program           partnership in anticipation of a promised fixed rate of return.
                                           Program


                                                                               Affirming lower court and finding token sale satisfied “expectation of profits”
      Fedance v. Harris, 1
                                           Digital Asset                       element where issuers sold tokens pursuant to an ICO and the tokens had no utility
97.   F.4th 1278 (11th Cir.   Yes                            Digital Assets
                                           Interests                           at the time of sale—“any supposed future utility of the tokens on FLiK's 'end-to-end
      2021)
                                                                               entertainment ecosystem' is beside the point”




                                                                           129
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                                     Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 166 of 215
                                                             DISCUSSON DRAFT: NOVEMBER 10, 2022
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                                                                              SCHEDULE 2
 FEDERAL APPELLATE AND SUPREME COURT DECISIONS POST- SEC V. W.J. HOWEY CO. IN WHICH THE COURT FOUND NO
 INVESTMENT CONTRACT (OR THE DECISIONS WERE SUPERSEDED BY STATUTE).

                                                                                  Object Key
     No             Means that the court did not find that the contract, transaction, or scheme at issue in the case at issue was an investment contract.


                                       Investment
                                                       Object or                                Finding
          Case Caption                 Contract                             Industry
                                                       Interest
                                       Found?
                                                                                                Finding that a sale of an oil and gas lease created fractional undivided
          Woodward v. Wright,                                                                   interests in oil and gas within the meaning of securities under the Securities
1.                                                     Leasehold
          266 F.2d 108 (10th Cir.      No                                   Oil & Gas           Act, but rejecting the argument that the lease assignment constituted an
                                                       Interest
          1959)                                                                                 investment contract because plaintiffs retained dominant and controlling
                                                                                                interest in the property.
                                                                                                Determining that a savings and loan association's acceptance of deposits in a
          Tcherepnin v. Knight,                                             Banking,
                                                                                                withdrawable capital account does not constitute the sale of securities
2.        371 F.2d 374 (7th Cir.                       Capital Shares &     Investment
                                       No                                                       according to the contemplated meaning and legislative history of the
          1967), rev’d, 389 U.S.                       Capital Interest     Services &
                                                                                                Securities Exchange Act of 1934. Reversed at 389 U.S. 332 (1967). See
          332 (1967).                                                       Lending
                                                                                                Schedule 3 at 6 for subsequent history.
3.        Lynn v. Caraway, 379                         Leasehold                                Finding the sale of naked leasehold rights not to be an investment contract
                                       No                                   Oil & Gas
          F.2d 943 (5th Cir. 1967)                     Interest                                 where no additional promise or agreement is made by the seller.
                                                                                                Concluding a distributorship agreement not to be an investment contract
          Chapman v. Rudd Paint
4.                                                     Distributorship      Distributorships    where the distributor must assume efforts to market products under the
          & Varnish Co., 409 F.2d      No
                                                       Rights               & Franchises        agreement and therefore does not rely exclusively on the efforts of others
          635 (9th Cir. 1969)
                                                                                                within the meaning of the fourth prong of the Howey test.
                                                                                                Finding that neither the sale of an additional premium on a life insurance
          Olpin v. Ideal Nat’l Ins.                                                             policy bearing an endorsement nor the special fund created by the additional
5.                                                     Insurance
          Co., 419 F.2d 1250 (10th     No                                   Insurance           premium under the policy constitutes a "security" where the purchaser "was
                                                       Interests
          Cir. 1969)                                                                            not investing his money in a security, speculative or otherwise, from which he
                                                                                                might receive much, little, or no benefit."




                                                                                    130
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                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 167 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                   Investment
                                                Object or                              Finding
      Case Caption                 Contract                        Industry
                                                Interest
                                   Found?
      Milnarik v. M-S
                                                                   Banking,            Finding that a discretionary trading account lacks the requisite qualities of
      Commodities, Inc., 457
6.                                              Discretionary      Investment          commonality under the second prong of the Howey test where funds are not
      F.2d 274 (7th Cir. 1972),    No
                                                Trading Account    Services &          pooled for a common purpose and separate accounts or customers are not
      cert. denied, 409 U.S.
                                                                   Lending             contractually tied.
      887 (1972)
                                                                                       Holding that the sale of a partnership interest from one family member to
7.    Vincent v. Moench, 473                    Partnership
                                   No                              Family Fund         another in a family partnership is not the sale of a security under the
      F.2d 430 (10th Cir. 1973)                 Interest
                                                                                       Securities Exchange Act of 1934.

                                                                                       Holding a franchise agreement not to be an investment contract where the
      Lino v. City Investing
8.                                              Franchise          Distributorships    franchisee is required to perform vital duties in connection with the
      Co., 487 F.2d 689 (3d        No
                                                Interests          & Franchises        agreement, including opening and staffing a sales center and devoting
      Cir. 1973)
                                                                                       significant time and best efforts to the business.


                                                                                       Holding a fast food chain's franchise agreement not to be an investment
      Nash & Assocs., Inc. v.
                                                Franchise          Distributorships    contract where "nothing more than assistance [from the franchisor] was
9.    Lum's of Ohio, Inc., 484     No
                                                Interests          & Franchises        contemplated and … the ultimate responsibility for local success rested with
      F.2d 392 (6th Cir. 1973)
                                                                                       the franchisee."


      Bitter v. Hoby’s Int’l,                                                          Finding a restaurant franchise agreement not to create an investment contract
10.                                             Franchise          Distributorships
      Inc., 498 F.2d 183 (9th      No                                                  where, despite franchise guidelines, the franchisee is responsible for day-to-
                                                Interests          & Franchises
      Cir. 1974)                                                                       day restaurant management and operations.

                                                                                       Finding that a promissory note, together with an ancillary deed of trust
                                                                                       securing the note, does not create an investment contract, where no evidence
                                                                   Banking,
      Bellah v. First Natl. Bk.                                                        exists to indicate the creditor sought to profit from the noteholders' enterprise;
11.                                             Certificate of     Investment
      of Hereford, Texas, 495      No                                                  also holding that a certificate of deposit issued in exchange for cash only
                                                Deposit            Services &
      F.2d 1109 (5th Cir. 1974)                                                        involves currency and therefore does not create an investment contract.
                                                                   Lending
                                                                                       Adopting a distinction between commercial and investment banking to
                                                                                       determine whether a loan transaction is a security.
                                                                                       Finding the purchase of “stock” from an apartment lessor not to be a
      United Housing
                                                                                       securities transaction where the instrument merely represents a leasehold
12.   Foundation, Inc. v.                       Cooperative
                                   No                              Real Estate         interest in an apartment and residents have "no reasonable expectation of
      Forman, 421 U.S. 837                      Apartment Stock
                                                                                       profit in the form of either capital appreciation or participation in earnings."
      (1975)
                                                                                       See Schedule 1 at 19 for prior history.

                                                                           131
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                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 168 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                   Investment
                                                Object or                              Finding
      Case Caption                 Contract                        Industry
                                                Interest
                                   Found?
                                                                                       Following Forman in holding that the private sale of non-transferable
13.   Grenader v. Spitz, 537                    Cooperative                            apartment stock does not create an investment contract where the funds from
                                   No                              Real Estate
      F.2d 612 (2d Cir. 1976)                   Apartment Stock                        the sale are not intended for anything other than for purchasing and
                                                                                       maintaining the apartment building.
      Fargo Partners v. Dain                                                           Finding a real estate transaction involving a management contract not to
14.                                             Partnership
      Corp., 540 F.2d 912 (8th     No                              Real Estate         create an investment contract where the investor does not substantially rely on
                                                Interest
      Cir. 1976)                                                                       the efforts of the seller or third parties in expectation of a return.
                                                                                       Concluding that the sale of a 50% interest in a group of oil and gas lease units
      Ballard & Cordell Corp.
                                                                                       does not establish an investment contract where the operator offers the units
15.   v. Zoller & Danneberg                     Leasehold
                                   No                              Oil & Gas           in whole and evidence indicates that with the expectation of profits, the
      Expl., Ltd., 544 F.2d                     Interest
                                                                                       investor would be relying not only on the operator's efforts but on his own
      1059 (10th Cir. 1976)
                                                                                       knowledge and skill.
                                                                                       Affirming that a discretionary trading agreement is not an investment contract
                                                                   Banking,
      Hirk v. Agri-Research                                                            because it falls short of the Howey test's "common enterprise" prong, even
16.                                             Discretionary      Investment
      Council, Inc., 561 F.2d      No                                                  where the trader may be interacting with other trading accounts, because
                                                Trading Account    Services &
      96 (7th Cir. 1977)                                                               these actions do not transform the purchaser's trading account into a joint
                                                                   Lending
                                                                                       account with other holders
      McGovern Plaza Joint                                                             Finding that neither a construction loan commitment nor permanent loan
17.   Ven. v. First of Denver,                  Loan                                   commitment create an investment contract, because a real estate developer's
                                   No                              Real Estate
      562 F.2d 645 (10th Cir.                   Commitment                             interest in obtaining financing are purely commercial, and the developer is in
      1977)                                                                            no way relying on the efforts of others to gain profit.
                                                                                       Finding an investor's interest in an apartment complex not to create an
      Schultz v. Dain Corp.,
18.                                             Real Estate                            investment contract where, despite delegating responsibility to a managing
      568 F.2d 612 (8th Cir.       No                              Real Estate
                                                Interest                               agent, the investor retains ultimate control over the apartment enterprise and
      1978)
                                                                                       did not rely on the efforts of third parties with the expectation of profit.
                                                                                       Finding a catalog sales agreement not to be an investment contract where
      Crowley v. Montgomery
19.                                             Franchise          Distributorships    catalog franchisees are required to establish and maintain stores at their own
      Ward Co., Inc., 570 F.2d     No
                                                Interests          & Franchises        expense and devote substantial time and best efforts to support the venture.
      877 (10th Cir. 1978)
                                                                                       See Schedule 3 at 9 for prior history.
                                                                   Banking,
      Moody v. Bache Co.,
                                                Discretionary      Investment          Rejecting that commodities futures contracts are investment contracts in and
20.   Inc., 570 F.2d 523 (5th      No
                                                Trading Account    Services &          of themselves.
      Cir. 1978)
                                                                   Lending
      Woodward v. Terracor,
                                                Real Estate                            Concluding that a developer’s sale of residential real estate does not create an
21.   574 F.2d 1023 (10th Cir.     No                              Real Estate
                                                Interest                               investment contract where the developer has no contractual obligations to the
      1978)

                                                                           132
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                                  Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 169 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                                    Investment
                                                 Object or                            Finding
      Case Caption                  Contract                        Industry
                                                 Interest
                                    Found?
                                                                                      purchasers other than to deliver good title upon satisfaction of the purchase
                                                                                      terms.

      Commander’s Palace                                                              Finding that the sale of park land coupled with a management contract does
22.   Park Assocs. v. Girard &                   Real Estate                          not create an investment contract where the seller does not lead the purchaser
                                    No                              Real Estate
      Pastel Corp., 572 F.2d                     Interest                             to expect profits solely as a result of the services provided under the
      1084 (5th Cir. 1978)                                                            management contract.
      Robertson v. Humphries,
                                                                                      Affirming the lower court's finding that the sale of oil and gas leases do not
23.   No. 77-1156., 1978 U.S.                    Oil & Gas
                                    No                              Oil & Gas         create fractional interests to be sold as part of an investment contract, despite
      App. LEXIS 9196 (10th                      Leases
                                                                                      retention of an overriding royalty interest.
      Cir. Sept. 7, 1978)
                                                                                      Determining that an employment contract and memorandum do not establish
      Peyton v. Morrow
24.                                              Employee Stock                       an investment contract where the employee believes he is compensated for
      Electronics, Inc., 587        No                              ESOP
                                                 Option Plan                          less than what he is worth and the employee is himself the marketing manager
      F.2d 413 (9th Cir. 1978)
                                                                                      of the purported "promoter."
                                                                    Banking,          Finding that notes and land sales contracts given as consideration for two
      United Sportfishers v.
25.                                              Real Estate        Investment        boats are not "securities" but mere commercial arrangements, because the
      Buffo, 597 F.2d 658 (9th      No
                                                 Interest           Services &        seller of the boats did not induce the buyer into any expectations of returns on
      Cir. 1978)
                                                                    Lending           the investment.
                                                                                      Finding a noncontributory, compulsory pension plan not to create an
                                                                                      investment contract, because employer plan contributions are not equitable
26.   Teamsters v. Daniel, 439
                                    No           Pension Interest   Pension Plans     with an investment by the employee and therefore do not constitute an
      U.S. 551 (1979)
                                                                                      "investment of money" under the Howey test. See Schedule 1 at 25 for prior
                                                                                      history.

                                                                                      Determining that participation in a contributory pension plan does not create
27.   Black v. Payne, 591 F.2d
                                    No           Pension Interest   Pension Plans     an investment contract, because participation does not involve a "reasonable
      83 (9th Cir. 1979)
                                                                                      expectation of profits" derived from the efforts of others.

                                                                    Banking,
      Brodt v. Bache Co., Inc.,                                                       Concluding a discretionary commodities trading account does not satisfy the
28.                                              Discretionary      Investment
      595 F.2d 459 (9th Cir.        No                                                "common enterprise" prong of the Howey test and therefore does not establish
                                                 Trading Account    Services &
      1979)                                                                           an investment contract under the Securities Act.
                                                                    Lending



                                                                            133
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                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 170 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                   Investment
                                                Object or                              Finding
      Case Caption                 Contract                        Industry
                                                Interest
                                   Found?
      De Luz Ranchos Inv.,
                                                                                       Finding a land sale contract not to be an investment contract where the seller
29.   Ltd. v. Coldwell Banker                   Real Estate
                                   No                              Real Estate         is obligated to do no more than transfer title to the land and otherwise makes
      & Co., 608 F.2d 1297                      Interest
                                                                                       no representations that it would develop, improve, or manage the land sold.
      (9th Cir. 1979)
      Canadian Imperial Bank                                       Banking,
                                                                                       Affirming dismissal and determining the complaint does not allege sufficient
30.   of Commerce v.                            Certificate of     Investment
                                   No                                                  facts to conclude that a certificate of deposit issued by an offshore bank and
      Fingland, 615 F.2d 465                    Deposit            Services &
                                                                                       trust entity is a security under the Securities Exchange Act.
      (7th Cir. 1980)                                              Lending
      Curran v. Merrill Lynch,                                     Banking,
                                                                                       Affirming that facts must be proven to establish the presence of a "common
31.   Pierce, Fenner & Smith,                   Discretionary      Investment
                                   No                                                  enterprise" among commodity trading account investors to conclude whether
      Inc., 622 F.2d 216 (6th                   Trading Account    Services &
                                                                                       an investment contract exists.
      Cir. 1980)                                                   Lending
                                                Limited
32.   Mason v. Unkeless, 618                                       Photocopy           Rejecting an oral limited partnership agreement as any adequate basis for a
                                   No           Partnership
      F.2d 597 (9th Cir. 1980)                                     Venture             federal securities fraud claim.
                                                Interests
                                                                   Banking,
      United Am. Bank v.                                                               Finding a loan participation agreement not to be an investment contract where
33.                                                                Investment
      Gunter, 620 F.2d 1108        No           Loan Interests                         participation is part of a routine commercial loan transaction in which the
                                                                   Services &
      (5th Cir. 1980)                                                                  debtor does not rely on the entrepreneurial efforts of the creditor.
                                                                   Lending
      Noa v. Key Futures, Inc.,                                                        Finding the sale of silver bars not to create an investment contract where
34.   638 F.2d 77 (9th Cir.        No           Silver Interests   Buy-Back Sales      profits are dependent only on fluctuations in the silver market and not on the
      1980)                                                                            seller's managerial efforts.
      Westchester Corp. v.
35.   Peat, Marwick, Mitchell                   Real Estate                            Determining that land sold under an installment contract does not create an
                                   No                              Real Estate
      & Co., 626 F.2d 1212                      Interest                               investment contract where no common enterprise exists.
      (5th Cir. 1980)
                                                                                       Concluding a franchise agreement that requires the franchisee to sell
      Martin v. T. V. Tempo,                                                           advertisements and manage magazine distribution within in a defined area
36.                                             Franchise          Distributorships
      Inc., 628 F.2d 887 (5th      No                                                  does not create an investment contract, because the franchisee has immediate
                                                Interests          & Franchises
      Cir. 1980)                                                                       control over essential management of the enterprise, which is significantly
                                                                                       determinative of resulting profits or losses.
      Am. Fletcher Mortg. Co.                                                          Holding that loan participations are not securities where the loans bare a
37.   v. U. S. Steel Credit                                        Loan                particular rate of interest, mature in a relatively short time, and do not
                                   No           Loan Interests
      Corp., 635 F.2d 1247                                         Syndication         accompany "a reasonable expectation of profits but rather a commercial real
      (7th Cir. 1980)                                                                  estate loan transaction."

                                                                           134
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                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 171 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                                   Investment
                                                 Object or                            Finding
      Case Caption                 Contract                         Industry
                                                 Interest
                                   Found?
      Union Planters Nat’l
                                                                                      Finding a loan participation agreement not to be an investment contract
      Bank v. Commercial
38.                                                                 Loan              because, even where the lead lender had "practically unlimited discretion" in
      Credit Bus. Loans, Inc.,     No            Loan Interests
                                                                    Syndication       servicing the loan, the arrangement has no common enterprise and does not
      651 F.2d 1174 (6th Cir.
                                                                                      depend on the lender's entrepreneurial or managerial efforts.
      1981)


                                                 Limited                              Precluding a limited partner from characterizing his partnership interest as a
39.   Frazier v. Manson, 651
                                   No            Partnership        Real Estate       security where the partner's rights and responsibilities sufficiently distinguish
      F.2d 1078 (5th Cir. 1981)
                                                 Interests                            his status from that of a "passive" investor.


                                                                                      Finding that a certificate of deposit issued by a federally regulated bank,
                                                                                      which is subject to a comprehensive set of regulations, is different from other
                                                                    Banking,
                                                                                      long-term debt obligations commonly deemed securities, and the protections
40.   Marine Bank v. Weaver,                     Certificate of     Investment
                                   No                                                 afforded to the depositor make federal securities laws unnecessary. Finding
      455 U.S. 551 (1982)                        Deposit            Services &
                                                                                      that a separate business agreement providing the creditor a share of the
                                                                    Lending
                                                                                      company's profits is also not in itself sufficient to create a security. See
                                                                                      Schedule 3 at 20 for prior history.
      Bd. of Trade v. S.E.C.,                                                         Rejecting that Ginnie Mae options contracts are securities where specifically
                                   No
41.   677 F.2d 1137 (7th Cir.                    Mortgage           Government        exempted under the Securities Act and Securities Exchange Act and carved
                                   (Superseded
      1982), vacated as moot,                    Options            Securities        out exclusively under the Commodity Futures Trading Commission's
                                   by Statute)
      459 U.S. 1026 (1982).                                                           jurisdiction. Vacated at 459 U.S. 1026 (1982).
      Salcer v. Merrill Lynch,                                      Banking,
                                                                                      Determining that a commodity trading account does not satisfy the "common
42.   Pierce, Fenner & Smith,                    Discretionary      Investment
                                   No                                                 enterprise" prong of the Howey test where it is not part of a pooled group of
      Inc., 682 F.2d 459 (3d                     Trading Account    Services &
                                                                                      trading funds.
      Cir. 1982)                                                    Lending
      Coward v. Colgate-                                                              Finding participation in a pension plan not to create an investment contract
43.   Palmolive Co., 686 F.2d      No            Pension Interest   Pension Plans     where employee participants bear no real economic risk and do not depend on
      1230 (7th Cir. 1982)                                                            the efforts of plan managers in expectation of a return.
                                                                                      Reversing the grant of summary judgment with respect to one defendant and
44.   Gordon v. Terry, 684                       Real Estate                          holding that it could not be determined whether that defendant had unique
                                   No                               Real Estate
      F.2d 736 (11th Cir. 1982)                  Interest                             knowledge and expertise warranting dependence by investors such that the
                                                                                      real estate syndication fell within a special exception resulting in definition as


                                                                            135
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                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 172 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                   Investment
                                                Object or                              Finding
      Case Caption                 Contract                        Industry
                                                Interest
                                   Found?
                                                                                       a security, and affirming the grant of summary judgment for the rest of the
                                                                                       defendants on the grounds that the real estate syndications were not securities.
                                                                                       Rejecting any meaningful presence of a "common enterprise" in a
      Meyer v. Thomas &                                            Banking,
                                                                                       discretionary commodities trading account where the promoter takes
45.   McKinnon Auchincloss                      Discretionary      Investment
                                   No                                                  quarterly commissions as part of a set fee structure, because the promoter
      Kohlmeyer, Inc., 686                      Trading Account    Services &
                                                                                       profits even when the account loses value and cannot withdraw profits as they
      F.2d 818 (9th Cir. 1982)                                     Lending
                                                                                       accrue.
                                                                                       Citing Brodt to conclude that a discretionary commodities trading account
                                                                   Banking,            does not satisfy the "common enterprise" prong of the Howey test because
      Mordaunt v. Incomco,
                                                Discretionary      Investment          there is no vertical commonality between the investor and the promoter
46.   686 F.2d 815 (9th Cir.       No
                                                Trading Account    Services &          merely where the success or failure of investments is essentially and
      1982)
                                                                   Lending             collectively dependent on the promoter's expertise. See Schedule 3 at 29 for
                                                                                       subsequent history.
      Villeneuve v. Advanced
                                                                                       Holding a distributorship contract not to be an investment contract where
47.   Bus. Concepts Corp., 698                  Distributorship    Distributorships
                                   No                                                  purchasers exercise extensive control over their profit potential. See entry 52
      F.2d 1121 (11th Cir.                      Rights             & Franchises
                                                                                       for subsequent history.
      1983)
                                                                                       Finding that the interest of a general partner with expertise in a partnership
                                                Limited
      Odom v. Slavik, 703 F.2d                                                         does not create an investment contract merely because the partner voluntarily
48.                                No           Partnership        Real Estate
      212 (6th Cir. 1983)                                                              reduces his participation and therefore no longer relies on his own efforts in
                                                Interests
                                                                                       expectation of profit distributions.
      LTV Fed. Credit Union
49.   v. UMIC Gov’t Sec.,                       Mortgage           Government          Determining a forward standby commitment for a mortgage loan not to be a
                                   No
      Inc., 704 F.2d 199 (5th                   Interests          Securities          security because it is not the product of a commercial endeavor.
      Cir. 1983)
      Landreth Timber Co. v.
                                                                                       Affirming under the sale of business doctrine that the sale of 100% of a
50.   Landreth, 731 F.2d 1348
                                   No           Stock              Stock Sale          company's stock does not create an investment contract. Reversed at 105 S.
      (9th Cir. 1984), rev’d,
                                                                                       Ct. 2297 (1985). See Schedule 3 at 30 for subsequent history.
      105 S. Ct. 2297 (1985)
      Goodwin v. Elkins Co.,                    General                                Finding a general partner interest not to be a security, because a general
51.                                                                General
      730 F.2d 99 (3d Cir.         No           Partnership                            partner is naturally and unavoidably personally involved in the enterprise's
                                                                   Partnership
      1984)                                     Interests                              management, even if unwilling.
      Villeneuve v. Advanced                                                           Affirming that the rights of a purchaser under a distributorship agreement do
52.   Bus. Concepts Corp., 730                  Distributorship    Distributorships    not create an investment contract where the distributor does not sufficiently
                                   No
      F.2d 1403 (11th Cir.                      Rights             & Franchises        rely on the principal's efforts in anticipation of profit. See entry 47 for prior
      1984)                                                                            history.

                                                                           136
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                                  Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 173 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                                    Investment
                                                 Object or                            Finding
      Case Caption                  Contract                        Industry
                                                 Interest
                                    Found?
                                                                                      Finding a real estate sale and lease-back arrangement not to create an
      Hart v. Pulte Homes of
53.                                              Sale/Leaseback                       investment contract where the investor's contribution is not involved in a
      Mich. Corp., 735 F.2d         No                              Real Estate
                                                 Interests                            common scheme or inextricably intertwined with the investments of others,
      1001 (6th Cir. 1984)
                                                                                      therefore lacking any sense of a "common enterprise."
      Kan. State Bank v.                                            Banking,          Finding participation interests in a standard commercial loan not to be
                                                 Loan
54.   Citizens Bank of                                              Investment        securities, because the participant has no prospect of capital appreciation and
                                    No           Participation
      Windsor, 737 F.2d 1490                                        Services &        the creditor's entrepreneurial and managerial efforts are limited to remitting
                                                 Certificates
      (8th Cir. 1984)                                               Lending           the participant's share of principal and interest.
                                                                                      Determining that the sale of a painting, accompanied by an appraisal and
      Stenger v. R.H. Love
55.                                                                                   contractual return and repurchase right, does not to create an investment
      Galleries, Inc., 741 F.2d     No           Art                Art Sales
                                                                                      contract, because proceeds are not invested in any "common enterprise" under
      144 (7th Cir. 1984)
                                                                                      either the horizontal or vertical commonality tests.
                                                                    Banking,
      Paulsen v.                                 Mutual
56.                                                                 Investment        Rejecting the petitioner’s characterization of mutual association shares as
      Commissioner, 469 U.S.        No           Association
                                                                    Services &        securities following Tcherepnin.
      131 (1985)                                 Shares
                                                                    Lending
                                                                                      Determining that a promissory note does not create an investment contract,
      Futura Development
                                                                                      even where the parties negotiate a custom sales agreement with
57.   Corp. v. Centex Corp.,
                                    No           Promissory Note    Real Estate       predetermined rates of interest, because the lender does not depend on the
      761 F.2d 33 (1st Cir.
                                                                                      entrepreneurial efforts of others in anticipation of profit and the nature of the
      1985)
                                                                                      transaction is purely commercial.
                                                                                      Finding a joint venture interest not to be an investment contract where
                                                                                      evidence suggests only that the interest is compensation to the holder for his
58.   Phillips v. Kaplus, 764                    Joint Venture
                                    No                              Real Estate       efforts supporting the enterprise and not that the interest is awarded in
      F.2d 807 (11th Cir. 1985)                  Interests
                                                                                      exchange for an investment of money or services with the hope of making a
                                                                                      profit.

      S.E.C. v. Belmont Reid                                                          Finding that expected profits from the sale of gold coins do not meet the
59.                                              Prepaid Gold       Prepaid Gold
      & Co., 794 F.2d 1388          No                                                "efforts of others" prong of the Howey test where profits are realized not as a
                                                 Coin Interests     Coin Contracts
      (9th Cir. 1986)                                                                 result of the seller's efforts but due to market movements.

                                                                    Banking,          Finding a discretionary commodities trading account to lack any sense of
      Lopez v. Dean Witter
60.                                              Discretionary      Investment        "common enterprise" necessary to establish an investment contract solely
      Reynolds, Inc., 805 F.2d      No
                                                 Trading Account    Services &        where the commodities broker has discretionary trading authority over the
      880 (9th Cir. 1986)
                                                                    Lending           account.
                                                                            137
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                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 174 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                   Investment
                                                Object or                              Finding
      Case Caption                 Contract                        Industry
                                                Interest
                                   Found?
                                                                                       Finding interests in a general partnership connected to oil lease sales not to
      Deutsch Energy Co. v.                                                            create an investment contract where the partners possess significant
61.                                             Partnership
      Mazur, 813 F.2d 1567         No                              Oil & Gas           managerial powers and a high degree of business acumen and therefore could
                                                Interests
      (9th Cir. 1987)                                                                  not rightfully expect their profits to result solely from the efforts of anyone
                                                                                       other than themselves.
                                                                                       Concluding a perfumery franchise agreement does not to create an investment
      Meyer v. Dans un Jardin,
62.                                             Franchise          Distributorships    contract, because franchisees cannot anticipate profit resulting solely from the
      S.A., 816 F.2d 533 (10th     No
                                                Interests          & Franchises        franchisor's efforts where the franchise's economic success depends on
      Cir. 1987)
                                                                                       functions controlled by franchisees.
                                                                                       Applying the Howey test to conclude that a mortgage sale, even where
      First Fin. Fed. Sav. &                                       Banking,            accompanied by a mortgage servicing agreement, is not a sale of securities
63.   Loan Assoc. v. E.F.                                          Investment          under Arkansas law, because mortgage servicing activities are merely
                                   No           Mortgage Loans
      Hutton Mortg. Corp., 834                                     Services &          administrative, the purchaser could assume control over those activities at
      F.2d 685 (8th Cir. 1987)                                     Lending             other time, and the purchaser therefore could not be said to reasonably rely on
                                                                                       the servicer's efforts to generate a return.
                                                                                       Finding that partnership interests in a general partnership engaged in
                                                                                       commercial fishing do not create an investment contract where partners retain
      Rivanna Trawlers
                                                General                                and exercise express authority to manage the enterprise's investments.
64.   Unlimited v. Thompson                                        Commercial
                                   No           Partnership                            Maintaining the presumption that partnership interests in a general
      Trawlers, Inc., 840 F.2d                                     Fishing
                                                Interests                              partnership are not securities, which may only be rebutted by evidence that
      236 (4th Cir. 1988)
                                                                                       partners could not in practice exercise control over the enterprise or its
                                                                                       investments.
                                                                                       Affirming that the sale of a general partnership interest does not create an
                                                General                                investment contract, even where a single managing partner is appointed to
65.   Stuckey v. Geupel, 854                                       Mining &
                                   No           Partnership                            manage primary operations related to the partnership's mineral interests,
      F.2d 1317 (4th Cir. 1988)                                    Leasing
                                                Interests                              because all partners assume an active role in partnership management and
                                                                                       mineral interests are not divided among partners for speculative purposes.
                                                                                       Finding that a unique purchase agreement entitling the purchaser to 2% of the
      Secon Service System v.                                                          seller's gross revenue for 6 years creates an ordinary extension of credit
66.                                             Purchase
      St. Joseph Bk. Trust, 855    No                              Transportation      outside the Securities Act's reach, because the purchaser does not invest funds
                                                Agreement
      F.2d 406 (7th Cir. 1988)                                                         that are pooled to support a common enterprise and cannot reasonably expect
                                                                                       gains solely from the efforts of others.
                                                                                       Applying the Howey test to conclude that an interest in a joint venture that
67.   Sparks v. Baxter, 854                     Joint Venture                          manages oil and gas leases does not create an investment contract under
                                   No                              Oil & Gas
      F.2d 110 (5th Cir. 1988)                  Interests                              Texas law where the holder is entitled to exercise considerable power over
                                                                                       the oil and gas enterprise.

                                                                           138
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                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 175 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                                    Investment
                                                 Object or                              Finding
      Case Caption                  Contract                        Industry
                                                 Interest
                                    Found?

      Danner v. Himmelfarb,                                                             Finding a promissory note not to create an investment contract where the
68.   858 F.2d 515 (9th Cir.        No           Promissory Note    Forex               purchaser does not expect profits from capital appreciation and is not awarded
      1988)                                                                             a share in the enterprise formed using the borrowed capital.

                                                                                        Determining a privately negotiated production agreement not to create an
      Mace Neufeld
                                                                                        investment contract where the producer is required to consult with the
69.   Productions, Inc. v. Orion                 Joint Venture
                                    No                              Entertainment       investor and obtain his approval over all substantial matters and therefore
      Pictures Corp., 860 F.2d                   Interests
                                                                                        does not instill a reasonable expectation of profit in the investor resulting
      944 (9th Cir. 1988)
                                                                                        solely from the producer's efforts.
                                                                                        Affirming that a general partnership interest in a partnership engaged in a fish
                                                 General
70.   Matek v. Murat, 862 F.2d                                                          processing operation does not establish an investment contract where all
                                    No           Partnership        Fish Processing
      720 (9th Cir. 1988)                                                               partners possess sufficient power to protect their investments and no evidence
                                                 Interests
                                                                                        suggests that power is hindered in any way.
      Schlifke v. Seafirst Corp.,                Limited                                Determining that the sale of limited partner interests in a partnership engaged
71.   866 F.2d 935 (7th Cir.        No           Partnership        Oil & Gas           in oil and gas exploration does not create an investment contract where the
      1989)                                      Interests                              interest holder's only expectation of profit is from a fixed rate of interest.
                                                                                        Concluding the sale of a yacht, even when coupled with a management
      Deckebach v. La Vida
72.                                                                                     agreement, not to create an investment contract where the seller has no other
      Charters, Inc., 867 F.2d      No           Yacht Interests    Yachting
                                                                                        investors or joint purchasers, which would be necessary to establish
      278 (6th Cir. 1989)
                                                                                        "horizontal commonality."
                                                                                        Finding an interest in a housing development project not to create an
      Maritan v. Birmingham
73.                                              Joint Venture                          investment contract where the governing agreement's terms provide the
      Properties, 875 F.2d 1451     No                              Real Estate
                                                 Interests                              investor with substantial managerial powers uncharacteristic of a passive
      (10th Cir. 1989)
                                                                                        investor.
                                                                                        Rejecting that someone can be considered the seller of a security where that
      Crawford v. Glenns, Inc.,                  Limited
74.                                                                                     person has no title to or ownership interest in the security or the assets or
      876 F.2d 507 (5th Cir.        No           Partnership        Pork Brokerage
                                                                                        enterprise underlying the security and did not pass title to the commodity
      1989)                                      Interests
                                                                                        fund investment contract to the purchaser.
      Banghart v. Hollywood                      General                                Finding a partner interest in a general partnership not to create an investment
75.                                                                 General
      Gen. P’ship, 902 F.2d         No           Partnership                            contract were the governing partnership agreement does not restrict the
                                                                    Partnership
      805 (10th Cir. 1990)                       Interests                              customary powers of the general partners.
                                                                                        Determining that a fast food franchise agreement does not create an
76.   Boldy v. McConnell's                       Franchise          Distributorships
                                    No                                                  investment contract where franchisees have clearly defined obligations that
      Fine Ice Creams, Inc.,                     Interests          & Franchises
                                                                                        are essential to the franchise's success.

                                                                            139
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                                             Electronic copy available at: https://ssrn.com/abstract=4282385
                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 176 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                   Investment
                                                Object or                            Finding
      Case Caption                 Contract                        Industry
                                                Interest
                                   Found?
      904 F.2d 710 (9th Cir.
      1990)
                                                                                     Finding a loan participation agreement not to establish an investment
      First Citizens Fed. Sav. &
                                                                                     contract, even where the lender is obligated to administer and service the loan
      Loan Ass’n v. Worthen
77.                                                                                  with the same degree of care as if it is servicing and administering the loan on
      Bank & Tr. Co., N.A.,        No           Loan Interests     Real Estate
                                                                                     its own account, because the participants do not rely on the lender's
      919 F.2d 510 (9th Cir.
                                                                                     managerial skills for a fixed rate of return, making the transaction primarily
      1990)
                                                                                     commercial in nature.
                                                                                     Finding that an interest in a joint venture invested in real property does not
                                                                                     create an investment contract where the interest holder cannot reasonably
78.   Harman v. Harper, 914                     Real Estate
                                   No                              Real Estate       expect to reap profits based solely on the other venturers' managerial efforts
      F.2d 262 (9th Cir. 1990)                  Interest
                                                                                     and the successes of the underlying investments in no way depend on the
                                                                                     entrepreneurial efforts of third parties.
                                                                                     Working interests in oil and gas wells were not "investment contracts"
                                                                                     because investors retained sustained managerial powers under operating
                                                General
79.   Stewart v. Ragland, 934                                                        agreement to receive results of title examinations, to remove the operator and
                                   No           Partnership        Oil & Gas
      F.2d 1033 (9th Cir. 1991)                                                      secure successor operator, to have access to drilling site and documents
                                                Interests
                                                                                     pertaining to operator's work, and to decide that wells should be reworked,
                                                                                     etc.
                                                General                              Finding partner interests in a general partnership not to create an investment
80.   Klaers v. St. Peter, 942
                                   No           Partnership        Real Estate       contract where the partners are personally liable for the partnership's debts
      F.2d 535 (8th Cir. 1991)
                                                Interests                            and retain voting power to affect the partnership's affairs.
                                                Real Estate                          Concluding that the sale of lots in a beach club development do not establish
      Rice v. Branigar Org.,
81.                                             Interests &                          an investment contract where the purchasers merely intend to enjoy use of the
      Inc., 922 F.2d 788 (11th     No                              Real Estate
                                                Country Club                         property and do not expect to retain profit from the developer's
      Cir. 1991)
                                                Memberships                          entrepreneurial efforts.
                                                                                     Finding that an oral agreement and sale of post-dated checks made as part of
      Guidry v. Bank of
82.                                                                                  a ponzi scheme does not create an investment contract, because the investor
      LaPlace, 954 F.2d 278        No           Checks             Ponzi Scheme
                                                                                     could expect no more than the face value of the post-dated checks, therefore
      (5th Cir. 1992)
                                                                                     failing to meet the "expectation of profit" prong of the Howey test.
      Cty. of Santa Cruz v. Cal.
83.   Health Facilities Fin.                    Lease                                Affirming that a loan does not create an investment contract where borrowed
                                   No                              Real Estate
      Auth., No. 91-15309,                      Agreement                            funds are used merely to acquire property and not for investment.
      1992 U.S. App. LEXIS

                                                                           140
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                                            Electronic copy available at: https://ssrn.com/abstract=4282385
                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 177 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                   Investment
                                                Object or                            Finding
      Case Caption                 Contract                        Industry
                                                Interest
                                   Found?
      18213 (9th Cir. July 30,
      1992)



                                                                                     Maintaining Williamson's three-prong test to determine whether the general
                                                General                              partnership interests in a thoroughbred association can satisfy the "efforts of
84.   Holden v. Hagopian, 978
                                   No           Partnership        Horsebreeding     others" prong of the Howey test. Affirming that appellants failed to plead
      F.2d 1115 (9th Cir. 1992)
                                                Interests                            allegations sufficient to establish that general partnership interests were
                                                                                     investment contracts.
                                                                                     Discussing that “a security might exist" if a developer promises to create a
      Rodriguez v. Banco Cent.
85.                                             Real Estate                          thriving residential community together with its sale of land but that the
      Corp., 990 F.2d 7 (1st       No                              Real Estate
                                                Interest                             “simple sale of land, whether for investment or use, is [typically] not a
      Cir. 1993)
                                                                                     security.”
                                                                   Banking,
      Resolution Trust Corp. v.                                                      Determining that the purchase and resale of car loans does not establish an
86.                                                                Investment
      Stone, 998 F.2d 1534         No           Loan Receipts                        investment contract where the purchaser receives specialized interest
                                                                   Services &
      (10th Cir. 1993)                                                               payments rather than dividends.
                                                                   Lending
                                                                                     Concluding that a condominium purchase contract does not create an
      Revak v. SEC Realty
87.                                             Condominium                          investment contract where there is "simply no indicia of horizontal
      Corp., 18 F.3d 81 (2d        No                              Real Estate
                                                Interests                            commonality" when the rents and expenses attributable to each unit are the
      Cir. 1994)
                                                                                     exclusive responsibility of the unit owner.
                                                                                     Finding interests in a time-share condominium unit not to be securities when
                                                                                     holders separately arrange to share certain income from the unit with the
      Wals v. Fox Hills                                                              developer, because no horizontal commonality exists to support the "common
88.                                             Condominium
      Development Corp., 24        No                              Real Estate       enterprise" prong of the Howey test where the holders do not own an
                                                Interests
      F.3d 1016 (7th Cir. 1994)                                                      undivided share of the entire complex but a single condominium unit, and
                                                                                     where holders do not receive a share of profit from a pool of rents but in the
                                                                                     rental income of a single apartment.
                                                                                     Finding that interests in touchless carwash technology fail to meet the "efforts
      Pamaco P’ship Mgmt.                       Limited
89.                                                                                  of others" prong under the Howey test, because the terms of each holder's
      Corp. v. Enning, 27 F.3d     No           Partnership        Car Wash
                                                                                     agreement show that holders retain partnership interests necessary to
      563 (4th Cir. 1994)                       Interests
                                                                                     practically exercise control over the venture.




                                                                           141
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                                            Electronic copy available at: https://ssrn.com/abstract=4282385
                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 178 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                   Investment
                                                Object or                             Finding
      Case Caption                 Contract                         Industry
                                                Interest
                                   Found?


      Berry v. Carnaco Transp.,                                                       Affirming that trucker financing and driver contracts do not create investment
90.                                             Financing
      43 F.3d 1478 (9th Cir.       No                               Transportation    contracts where financiers do not rely on the management or control efforts of
                                                Interests
      1994)                                                                           others.


                                                                                      Distinguishing between pre- and post-purchase efforts by the promoter and
      S.E.C. v. Life Partners,                  Viatical
                                                                                      holding that pre-purchased services as a finder-promoter and the largely
91.   87 F.3d 536 (D.C. Cir.       No           Settlement          Insurance
                                                                                      ministerial post-purchase services is not enough to satisfy the “efforts of
      1996)                                     Interests
                                                                                      others” prong under Howey.


                                                                                      Determining that a plan to reinsure prior obligations and discharge
      Allen v. Lloyd's of
                                                                                      preexisting obligations fails to meet the “expectation of profit” prong of the
92.   London, 94 F.3d 923 (4th     No           Lawsuit Interests   Insurance
                                                                                      Howey test such that corresponding interests in a reconstruction and renewal
      Cir. 1996)
                                                                                      plan are not considered securities.

                                                                                      “Viatical settlement” investment contracts, where payment is made to
                                                                                      terminally ill insureds at discount based upon anticipated life expectancy,
      S.E.C. v. Life Partners,                  Viatical
                                                                                      were not "investment contracts": limitation of prepurchase services to finder
93.   102 F.3d 587 (D.C. Cir.      No           Settlement          Insurance
                                                                                      function and absence of any but ministerial post-purchase services combined
      1996)                                     Interests
                                                                                      to support conclusion that investors' profits did not flow predominantly from
                                                                                      efforts of others.

                                                                                      Finding that interests in a payphone sale and leaseback program are not
      Cooper v. King, 114 F.3d                  Sale/Leaseback      Leaseback         “inextricably intertwined” by contractual or financial arrangements among
94.                                No
      1186 (6th Cir. 1997)                      Interests           Arrangement       investors and therefore fail to meet the "common enterprise" prong under the
                                                                                      Howey test.

                                                                                      Finding a limited partner interest in a partnership not to be a security where
      Steinhardt Grp. v.                        Limited                               the limited partner retains powers "far afield of the typical limited partnership
                                                                    Structured
95.   Citicorp, 126 F.3d 144       No           Partnership                           agreement," including the power to remove the general partner without
                                                                    Products
      (3d Cir. 1997)                            Interests                             notice, propose and approve a new business plan, and veto the business plan
                                                                                      of the general partners if proposed.



                                                                            142
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                                            Electronic copy available at: https://ssrn.com/abstract=4282385
                                   Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 179 of 215
                                                        DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                     Do not cite in academic work without authors’ consent

                                     Investment
                                                  Object or                            Finding
       Case Caption                  Contract                        Industry
                                                  Interest
                                     Found?

                                                                                       Affirming the lower court's jury instruction that the sale of a vacation park
                                                                                       does not create an investment contract where purchasers seek only to use the
       Teague v. Bakker, 139                      Partnership        Lifetime
96.                                  No                                                park and are not motivated by any expectation of financial returns on their
       F.3d 892 (4th Cir. 1998)                   Interests          Partnerships
                                                                                       investment. Reversed at 35 F.3d 978 (4th Cir. 1994). See Schedule 3 at 54 for
                                                                                       prior history.


                                                                                       Holding that an employee stock ownership plan does not create an
       Matassarin v. Lynch, 174                   Employee Stock
97.                                  No                              ESOP              "investment contract" where employee investment is optional and employer
       F.3d 549 (5th Cir. 1999)                   Option Plan
                                                                                       funding is mandatory.


       Great Rivers Cooperative
                                                                                       Holding that capital credits in a regional agricultural cooperative fail to meet
       v. Farmland Industries,                    Cooperative        Agricultural
98.                                  No                                                the Howey test where there is no investment of money and the only
       Inc., 198 F.3d 685 (8th                    Interests          Cooperative
                                                                                       distribution of profit is from patronage refunds.
       Cir. 1999)

       S.E.C. v. ETS
       Payphones, Inc., 300                                                            Holding that interests in a payphone sale and leaseback arrangement are not
                                                                     Payphone &
       F.3d 1281 (11th Cir.                       Sale/Leaseback                       securities where the returns are contractually guaranteed and derived not from
99.                                  No                              Service
       2002), rev'd sub nom.                      Interests                            the efforts of others but from the contractual bargain. Reversed at 540 U.S.
                                                                     Contracts
       S.E.C. v. Edwards, 540                                                          389 (2004). See Schedule 1 at 71 and 73 for subsequent history.
       U.S. 389 (2004)

                                                                                       Determining an individual membership interest in a technology company not
       Robinson v. Glynn, 349                     Membership         Telecommunica     to be a security where the investor is not merely passive but has the power to
100.                                 No
       F.3d 166 (4th Cir. 2003)                   Interests          tions             appoint board members, participate as a member of the executive committee,
                                                                                       and affect control of management.


       Fin. Sec. Assurance, Inc.                                                       Concluding that municipal bonds do not create an investment contract where
       v. Stephens, Inc., 500                                                          the purchaser does not acquire any "profit to come solely from the efforts of
101.                                 No           Bond Interests     Insurance
       F.3d 1276 (11th Cir.                                                            others and expected profits come from the consideration paid for the issuance
       2007)                                                                           of an insurance policy rather than from the bonds.



                                                                             143
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                                              Electronic copy available at: https://ssrn.com/abstract=4282385
                                Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 180 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                                    Investment
                                                 Object or                            Finding
       Case Caption                 Contract                        Industry
                                                 Interest
                                    Found?


       Nunez v. Robin, 415 F.                                                         Affirming that the partners in a sand and gravel mining facility together
                                                                    Mining &
102.   App’x 586 (5th Cir.          No           LLC Interests                        controlled the scope and course of their joint venture such that the partners
                                                                    Leasing
       2011)                                                                          are not passive investors and their interests are not securities.


                                                                                      Holding that the purchase of fee simple interests in real estate do not create an
       Alunni v. Dev. Res. Grp.,                                                      investment contract because neither the "common enterprise" prong, nor the
                                                 Condominium
103.   445 F. App’x 288 (11th       No                              Real Estate       "efforts of others" prong of Howey are satisfied where the purchasers are free
                                                 Interests
       Cir. 2011)                                                                     to control the units themselves after existing long-term leases expire, at which
                                                                                      time there is no longer a rent guarantee.

                                                                                      Affirming that the sale of condominiums, together with a subsequent rental
       Salameh v. Tarsadia                                                            management agreement, does not create an investment contract, because the
                                                 Condominium
104.   Hotel, Corp., 726 F.3d       No                              Real Estate       rental management agreement is not shown to be promoted at the time of the
                                                 Interests
       1124 (9th Cir. 2013)                                                           sale, and because no evidence suggests investors are induced to purchase the
                                                                                      condominiums, meaning these are two distinct transactions.

       Goldberg v. 401 North                                                          Determining a condominium purchase agreement not to meet the “common
       Wabash Venture LLC,                       Condominium                          enterprise” prong of the Howey test where the seller does not pool investors'
105.                                No                              Real Estate
       755 F.3d 456 (7th Cir.                    Interests                            assets and no revenue generation is contemplated by the terms of the
       2014)                                                                          agreement.

                                                                                      Finding no investment contract where the managerial prerogatives of an
       Rossi v. Quarmley, 604                                                         enterprise's operating agreement give investors sufficient leverage and ability
106.   F. App’x 171 (3d Cir.        No           LLC Interests      Manufacturing     to participate in enterprise management, and where the investor's
       2015)                                                                          dissatisfaction with the majority's decisions do not convert his participation as
                                                                                      a partner to an investment contract.

                                                                    Banking,          Affirming that membership interests in the Brazilian equivalent of a limited
       Iguaçu, Inc. v. Filho, 637
                                                                    Investment        liability company are purchased with the full expectation of shared
107.   F. App’x 407 (9th Cir.       No           LLC Interests
                                                                    Services &        management and operation of the enterprise and therefore do not create an
       2016)
                                                                    Lending           investment contract.




                                                                            144
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                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 181 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                                    Investment
                                                 Object or                             Finding
       Case Caption                 Contract                        Industry
                                                 Interest
                                    Found?


       Keeton v. Flanagan (In re                                                       Finding that investors' financial interests in a loan are not "inextricably
108.   Flanagan), 642 F. App’x      No           Loan Interests     Real Estate        interwoven" with the interests of the promoter or third party such that there is
       784 (9th Cir. 2016)                                                             an investment in any sense of a "common enterprise."


                                                                                       Finding that where investors collectively control the profitability of their
       Ave. Capital Mgmt. II,
                                                                                       investments in the enterprise (considering their contribution of time and effort
       Ltd. P’ship v. Schaden,                                      Franchise and
109.                                No           LLC Interests                         to the success of the enterprise, their contractual powers, their access to
       843 F.3d 876 (10th Cir.                                      Distributorship
                                                                                       information, the adequacy of financing, the level of speculation, and the
       2016)
                                                                                       nature of the business risks), no investment contract exists.

       NE. Revenue Servs.,
                                                                                       Finding an investor's interest in a technology and marketing agreement not to
       LLC v. Maps Indeed,                       Technology
110.                                No                              Transportation     create an investment contract where the investor is contractually required to
       Inc., 685 F. App'x 96 (3d                 Interests
                                                                                       contribute "significant efforts" to support the underlying venture.
       Cir. 2017)


       Lampkin v. UBS Fin’l                                                            Affirming that grant of options under the employee stock option plan is not a
                                                 Employee Stock
111.   Servs., Inc., 925 F.3d 727   No                              ESOP               sale of securities because employees' participation is compulsory and non-
                                                 Option Plan
       (5th Cir. 2019)                                                                 contributory.


       N. Am. Wellness Ctr.
                                                                                       Affirming that a land sale agreement, together with an advisory agreement,
       Holdings, LLC v.
                                                                                       does not create an investment contract where purchasers fail to present
112.   Temecula Valley Real         No           Land Sale          Real Estate
                                                                                       evidence they have a reasonable expectation of profit from the efforts of
       Estate, Inc., 771 F. App’x
                                                                                       others.
       793 (9th Cir. 2019)


       Foxfield Villa Assocs.,                                                         Adopting the six Schaden factors to determine that the investors have
113.   LLC v. Robben, 967 F.3d      No           LLC Interests      Real Estate        sufficient control in their membership interests in the joint venture
       1082 (10th Cir. 2020)                                                           investments in real estate developments.




                                                                            145
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                                             Electronic copy available at: https://ssrn.com/abstract=4282385
                                  Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 182 of 215
                                                           DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                        Do not cite in academic work without authors’ consent

                                                                           SCHEDULE 3
 FEDERAL APPELLATE AND SUPREME COURT DECISIONS POST- SEC V. W.J. HOWEY CO. IN WHICH THE COURT
 REVERSED, REMANDED, FOUND A “SECURITY” OR DETERMINED THAT THE QUESTION AT ISSUE RELATED TO THE
 STATUS OF A “NOTE” OR THE QUESTION OF WHETHER THERE WAS AN INVESTMENT CONTRACT WAS IMMATERIAL OR
 “NOT RELEVANT” TO THE DECISION.

                                                                              Object Key
     NR and       Means that the decision in the case was immaterial or not relevant to whether there was an investment contract. Notations with an asterisk “*”
     NR*          mean that the court withdrew or substituted the decision with a subsequent decision, or the relevant analysis was found in the courts dissenting
                  opinion—these decisions are included in our analytical review as relevant.
     Remand       Means that the court remanded the matter for further proceedings consistent with their decision in order to determine whether the contract,
                  transaction, or scheme was an investment contract, independent of other issues raised or decided in the case.
     Security     Means that the court determined that the question at issue related to one of the enumerated types of securities set forth in the Securities Acts
                  (with the exception of “notes” and “investment contracts”), and did not opine on its status as an “investment contract”.
     Note Case    Means that the court determined that the question at issue related to the status of a “note” and examined it pursuant to the related jurisprudence.


                                  Investment
                                                  Object or                                  Finding
        Case Caption              Contract                              Industry
                                                  Interest
                                  Found?
                                                                                             Finding that the complaint alleged facts, which if proven upon the trial, would
                                                                                             establish that the plaintiffs invested their money in a common enterprise
        Jung v. K. & D.
1.                                                                                           whereby they were led to expect profits solely from the efforts of the
        Mining Co., 260 F.2d      Remand          Stock                 Oil & Gas
                                                                                             defendants as the promoters and not from any effort or activity on the part of
        607 (7th Cir. 1958)
                                                                                             the plaintiffs except their financial contribution, and thus would constitute an
                                                                                             investment contract.
                                                                                             Remanding for further fact finding to determine whether sale of promissory
        L.A. Tr. Deed &
                                                                                             notes secured by deeds of trusts which include collections undertakings by the
2.      Mortg. Exch. v. S.E.C.,
                                  Remand          Promissory Note       Trust Sales          defendants was an investment in a "common enterprise" and whether the
        264 F.2d 199 (9th Cir.
                                                                                             purchaser was led to expect profits solely from the efforts of the promoter or
        1959)
                                                                                             a third party. See Schedule 1 at 5 for subsequent history.
                                                                                             Holding that “variable annuity” contracts are securities not falling within the
        SEC v. Variable
                                                  Variable                                   insurance exemption under the Securities Act, since the issuer assumes no
3.      Annuity Life Ins. Co.,    Security                              Insurance
                                                  Annuities                                  underwriting risks and such contracts are not insurance policies or annuity
        359 U.S. 65 (1959)
                                                                                             contracts.
                                                                                             Finding that the sale of oil leases as part of a “high-pitched, hard-sell
        Roe v. United States,
4.                                Remand          Leasehold Interest    Oil & Gas            extravagant solicitation campaign” promising extraordinary returns, if
        287 F.2d 435 (5th
                                                                                             credited, would constitute an investment contract, because the returns are not
                                                                                   146
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                                                Electronic copy available at: https://ssrn.com/abstract=4282385
                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 183 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                                 Investment
                                               Object or                                Finding
      Case Caption               Contract                           Industry
                                               Interest
                                 Found?
      Cir.), cert. denied, 368                                                          made possible solely under the naked leasehold rights but as a result of the
      U.S. 824 (1961)                                                                   activities of others. Remanding for jury determination if the evidence is
                                                                                        credited. See entry 5 for subsequent history.
                                                                                        Affirming district court decision to permit admission of promotional materials
5.                                                                                      as evidence, where promotional materials were sufficient to establish that
      Roe v. U.S., 316 F.2d
                                 NR            Leasehold Interest   Oil & Gas           mineral leases were investment contracts because purchasers would expect a
      617 (5th Cir. 1963)
                                                                                        return on investment from the activities of others. See entry 4 for prior
                                                                                        history.
                                                                                        Holding that withdrawable capital shares in a savings and loan association are
                                                                    Banking,
                                                                                        securities within the meaning of the Securities Act and emphasizing that form
6.    Tcherepnin v. Knight,                    Capital Shares &     Investment
                                 Security                                               should be disregarded for substance and the emphasis of the Securities Act
      389 U.S. 332 (1967)                      Capital Interest     Services &
                                                                                        analysis should be based on economic reality. See Schedule 2 at 2 for prior
                                                                    Lending
                                                                                        history.
      Ahrens v. Am.-                                                                    Finding that the jury question of whether contracts relating to beavers are
7.    Canadian Beaver Co.,                                                              investment contracts under the Securities Act was improperly submitted and
                                 Remand
      428 F.2d 926 (10th Cir.                                                           noting that the court resolved the question in the affirmative in a previous
      1970)                                    Beaver Interests     Animal Sales        case against the same defendant.
      Commercial Iron &                                             Banking,
8.    Metal Co. v. Bache &                     Discretionary        Investment          Remanding due to dispute of material fact as to whether seller of copper
                                 Remand
      Co., 478 F.2d 39 (10th                   Trading Account      Services &          contracts promised returns based on his managerial efforts.
      Cir. 1973)                                                    Lending
      Crowley v.                                                                        Reversing and remanding the question of whether a catalog sales agency
9.    Montgomery Ward &                        Franchise            Distributorships    agreement is an investment contract under the Securities Acts for a factual
      Co., 570 F.2d 875                        Interests            & Franchises        inquiry into the economic reality of the transaction. See Schedule 2 at 19 for
      (10th Cir. 1975)           Remand                                                 subsequent history.

                                                                                        Remanding for further fact finding and reversing the lower court's finding that
      McGreghar Land Co.                       Limited                                  a limited partnership interest does not establish an investment contract where
10.   v. Meguiar, 521 F.2d       Remand        Partnership          Partnerships        the interest holder was induced to make capital contributions, because the
      822 (9th Cir. 1975)                      Interests                                general partners made misrepresentations about the value and permanency of
                                                                                        their own contributions and other partnership assets.




                                                                               147
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                                              Electronic copy available at: https://ssrn.com/abstract=4282385
                                 Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 184 of 215
                                                       DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                    Do not cite in academic work without authors’ consent

                                 Investment
                                               Object or                              Finding
      Case Caption               Contract                          Industry
                                               Interest
                                 Found?

                                                                                      Holding that there is a factual question as to whether the sale of Timberlake
      McCown v. Heidler,                                                              lots constitutes sales of securities, and allowing purchasers of undeveloped
                                               Real Estate
11.   527 F.2d 204 (10th Cir.    Remand                            Real Estate        land to amend complaint to allege security law violations where purchasers
                                               Interest
      1975)                                                                           had no control over improvement of the land and promoters committed to
                                                                                      performing meaningful post-purchase functions.
                                                                                      Remanding for further consideration of the existence of an investment
                                                                   Banking,
      Hector v. Wiens, 533                                                            contract where plaintiff invested money via transfer of a promissory note and
12.                                                                Investment
      F.2d 429 (9th Cir.         Remand        Promissory Note                        holding that genuine dispute of material fact existed regarding the existence
                                                                   Services &
      1976)                                                                           of a common enterprise and which party had control of essential managerial
                                                                   Lending
                                                                                      efforts of the enterprise.

      Exch. Nat. Bank,                                             Banking,           Dismissing the second prong Howey test as unhelpful and dubious when
13.   Chicago v. Touche                                            Investment         determining whether a loan transaction constitutes an investment contract,
                                 Note Case     Promissory Note
      Ross Co., 544 F.2d                                           Services &         because the mere existence of a debt relationship does cannot be deemed to
      1126 (2d Cir. 1976)                                          Lending            establish a "common enterprise."

      Emisco Indus., Inc. v.
14.                                                                                   Considering the issuance of a promissory note in exchange for purchased
      Pro’s, Inc., 543 F.2d 38   Note Case     Promissory Note     Asset Sale
                                                                                      assets to amount not to a security but to no more than a cash substitute.
      (7th Cir. 1976)
                                                                                      Sustaining plaintiffs' Securities Acts claims where there was a factual
      Bell v. Health-Mor,
15.                                            Referral Fee                           question of whether the vendee undertook significant efforts to produce a
      Inc., 549 F.2d 342 (5th     Remand                           Consumer Sales
                                               Interests                              referral fee, which may have indicated that the referral sales scheme was an
      Cir. 1977)
                                                                                      investment contract.
      United Cal. Bank v.                                          Banking,
16.   THC Fin’l Corp., 557                                         Investment         Finding that a put letter requiring a debtor to enter promissory notes
                                 Note Case     Promissory Note
      F.2d 1351 (9th Cir.                                          Services &         underlying a line of credit with the creditor does not involve a security.
      1977)                                                        Lending
                                                                                      Remanding question of whether the sale of distribution contracts was an
      Piambino v. Bailey,
17.                                            Distributorship     Multi-Level        investment contract under the Securities Act where there was genuine dispute
      610 F.2d 1306 (5th Cir.
                                               Rights              Marketing          of material fact as to whether reasonable investors did (or did not) believe
      1980)
                                 Remand                                               they were buying into an enterprise.
      Aldrich v. McCulloch                                                            Reversing and remanding the securities laws claims because the
18.                                            Real Estate         Real Estate
      Props., Inc., 627 F.2d                                                          determination of whether or not they purchased an investment contract in a
                                               Interest            Interests
      1036 (10th Cir. 1980)      Remand                                               real estate development scheme where allegations included that defendants

                                                                              148
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                                              Electronic copy available at: https://ssrn.com/abstract=4282385
                                Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 185 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                Investment
                                              Object or                              Finding
      Case Caption              Contract                          Industry
                                              Interest
                                Found?
                                                                                     promised post-purchase efforts to provide development, amenities, and a trust
                                                                                     for their common benefit, could not be made based on pleadings.
                                                                                     Remanding for further proceedings as to a material issue of fact related to
      Williamson v. Tucker,
                                                                                     whether the plaintiffs were so dependent on the expertise of one of the
19.   632 F.2d 579 (5th Cir.                  Joint Venture
                                NR*                               Real Estate        partners for the management, sale, or development of a real estate property
      1980), withdrawn, 645                   Interests
                                                                                     such that they could not effectively exercise their partnership powers.
      F.2d 404 (1981)*
                                                                                     Withdrawn at 645 F.2d 404 (1981). See entry 21 for subsequent history.
      Weaver v. Marine                                            Banking,           Holding that trier of fact could find that both a certificate of deposit and a
                                              Certificates of
20.   Bank, 637 F.2d 157 (3d                                      Investment         related business agreement involving the pledge of a certificate of deposit in
                                              Deposit & Profit
      Cir. 1980), rev’d, 455                                      Services &         exchange for profit-sharing could be an investment contract, and remanding
                                              Interests
      U.S. 551 (1982)           Remand                            Lending            for determination. See Schedule 2 at 40 for subsequent history.
                                                                                     Considering whether a joint venture interest in undeveloped real estate is a
      Williamson v. Tucker,
21.                                           Joint Venture                          security by applying three factors, the venturers' (1) contractual power, (2)
      645 F.2d 404 (5th Cir.                                      Real Estate
                                              Interests                              knowledge or expertise, and (3) dependence on the managerial ability of the
      1981)
                                Remand                                               developer and promoter. See entry 19 for prior history.
                                                                  Banking,
      Meason v. Bank of                                                              Remanding issue of whether certificates of deposit were an investment
                                              Certificate of      Investment
22.   Miami, 652 F.2d 542                                                            contract under the Securities Act and emphasizing the importance of
                                              Deposit             Services &
      (5th Cir. 1981)                                                                considering the economic realities of the transaction.
                                Remand                            Lending
                                                                                     Holding that conventional stock in business corporations are a security within
      Golden v. Garafalo,
                                                                                     the meaning of the Securities Acts, noting that the investment contract
23.   678 F.2d 1139 (2d Cir.    Security      Stock               Stock Sale
                                                                                     analysis is of "little help" in determining the meaning of "stock" which refers
      1982)
                                                                                     to an instrument with commonly agreed upon characteristics.
                                                                                     Remanding for further proceedings to determine whether subsidiary
                                                                                     corporations' stock purchased by plaintiff corporation as part of an asset buy-
      Seagrave Corp. v.                                                              out had sufficient characteristics of stock to be considered securities under the
24.   Vista Res., Inc., 696     Security      Stock               Stock Sale         rule that the instruments themselves, and only if the instruments lack the
      F.2d 227 (2d Cir. 1982)                                                        ordinarily accepted attributes of stock need the court ascertain whether these
                                                                                     instruments may be an uncommon form of securities, such as an investment
                                                                                     contract.
      Peoria Union Stock                                                             Remanding for further fact finding to determine whether a group deposit
      Yards Co. Ret. Plan v.                                                         administration annuity contract is an investment contract, noting that an
25.   Penn Mut. Life Ins.       Remand        Annuity Interest    Insurance          "investment contract" is a "catch-all" phrase meant to include instruments that
      Co., 698 F.2d 320 (7th                                                         "have the functional attributes of stock and other formal securities but are not
      Cir. 1983)                                                                     so denominated".


                                                                             149
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                                             Electronic copy available at: https://ssrn.com/abstract=4282385
                                Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 186 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                Investment
                                              Object or                              Finding
      Case Caption              Contract                          Industry
                                              Interest
                                Found?
      Daily v. Morgan, 701                                                           Holding that a business' stock may still be considered a security if a purchaser
26.   F.2d 496 (5th Cir.        Security      Stock               Stock Sale         buys 100 percent of it with the intent to operate and manage the business and
      1983)                                                                          the Howey criteria does not apply to all securities.
      Ruefenacht v.                                                                  Holding that the Howey test does not apply to the sale of all or part of a
27.   O'Halloran, 737 F.2d                    Stock               Stock Sale         business via a transaction involving stock with the traditional characteristics
      320 (3d Cir. 1984)        Security                                             of stock ownership, which qualifies as the sale of securities.
                                                                                     Reversing and remanding to the lower court to look not just to the four
      Hunssinger v.                                               Banking,
                                                                                     corners of a fixed-interest promissory note but to the distribution plan and
28.   Rockford Business                       Fixed Interest      Investment
                                Note Case                                            transaction terms, noting that an instrument failing to satisfy all four
      Credits, Inc., 745 F.2d                 Notes               Services &
                                                                                     requirements of the Howey test may still fall under one of the other statutory
      484 (7th Cir. 1984)                                         Lending
                                                                                     terms in the definitional sections of the Securities Act.
                                                                                     Justice White, joined by Chief Justice Burger and Justice Brennan, dissenting
                                                                  Banking,           from denial of certiorari of a case that asked the Supreme Court to consider
29.   Mordaunt v. Incomco,                    Discretionary       Investment         whether discretionary futures contracts qualify as securities and resolve a
                                NR*
      469 U.S. 1115 (1985)                    Trading Account     Services &         circuit split regarding whether the "common enterprise" prong of Howey
                                                                  Lending            required horizontal or vertical commonality. See Schedule 2 at 46 for prior
                                                                                     history.
                                                                                     Holding that the common stock of a closely held lumber business possessed
      Landreth Timber Co. v.                                                         all of the characteristics traditionally associated with common stock and thus
30.   Landreth, 471 U.S. 681    Security      Stock               Stock Sale         was a security within the definition of the Acts by declining to adopt the sale
      (1985)                                                                         of business doctrine and limiting Howey to determine investment contracts
                                                                                     only. See Schedule 2 at 50 for prior history.
                                                                  Banking,           Affirming the lower court's application of the six-factor "risk capital" test to
      Underhill v. Royal, 769
31.                                                               Investment         conclude that a mortgage lender's collateralized loan agreement is a security.
      F.2d 1426 (9th Cir.       Note Case     Promissory Note
                                                                  Services &         Citing Howey to emphasize that, if a particular transaction is an investment, it
      1985)
                                                                  Lending            is within the scope of securities laws.
      McGill v. American                                                             Finding that Plaintiff's investment in a joint real estate venture satisfied the
32.   Land Exploration Co.,                   Joint Venture                          "common enterprise" element of Howey based on the economic realities of
                                                                  Real Estate
      776 F.2d 923 (10th Cir.                 Interests                              the transaction because plaintiff expected to passively receive a share of the
      1985)                     Remand                                               profits of the venture.
      Penturelli v. Spector,
                                                                                     Holding that following Landreth, fractional undivided working interests in a
33.   Cohen, Gadon Rosen,                     Coal Mine           Mining &
                                Security                                             coal mining operation were securities for federal securities law purposes
      779 F.2d 160 (3d Cir.                   Interests           Refining
                                                                                     regardless of Howey.
      1985)


                                                                             150
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                                             Electronic copy available at: https://ssrn.com/abstract=4282385
                                Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 187 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                Investment
                                              Object or                              Finding
      Case Caption              Contract                          Industry
                                              Interest
                                Found?
                                                                                     Remanding for further fact finding to determine whether limited partnership
                                                                                     interests in form are securities or, perversely, do not fall under federal
      Rodeo v. Gillman, 787                   Limited                                securities laws because they are not limited partnership interests in practice
34.   F.2d 1175 (7th Cir.       Remand        Partnership         Real Estate        because their sale may only be part of a sham transaction designed to preserve
      1986)                                   Interests                              existing mortgage financing, especially where general partners retain the
                                                                                     unilateral right to require limited partners to purchase additional partnership
                                                                                     units.
                                                                                     Finding that Plaintiff investors had stated a claim for relief under Rule 10b-5
                                                                                     by alleging that a partnership was itself formed as part of a scheme to defraud
                                                                                     them and noting that even when a partnership agreement provides the partners
35.   Less v. Lurie, 789 F.2d                 Partnership
                                Remand                            Oil & Gas          with control over the activities of the partnership, under Williamson v. Tucker
      624 (8th Cir. 1986)                     Interests
                                                                                     if the partners lack actual expertise and bargaining power to exercise such
                                                                                     control in the operations of the enterprise the efforts of others prong of
                                                                                     Howey may still be satisfied.
                                                                                     Finding that a general partnership interest in one partnership was not an
                                                                                     investment contract under Howey because the purchasers retained substantial
                                                                                     power and exercised expertise over the venture as general partners and
      Youmans v. Simon,                       General                                affirming grant of summary judgment dismissing claims, but reversing the
36.   791 F.2d 341 (5th Cir.    Remand        Partnership         Real Estate        grant of summary judgment with respect to interests in a different general
      1986)                                   Interests                              partnership where questions of fact remained with respect to whether the
                                                                                     purchasers were deprived of the power to replace the Managing Venturer and
                                                                                     did not have the power to manage the venture and therefore relied "on the
                                                                                     efforts of others."
                                                                                     Rejecting the "sale of business" doctrine consistent with Landreth and finding
                                                                                     that the purchase of 100 percent of the stock of a corporation in order to
      Schaafsma v. Morin
37.                                                                                  obtain control of corporate assets was a purchase of securities. The
      Vermont Corp., 802        Security      Stock               Real Estate
                                                                                     instruments at issue were stock as a matter of law and it was error to submit
      F.2d 629 (2d Cir. 1986)
                                                                                     to the jury the question of whether the federal securities laws applied.
                                                                                     Remanded for a new trial on the federal securities law claim.
                                                                                     Reversing and remanding to the lower court to determine whether secondary
      Hocking v. Dubois,                                                             condominium sales coupled with a rental pool "option" create an investment
38.   839 F.2d 560 (9th Cir.                  Condominium                            contract. Suggesting that as long as a rental pool "option" exists, all secondary
                                NR*                               Real Estate
      1988), withdrawn, 885                   Interests                              market condominium sales would necessarily meet the "efforts of others"
      F.2d 1449 (1989)*                                                              prong of the Howey test. Withdrawn at 885 F.2d 1449 (1989). See entry 46
                                                                                     for subsequent history.


                                                                             151
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                                Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 188 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                Investment
                                              Object or                              Finding
      Case Caption              Contract                          Industry
                                              Interest
                                Found?
                                                                                     Holding that an option to purchase stock is a security under the reasoning of
                                                                                     Landreth - options to purchase stock are such traditional securities
                                                                                     instruments that they may be shown by proving the document itself without
      One-O-One
                                                                                     need to look beyond the character of the instrument and without need to apply
39.   Enterprises, Inc. v.
                                Security      Stock Options       Restaurants        the Howey investment contract test. Although the District Court incorrectly
      Caruso, 848 F.2d 1283
                                                                                     applied the Howey test to determine that the option to purchase stock was not
      (D.C. Cir. 1988)
                                                                                     a security, this only provided an alternative basis to dismiss the securities
                                                                                     claim and the error by the District Court does not alter the outcome of the
                                                                                     appeal.
      Arthur Young Co. v.
      Reves, 856 F.2d 52
40.   (8th Cir. 1988), rev’d                                      Agricultural       Finding promissory notes payable on the holder's demand not to be securities
                                Note Case     Promissory Note
      sub nom. Reves v.                                           Cooperative        where they merely provide for a short-term loan with a fixed interest rate,
      Ernst & Young, 494                                                             more akin to a commercial lending arrangement than an investment
      U.S. 56 (1990)                                                                 transaction. Reversed at 494 U.S. 56 (1990).
      Adena Exploration,
                                              Fractional                             Holding that undivided fractional interests in oil and gas are securities
41.   Inc. v. Sylvan, 860
                                Security      Undivided Oil &     Oil & Gas          explicitly provided for in the definition of security and under Landreth the
      F.2d 1242 (5th Cir.
                                              Gas Interests                          economic reality test does not apply and a Howey analysis was not required.
      1988)

                                                                                     Holding, inter alia, that predispute agreements to arbitrate claims arising
      Rodriguez de Quijas v.                                      Banking,
                                                                                     under the '33 Act are enforceable. Investors opened brokerage accounts and
42.   Shearson/American                       Investment          Investment
                                NR                                                   alleged their money was invested in unauthorized and fraudulent securities
      Express, Inc., 490 U.S.                 Interests           Services &
                                                                                     giving rise to violations of the Securities Act and Exchange Act. There is no
      477 (1989)                                                  Lending
                                                                                     allegations that the investments did not constitute securities.

      Holloway v. Peat,                                                              After remand from the Supreme Court instructing the Court of Appeals to
      Marwick, Mitchell Co.,                                                         consider its decision in light of Reves, the Court of Appeals found that the
      879 F.2d 772 (10th Cir.                                                        passbook savings certificates and thrift certificates offered and sold to the
                                                                  Banking,
      1989), vacated &                                                               general public were securities because they were "notes" under Reves and did
43.                                                               Investment
      remanded, 494 U.S.        Note Case     Debt Instruments                       not meet the family resemblance test. The court relied on its prior analysis,
                                                                  Services &
      1014 (1990),                                                                   which overlapped substantially with the four factors in the Reves family
                                                                  Lending
      reaffirmed on                                                                  resemblance test and noted that the Supreme Court rejected the application of
      reconsideration, 900                                                           Howey to "notes". Vacated & Remanded, at 494 U.S. 1014 (1990),
      F.2d 1485 (10th Cir.                                                           Reaffirmed on Reconsideration, 900 F.2d 1485 (10th Cir. 1990),


                                                                             152
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                                             Electronic copy available at: https://ssrn.com/abstract=4282385
                                Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 189 of 215
                                                      DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                   Do not cite in academic work without authors’ consent

                                Investment
                                              Object or                              Finding
      Case Caption              Contract                          Industry
                                              Interest
                                Found?
      1990), cert. denied,
      498 U.S. 958 (1990)
                                                                                     Reversed district court's order dismissing case for lack of subject matter
      Shaw v. Hiawatha,                                           Lottery
44.                                           Sale/Leaseback                         jurisdiction and remanded for factual determination regarding whether the
      Inc., 884 F.2d 582 (9th   Remand                            Machines &
                                              Interests                              common enterprise and efforts of others prongs of the Howey test were
      Cir. 1989)                                                  Sales Rights
                                                                                     satisfied.
                                                                                     This case involves cross appeals and 8 different issues on appeal in total.
                                                                                     Finding that in a dispute over the "efforts of others" prong of Howey, the
                                                                                     essential question is whether the investor retained ultimate control over his
      Tanenbaum v. Agri-
45.                                           Cattle Embryo                          property, not whether he actually exercised such control, and that is a
      Capital, Inc., 885 F.2d    NR                               Cattle Breeding
                                              Interests                              question of fact that should be submitted to a jury so the district court acted
      464 (8th Cir. 1989)
                                                                                     properly in refusing to direct a verdict on this issue. Further finding that
                                                                                     whether the investment was classified as a security was a question of fact for
                                                                                     the jury.
                                                                                     Summary judgement for appellee reversed. There were issues of material fact
                                                                                     as to whether the sale of a condominium by Dubois, the appellee real estate
                                                                                     broker, to Hocking, the appellant purchaser, and the related components of
                                                                                     the package offered to Hocking were part of one scheme or transaction,
                                                                                     whether there was a common enterprise, and whether there was the
                                                                                     expectation of profits produced by the efforts of others. Hocking claimed that
      Hocking v. Dubois,                                                             the condominium was promoted by Dubois "with an emphasis on the
46.                                           Condominium
      885 F.2d 1449 (9th Cir.   Remand                            Real Estate        economic benefits to be derived from the managerial efforts of third parties
                                              Interests
      1989)                                                                          designated or arranged for by Dubois," and by including with the
                                                                                     condominium an offer for a rental arrangement or rental pool arrangement the
                                                                                     entire package constituted a security. Dubois argued that the sale of the
                                                                                     condominium was separate and distinct from the rental pooling arrangement
                                                                                     and there was no investment of money in the RPA and that the RPA allowed
                                                                                     Hocking to control the condominium such that he was not reliant on the
                                                                                     efforts of others. See entry 38 for subsequent history.
                                                                                     Whether plaintiffs could show that their investments were securities because
      Newmyer v. Philatelic                                                          they were investment contracts under Howey is a question of material fact
47.                                           Tax Shelter         Tax Shelter
      Leasing, Ltd., 888 F.2d   Remand                                               where lessees received leasehold interest in plates for printing postage
                                              Interests           Scheme
      385 (6th Cir. 1989)                                                            stamps, right to sell specified numbers of stamps, and right to claim
                                                                                     investment tax credit in return for lease payments of a fixed amount, and


                                                                             153
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                                             Electronic copy available at: https://ssrn.com/abstract=4282385
                                  Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 190 of 215
                                                        DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                     Do not cite in academic work without authors’ consent

                                  Investment
                                                Object or                              Finding
      Case Caption                Contract                          Industry
                                                Interest
                                  Found?
                                                                                       where certain contracts for printing and distribution were arguably related to
                                                                                       the lessor.
                                                                                       Summary judgment reversed and case remanded because an issue of material
      L & B Hosp. Ventures,
                                                Limited                                fact existed as to whether Howey elements met when psychiatrists, who were
48.   Inc. v. Healthcare Int’l,                                     Hospital
                                   Remand       Partnership                            limited partners in psychiatric treatment facility, held essential managerial
      Inc., 894 F.2d 150 (5th                                       Development
                                                Interests                              functions in the partnership or depended on the managerial efforts of general
      Cir. 1990)
                                                                                       partners.
                                                                                       Holding that demand notes sold by farmer's co-op to members and non-
                                                                                       members fell under the "note" category of instruments in the definition of
      Reves v. Ernst &                                                                 security and they did not resemble categories of notes that should not be
                                                                    Agricultural
49.   Young, 494 U.S. 56          Note Case     Promissory Note                        treated as securities. Setting forth the family resemblance test for determining
                                                                    Cooperative
      (1990)                                                                           when notes, which are presumptively securities because they are a
                                                                                       specifically enumerated instrument in the definition of security, should not be
                                                                                       treated as securities.
                                                                                       Investors sued Title company claiming they did not get good title to land that
                                                                                       they leased with a related rental pool agreement because that arrangement
                                                                                       instead constituted an investment contract that was an unregistered security.
50.                                                                                    The court found that whether the arrangement constituted an investment
      Allison v. Ticor Title                                                           contract or not, it did not make the leasehold itself any less of an interest in
      Ins. Co., 907 F.2d 645                    Leasehold                              real property and any violation of Section 5 of the securities act does not
      (7th Cir. 1990)             NR            Interests           Real Estate        negate the existence of title.
                                                                                       Under Williamson v. Tucker, the court finds that question of material fact
      Koch v. Hankins, 928                      General
                                                                                       exists as to investors' participation in control over 2700-acre plantation to
51.   F.2d 1471 (9th Cir.         Remand        Partnership         Real Estate
                                                                                       produce income from smaller general partnership acreage and as to investors'
      1991)                                     Interests
                                                                                       ability to affect decision making regarding the larger plantation.
      DCD Programs, Ltd. v.                                                            Holding that, at a minimum, plaintiff had raised a genuine issue of material
      Hill, Farrer & Burrill,                                       Banking,           fact that the agreements could be construed as investment contracts where
52.   No. 90-55523, 1991                                            Investment         money was raised by means of limited partnerships for investment in a larger
      U.S. App. LEXIS                                               Services &         venture; there was a "direct correlation" between the larger venture and the
      19723 (9th Cir. Aug.                      Limited             Lending            monies received from the limited partnerships; and general partner had
      15, 1991)                   Remand        Partnerships                           "contractual power" to delegate significant managerial functions
                                                                                       Reversing summary judgment where participation interests in managed pool
      Zolfaghari v.
                                                                                       of mortgage notes could be “securities,” considering profits depend on the
53.   Sheikholeslami, 943                       Mortgage            Investment
                                  Remand                                               managerial efforts of those who run the pool and make decisions such as
      F.2d 451 (4th Cir.                        Interests           Program
                                                                                       determining which mortgages should be in the pool, how the individual notes
      1991)
                                                                                       will be serviced and managed, and other fund decisions.

                                                                               154
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                               Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 191 of 215
                                                     DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                  Do not cite in academic work without authors’ consent

                               Investment
                                             Object or                              Finding
      Case Caption             Contract                          Industry
                                             Interest
                               Found?
                                                                                    Court reversed judgment as a matter of law for defendants with respect to
                                                                                    securities claims finding that the lifetime partnership interests could not be
                                                                                    excluded from the definition of security as a matter of law where promotional
      Teague v. Bakker, 35                                                          materials used to market “lifetime partnership”(LTP) in hotel emphasized its
                                             Partnership         Lifetime
54.   F.3d 978 (4th Cir.       Remand                                               profit potential, referred to the LTP as investments, and offered purchasers
                                             Interests           Partnerships
      1994)                                                                         the possibility of realizing capital appreciation; references to increasing value
                                                                                    of partnership and records tabulating transfers of partnership also indicated
                                                                                    that partnerships could be transferred. See Schedule 2 at 96 for subsequent
                                                                                    history.
                                                                                    In a scheme involving distributors of health and skin care products that could
                                                                                    become “supervisors” by purchasing specified large amount of product after
      Webster v. Omnitrition                                                        which they would be entitled to commissions earned by bringing more
                                                                 Multi-Level
55.   Intern., Inc., 79 F.3d   Remand        Payment Interests                      participants into the scheme, the court found that the record contained
                                                                 Marketing
      776 (9th Cir. 1996)                                                           sufficient evidence to present a genuine issue of disputed material fact as to
                                                                                    whether Omnitrition promoted a pyramid scheme, reversing the grant of
                                                                                    summary judgement.
                                             Joint Venture &
      Nolfi v. Ohio Ky. Oil                                                         Finding the Howey test to be inapplicable, as the statute specifically lists
56.                                          Limited
      Corp., 675 F.3d 538      Security                          Oil & Gas          "fractional undivided interests in oil, gas, or other mineral rights" as a
                                             Partnership
      (6th Cir. 2012)                                                               security.
                                             Interests
                                                                                    Finding that certain unsecured promissory notes are securities under the
      S.E.C. v. Thompson,
57.                                                              Investment         family-resemblance test articulated in Reves, and despite the district court
      732 F.3d 1151 (10th      Note Case     Promissory Note
                                                                 Program            also finding that the notes were investment contracts, declining to reach that
      Cir. 2013)
                                                                                    conclusion in light of their finding that the notes were "notes" under Reves.
                                                                                    Remanding for further fact finding after holding that the SEC's allegations in
                                                                                    the complaint were sufficient to rebut the presumption that the purported
                                                                                    general partnerships were not securities where the allegations demonstrated
      S.E.C. v. Shields, 744                                                        that investors were locked into turnkey drilling and completion contracts with
58.                                          Joint Venture
      F.3d 633 (10th Cir.      Remand                            Oil & Gas          business as contractor, so that even if they exercised their power to remove
                                             Interests
      2014)                                                                         business as managing venturer, they were still required to rely on business for
                                                                                    success of joint venture, and managing partner allegedly marketed interests to
                                                                                    investors with little to no experience in oil and gas industry and was their sole
                                                                                    source of access to information.




                                                                            155
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                                            Electronic copy available at: https://ssrn.com/abstract=4282385
                               Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 192 of 215
                                                     DISCUSSON DRAFT: NOVEMBER 10, 2022
                                                  Do not cite in academic work without authors’ consent

                               Investment
                                             Object or                              Finding
      Case Caption             Contract                          Industry
                                             Interest
                               Found?

      Chadbourne & Parke                                                            Held that a fraudulent misrepresentation or omission was not made “in
59.                                          Certificate of      Investment
      LLP v. Troice, 571       NR                                                   connection with” a purchase or sale of a covered security unless it was
                                             Deposit             Program
      U.S. 377 (2014)                                                               material to a decision to buy or sell a covered security.

                                                                                    Finding issues of material fact as to whether investors in six oil and gas well
                                                                                    drilling projects called joint ventures were so inexperienced and
      S.E.C. v. Arcturus                                                            unknowledgeable in business affairs that they were incapable of intelligently
      Corp., 912 F.3d 786                                                           exercising their powers with regards to projects; were so dependent on some
                                             Oil & Gas
60.   (5th Cir. 2019),         NR*                               Oil & Gas          unique entrepreneurial or managerial ability of managers of Florida and
                                             Interests
      withdrawn, 928 F.3d                                                           Texas consulting limited liability companies (LLC) which offered projects
      400 (2019)*                                                                   that they could not replace managers or otherwise exercise meaningful
                                                                                    powers. Withdrawn and substituted at 928 F.3d 400 (5th Cir. 2019). See entry
                                                                                    62 for subsequent history.
                                                                                    Concluding that limited partnership interests between medical service entities
      Lorenzo v. S.E.C., 587                                     Banking,
                                                                                    and billing and management companies were investment contracts; declining
      U.S. ___, 2019 WL                                          Investment
61.                             NR           Convertible Debt                       to expand the law to state that veto powers to block certain enumerated
      1369839 (Mar. 27,                                          Services &
                                                                                    business decisions, standing alone, would suffice to negate the existence of an
      2019)                                                      Lending
                                                                                    investment contract.
                                                                                    Finding issues of fact as to whether the investors were given significant
      S.E.C. .v. Arcturus
                                             Oil & Gas                              control over the drilling projects, utilized their powers, the voting structure's
62.   Corp., 928 F.3d 400      Remand                            Oil & Gas
                                             Interests                              impact on the investors' power, and the communication among the investors.
      (5th Cir. 2019)
                                                                                    See entry 60 for prior history.




                                                                            156
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             Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 193 of 215



                                                          SCHEDULE 4
NOTABLE PRE- SEC V. W.J. HOWEY CO. “INVESTMENT CONTRACT” DESCISIONS, STATE
COURT DECISIONS, AND DECISIONS DISCUSSING THE APPLICABILITY OF SECURITIES
LAWS TO CRYPTO ASSETS AND NOT OTHERWISE DISCUSSED IN THIS ARTICLE.335

       1.    State v. Summerland, 150 Minn. 266, 185 N.W. 255 (1921)
       2.    State v. Ogden, 154 Minn. 425, 191 N.W. 916 (1923)
       3.    People v. McCalla, 63 Cal. App. 783 (Dist. Ct. App. 1923)
       4.    State v. Swenson, 172 Minn. 277, 215 N.W. 177 (1927)
       5.    Kerst v. Nelson, 171 Minn. 191, 213 N.W. 904 (1927)
       6.    Barrett v. Gore, 88 Cal. App. 372 (Dist. Ct. App. 1928)
       7.    Gracchi v. Friedlander, 93 Cal. App. 770 (Dist. Ct. App. 1928)
       8.    State v. Code, 178 Minn. 492, 227 N.W. 652 (1929)
       9.    Barnhill v. Young, 46 F.2d 804 (S.D. Cal. 1931)
       10.   Black v. Solano Co., 114 Cal. App. 170, 299 P. 843 (Dist. Ct. App. 1931)
       11.   O'Connell v. Union Drilling & Petroleum Co., 121 Cal. App. 302, 8 P.2d 867 (Dist. Ct. App. 1932)
       12.   People v. Craven, 21 P.2d 459 (Cal. Dist. Ct. App. 1933)
       13.   W. Oil & Ref. Co. v. Venago Oil Corp., 218 Cal. 733, 24 P.2d 971 (1933)
       14.   People v. Reese, 136 Cal. App. 657, 29 P.2d 450 (Dist. Ct. App. 1934)
       15.   S.E.C. v. Crude Oil Corp., 93 F.2d 844 (7th Cir. 1937)
       16.   S.E.C. v. Universal Serv. Asso., 106 F.2d 232 (7th Cir. 1939)
       17.   S.E.C. v. Bailey, 41 F. Supp. 647 (S.D. Fla. 1941)
       18.   Atherton v. United States, 128 F.2d 463 (9th Cir. 1942)
       19.   Penfield Co. of Cal. v. Sec. and Exch. Com'n, 143 F.2d 746 (9th Cir. 1944)
       20.   United States v. Zaslavskiy, No. 17CR647(RJD), 2018 U.S. Dist. LEXIS 156574 (E.D.N.Y. Sep. 11, 2018)
       21.   Hodges v. Monkey Capital, Ltd. Liab. Co., No. 17-81370-CV-MIDDLEBROOKS, 2018 U.S. Dist. LEXIS
             229669 (S.D. Fla. Aug. 14, 2018)
       22.   Balestra v. ATBCOIN LLC, 380 F. Supp. 3d 340 (S.D.N.Y. 2019)
       23.   S.E.C. v. Blockvest, LLC, No. 18CV2287-GPB(BLM), 2019 U.S. Dist. LEXIS 24446 (S.D. Cal. Feb. 14,
             2019)
       24.   Beranger v. Harris, No. 1:18-CV-05054-CAP, 2019 U.S. Dist. LEXIS 195107 (N.D. Ga. Apr. 23, 2019)
       25.   In re BitConnect Sec. Litig., No. 18-cv-80086, 2019 U.S. Dist. LEXIS 231976 (S.D. Fla. Aug. 23, 2019)
       26.   Shea v. Best Buy Homes, 533 F. Supp. 3d 1321 (N.D. Ga. 2021)
       27.   Diamond Fortress Techs., Inc. v. EverID, Inc., 274 A.3d 287 (Del. Super. Ct. 2022)
       28.   S.E.C. v. Pacheco, No. EDCV 19-958-MWF (AFMx), 2022 U.S. Dist. LEXIS 93459 (C.D. Cal. Apr. 4,
             2022)
       29.   Audet v. Fraser, No. 3:16-cv-940 (MPS), 2022 U.S. Dist. LEXIS 99304 (D. Conn. June 3, 2022)




335   The enumerated decisions in this list have not been included in the empirical calculations referenced throughout this Article.
                                                                  157
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        Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 194 of 215



                                                SCHEDULE 5
ALL FEDERAL APPELLATE AND SUPREME COURT DECISIONS REVIEWED FOR ANNEX
A IN CHRONOLOGICAL ORDER.

  1.    SEC v. C. M. Joiner Leasing Corp., 320                      24. Kemmerer v. Weaver, 445 F.2d 76 (7th Cir.
        U.S. 344 (1943)                                                 1971)
  2.    SEC v. Howey Co., 328 U.S. 293 (1946)                       25. Milnarik v. M-S Commodities, Inc., 457
  3.    Blackwell v. Bentsen, 203 F.2d 690 (5th Cir.                    F.2d 274 (7th Cir. 1972), cert. denied, 409
        1953)                                                           U.S. 887 (1972)
  4.    Jung v. K. & D. Mining Co., 260 F.2d 607                    26. Vincent v. Moench, 473 F.2d 430 (10th Cir.
        (7th Cir. 1958)                                                 1973)
  5.    L.A. Tr. Deed & Mortg. Exch. v. Sec. &                      27. SEC v. Glenn W. Turner Enters., Inc., 474
        Exch. Com., 264 F.2d 199 (9th Cir. 1959)                        F.2d 476 (9th Cir. 1973), cert. denied, 419
  6.    Woodward v. Wright, 266 F.2d 108 (10th                          U.S. 900 (1974)
        Cir. 1959)                                                  28. Commercial Iron & Metal Co. v. Bache &
  7.    SEC v. Variable Annuity Life Ins. Co., 359                      Co., 478 F.2d 39 (10th Cir. 1973)
        U.S. 65 (1959)                                              29. Nor-Tex Agencies, Inc. v. Jones, 482 F.2d
  8.    Cross v. Pasley, 270 F.2d 88 (8th Cir. 1959)                    1093 (5th Cir. 1973), cert. denied, 415 U.S.
  9.    Los Angeles Trust Deed & Mortgage Exch.                         977 (1973)
        v. SEC, 285 F.2d 162 (9th Cir. 1960), cert.                 30. Lino v. City Investing Co., 487 F.2d 689 (3d
        denied, 366 U.S. 919 (1961)                                     Cir. 1973)
  10.   Moses v. Michael, 292 F.2d 614 (5th Cir.                    31. Nash & Assocs., Inc. v. Lum's of Ohio, Inc.,
        1961)                                                           484 F.2d 392 (6th Cir. 1973)
  11.   Roe v. United States, 287 F.2d 435 (5th                     32. Andrews v. Blue, 489 F.2d 367 (10th Cir.
        Cir.), cert. denied, 368 U.S. 824 (1961)                        1973)
  12.   Roe v. US, 316 F.2d 617 (5th Cir. 1963)                     33. Glen-Arden Commodities, Inc. v.
  13.   United States v. Herr, 338 F.2d 607 (7th Cir.                   Costantino, 493 F.2d 1027 (2d Cir. 1974)
        1964)                                                       34. El Khadem v. Equity Sec. Corp., 494 F.2d
  14.   Tcherepnin v. Knight, 371 F.2d 374 (7th                         1224 (9th Cir. 1974)
        Cir. 1967), rev'd, 389 U.S. 332 (1967).                     35. Miller v. Cent. Chinchilla Grp., Inc., 494
  15.   SEC v. United Benefit Life Ins. Co., 387                        F.2d 414 (8th Cir. 1974)
        U.S. 202 (1967)                                             36. Bitter v. Hoby's Int'l, Inc., 498 F.2d 183 (9th
  16.   Lynn v. Caraway, 379 F.2d 943 (5th Cir.                         Cir. 1974)
        1967)                                                       37. Forman v. Cmty. Servs., Inc., 500 F.2d 1246
  17.   Tcherepnin v. Knight, 389 U.S. 332 (1967)                       (2d Cir. 1974), rev'd, 421 U.S. 837 (1975).
  18.   Cont'l Mktg. Corp. v. Sec. & Exch. Com.,                    38. Bellah v. First Natl. Bk. of Hereford, Texas,
        387 F.2d 466 (10th Cir. 1967), cert. denied,                    495 F.2d 1109 (5th Cir. 1974)
        391 U.S. 905 (1968)                                         39. 1050 Tenants Corp. v. Jakobson, 503 F.2d
  19.   Chapman v. Rudd Paint & Varnish Co., 409                        1375 (2d Cir. 1974)
        F.2d 635 (9th Cir. 1969)                                    40. Securities Exch. Com. v. Koscot Inter., Inc.,
  20.   Securities and Exchange Comm. v.                                497 F.2d 473 (5th Cir. 1974)
        MacElvain, 417 F.2d 1134 (5th Cir. 1969),                   41. Sec. Exchange Com'n v. Continental Com
        cert. denied, 397 U.S. 972 (1970)                               Corp., 497 F.2d 516 (5th Cir. 1974)
  21.   Olpin v. Ideal Nat'l Ins. Co., 419 F.2d 1250                42. Safeway Portland Employees' Fed. Credit
        (10th Cir. 1969)                                                Union v. C. H. Wagner & Co., 501 F.2d
  22.   Johns Hopkins Univ. v. Hutton, 422 F.2d                         1120 (9th Cir. 1974)
        1124 (4th Cir. 1970), cert. denied, 416 U.S.                43. Crowley v. Montgomery Ward & Co., 570
        916 (1974)                                                      F.2d 875 (10th Cir. 1975)
  23.   Ahrens v. Am.-Canadian Beaver Co., 428                      44. United Housing Foundation, Inc. v. Forman,
        F.2d 926 (10th Cir. 1970)                                       421 U.S. 837 (1975)


                                                        158
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   Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 195 of 215



45. McGreghar Land Co. v. Meguiar, 521 F.2d                    69. United Sportfishers v. Buffo, 597 F.2d 658
    822 (9th Cir. 1975)                                            (9th Cir. 1978)
46. McCown v. Heidler, 527 F.2d 204 (10th Cir.                 70. Teamsters v. Daniel, 439 U.S. 551 (1979)
    1975)                                                      71. Black v. Payne, 591 F.2d 83 (9th Cir. 1979)
47. Hector v. Wiens, 533 F.2d 429 (9th Cir.                    72. Smith v. Gross, 604 F.2d 639 (9th Cir.
    1976)                                                          1979)
48. Grenader v. Spitz, 537 F.2d 612 (2d Cir.                   73. Brodt v. Bache Co., Inc., 595 F.2d 459 (9th
    1976)                                                          Cir. 1979)
49. Exch. Nat. Bank, Chicago v. Touche Ross                    74. United States v. Farris, 614 F.2d 634 (9th
    Co., 544 F.2d 1126 (2d Cir. 1976)                              Cir. 1979)
50. Fargo Partners v. Dain Corp., 540 F.2d 912                 75. De Luz Ranchos Inv., Ltd. v. Coldwell
    (8th Cir. 1976)                                                Banker & Co., 608 F.2d 1297 (9th Cir.
51. Emisco Indus., Inc. v. Pro's, Inc., 543 F.2d                   1979)
    38 (7th Cir. 1976)                                         76. Cameron v. Outdoor Resorts of America,
52. Ballard & Cordell Corp. v. Zoller &                            Inc, 608 F.2d 187 (5th Cir. 1980)
    Danneberg Expl., Ltd., 544 F.2d 1059 (10th                 77. Piambino v. Bailey, 610 F.2d 1306 (5th Cir.
    Cir. 1976)                                                     1980)
53. Bell v. Health-Mor, Inc., 549 F.2d 342 (5th                78. Canadian Imperial Bank of Commerce v.
    Cir. 1977)                                                     Fingland, 615 F.2d 465 (7th Cir. 1980)
54. SEC v. Commodity Options Int'l, Inc., 553                  79. Curran v. Merrill Lynch, Pierce, Fenner &
    F.2d 628 (9th Cir. 1977)                                       Smith, Inc., 622 F.2d 216 (6th Cir. 1980)
55. United Cal. Bank v. THC Fin. Corp., 557                    80. Mason v. Unkeless, 618 F.2d 597 (9th Cir.
    F.2d 1351 (9th Cir. 1977)                                      1980)
56. Daniel v. International Bd. of Teamsters,                  81. United Am. Bank v. Gunter, 620 F.2d 1108
    561 F.2d 1223 (7th Cir. 1977), rev'd, 439                      (5th Cir. 1980)
    U.S. 551 (1979).                                           82. Noa v. Key Futures, Inc., 638 F.2d 77 (9th
57. Hirk v. Agri-Research Council, Inc., 561                       Cir. 1980)
    F.2d 96 (7th Cir. 1977)                                    83. SEC v. Murphy, 626 F.2d 633 (9th Cir.
58. McGovern Plaza Joint Ven. v. First of                          1980)
    Denver, 562 F.2d 645 (10th Cir. 1977)                      84. Aldrich v. McCulloch Props., Inc., 627 F.2d
59. Schultz v. Dain Corp., 568 F.2d 612 (8th                       1036 (10th Cir. 1980)
    Cir. 1978)                                                 85. Rosenberg v. Collins, 624 F.2d 659 (5th Cir.
60. Crowley v. Montgomery Ward Co., Inc.,                          1980)
    570 F.2d 877 (10th Cir. 1978)                              86. Westchester Corp. v. Peat, Marwick,
61. Moody v. Bache Co., Inc., 570 F.2d 523 (5th                    Mitchell & Co., 626 F.2d 1212 (5th Cir.
    Cir. 1978)                                                     1980)
62. Woodward v. Terracor, 574 F.2d 1023 (10th                  87. Martin v. T. V. Tempo, Inc., 628 F.2d 887
    Cir. 1978)                                                     (5th Cir. 1980)
63. Commander's Palace Park Assocs. v. Girard                  88. Am. Fletcher Mortg. Co. v. U. S. Steel
    & Pastel Corp., 572 F.2d 1084 (5th Cir.                        Credit Corp., 635 F.2d 1247 (7th Cir. 1980)
    1978)                                                      89. Williamson v. Tucker, 632 F.2d 579 (5th
64. Melton v. Unterreiner, 575 F.2d 204 (8th                       Cir. 1980), withdrawn, 645 F.2d 404
    Cir. 1978)                                                     (1981)*
65. United States v. Carman, 577 F.2d 556 (9th                 90. Weaver v. Marine Bank, 637 F.2d 157 (3d
    Cir. 1978)                                                     Cir. 1980), rev'd, 455 U.S. 551 (1982)
66. Goodman v. Epstein, 582 F.2d 388 (7th Cir.                 91. Union Planters Nat'l Bank v. Commercial
    1978)                                                          Credit Bus. Loans, Inc., 651 F.2d 1174 (6th
67. Robertson v. Humphries, No. 77-1156.,                          Cir. 1981)
    1978 U.S. App. LEXIS 9196 (10th Cir. Sep.                  92. Williamson v. Tucker, 645 F.2d 404 (5th
    7, 1978)                                                       Cir. 1981)
68. Peyton v. Morrow Electronics, Inc., 587                    93. Frazier v. Manson, 651 F.2d 1078 (5th Cir.
    F.2d 413 (9th Cir. 1978)                                       1981)

                                                   159
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   Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 196 of 215



94. Meason v. Bank of Miami, 652 F.2d 542                       118.Villeneuve v. Advanced Bus. Concepts
    (5th Cir. 1981)                                                 Corp., 730 F.2d 1403 (11th Cir. 1984)
95. Kosnoski v. Bruce, 669 F.2d 944 (4th Cir.                   119.Hart v. Pulte Homes of Mich. Corp., 735
    1982)                                                           F.2d 1001 (6th Cir. 1984)
96. Marine Bank v. Weaver, 455 U.S. 551, 102                    120.Ruefenacht v. O'Halloran, 737 F.2d 320 (3d
    S. Ct. 1220 (1982)                                              Cir. 1984)
97. Bd. of Trade v. SEC, 677 F.2d 1137 (7th                     121.Kan. State Bank v. Citizens Bank of
    Cir. 1982), vacated as moot, 459 U.S. 1026                      Windsor, 737 F.2d 1490 (8th Cir. 1984)
    (1982).                                                     122.Stenger v. R.H. Love Galleries, Inc., 741
98. Golden v. Garafalo, 678 F.2d 1139 (2d Cir.                      F.2d 144 (7th Cir. 1984)
    1982)                                                       123.Hunssinger v. Rockford Business Credits,
99. SEC v. G. Weeks Secur., Inc., 678 F.2d 649                      Inc., 745 F.2d 484 (7th Cir. 1984)
    (6th Cir. 1982)                                             124.Mordaunt v. Incomco, 469 U.S. 1115 (1985)
100.SEC v. Aqua-Sonic Prods. Corp., 687 F.2d                    125.Paulsen v. Commissioner, 469 U.S. 131
    577 (2d Cir. 1982)                                              (1985)
101.Salcer v. Merrill Lynch, Pierce, Fenner &                   126.Gary Plastic Packaging Corp. v. Merrill
    Smith, Inc., 682 F.2d 459 (3d Cir. 1982)                        Lynch, Pierce, Fenner & Smith, Inc., 756
102.Coward v. Colgate-Palmolive Co., 686 F.2d                       F.2d 230 (2d Cir. 1985)
    1230 (7th Cir. 1982)                                        127.Landreth Timber Co. v. Landreth, 471 U.S.
103.Gordon v. Terry, 684 F.2d 736 (11th Cir.                        681 (1985)
    1982)                                                       128.S.E.C. v. Goldfield Deep Mines Co. of
104.Meyer v. Thomas & McKinnon Auchincloss                          Nevada, 758 F.2d 459 (9th Cir. 1985)
    Kohlmeyer, Inc., 686 F.2d 818 (9th Cir.                     129.Futura Development Corp. v. Centex Corp.,
    1982)                                                           761 F.2d 33 (1st Cir. 1985)
105.Mordaunt v. Incomco, 686 F.2d 815 (9th                      130.San Francisco-Oklahoma Petro. v. Carstan
    Cir. 1982)                                                      Oil, 765 F.2d 962 (10th Cir. 1985)
106.Seagrave Corp. v. Vista Res., Inc., 696 F.2d                131.Phillips v. Kaplus, 764 F.2d 807 (11th Cir.
    227 (2d Cir. 1982)                                              1985)
107.Peoria Union Stock Yards Co. Ret. Plan v.                   132.Underhill v. Royal, 769 F.2d 1426 (9th Cir.
    Penn Mut. Life Ins. Co., 698 F.2d 320 (7th                      1985)
    Cir. 1983)                                                  133.McGill v. American Land Exploration Co.,
108.Villeneuve v. Advanced Bus. Concepts                            776 F.2d 923 (10th Cir. 1985)
    Corp., 698 F.2d 1121 (11th Cir. 1983)                       134.Penturelli v. Spector, Cohen, Gadon Rosen,
109.Odom v. Slavik, 703 F.2d 212 (6th Cir.                          779 F.2d 160 (3d Cir. 1985)
    1983)                                                       135.United States v. Morse, 785 F.2d 771 (9th
110.Daily v. Morgan, 701 F.2d 496 (5th Cir.                         Cir. 1986)
    1983)                                                       136.Rodeo v. Gillman, 787 F.2d 1175 (7th Cir.
111.LTV Fed. Credit Union v. UMIC Gov't Sec.,                       1986)
    Inc., 704 F.2d 199 (5th Cir. 1983)                          137.Less v. Lurie, 789 F.2d 624 (8th Cir. 1986)
112.United States v. Jones, 712 F.2d 1316 (9th                  138.Youmans v. Simon, 791 F.2d 341 (5th Cir.
    Cir. 1983)                                                      1986)*
113.Mayer v. Oil Field Sys. Corp., 721 F.2d 59                  139.SEC v. Belmont Reid & Co., 794 F.2d 1388
    (2d Cir. 1983)                                                  (9th Cir. 1986)
114.Siebel v. Scott, 725 F.2d 995 (5th Cir. 1984)               140.Schaafsma v. Morin Vermont Corp., 802
115.Landreth Timber Co. v. Landreth, 731 F.2d                       F.2d 629 (2d Cir. 1986)
    1348 (9th Cir. 1984), rev'd, 105 S. Ct. 2297                141.Lopez v. Dean Witter Reynolds, Inc., 805
    (1985)                                                          F.2d 880 (9th Cir. 1986)
116.Goodwin v. Elkins Co., 730 F.2d 99 (3d Cir.                 142.Deutsch Energy Co. v. Mazur, 813 F.2d
    1984)                                                           1567 (9th Cir. 1987)
117.SEC v. Prof'l Assocs., 731 F.2d 349 (6th                    143.Meyer v. Dans un Jardin, S.A., 816 F.2d 533
    Cir. 1984)                                                      (10th Cir. 1987)


                                                    160
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   Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 197 of 215



144.Albanese v. Florida Nat. Bank of Orlando,                   166.Long v. Shultz Cattle Co., Inc., 881 F.2d
    823 F.2d 408 (11th Cir. 1987)                                   129 (5th Cir. 1989)
145.Waterman v. Alta Verde Indus., 833 F.2d                     167.Reeves v. Teuscher, 881 F.2d 1495 (9th Cir.
    1006 (4th Cir. 1987)                                            1989)
146.First Fin. Fed. Sav. & Loan Asso. v. E.F.                   168.Shaw v. Hiawatha, Inc., 884 F.2d 582 (9th
    Hutton Mortg. Corp., 834 F.2d 685 (8th Cir.                     Cir. 1989)
    1987)                                                       169.Davis v. Metro Prods., Inc., 885 F.2d 515
147.Hocking v. Dubois, 839 F.2d 560 (9th Cir.                       (9th Cir. 1989)
    1988), withdrawn, 885 F.2d 1449 (1989)*                     170.Tanenbaum v. Agri-Capital, Inc., 885 F.2d
148.Rivanna Trawlers Unlimited v. Thompson                          464 (8th Cir. 1989)
    Trawlers, Inc., 840 F.2d 236 (4th Cir. 1988)                171.Hocking v. Dubois, 885 F.2d 1449 (9th Cir.
149.Buhler v. Audio Leasing Corp., No. 86-                          1989)
    4162, 1988 U.S. App. LEXIS 21714 (9th                       172.Newmyer v. Philatelic Leasing, Ltd., 888
    Cir. Feb. 26, 1988)                                             F.2d 385 (6th Cir. 1989)
150.One-O-One Enterprises, Inc. v. Caruso, 848                  173.L & B Hosp. Ventures, Inc. v. Healthcare
    F.2d 1283 (D.C. Cir. 1988)                                      Int'l, Inc., 894 F.2d 150 (5th Cir. 1990)
151.Stuckey v. Geupel, 854 F.2d 1317 (4th Cir.                  174.Reves v. Ernst & Young, 494 U.S. 56 (1990)
    1988)                                                       175.Long v. Shultz Cattle Co., 896 F.2d 85 (5th
152.Secon Service System v. St. Joseph Bk.                          Cir. 1990)
    Trust, 855 F.2d 406 (7th Cir. 1988)                         176.Banghart v. Hollywood Gen. P'ship, 902
153.Arthur Young Co. v. Reves, 856 F.2d 52                          F.2d 805 (10th Cir. 1990)
    (8th Cir. 1988), rev'd sub nom. Reves v.                    177.Eberhardt v. Waters, 901 F.2d 1578 (11th
    Ernst & Young, 494 U.S. 56 (1990)                               Cir. 1990)
154.Sparks v. Baxter, 854 F.2d 110 (5th Cir.                    178.Bailey v. J.W.K. Props., Inc., 904 F.2d 918
    1988)                                                           (4th Cir. 1990)
155.Danner v. Himmelfarb, 858 F.2d 515 (9th                     179.Boldy v. McConnell's Fine Ice Creams, Inc.,
    Cir. 1988)                                                      904 F.2d 710 (9th Cir. 1990)
156.Mace Neufeld Productions, Inc. v. Orion                     180.First Citizens Fed. Sav. & Loan Ass'n v.
    Pictures Corp., 860 F.2d 944 (9th Cir. 1988)                    Worthen Bank & Tr. Co., N.A., 919 F.2d
157.Adena Exploration, Inc. v. Sylvan, 860 F.2d                     510 (9th Cir. 1990)
    1242 (5th Cir. 1988)                                        181.Allison v. Ticor Title Ins. Co., 907 F.2d 645
158.Matek v. Murat, 862 F.2d 720 (9th Cir.                          (7th Cir. 1990)
    1988)                                                       182.Harman v. Harper, 914 F.2d 262 (9th Cir.
159.Schlifke v. Seafirst Corp., 866 F.2d 935 (7th                   1990)
    Cir. 1989)                                                  183.Koch v. Hankins, 928 F.2d 1471 (9th Cir.
160.Deckebach v. La Vida Charters, Inc., 867                        1991)
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       Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 200 of 215



                                                                                                             Annex B
In the course of researching for this Article, we reviewed approximately 256 articles, law reviews, and
practitioner publications on the subject of investment contracts and the definition of the term “security”
under federal securities laws, many of which were not directly cited in this Article. The following list
comprises those articles which we found relevant to our review, grouped in alphabetical order by the first
listed author’s last name, and separated into two groups: First, scholarship which did not contemplate crypto
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        Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 213 of 215



                                                                                                                Annex C

                                    A Closer Look at “Governance Tokens”

        Drawing inspiration from the basic ERC-20 token standard,336 several protocols have introduced
their own crypto asset token standards, some of which include governance-related features as part of their
functionality. Colloquially described as “governance” tokens, crypto assets which allow token owners to
“vote” or delegate others to vote on their behalf.

        Compound Labs, a software development company supporting the Compound Protocol, created
one of the first widely adopted standards for “governance tokens” when it launched the crypto asset known
as “COMP” in July 2020.337 The COMP token is a particularly useful example as its design inspired the
development of other similar crypto assets, such as UNI, the native token of the Uniswap Protocol, AAVE,
the native token of the Aave protocol, as well as Gitcoin’s GTC and the Ethereum Name Service’s ENS
token.

         The COMP token is part of the overall Compound protocol which allows for simple token voting
and vote delegation. As illustrated in Figure 1, the COMP token contract allows for token-weighted
voting—a function which enables proposals to ensure that votes are weighted only in reference to the voter’s
balance at the moment the proposal was created, rather than at a voter’s balance at the time of voting. This
voting structure is intended to enhance perceived fairness by ascertaining that token owners are not able to
vote multiple times by moving their tokens between different blockchain addresses—indeed, without this
feature, it is likely that token transfers would have to be paused every time there was a new voting proposal.
COMP’s delegation feature is similarly highlighted in Figure 2, which allows token owners to indefinitely,
and freely, delegate their ability to vote to another address.

         However, unlike voting shares in a corporation (which is based on the legal rights provided to
shareholders under applicable state law and the corporation’s governing legal documents), all that happens
with “voting” with the COMP tokens is that the protocol checks for inputs from addresses holding one or
more COMP tokens at the relevant time and responds with a pre-determined action to the aggregate of those
inputs. The protocol codebase is oblivious to whether the person initiating a related instruction for a given
address holding COMP was entitled to do so (had any “rights”) and is unable to alter the outcome of the
collective instruction if it was later established that one or more of the inputs was provided “wrongfully”.




336See Section [I.B.] infra.
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                                                         177
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       Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 214 of 215




                    Figure 1: Token weighted voting feature as set forth in the COMP token.




                        Figure 2: Vote delegation feature as set forth in the COMP token.


        Another common variant of the ERC-20 token standard is the “vote escrow”. As pioneered by
Curve Finance in August 2020, vote escrows allow protocols to incentivize liquidity providers by rewarding
them for their continued participation in liquidity pools. Using Curve Finance as an example, users owning
CRV tokens are rewarded with veCRV tokens, i.e., vote-escrowed CRV, for holding, “locking” or staking
CRV tokens for a period of time—sometimes as long as four years. The longer a holder locks its CRV, the
more veCRV the protocol allocates to it. veCRV tokens are non-transferable governance tokens which
have an added feature of allowing the address at which the tokens are held to receive a share of the Curve
Finance platform fees. Other decentralized liquidity platforms have similarly implemented this “vote
escrow” model due to the popularity of distributing voting rights amongst active users and providing an
incentive for greater commitment to the protocol. For example, in February 2022, Balancer, a protocol for
programmable liquidity, forked the Curve model by shortening the maximum lock time to one year (as
opposed to four years with Curve), and requiring users to lock up Balancer’s BAL token, along with
wrapped ETH (WETH).




                                                     178
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Case 2:22-cv-01009-TL Document 67-1 Filed 03/09/23 Page 215 of 215




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